Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 1 of 426




                         Exhibit 1
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 2 of 426




                                                                      DATE FILED: July 2, 2021 2:45 PM
     DISTRICT COURT, LARIMER COUNTY, COLORADO                         FILING ID: 5DA46E9738949
     201 La Porte Avenue, Suite 100                                   CASE NUMBER: 2021CV30475
     Fort Collins, Colorado 80521
     Plaintiff:
     CITY OF FORT COLLINS, a Colorado home rule
     municipality,

     v.
                                                                          COURT USE ONLY 
     Defendants:                                                       ___________________________
     OPEN INTERNATIONAL, LLC, a Florida limited liability                Case Number:
     company; OPEN INVESTMENTS, LLC, a Florida limited
     liability company                                                   Division
     Attorneys for Plaintiff:
     Case Collard, Colo. Reg. No. 40692
     Andrea Ahn Wechter, Colo. Reg. No. 43722
     Maral J. Shoaei, Colo. Reg. No. 50115
     Dorsey & Whitney LLP
     1400 Wewatta Street, Suite 400
     Denver, CO 80202
     Tel.: (303) 629-3400
     Fax: (303) 629-3450
     Email: collard.case@dorsey.com
     Email: wechter.andrea@dorsey.com
     Email: shoaei.maral@dorsey.com

                                  COMPLAINT AND JURY DEMAND


          Plaintiff City of Fort Collins, a Colorado home rule municipality (the “City”), by and

   through its undersigned attorneys, states its Complaint as follows:

                                           INTRODUCTION

          1.      Defendants Open International, LLC and Open Investments, LLC (jointly “Open”)

   intentionally misled and induced the City into entering into a costly professional services

   agreement and scope of work for a software solution that Open knew or should have known was

   not fit for the City’s purposes and that it could not deliver in a timely fashion.
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 3 of 426




          2.      The City seeks rescission of the agreements with Open, return of all funds paid by

   the City, and a return of the parties to the position they were each in before the City entered into

   the agreements. Alternatively, the City is entitled to its damages and recovery of its attorneys’ fees

   and other litigation costs based on Open’s conduct and breach of the applicable agreements.

                              PARTIES, JURISDICTION AND VENUE

          3.      The City is a home rule municipality organized under Article XX of the Colorado

   Constitution with a City Hall located at 300 Laporte Ave, Fort Collins, CO 80521.

          4.      Open International, LLC is a Florida limited liability company with its principal

   place of business at 13019 Mar Street, Coral Gables, FL 33156.

          5.      Open Investments, LLC is a Florida limited liability company with its principal

   place of business at 13019 Mar Street, Coral Gables, FL 33156.

          6.      Pursuant to the Master Professional Services Agreement, Open International

   contracted with the City, but Open Investments signed an “Irrevocable Guarantee” that it would

   “unconditionally guarantee the performance of Open International of all obligations set forth in

   this MPSA and Software License Agreement [and] liability of [Open Investments] may be

   enforced without requiring [the City] to pursue enforcement against Open [International].” Exhibit

   1, MPSA at p. 4. The City is entitled to pursue enforcement against both entities.

          7.      This is an action for equitable and money damages arising from Open’s fraudulent

   inducement, breach of contract, and breach of duties.

          8.      This Court has jurisdiction and venue in this Court is proper because the contracts

   under which this matter arises are governed by the laws of the State of Colorado and the parties

   contractually agreed that exclusive jurisdiction for litigation of any dispute, controversy or claim



                                                     2
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 4 of 426




   arising out of or in connection with the relevant contracts shall be only in the Federal or State court

   with competent jurisdiction located in Larimer County, Colorado or Denver, Colorado, and the

   parties expressly submitted to the personal jurisdiction and venue therein.

              9.      Additionally, jurisdiction is proper in this Court pursuant to C.R.S. § 13-1-124

   because the wrongful actions by Open described herein took place within the State of Colorado.

                                          GENERAL ALLEGATIONS

   The City and the Fort Collins Connexion

              10.     The City of Fort Collins is the county seat of Larimer County, Colorado with an

   estimated population of over 170,000.

              11.     The City’s many features and amenities make it a great place to live and work:

   Colorado State University, the foothills of the Rocky Mountains, the Cache La Poudre River, a

   highly educated and creative workforce, diverse employment opportunities, a historic downtown,

   and many miles of trails, parks, natural areas, and bike paths.

              12.     The City has received numerous awards1 including the #1 Best Place to Live in

   America by both Marketwatch and Livability in October 2020, a top-ten “Best Performing” City

   in 2018 and 2019 by the Milken Institute, and the #5 Most “Remote-Ready” City by Livability in

   January 2021.

              13.     In 2017, the City was one of only five business and nonprofit organizations awarded

   the Malcom Baldrige National Quality Award, the nation’s highest presidential honor for

   performance excellence through innovation, improvement, and visionary leadership. The City is




   1 See   https://www.fcgov.com/visitor/awards.php


                                                       3
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 5 of 426




   just the third municipal organization ever to receive this honor.2

             14.      The City has long provided its residents with traditional utility services like water,

   wastewater, stormwater, and electricity. Since at least 2010, the City has been exploring ways to

   improve the reliability and speed of internet services for City residents. High-speed broadband is

   the “nervous system” of innovation, entrepreneurship, education, and quality of life. In 2010 the

   City partnered with Colorado State University to apply for the Google, “Think big with a gig: Our

   experimental fiber network” challenge to install and test ultra-high-speed broadband networks in

   order to make internet access better and faster. Though Fort Collins was not selected by Google

   Fiber, the broadband discussions continued and were incorporated into the City’s 2014 Strategic

   Plan, which articulates the City’s priorities, ways to measure success, and aligns work across

   projects.

             15.      The City recognized the growing importance of high-speed internet within the

   economy and citizen’s daily lives and developed a plan for securing gigabit-speed internet

   throughout the City. The existing networks within the City would require significant technology

   upgrades before they were able to offer reliable gigabit speeds to the public at a reasonable price.

             16.      However, until November 2015, Colorado General Assembly Senate Bill 05-152

   (“SB-152”) may have prohibited the City from being engaged in providing internet services. In

   November 2015, 83% of the City’s voters chose to opt out of SB-152, thus removing any legal

   barrier SB-152 may have erected preventing the City from providing high-speed internet to its

   residents.




   2   See https://www.fcgov.com/excellence/


                                                        4
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 6 of 426




          17.     In turn, the City addressed the broadband situation in its 2015/2016 Strategic Plan

   with “Strategic Objective 3.9 – Encourage the development of reliable high speed internet services

   throughout the community.” This objective’s goal is to bring reliable, high-speed internet to the

   City, while making an informed decision through evaluation of risk and opportunities.

          18.     Ultimately, in 2017, the City’s voters approved an amendment to Fort Collins

   Municipal Charter to allow the City to provide telecommunication facilities and services, including

   the transmission of voice, data, graphics and video using broadband internet facilities, to its

   residents. After this approval, the City prepared to launch “Fort Collins Connexion”—a municipal

   broadband service—to provide broadband internet, voice, and video services.

   The City’s Request for Proposal/Open’s Response and Representations

          19.     With the approval to launch its own broadband service, the City needed a way to

   provide customer care and billing services for Fort Collins Connexion customers. The City had a

   billing system in place for its utility services and desired to put in place a system that would

   consolidate the billing services. To that end, the City was looking to engage an experienced partner

   and a mature, well developed, real-world tested product that would handle both (1) its new

   Connexion municipal broadband service and (2) its existing utilities.

          20.     On February 10, 2018, the City published a Request for Proposal 8697 for “Vendor

   Selection and Implementation of a Comprehensive Solution for Utilities/Broadband Billing

   (CIS/OSS)” including a detailed response template and seeking submission of responses by March

   12, 2018 (“RFP”). The City’s goal was to transition from its 21-year-old software for its existing

   utilities to a more sophisticated system that integrates bill pay and customer service in one self-

   service web portal for all five of its utilities (electric, water, wastewater, storm water, and now



                                                    5
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 7 of 426




   Connexion, the new business unit that would provide internet, voice, and video services to the

   community). In the RFP, the City clearly indicated that it was looking for a comprehensive and

   integrated solution providing functionality to its utility Customer Information System (“CIS”), its

   field services, and to serve the range of needs both for current City utilities and for Connexion.

          21.     Eight firms submitted proposals in response to the RFP.

          22.     On March 12, 2018, Open submitted its proposal (“Response”) to the City’s RFP.

   The Response was a comprehensive document with over 1,000 pages setting forth Open’s

   purported experience and capabilities.

          23.     In its Response, Open claimed that it had “30 years of experience implementing

   CIS solutions for utility service providers” and “over 100 CIS implementations across the

   Americas.”

          24.     Open also claimed in its Response that it offered a product, Open Smartflex, which

   was introduced in 2004 and was currently in “its fifth product generation with a flexible, rules

   based [Operational Support System (“OSS”)], a single product platform to support utilities and

   telecommunication service providers.”

          25.     Open claimed that its product was off-the-shelf and ready for implementation.

   Specifically, Open claimed that “it complies with the vast majority of the functional and technical

   requirements of this RFP with one single and uniform product: Open Smartflex.” Open said that

   Smartflex is “delivered pre-configured with the best practices for the utility industry” for which

   implementation would only require it to be “fine-tuned” to address the specific needs of the City.

   Open explained that it offers “a rules-based approach for implementing customer-specific

   enhancements without customizing source code.”



                                                    6
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 8 of 426




          26.      Indeed, Open represented that “on average, 84% of the functionalities requested by

   clients from the utilities industry are covered by Open’s business models the remaining 16%

   should be covered by configuration, framework, or development activities.”

          27.      Open also stated that, based on its extensive experience, the requested

   implementation would occur in two phases. The first would take “12 months with a three month

   post-go-live support period” and the second would “occur one month later [and] have four months

   post-go-live support.” Open assured the City that “this timeframe is quite adequate, based on our

   experience and our view of the functional scope, the solution business model, the implementation

   methodology, as well as actual successful implementations for similar projects.” Open made

   specific representations that the “Project Closure” would occur in January 2020.

          28.      In its Response, Open also included a “Functional Matrix”. The Functional Matrix

   was intended to help the City understand what functionality Open offered through its Smartflex

   solution as part of the base product and what functionality may require additional development.

   Open categorized its functionalities with letters ranging from A through G, with “A” as identifying

   those “[p]rovided as part of the base system,” “B” as those “In Development,” “C” as those that

   “will require some enhancements,” “D” as those that “will require minor software coding,” “E” as

   those that “will have to be modified,” “F” as those that will require “[e]xtensive modification to

   base code,” and “G” as those for which “[s]oftware can not be enhanced or modified.” The vast

   majority of the items were marked “A,” a few were marked “B,” and almost none were marked

   “C” or below.

          29.      Throughout the RFP process and up until signing the contract with the City, Open

   promoted the idea that almost all the required functionality was already available without



                                                   7
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 9 of 426




   modification and that implementation would only require the product to be “fine-tuned.”

          30.     In reliance on Open’s statements and representations, the City was induced to move

   forward with Open and ultimately entered into a Master Professional Services Agreement (the

   “MPSA”) and Software License Agreement, both executed August 9, 2018. True and correct

   copies of the MPSA and Software License Agreement are attached hereto as Exhibits 1 and 2,

   respectively, and incorporated herein by reference.

          31.     At the same time, and based on the same statements and representations, the City

   was induced into executing a “Scope of Work” (”SOW”). A true and correct copy of the SOW is

   attached hereto as Exhibit 3 and incorporated herein by reference.

          32.     The SOW also included a “Functional Requirements Matrix” representing similar

   information as the Functional Matrix found in Open’s Response to the RFP.

          33.     The MPSA and Software License Agreement incorporated the RFP, Open’s

   Response, and the SOW (collectively referred herein as “the Agreements”).

          34.     Shortly thereafter, the City and Open began implementation of the Smartflex

   solution.

          35.     Under the Agreements, the total maximum cost for completion of the work outlined

   in the SOW, MPSA, and Software License Agreement was approximately $7.3 million. Total

   changes to the original budgeted cost amount to approximately $4.7 million. The City has paid to

   Open approximately $8.6 million as of May 2021 and retained approximately $1.1 million

   pursuant to the Agreements.

          36.     Open agreed to deliver the product by June 2019 for Connexion and by October

   2019 for the other four utilities. But to date, Open has failed to deliver a fully functioning product



                                                     8
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 10 of 426




   for any of the five utility services.

   Open’s Misrepresentations About Smartflex

           37.     Although Open represented its Smartflex product as being in the fifth generation

   and only requiring “fine-tuning”, the City has come to find that much of the product was not even

   built. Rather than a process of fine-tuning, nearly all the product configuration has required

   customizing source code and extensive software development.

           38.     For example, the City found out well into the implementation process that the self-

   service portal, which Open represented as category “A” and as “provided as part of base system”,

   did not even exist at the time the City and Open entered into the Agreements.

           39.     Open recently disclosed to the City for the first time that Open expended 30,000

   hours of development effort after claiming that the self-service portal was part of the base system.

           40.     Additionally, contrary to Open’s representations that the mature and complete

   Smartflex product would make implementation straightforward, the product’s shortcomings have

   required additional work—rather than mere configuration or set-up, the implementation became a

   software development/coding project.

           41.     For instance, Open estimated configuration would be completed under its fixed-fee

   proposal. To date, however, the City has contracted with Open for more than 15,000 additional

   hours and there remains considerable effort required to complete the configuration required.

           42.     The implementation has also required 30 project change requests (“PCRs”) and,

   even with these requests, the City still does not have a functional system. Indeed, some PCRs

   remain incomplete; for example, Open has not completed PCR 9 (dated January 2020) and it

   remains part of the backlog list. Other PCRs have been partially implemented or delivered for



                                                    9
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 11 of 426




   testing purposes but not released.

          43.     Open represented that Smartflex was ready for the US market. But Smartflex does

   not support many features which are common in US utility billing applications like paperless

   billing, allowing customers to choose internet speed and contract length separately, allowing

   volume customers to add multiple phone lines in bulk (with adjacent telephone numbers), and

   allowing a preview of what a bill would look like if a customer made a proposed change (before

   making the change).

   Open’s Missed Deadlines and Inadequate Support

          44.     As noted above, Open’s Response proposed an implementation plan with two

   rollouts over a total period from start of work to completion of about 16 months. In the SOW, the

   Parties agreed to a timeline of a “13-month period with an additional 4-month post-go-live support

   period as a requirement of the City.” Open again represented that “this timeframe is adequate,

   based on our experience and our view of the functional scope, the solution business model, and

   the implementation methodology.”

          45.     Under the SOW, “Go Live for Broadband” was scheduled to be mid-June 2019

   with “Utilities Go Live” scheduled to be mid-September 2019 and full closure occurring January

   1, 2020. Open, however, missed these deadlines.

          46.     On August 31, 2019, the City agreed to allow the Broadband portion of Smartflex

   to Go Live out of necessity to support the new City Broadband service. However, the functionality

   that Open agreed to provide was not complete. Open committed to complete the Broadband

   functionality within 120 days. But Open also failed to meet these new deadlines.




                                                  10
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 12 of 426




          47.    In May 2020, it became evident that Open would miss its deadlines for the Utilities

   Go Live.

          48.    The City and Open agreed via the First Amendment to the MPSA dated June 2,

   2020, a copy of which is attached hereto as Exhibit 4 and incorporated herein by reference, (the

   “First Amendment”) on new milestone dates for Utilities, including:

                 a. Utilities System Testing Successfully Completed – September 2020

                 b. Utilities Go-Live – October 2020

                 c. Utilities Stabilization – Successfully Complete – February 2021

          49.    Open also missed these new deadlines in breach of the First Amendment.

          50.    In addition, Open did not provide the necessary support to meet the City’s needs on

   the agreed upon timelines.

          51.    Open promised a very high level of support and, with respect to Service Level

   Agreements (“SLA”), agreed via its Response to “achieving 95% compliance with the Incident

   SLAs. This implies that 95% of the cases will have a temporary or definitive solution within the

   established time period, with 20 as the minimum number of incidents registered in the month.”

          52.    In the MPSA, Open committed to a “target of 100% compliance” with the SLAs

   and Open acknowledged that compliance with “the SLA at a level of 95% is a material condition

   of the Agreement”.

          53.    While the City has allowed some temporary solutions, Open has not met these

   benchmarks with permanent solutions.




                                                 11
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 13 of 426




           54.     Open has frequently rolled out new versions of the product (currently on version

   25), but when a new version is released, Open has no ability to “roll back” a version that causes

   new issues.

           55.     Open has also failed to provide the necessary training and testing support to support

   the project properly. There is no set curriculum or materials to assist with training users. Other

   platforms have standard user manuals, training materials, and a highly competent staff whose sole

   role is to deliver that training.

   The City’s Attempts to Resolve the Issues

           56.     For months, the City attempted, in good faith, to work out the problems and issues

   internally with Open’s representatives and Project Managers. The City continued to devote time

   and money to support Open’s development of the Smartflex solution. The parties held weekly

   meetings in an effort to help Open develop the solution. While awaiting the solution, the City was

   forced to continue to devote significant employee time to manually perform the tasks that Open’s

   solution was supposed to provide. However, despite the City’s efforts and patience, Open’s Project

   Managers and executives have failed to or have been unable to resolve the disputed issues.

           57.     These discussions fulfilled the City’s obligations pursuant to MPSA section 17.1 to

   “first strive to work out the problem internally.”

           58.     During recent discussions in May 2021, the City and Open engaged in detailed

   communications trying to resolve these disputed issues and move forward cooperatively. During

   those communications, the City raised the idea of initiating the next step in the dispute procedure

   in Section 17.2 of the MPSA (“Executive Negotiation”) to help the Parties resolve the issues using

   the contractual procedure.



                                                    12
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 14 of 426




          59.     Open’s response was that an official Notice of Dispute would be interpreted by

   Open as a serious escalation and that it would not be conducive to finding a mutually beneficial

   resolution. Accordingly, the City held off on issuing the Notice of Dispute and intended to (and

   did) continue discussions with Open in good faith.

          60.     However, on May 19, 2021, Open sent a purported “Notice of Default pursuant to

   Section 13.2 of the MPSA.” In this notice, Open claimed that the City was in breach, even though

   it was Open that had misrepresented the status of its own fifth generation product and the scope of

   the work needed.

          61.     For example, in its Notice, Open claims that the City failed to provide a “complete

   prioritized” issue list for broadband. However, the City provided this list and information on

   March 23, 2021.

          62.     Open also alleges that the City has not provided the acceptance criteria. However,

   Open misplaces the fault. Under, Section 6 of the SOW, Open is responsible for specifying

   acceptance criteria and test cases. Open’s product remains unready for acceptance and the

   provision of this information from the City is not the reason.

          63.     On May 25, 2021, the City sent a Notice of Default and Notice of Dispute to Open

   that preliminarily responded to some of the issues raised by Open and also outlined the failures of

   Open. To date, Open has failed to provide the functionalities promised and has indicated that it

   cannot deliver the functionalities promised under the previously agreed-upon timelines and

   budgets.

          64.     Open and the City continued discussions in May and June 2021. On June 17, 2021,

   representatives of Open and the City met in person to discuss a potential resolution. The City



                                                   13
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 15 of 426




   requested an amicable dissolution of the relationship, up to and including rescinding the contract.

   Open characterized an amicable dissolution as “impossible”. Moreover, Open stated that the City

   should not be concerned about additional financial investment and advised the City that Open had

   ample personnel waiting and ready complete the work. The City requested that Open document

   their proposal and the City would review it.

          65.     On June 28, 2021, Open delivered its proposal for continuing to work on solutions

   for broadband and utility billing. However, Open’s proposed solution is too expensive and too

   slow. Open proposed that the City would have to agree to share in another $3.3 million of

   additional costs and, in addition, would have to pay ongoing costs of over $120,000 per month

   ($1.5 million per year) to manage the system. Even then, the system would not be complete for

   another 16 months. This proposal does not cure Open’s material breaches.

          66.     As a result of the above acts, the City has been, continues to be, and will be

   substantially harmed by Open’s material failures to perform services as agreed.

                                    FIRST CLAIM FOR RELIEF
                                      (Fraudulent Inducement)

          67.     The City re-alleges and incorporates by reference the allegations of all the

   foregoing paragraphs as if fully restated herein.

          68.     The City was induced to enter into the Agreements and the First Amendment by

   Open’s representations that it was knowledgeable about the work contemplated by the parties and

   set forth in the Agreements, had significant experience in the work, and had a highly-capable and

   well-developed complete product to meet the City’s needs, among others.

          69.     Open made material representations about the fitness of the Smartflex product for

   the City’s needs. Specifically, in its Response to the RFP, Open falsely represented to the City that


                                                       14
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 16 of 426




   it offered a product currently in “its fifth product generation with a flexible, rules based

   [Operational Support System (“OSS”)], a single product platform to support utilities and

   telecommunication service providers.” Open included mocked-up screenshots of functionality

   that was not yet developed and did not exist. Open knew at that time that it could not fulfill that

   promise it made because, as the City has come to find out, much of the product was not even built.

   For example, the self-service portal, which Open represented as “A – provided as part of base

   system”, did not even exist at the time the City and Open entered into the Agreements. Open

   recently disclosed for the first time that it expended 30,000 hours of development effort to build a

   self-service portal after entering into the MPSA.

          70.     Open also falsely represented that its product was a turnkey, off-the-shelf product

   and ready for implementation (with minimal configuration) to support the City’s five utilities,

   including the City’s new Connexion municipal broadband service offering. However, rather than

   mere configuration or set-up, the implementation became a software development/coding project.

          71.     Open further made false representations about the schedule and timing for

   executing the project and the level of support Open would provide to execute the project.

          72.     Open’s representations about its services, products, and capabilities were false.

          73.     These facts were material to, among other things, the City’s decision to enter into

   the Agreements and the First Amendment, to agree to changes to the contract price exceeding $4.6

   million, and to pay Open for the services. Specifically, due to the need for adequate support in

   implementing a new system and to meet the promised deadlines as communicated to the City’s

   residents, the City relied on Open’s representations to enter into the Agreements and the First

   Amendment. Thus, Open made false representations of material facts.



                                                   15
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 17 of 426




           74.     At the time Open made these representations, it knew they were false. Open had

   full control over its products and had full knowledge of the functionalities, capabilities, and state

   of development—and the lack of functionalities, capabilities, and development—of its product and

   further knew the time it would take to execute its product for the City. Open made these false

   representations with the intent that the City would act upon them by executing the Agreements and

   the First Amendment. Open knew it could not fulfill the promises and representations made at the

   time it made those promises and representations.

           75.     The City reasonably relied on Open’s false representations and did not know of the

   falsity of Open’s representations. The City would not have entered into the Agreements, the First

   Amendment or any similar agreements had it known the true facts. For example, the City would

   not have entered into the Agreements and the First Amendment if it had known that almost all of

   the requisite functionalities were not actually category “A” as represented in the Functional Matrix.

   This representation was critical to the City’s decision to enter into the relationship with Open as it

   needed to meet the promised scheduled of releasing a billing system for Connexion by June 2019,

   as it had indicated to its residents.

           76.     The City’s reliance on Open’s false and intentional representations has damaged

   the City and, therefore, the City is entitled to rescind the Agreements and the First Amendment

   and to receive restitution of its damages. The City’s reliance was reasonable and justifiable as

   Open held itself out to the City as an expert in this field and in this product in particular.

           77.     The City has asked Open to rescind the Agreements and the First Amendment and

   put the parties back in the positions they were prior to signing (by Open returning the funds paid

   by the City and then the City would return any material provided by Open).



                                                     16
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 18 of 426




                                   SECOND CLAIM FOR RELIEF
                                       (Breach of Contract)

          78.     The City re-alleges and incorporates by reference the allegations of all the

   foregoing paragraphs as if fully restated herein.

          79.     The Agreements and the First Amendment constitute valid and enforceable

   contracts by and between the City and Open.

          80.     Open agreed to deliver to the City the products and functionalities set forth in the

   Agreements and First Amendment.

          81.     Open failed to deliver to the City the products and functionalities set forth in the

   Agreements and First Amendment in breach thereof and materially breached the Agreements and

   First Amendment. These breaches included a breach of the duty to provide the products and

   functionalities within the time promised and the duty to provide adequate support.

          82.     Specifically, Open stated that, based on its extensive experience, the requested

   implementation “timeframe is quite adequate, based on our experience and our view of the

   functional scope, the solution business model, the implementation technology, well as actual

   successful implementations for similar projects.”

          83.     Open, however, failed to meet these deadlines and subsequent deadlines set forth

   in the Agreements and First Amendment.

          84.     Open promised that it would provide a product that met the City’s needs and

   combined broadband and utility billing. Open has failed to do so.

          85.     Open’s breaches of the Agreements and First Amendment were material.

   Specifically, Open’s failure to fulfill its contractual obligations directly and proximately has

   caused the City significant damages for the services it never received.


                                                       17
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 19 of 426




           86.     The City performed all of its obligations under the Agreements and First

   Amendment.       It provided the required “complete prioritized” issue list for broadband.

   Additionally, contrary to any allegations by Open, the City was not responsible for providing

   acceptance criteria, rather, it was Open’s responsibility which it failed to perform because it failed

   to provide a product ready for acceptance.

           87.     The City seeks rescission of all agreements and reimbursement for all amounts paid

   to Open to date because such services had no reasonable commercial value. The City also seeks

   value for any additional costs it will incur to complete the work. In the alternative, the City seeks

   damages pursuant to the Agreements and First Amendment.

                                      THIRD CLAIM FOR RELIEF
                        (Breach of Implied Covenant of Good Faith and Fair Dealing)

           88.     The City re-alleges and incorporates by reference the allegations of all the

   foregoing paragraphs as if fully restated herein.

           89.     The common law imposes upon Open, as a contracting party, the duty of good faith

   and fair dealing. This duty prohibits a contracting party from exercising a judgment conferred by

   the express terms of the contract in such a way as to evade the spirit of the transaction and deprive

   the other party of the expected benefit of the contract.

           90.     The City and Open entered into the Agreements and First Amendment, which were

   in effect at all relevant times herein.

           91.     Under the Agreements and First Amendment, for example, p. 23 of the MPSA,

   Open had the sole discretion to modify the supported platform and product. It also had the

   discretion to determine delivery time of the product and its performance under the Agreements

   and First Amendment.


                                                       18
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 20 of 426




              92.   Open had a duty to perform its contractual obligations in good faith and ensure the

   prompt development of the solution with the capabilities set forth in the Agreements and First

   Amendment, and it breached these duties by failing to deliver the solution in a timely fashion.

   Open also breached these duties by failing to provide adequate support. Open further breached

   these duties when it failed to disclose the deficiencies in its work and product in an effort to induce

   the City to continue making payments.

              93.   Open’s conduct has been willful, unfair, and in bad faith.

              94.   The City has been damaged by Open’s breach of the implied covenant of good faith

   and fair dealing in at least the amounts it paid to Open for software functionality Open failed to

   deliver, plus interest and additional amounts expended in connection with seeking the return of the

   funds in an amount to be determined at trial.

                                    FOURTH CLAIM FOR RELIEF
                                       (Declaratory Judgment)

              95.   The City re-alleges and incorporates by reference the allegations of all the

   foregoing paragraphs as if fully restated herein.

              96.   An actual and justiciable controversy between the City and Open regarding their

   rights and obligations under the Agreements exists.

              97.   The City has acted lawfully at all times.

              98.   A judicial declaration of the Parties’ rights and obligations with respect to the

   Agreements and the First Amendment would terminate the controversy and remove uncertainty.

              99.   All parties who have an interest that would be affected by the requested declaration

   are parties to this action, and the requested declaration will not prejudice the rights of any non-

   parties.


                                                       19
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 21 of 426




          100.    The City requests an adjudication that it did not breach the Agreements and the

   First Amendment. Rather, the City provided the necessary information, including a complete

   prioritized issue list for broadband in a timely manner. The City also requests an adjudication that

   under Section 6 of the SOW, Open is responsible for specifying acceptance criteria and test cases.

   Open’s product remains unready for acceptance and the provision of this information from the

   City is not the reason. And that the City provided contractually adequate staffing based on the

   staffing levels that should have been needed based on Open’s initial representations.

          101.    Additionally, the City requests an adjudication and determination of whether the

   Agreements should be rescinded, or otherwise to determine the rights and obligations that the

   parties have to each other thereunder. The City specifically seeks a judicial declaration that the

   Agreements and First Amendment are rescinded, and are of no force or effect.

                                       PRAYER FOR RELIEF

          WHEREFORE, the City respectfully requests that this Court enter judgment in its favor

   granting the following relief:

                  A.      For adjudication that the Agreements and First Amendment between the

          City and Open have been rescinded, and for restoration of the parties to their pre-

          contractual positions;

                  B.      For recovery by the City of any and all sums that it paid to Open under the

          Agreements and First Amendment;

                  C.      For any and all damages available pursuant to the parties Agreements and

          First Amendment;

                  D.      For compensatory and general damages according to proof;



                                                   20
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 22 of 426




                E.      For a judicial declaration that the Agreements and First Amendment are

         rescinded;

                F.      For pre- and post-judgment interest on all amounts claimed to the extent

         permitted by law and at the statutory rate;

                G.      Costs and attorneys’ fees as permitted by contract and statute; and

                H.      Such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

         The City hereby demands a trial by jury on all issues so triable.

         Respectfully submitted this 2nd day of July, 2021.


                                               s/ Case Collard
                                               Case Collard
                                               Andrea Ahn Wechter
                                               Maral J. Shoaei
                                               DORSEY & WHITNEY LLP
                                               1400 Wewatta Street, Suite 400
                                               Denver, CO 80202
                                               Telephone: (303) 629-3400
                                               Facsimile: (303) 629-3450
                                               Email: collard.case@dorsey.com
                                               Email: wechter.andrea@dorsey.com
                                               Email: shoaei.maral@dorsey.com

                                               ATTORNEYS FOR PLAINTIFF


   Plaintiff’s Address:
   300 Laporte Ave,
   Fort Collins, CO 80521




                                                  21
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 23 of 426




                         Exhibit 1
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 24 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                     MASTER PROFESSIONAL SERVICES AGREEMENT


                                                              ORDER FORM




           Customer
             Customer Name:                                  Primary Customer          Payment
                                                             Contact                   Administrator
              City of Fort Collins                           Name: Lori Clements       Name: Mona Walder
              215 N. Mason St.                               Title: Sr Mgr, Customer   Email:
              Fort Collins, CO                               Support                   mwalder@fcgov.com
              80524                                          Phone: 970-221-6396
                                                             Email:
                                                             lclements@fcgov.com




            This is an Order Form for professional services for the Software licensed to Customer under the
            Software License Agreement between Customer and Open dated August 20, 2018.


            Annual Software Support Services
               Start Date                          Billing Frequency and Payment       Annual Software Support
                                                   Terms                               Services Fee
                August 20, 2018                    Annually in advance                         Year 1-- $113,985*
                                                   Net 30 from date of invoice                  Year 2--$222,602
                                                                                                Year 3--$155,257


            * Annual Fee for year one of the Term. Fee for years two and three stipulated per agreement
            with the City. After year three, the Annual Fee for Software Support Services increases 2.5%
            per year. Should additional license units be purchased, Support Services fees will be based on
            the new aggregate license fee at 23.5% of the new base licensing value.




                                                               Page 1 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 25 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            Consulting Services & Travel/Expenses
               Service                                            Description                                                               Total
               Software Implementation                            Implementation of Software, see                                                   $4,694,113
                                                                  Statement of Work No. 1:
               Travel & Expenses, base                            Estimated travel & expenses                                                       $1,100,000
               implementation                                     reimbursed per City of Fort
                                                                  Collins travel & expense policy,
                                                                  not to exceed $1,300,000
               Supplemental conversion                            See Statement of Work No.1:                                                          $510,000
               support services                                   Section 14
                                                                  not to exceed estimate based on
                                                                  3,400 hours at $150/hour
               Travel & Expenses,                                 Estimated travel & expenses                                                          $136,000
               supplemental conversion                            reimbursed per City of Fort
               support services                                   Collins travel & expense policy,
                                                                  not to exceed.




            This Order Form is governed by, and incorporates by reference, the Master Professional
            Services Agreement (the “MPSA”) attached to this Order Form (the Order Form and the MPSA,
            together, the “Agreement”). The Agreement “Effective Date” is the date of the last signature of
            this Order Form.

            AGREED AND ACCEPTED:


              CITY OF FORT COLLINS, COLORADO                                            OPEN INTERNATIONAL, LLC.


              By: _________________________                                             By: _____________________________
                                                                                                       Hernando Parrott
              Name: Darin Atteberry                                                     Name: ___________________________
                                                                                                  President North America
              Title: City Manager                                                       Title: ____________________________
                         8/9/2018                                                                   8/7/2018
              Date: _______________________                                             Date: ____________________________
             Address for Notice:                                                        Address for Notice:
             Attn: Darin Atteberry                                                      Attn: Hernando Parrott
             City Hall West                                                             600 California Street, 11th floor
             300 LaPorte Ave.                                                           San Francisco, CA 94108
             Fort Collins, CO 80521


             ................................................................................................................................................



                                                                               Page 2 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 26 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




              CITY OF FORT COLLINS, COLORADO


              By: _________________________
              Name: Gerry Paul
              Title: Purchasing Director
                      8/9/2018
              Date: _______________________

             Address for Notice: Attn:
             Gerry Paul
             215 N. Mason
             PO Box 580
             Fort Collins, CO 80522


             APPROVED AS TO FORM



             _____________________
             Assistant City Attorney II




            ATTEST



            ____________________
            Chief Deputy City Clerk




                                                             Page 3 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 27 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            IRREVOCABLE GUARANTEE

            By signature below, Open Investments, LLC (“Guarantor”) consents to and agrees to
            unconditionally guarantee the performance of Open International LLC (“Open”) of all obligations
            set forth in this Master Professional Services Agreement and the Software License Agreement,
            as defined below (collectively, the “Agreements”), including but not limited to, escrow deposits,
            project schedule, delivery liability, maintenance and support, and all financial obligations due to
            City the of Fort Collins, Colorado (“Customer”), that are the responsibility of Open and legally
            chargeable to Open, should Open fail to perform per the terms of the Agreements. Liability of
            Guarantor may be enforced without requiring Customer to pursue enforcement against Open.
            This guarantee is non-terminable during the term of this Agreement and all related amendments,
            renewals, extensions, transfers or new agreements between Open and Customer. Guarantor
            waives notice of all such amendments, renewals, extensions, transfers or new agreements, as
            well as any notices of default issued to Open to which Guarantor may otherwise be entitled to.

            Any suit or action brought to enforce this guarantee may be brought in any state or federal court
            sitting in Larimer County or the City of Denver, Colorado, and Guarantor agrees to such
            jurisdiction in such an event. Guarantor further agrees to pay all costs and attorney’s fees incurred
            by Customer in enforcing this guarantee.


            Open Investments, LLC

            By
                       William Corredor
            Name

                        Florida
            State of _________________________
            County of ____________________
                       Miami-dade



            Signed and sworn to [or affirmed] before me on _______________________, 2018 by
                                          , in his/her capacity as                                       of
            Open Investments, LLC.


            ____________________________________
            (Notary’s official signature)

            ____________________________________
            (Title)

            ____________________________________
            (Commission Expiration)




                                                             Page 4 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 28 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                   MASTER PROFESSIONAL SERVICES AGREEMENT



                                                         INTRODUCTION
            These terms and conditions apply to all services Open International LLC a Florida limited liability
            company (“Open”) and the customer identified on the Order Form (“Customer”).
            The capitalized terms in this Agreement (including any SOWs) have the meanings specified in
            Exhibit A – Definitions or in the Software License Agreement. Exhibits to this Agreement contain
            additional terms and conditions for specific services.
            The requirements of Request for Proposal (RFP) 8697 and Open’s proposal dated March 12th,
            2018 are incorporated herein by reference. In the event of a conflict between the RFP, Open’s
            proposal and/or this Agreement, the terms of this Agreement shall prevail. The Parties
            acknowledge that the requirements outlined in the RFP are high level and may be open to
            interpretation. Open has made good faith efforts to respond based on the capabilities of the Open
            Smartflex solution and the City has proceeded with reasonable reliance on Open’s
            representations.
                                                       SERVICES TERMS

            1    SERVICES
            1.1    Consulting Services. Subject to the terms of this Agreement, Open will provide the
            Consulting Services described in applicable SOWs that are executed by the Parties. The initial
            SOW is listed on the Order Form. Customer will provide assistance with the Consulting Services
            as reasonably requested by Open or as set forth in a SOW, or both. Except as otherwise stated
            in a SOW, Consulting Services shall be deemed accepted upon written approval by the Customer
            which shall not be unreasonably withheld.
            1.2    Software Support Services. Open offers Software Support Services on an annual basis.
            Customer may enroll in Open’s Software Support Services program, by paying the annual
            Software Support Services Fee specified on the Order Form. Open will provide Software Support
            Services in accordance with Exhibit B (Software Support Terms). Customer’s enrollment in
            Software Support Services will continue provided that Customer has paid the annual Software
            Support Services Fee per invoice from Open prior to expiration of the then current Support
            Services term.
            1.3   Updates. Open may, from time to time, develop changes to the Software or the
            Documentation in the form of Updates. Open will provide Customer with such Updates in
            accordance with the Software Support Services purchased by Customer.
            1.4     Re-enrollment in Software Support Services. If at any time Customer fails to pay the
            Software Support Services Fee, but later wishes to re-enroll in Software Support Services,
            Customer may re-enroll only upon payment of the annual Software Support Services Fee for the
            coming year and for all Software Support Services Fees that would have been paid had Customer
            not discontinued Software Support Services.

            2    LIMITED WARRANTY
            2.1    Limited Warranty for Services. Open warrants that: (a) the Consulting Services will be
            provided in accordance with the applicable SOWs, (b) the Software Support Services will be
            provided in accordance with Exhibit B (Software Support Terms), and (c) all Services will be



                                                             Page 5 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 29 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            performed in a competent and professional manner, in accordance with usual and customary
            industry standards, using skilled Open employees, subcontractors or other agents having the
            appropriate background and skills. These warranties will be in effect for a period of ninety (90)
            days following the completion of the Services; provided that Customer provides written notice of
            a breach of this warranty during the applicable warranty period. Customer’s exclusive remedy,
            and Open’s entire liability, for breach of the foregoing warranty, will be for Open to correct or re-
            perform any nonconforming Services, at Open’s expense subject to Section 13.2
            2.2     Exclusions. The foregoing warranty shall not apply to non-conformities due to one or more
            of the following causes: (a) modifications to the Services or Software not made or approved by
            Open; (b) negligence or intentional acts by Customer’ or other third parties’ authorized by
            Customer; (c) misuse or abuse, including the failure to use or install Updates in accordance with
            the Documentation; (d) third party software, hardware or firmware not provided or authorized by
            Open in writing; or (e) Force Majeure.
            2.3   Disclaimers. EXCEPT AS EXPRESSLY SPECIFIED IN THIS SECTION 2 OR IN THE
            RELATED SOW, OPEN MAKES NO WARRANTY OR GUARANTY OF ANY KIND, WHETHER
            EXPRESS, IMPLIED OR STATUTORY, THAT THE SERVICES WILL BE ERROR-FREE OR
            UNINTERRUPTED OR THAT ALL NON MATERIAL ERRORS WILL BE CORRECTED,
            INCLUDING ANY IMPLIED WARRANTY OF MERCHANTABILITY OR FITNESS FOR A
            PARTICULAR PURPOSE, TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW.
            NO ADVICE OR INFORMATION, WHETHER ORAL OR WRITTEN, OBTAINED FROM OPEN
            OR ELSEWHERE WILL CREATE ANY WARRANTY NOT EXPRESSLY STATED IN THIS
            AGREEMENT. THESE DISCLAIMERS WILL APPLY DESPITE THE FAILURE OF THE
            ESSENTIAL PURPOSE OF ANY LIMITED REMEDY PROVIDED HEREIN. CUSTOMER
            ACKNOWLEDGES THAT THE DISCLAIMERS IN THIS SECTION 2 ARE A MATERIAL PART
            OF THIS AGREEMENT, AND OPEN WOULD NOT HAVE ENTERED INTO THIS AGREEMENT
            BUT FOR SUCH DISCLAIMERS.

                                                   PROJECT GOVERNANCE

            3    PROJECT PLAN AND ADMINISTRATION
            3.1     Responsibilities. The Parties will cooperate to establish, document and carry out their
            respective obligations under each SOW. Customer acknowledges that it is essential for Open’s
            performance of its obligations hereunder to provide, and that it shall reasonably provide, to Open
            timely responses, cooperation and access to its facilities.
            3.2    Project Managers. Each Party shall appoint a Project Manager to represent it in the
            administration of this Agreement and any SOW. A Party must notify the other if it changes its
            Project Manager and provide the name of the replacement. Each Party’s Project Manager will
            have authorization for decision-making as to written change requests involving operational issues,
            subject to a properly executed change order and confirming purchase order.
            3.3     Meetings/Reporting. Open will schedule and conduct meetings with Customer as mutually
            agreed to review the progress of the Project and adherence to the Project Schedule. Open will
            prepare progress reports and submit them to Customer as the Parties mutually agree. Open will
            provide such other information as Customer reasonably requests to satisfy itself that the Project
            is progressing according to the Project Schedule.
            3.4     Project Issues and Disputes. Any issues or disputes that arise during the course of the
            Project will be resolved following the process established in Section 17 (Disputes).




                                                             Page 6 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 30 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            4     PROJECT SCHEDULE
            4.1      Mutual Obligations. The Parties will cooperate in good faith, and as reasonably necessary
            to meet the obligations in the SOW and set forth specific progress milestones in a Project
            Execution Plan. The Parties will use reasonable efforts to mitigate the duration of, and costs
            arising from, any suspension or delay in the performance of the Consulting Services and continue
            to perform their obligations under this Agreement to the extent that it is reasonably possible. The
            delayed Party shall give the other Party written notice when it is able to resume performance of
            its obligations under this Agreement subject to Section 13.2.
            4.2     Open Delays. Open will promptly notify Customer, in writing, of any delay, or anticipated
            delay in Open’s performance of this Agreement and the reason for and anticipated length of the
            delay. For Excusable Delays, the date of performance will be extended as mutually agreed by the
            Parties, not to exceed the time lost because of the delay.
            4.3     Customer Suspension. The Project Schedule may be changed to reflect any reasonable
            additional costs and expenses that Open will incur as a result of any suspension in the provision
            of the Consulting Services requested in writing by Customer in accordance with this Agreement.
            Open will provide Customer with a written estimate of these additional costs and expenses. The
            applicable SOW and/or Project Execution Plan will be deemed amended upon mutual agreement
            of the Parties and execution of an amendment and/or change order.
            4.4      Force Majeure.
            (a)     Other than Customer’s payment obligations, neither Party will be considered in default in
            the performance of its obligations under this Agreement if prevented or delayed from such
            performance by a Force Majeure. Any Party temporarily excused from its performance under this
            Agreement by any Force Majeure shall resume performance when the Force Majeure is avoided,
            removed, or cured. Any Party claiming Force Majeure as an excuse for delay in performance shall
            give prompt notice in writing thereof to the other Party and make commercially reasonable efforts
            to overcome the effect of the circumstance as quickly as possible.
            (b)      If the Force Majeure delay period continues for sixty (60) or more days then either party
            may terminate this Agreement by providing written notice to the other party. In the event the
            Agreement is terminated due to a Force Majeure event prior to Acceptance of the system, within
            thirty (30) days of such termination, Open shall refund to Customer the full amount of the license,
            maintenance and support fees and pro-rated implementation services paid for by the Customer.
            In the event the Agreement is terminated due to Force Majeure after Acceptance of the system,
            within thirty (30) days of such termination, Open shall refund to Customer a pro rata amount of
            the already paid maintenance and support fees. In addition, such termination shall be deemed a
            release event for the Software Source Code Escrow and Financial Escrows, as defined below
            (the “Escrow Agreements”) pursuant to the terms of the Escrow Agreements. The relief offered
            by this Section is the exclusive remedy available with respect to the delays described in this
            Section.

            5     PROJECT STAFFING
            5.1    Management of Employees. Subject to this Section 5, Open retains the right to: (a) hire,
            discharge, promote, and transfer employees; (b) determine the number and category of
            employees necessary to perform a task, job, or project; and (c) establish, maintain, and enforce
            rules and regulations conducive to efficient and productive operations.




                                                             Page 7 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 31 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            5.2     Removal of Personnel. All Open personnel and subcontractors assigned to the Project are
            subject to removal at Customer’s reasonable request. Open will have up to twenty (20) business
            days to replace the removed individual from the Project. Whenever possible, and subject to the
            City’s approval, replacements will be brought to the Project team early, prior to the departure of
            the individual being replaced. Unless the removal is for Good Cause, as defined below, any delay
            resulting from the removal and time needed to replace the personnel will be an Excusable Delay,
            and Customer shall reimburse Open for any reasonable and pre-approved out-of-pocket costs
            directly arising from any delay caused by such Removal. “Good Cause” means the personnel’s
            conduct or performance is unsatisfactory, as deemed by the Customer, or that the personnel is
            not appropriately qualified, experienced or skilled, or the personnel is lawfully removed for
            reasons relating to occupational health and safety or security.
            5.3      Use of Subcontractors. As of the date of the Agreement, Open will utilize one (1)
            subcontractor for the project. The subcontractor is Milestone Services. In the event Open intends
            to utilize other subcontractors to complete any part of the Services, Open shall obtain prior written
            approval by the Customer, which shall not be unreasonably withheld. Open will be responsible
            for the performance of its subcontractors, who will remain under Open’s direction and control at
            all times. For any of the work subcontracted hereunder (with the consent of the Customer), the
            following provisions shall apply: (a) the subcontractor must be a reputable, qualified firm with an
            established record of successful performance in its respective trade performing identical or
            substantially similar work, (b) the subcontractor shall be required to sign the Customer’s
            confidential disclosure agreement set forth in Exhibit D (c) the subcontractor will be required to
            comply with all applicable terms of this Agreement, (d) the subcontractor will not create any
            contractual relationship between any such subcontractor and the Customer, nor will it obligate the
            Customer to pay or see to the payment of any subcontractor, and (e) the work of the subcontractor
            will be subject to acceptance by the Customer.

            Open shall require all subcontractors performing work hereunder to maintain insurance coverage
            naming the Customer as an additional insured under this Agreement of the type and with the limits
            specified herein in Section 14. Open shall maintain a copy of each subcontractor’s certificate
            evidencing the required insurance. Upon request, Open shall promptly provide the Customer with
            a copy of such certificate(s).

            5.4      Use of Customer Facilities. Open will perform Services at Customer’s or Open’s location,
            as specified in the SOW. Customer shall allow Open employees and contractors to make
            reasonable use of Customer’s facilities, at no cost to Open, including the use of Customer’s
            workspace, and other items as reasonably requested and as available. Open may, with
            Customer’s prior written consent, store its tools and working equipment at Customer’s sites or
            facilities subject to space availability. Risk of loss shall of any such tools and working equipment
            shall the sole responsibility of Open.
            5.5       On-Site Personnel. During the course of this Agreement, each Party may allow employees
            or contractors of the other Party to participate in Project activities at the Party’s facilities (“On-Site
            Personnel”). All On-Site Personnel will retain their status as employees or contractors of their
            respective company while assigned to work at the other Party’s premises. Each Party will be
            solely responsible for all wages and other compensation, and for all tax withholdings and similar
            payments required in connection with its employees and contractors assigned as On-Site
            Personnel. Each Party will maintain appropriate liability insurance to protect against claims and
            liabilities arising out of any injury or damages sustained by its own employees or contractors while
            they are acting as On-Site Personnel at the other Party’s facilities. On-Site Personnel will observe
            the working hours, rules and regulations, and policies of the hosting Party.




                                                             Page 8 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 32 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            5.6      Compliance with Employment and Safety Laws. The Parties shall comply with applicable
            local, state and federal employment and safety-related laws and regulations.
            5.7     Non-Solicitation. Customer acknowledges and agrees that the employees and consultants
            of Open are a valuable asset and are difficult to replace. During the term of this Agreement and
            for a period of one (1) year thereafter, Customer shall not solicit for employment, employ or
            engage the services of any employee or consultant of Open who performed Services on behalf
            of Open under this Agreement or a SOW without the prior written consent of Open. This provision
            shall not restrict general advertisements of employment or the rights of any employee or
            consultant of Open, on that employee’s or consultant’s own initiative, or in response to general
            advertisements, or response to a competitive purchasing process to seek employment from
            Customer and under such circumstances, for Customer to hire such employee or contract with a
            consultant.

            6     PROJECT CHANGES
            6.1   Requesting a Change. Either Party (“Requesting Party”) may propose a change to a
            SOW by submitting to the other Party (“Responding Party”) a written request describing the
            proposed change and the reasons for the change in reasonable detail.
            6.2     Responding to a Change Request. The Responding Party will reasonably and in good
            faith consider and discuss the proposed change and reply within ten (10) days. Open will provide
            a proposal for any extra expense and, if applicable, an extension to the Project Schedule that
            Open believes may be required. If Open believes that a change requested by Customer will impair
            Open’s ability to fulfill its warranties or contractual obligations under this Agreement, Open may
            propose that Customer modify or waive such warranties or obligations under this Agreement. The
            Requesting Party must respond within ten (10) days by accepting or rejecting the Responding
            Party’s proposal. If the Parties are unable to agree to the proposed changes, the Parties will
            continue to perform their obligations under the existing Project documents.
            6.3   Documenting a Change. Any operational change to a Project described in a SOW must
            be documented in a change order form executed by each Party’s authorized representative.

                                                   GENERAL LEGAL TERMS

            7     CONFIDENTIALITY
            Confidentiality. The Parties acknowledge that they may from time to time require or gain access
            to Confidential Information of the other party. Handling of Confidential Information shall be as set
            forth in Exhibit D.

            8     FEES AND PAYMENT
            8.1     Fees. Open’s Fees for Software Support Services provided under this Agreement are
            specified on the Order Form and further detailed in Exhibit E attached hereto and incorporated
            herein by reference. Open’s Fees for the Consulting Services and License Fees provided under
            this Agreement will be specified on the Order Form(s) or in the related SOW and are further
            detailed in Exhibit E attached hereto.
            8.2      Payment Terms.
            (a) Open will invoice for Software Support Services for year one (1) upon the Delivery Date of the
            Software in accordance with the payment schedule as stated in Exhibit E, less Retainage.




                                                             Page 9 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 33 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            (b) Open will invoice for Consulting Services in accordance with the milestone payment schedule
            as stated in Exhibit E, less Retainage.
            (c) Open will invoice for conversion services on a monthly basis at an hourly rate of $150. The
            Parties estimate approximately 3,400 hours of consultant services to complete the conversion
            services. The Customer will retain 10% of each invoice for conversion services (the “Retainage”).
            The Retainage will be released after the Acceptance Date.

            (d) Open will invoice the Software License Fee upon the Delivery Date in accordance with the
            payment schedule as stated in Exhibit E, less Retainage.

            (e) Open will invoice for Software Support Services for year two (2) one (1) year from the initial
            Delivery Date of the Software in accordance with the payment schedule as stated in Exhibit E,
            less Retainage.

            (f) Open will invoice for reasonable travel expenses on a monthly basis. All travel expenses will
            be in compliance with Exhibit F, Travel Expense Guidelines. Exceptions to the Travel Expense
            Guidelines require the Customer’s prior written approval. All invoices for reimbursement of travel
            expenses shall include an attachment with an itemized breakdown for all expenses. All receipts
            shall be attached to the invoice. No retainage will be withheld for travel expenses.

            (g) Customer must pay each undisputed invoice within thirty (30) days of the invoice date in U.S.
            dollars. If Customer does not pay an invoice when due, Open may charge a late payment fee on
            the unpaid amounts equal to the lesser of: (i) one percent (1%) per month; or (ii) the maximum
            legal rate allowed by the State of Colorado.
            8.3    Taxes. Open acknowledges the Customer has advised that it is exempt from all local,
            state and federal sales and use tax. Customer has provided evidence of its exemption from
            applicable state sales and use taxes.

            9    INTELLECTUAL PROPERTY RIGHTS
            9.1     Open owns and will retain during the term of the Agreement and any extension, all right,
            title and interest including, without limitation, all Intellectual Property Rights, in all Open
            Confidential Information, Software, Updates and related Documentation.
            9.2     Open shall own all right, title and interest including, without limitation, all Intellectual
            Property Rights in any work product created by or for Open pursuant to this Agreement, including
            any Derivative Works based on this work product, except as described in Section 9.3.
            9.3   Customer Works. If Open agrees to develop customer-specific works pursuant to this
            Agreement that will be owned by Customer, the terms of such agreement will be described in a
            SOW.
            9.4    Proprietary Markings. Customer shall not remove or destroy any proprietary, trademark or
            copyright markings or notices placed upon or contained within the software or documentation.

            10 INDEMNIFICATION
            10.1 Personal Injury and Property Damage. Each Party (the “Indemnitor”) shall indemnify,
            defend, and hold harmless the other Party (the “Indemnitee”) from and against any claim,
            demand, suit, action or proceeding that is asserted against the Indemnitee by a third party as a
            result of bodily injury or death to any person, or damage to any tangible property, to the extent
            that such injury, death, or damage is caused by the negligent acts or omissions, or willful
            misconduct of the Indemnitor. Open acknowledges and agrees that (a) Customer has certain



                                                             Page 10 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 34 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            immunities from indemnification claims under the Colorado Governmental Immunity Act, Col. Rev.
            Stat. § 24-10-101 et. seq.(b) the indemnification provisions set forth herein apply to Customer
            only to the extent that Customer does not have immunity under such statute, and (c) nothing
            herein is intended to waive the Customer’s maximum liability and protections under such statute.
            10.2 Procedures for Indemnification. Indemnitor’s indemnification obligations under this
            Section 10 are conditioned upon Indemnitee (a) promptly (the greater of ten (10) business days
            after notice of claim or as allowed by the laws of the State of Colorado) notifying Indemnitor in
            writing of the claim; (b) granting Indemnitor sole control of the defense and settlement of the claim;
            and (c) providing Indemnitor, at Indemnitor’s expense, with all assistance, information and
            authority reasonably required for the defense and settlement of the claim.

            11 DATA OWNERSHIP AND MANAGEMENT
            (a) Open acknowledges all information, material, and data which describes the operations of
            Customer’s utility operations including water, wastewater, stormwater, electric,
            telecommunications, and broadband; electronic records which Customer maintains to do its
            business; statistical information created or maintained by or on behalf of and an agency of
            Customer that records a measurement, transaction, or determination related to the mission of an
            agency, including utility customer consumption and billing input and information (collectively,
            “Customer Utility Data”), Open may receive during the term of this Agreement is exclusively
            owned by Customer and Open shall have no right or title to any aspect or derivative of such
            Customer Utility Data. Open hereby assigns without any requirement of further consideration all
            right, title, and interest Open may have to the Customer Utility Data, including any copyrights or
            other rights to the same. Open hereby warrants the Software does not maintain, store, or export
            the Customer Utility Data using a database structure, data model, entity relationship diagram or
            equivalent which is itself a trade secret or which would cause substantial injury to the competitive
            position of Open if published. Subject to the provisions of Exhibit D, Customer hereby grants to
            Open a nonexclusive, nontransferable, worldwide:
            1.     know-how license to internally use the Customer Utility Data for the sole purpose of
            enabling Open to develop, test, and support Customer’s use of the Software;
            2.    copyright license to internally reproduce, internally display, and internally distribute the
            Customer Utility Data; and
            3.    copyright license to reproduce, display, distribute, and create derivative works of the
            Customer Utility Data upon Customer’s request and for Customer’s use.
            (b) Customer shall not make available to Open any information (in any form) for testing, validation
            or other purposes that identifies, or is reasonably capable of being associated with a particular
            individual (for example, end-user name, email address, social security number, account number
            or mailing address) (collectively, “Personal Data”) without Open’s prior written consent. Open
            assumes no responsibility for Personal Data carried on Customer’s systems.

            12 LIMITATIONS OF LIABILITY
            12.1 NEITHER PARTY SHALL BE LIABLE FOR: (A) ANY PUNITIVE, SPECIAL, INDIRECT,
            INCIDENTAL OR CONSEQUENTIAL DAMAGES (INCLUDING LOSS OF USE, DATA,
            BUSINESS, OR PROFITS), REGARDLESS OF THE THEORY OF LIABILITY OR WHETHER
            THE LIABLE PARTY HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES; OR
            (B) AGGREGATE DAMAGES IN EXCESS OF THE FEES PAID OR PAYABLE BY CUSTOMER
            UNDER THIS AGREEMENT DURING THE TWELVE (12) MONTHS PRIOR TO THE EVENT
            GIVING RISE TO LIABILITY.



                                                             Page 11 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 35 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            12.2 Exceptions. The limitations of liability set forth in Section 12.1 above do not apply to, and
            each Party accepts liability to the other for: (a) damages related to claims that are the subject of
            indemnification under this Agreement, (b) claims based on either Party’s intentional breach of its
            obligations set forth in Section 7 (Confidentiality) or Section 11 (Personally Identifiable
            Information), and (c) either Party’s unauthorized use, distribution, or disclosure of the other Party’s
            intellectual property.
            12.3 Customer agrees that any claim or cause of action arising out of or related to this
            Agreement must be filed within the later of one (1) year after such claim or cause of action arose
            or as allowed by the laws of the State of Colorado.
            12.4 Because some jurisdictions do not allow liability or damages to be limited to the extent set
            forth above, some of the above limitations may not apply to Customer.

            13 TERM AND TERMINATION
            13.1 Term. This Agreement shall become effective as of the Effective Date specified on the
            Order Form, and unless terminated earlier as provided in this Agreement, shall continue for an
            initial term of three (3) years (the “Initial Term”). Customer may renew this Agreement for
            additional one-year terms up to an additional two (2) years (each a “Renewal Term”, and together
            with the Initial Term the “Term”) by providing written notice of renewal within thirty (30) days of
            the Initial Term or then-current Renewal Term. Upon the expiration of the Term and provided that
            Customer is not in breach of this Agreement, the Software License Agreement, or any of the
            Escrow Agreements, the Customer may renew this Agreement at its own discretion.
            13.2 Termination for Default. Subject to Section 4.4, Force Majeure, either Party may terminate
            this Agreement if the other Party fails to perform any of its material obligations under this
            Agreement and such failure is not cured within thirty (30) days after receipt of written notice thereof
            from the non-defaulting Party. Any notice of default provided under this Agreement shall specify:
            (a) the nature of such default and (b) the specific act or acts which the non-defaulting Party
            contends would, if undertaken, correct such default.
            13.3 Termination for Insolvency. Upon written notice, either Party may immediately terminate
            this Agreement and the licenses granted under this Agreement if the other Party: (a) becomes
            insolvent or becomes unwilling or unable to meet its obligations under this Agreement; (b) files a
            petition in bankruptcy; or (c) is subject to the filing of an involuntary petition for bankruptcy that is
            not rescinded within a period of sixty (60) days.
            13.4 To the extent this Agreement or any provision in it constitutes a multiple fiscal year debt or
            financial obligation of the Customer, it shall be subject to annual appropriation by City Council as
            required in Article V, Section 8(b) of the City Charter, City Code Section 8-186, and Article X,
            Section 20 of the Colorado Constitution. The Customer shall have no obligation to continue this
            Agreement in any fiscal year for which no such supporting appropriation has been made.

            13.5 Consequences of Termination by Customer for Default. If Customer terminates this
            Agreement under Sections 13.2 (Termination for Default) or 13.3 (Termination for Insolvency):
            (a) Customer shall have no obligation to Open, except to pay for additional licenses delivered but
            not paid, and for Services accepted by Customer prior to termination. Open will cease
            performance of the Services immediately upon receipt of written notice of termination.
            (b) All Software and Financial Escrows will be released to the Customer in accordance with the
            Escrow Agreements, as set forth in Section 16.




                                                             Page 12 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 36 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            (c) Customer may employ any other qualified person, firm, or corporation to finish the work that
            was to be performed by Open, and Customer may recover from Open the reasonable cost of such
            completion, not to exceed one hundred ten percent (110%) of the costs that would have been
            payable to Open for such completion, and subject to Section 12 (Limitations of Liability).
            13.6 Consequences of Termination by Open for Default. If Open terminates this Agreement
            under Sections 13.2 (Termination for Default) or 13.3 (Termination for Insolvency):
            (a) Customer shall pay Open in full for all Services performed by Open prior to the effective date
            of termination. Further, if such termination is due to non-payment of Fees or breach of Customer’s
            confidentiality obligations, all licenses granted under this Agreement shall terminate.
            (b) All Software and Financial Escrows will be released to Open in accordance with the Escrow
            Agreements, as set forth in Section 16.
            13.7     Effect of Termination or Expiration.
            No later than ten (10) days after the date of termination or expiration of this Agreement for any
            reason whatsoever, each party will securely destroy all copies of Confidential Information of the
            other party in its possession except for any copies kept in an automated backup or archival system
            or as required to comply with any applicable legal or accounting recordkeeping requirement
            subject to the obligation to keep such information confidential in accordance with Exhibit D. Each
            Party shall furnish the other with a certificate signed by an executive officer verifying that the same
            has been done.
            13.8 Survival. All financial obligations that had accrued but were unpaid as of the effective date
            of termination or expiration shall survive termination or expiration. The terms and conditions of
            Sections 2 (Limited Warranties), 7 (Confidentiality), 8 (Fees and Payment), 9 (Intellectual Property
            Rights), 10 (Indemnification), 12 (Limitation of Liability), 13 (Term and Termination), 16 (Escrow)
            and 18 (General) shall survive any termination or expiration of this Agreement.

            14 INSURANCE
            By August 18, 2018, Open shall procure and maintain at its own expense the following minimum
            insurance and shall provide to Customer certificates of insurance evidencing such coverage:
            (a)  Workers’ Compensation insurance for statutory obligations imposed by Workers’
            Compensation, Occupational Disease, or other similar laws and $1,000,000 Employers Liability;
            (b)      Products Liability, $1,000,000 per occurrence, $2,000,000 aggregate;
            (c)    Business Automobile Liability (for all owned, non-owned, hired, and leased vehicles):
            $1,000,000 per occurrence;
            (d)      Commercial General Liability, $1,000,000 per occurrence, $2,000,000 aggregate;
            (e)     Umbrella liability coverage of $3,000,000 per occurrence and aggregate (covers the
            policies listed above); and
            (f)    Professional Liability (errors and omissions), $1,000,000 per occurrence, with a
            $2,000,000 aggregate; and
            (g)      Cyber Liability coverage $2,000,000 per occurrence and aggregate.

            Open will name Customer as an additional insured under such policies.




                                                             Page 13 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 37 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            15 BUSINESS AND FINANCIAL REPORTING1
            15.1 The Parties agree that the Software, Software Services and Consulting Services to be
            performed under the Agreement are critical systems and services to the Customer. Open
            acknowledges the Customer’s need to monitor Open’s business and performance to plan. Open
            further acknowledges the Customer’s unique position and risk as the first implementation in the
            United States. Therefore, as a material condition and on-going condition of the Agreement, Open
            shall provide the Customer with the following documentation and such other documentation as
            reasonably requested.
            (a)      North American Strategy Reporting – Semi-Annually (August/February)
                        a. North American progress to plan
                        b. Business activity
                        c. Changes to staffing levels by position classification
                        d. Strategic partners update

            (b)      Product development plan – Annually (August)
                        a. 18 - 24-month product roadmap
                        b. Performance to plan for new product developments

            (c)      Financial Reporting – Annually (August)
                        a. Independent auditor’s report-to be performed by RSM CA S.A.S- See Note 1 below
                        b. Income statement – See Note 1
                        c. Balance sheet – See Note 1
                        d. Cash flow report – See Note 1
                        e. Material financial change and/or changes to business or regulatory filings – written
                            notification within ten (10) days of change
                        f. Change in Board of Directors and/or senior management – written notification
                            within ten (10) days of change

            16 ESCROWS AND US ASSETS
            16.1 Software Code Escrow. During the Term, and any extension, the Software, source code and
            Documentation shall be subject to escrow by an independent third-party located in the United
            States (the “Software Source Code Escrow”). Such escrow shall be updated by Open by FTP file
            transfer or other electronic means accepted by escrow agent at least every six (6) months and
            with major updates to the Software. The release conditions for such Software Source Code
            Escrow (“Software Release Conditions”) shall be in Exhibit G. The form of the Software Source
            Code Escrow agreement will be substantially similar to the terms of Attachment 1 to Exhibit G.




                     1
                       Independent and externally audited financial statements and independent auditor’s
                     report to be performed by RSM CA S.A.S. In the event Open wishes to change financial
                     auditor’s, such change and selection of the firm shall be subject to the Customer’s review
                     and approval.      Financial statements should be in conformity with either accounting
                     principles generally accepted in the United States of America (US GAAP) or International
                     Financial Reporting Standards as issued by the International Accounting Standards Board
                     (IFRS). The audit should be conducted in accordance with auditing standards generally
                     accepted in the United States of America (US GAAS) or International Standards on
                     Auditing (ISA).



                                                             Page 14 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 38 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            The Customer will be responsible for the annual cost for such third-party escrow. In any case, the
            only use to which Customer may put the Software and source code released from escrow under
            this Agreement is for utilities operations supported by the City of Fort Collins.

            16.2 Financial Escrow and/or Irrevocable Letter of Credit. Upon achievement of the Acceptance
            Date and prior to the Customer’s release of the Retainage, Open shall within ten (10) business
            days deposit $1,000,000 into a financial escrow to be held by an independent third-party located
            in the United States (the “Financial Escrow” and, together with the Software Source Code
            Escrow, the “Software and Financial Escrows”). Subsequently the Customer will release the
            Retainage to the Financial Escrow to establish a balance of up to $2,000,000. Alternatively, the
            Parties may establish an Irrevocable Letter of Credit with a minimum assurance of $2,000,000.
            For the avoidance of doubt, (a) the Financial Escrow refers to either an escrow agreement or the
            above-referenced letter of credit, and (b) if any incremental amounts are released from the
            Financial Escrow, all references to Financial Escrow shall be to the remaining amount. The
            release conditions for such Financial Escrow or Irrevocable Letter of Credit (“Financial Release
            Conditions”) shall be as set forth in Exhibit G.

            16.3 US Assets. During the Agreement Term, Open and/or Open Investments, LLC shall maintain
            a minimum of $5,000,000 in liquid assets on deposit or invested in the United States. Verification
            of compliance to this provision shall be completed at least annually by the third party independent
            financial auditor. This is a material condition of the Agreement.

            17 DISPUTES
            17.1 Informal Dispute Resolution. The Parties will use reasonable efforts to resolve any
            disputes under this Agreement through negotiation. If a dispute arises between the Parties, the
            Project Managers will first strive to work out the problem internally. If the Project Managers are
            unable to resolve the dispute within thirty (30) days of commencing negotiations, then either Party
            may deliver a written notice in accordance with Section 18.5 (Communication and Notice
            Protocol) to the other Party describing the nature and substance of the dispute and proposing a
            resolution (the “Notice of Dispute”).
            17.2 Executive Negotiation. During the first ten (10) days following the delivery of the Notice of
            Dispute (and during any extension to which the Parties agree) an authorized executive of each
            Party shall attempt in good faith to resolve the dispute through negotiations. If such negotiations
            result in an agreement in principle to settle the dispute, they shall cause a written settlement
            agreement to be prepared, signed and dated, whereupon the dispute shall be deemed settled,
            and not subject to further dispute resolution.
            17.3 Unresolved Disputes. Upon the Parties’ mutual written agreement, any dispute under this
            Section 17 may be submitted for resolution to mediation to occur in Denver, Colorado. The Parties
            reserve all rights to adjudicate any dispute not submitted to mediation under this Section 17.3 in
            the state and federal courts in and for Denver, Colorado.
            17.4 Exception for Injunctive Relief. Despite the dispute resolution options specified above,
            either Party may seek injunctions or other equitable remedies from the state and federal courts in
            and for Denver, Colorado in the case of an actual or threatened infringement of such Party’s
            Intellectual Property Rights by the other Party, or in the case of any other imminent threat of
            irreparable injury, without the posting of a bond or proof of monetary damages.




                                                             Page 15 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 39 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            18 GENERAL
            18.1 Governing Laws and Jurisdiction. This Agreement shall be governed by the laws of the
            State of Colorado, U.S.A. Exclusive jurisdiction for litigation of any dispute, controversy or claim
            arising out of or in connection with this Agreement shall be only in the Federal or State court with
            competent jurisdiction located in Larimer County, Colorado or Denver, Colorado and the parties
            hereby submit to the personal jurisdiction and venue therein.
            18.2 Binding upon Successors; Assignment. Neither Party may assign any of its rights, whether
            by operation of law or otherwise, without the prior express written consent of the other Party;
            provided, however, that either Party may assign this Agreement without such consent in
            connection with a merger, acquisition, corporate reorganization, sale of all or substantially all of
            its relevant assets or other change of control, to any party who is not a competitor of the non-
            assigning Party. Any attempted assignment in violation of this Section 18.2 shall be null and void.
            Subject to the foregoing, this Agreement will bind and inure to the benefit of the Parties, their
            respective successors and permitted assigns.
            18.3 Severability. The unenforceability of any provision of this Agreement shall not impair the
            enforceability of any other part of this Agreement. If any provision of this Agreement shall be
            deemed invalid or unenforceable, in whole or in part, this Agreement shall be deemed amended
            to delete or modify, as necessary, the invalid or unenforceable provision to render it valid,
            enforceable, and, insofar as possible, consistent with the original intent of the Parties.
            18.4 Amendment and Waivers. Any term or provision of this Agreement may only be amended
            or waived by the Parties’ express written agreement. Email and other electronic communications
            shall not be deemed to be a “written agreement” under this provision. The delay or failure of a
            Party, at any time or from time to time, to require performance of any obligations of the other Party
            will not be deemed a waiver and shall not affect its right to enforce any provision of this Agreement
            at a subsequent time.
            18.5 Communication and Notice Protocol
            (a) Ordinary day-to-day operational communications may be conducted by email or telephone
            communications. Emails are representative only of the understanding of the person sending the
            email and shall not be used for the communication of a notice which is prescribed by this
            Agreement. All other notices permitted or required under this Agreement shall be in writing and
            shall be deemed to have been given when delivered in person or sent by pre-paid first class
            certified mail or other next business day delivery service with receipt confirmation. Such notices
            shall be effective as follows: if delivered personally, when left at the address referred to below; if
            sent by pre-paid first class certified mail or other next business day delivery service, on the date
            and at the time of receipt and signature confirmation; or if delivered by commercial courier, on the
            date and at the time that the courier’s delivery receipt is signed.

            Open International, LLC.               City of Fort Collins              Copy To:
            Attn: Hernando Parrott                 Attn: Lori Clements               City of Fort Collins
            600 California St.,                    PO Box 580                        Attn: Purchasing Director
            11th Floor                             Fort Collins, CO 80522            PO Box 580
            San Francisco, CA 94108                                                  Fort Collins, CO 80522

            The Parties’ respective designated representatives shall be the primary means for communication
            and all other interactions between Open and Customer required under this Agreement. Revisions
            to scope of work and project milestones will only be made through formal communication with the
            approval of all signatory parties.



                                                             Page 16 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 40 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            (b) The following address how formal, informal and outside communication that may occur during
            the Term will be treated to preserve the integrity of project decision-making and avoid unintended
            delays or changes to project scope; however, this Section is not intended to be so restrictive as
            to eliminate all efficiency from the information exchange process:

                     (i) Formal communications

                     Written correspondence is required whenever an exchange of information or an official
                     response is need from a receiving party as to any project related matter, including changes
                     to delivery schedules, scope of work, and coordination with subcontractors or other parties
                     that will affect performance by the transmitting party. Formal information transfer or
                     correspondence between Open and Customer shall be by way of letter issued under hard
                     copy correspondence. Formal correspondence can be included as an attachment to an
                     email delivering correspondence. Correspondence issued in this manner is understood to
                     represent controlled and reliable information reflecting the position of the transmitting
                     party.

                     (ii) Informal communications

                     Subject to confidentiality requirements of this Agreement (as set forth in Exhibit D),
                     informal non-binding communication and meetings between Open and Customer or
                     Customer’s contractors on matters of project interdependencies is expected to occur.
                     However, interpretation or amendment of the Parties’ duties under this Agreement shall
                     only occur through formal communications and mutually-approved change orders.
                     Information exchanged through technical reports and data held and/or prepared by
                     Customer’s contractors on other related projects, or Customer personnel not expressly
                     identified in this Agreement, shall be non-binding and shall not constitute contract
                     direction.

                     (iii) Outside Communications
                     Communications with entities other than the Parties respective designed representatives,
                     Customer’s contractors working on related projects, or otherwise outside the contractual
                     relationship between Open and Customer described in this Agreement shall not be
                     construed as contract direction to change the scope, terms or conditions of this
                     Agreement.

            18.6 Third Party Beneficiaries. No provisions of this Agreement are intended to provide any
            third-party beneficiary rights or any other rights of any kind in any other party.
            18.7 Publicity. The Parties shall create and approve for publication a press release announcing
            their relationship under this Agreement. Open may not use Customer’s name and logo without
            the Customer’s express written approval.
            18.8 Costs. If any action at law or in equity is necessary to enforce or interpret the terms of this
            Agreement, the Software License Agreement, or any of the Escrow Agreements, the prevailing
            Party shall be entitled to reasonable attorney’s fees, costs and necessary disbursements in
            addition to any other relief to which such Party may be entitled.
            18.9 Counterparts. This Agreement may be executed in one or more counterparts, each of
            which will be deemed an original, but which collectively shall constitute one and the same
            instrument.




                                                             Page 17 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 41 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            18.10 Due Authorization. Each Party hereby represents and warrants to the other Party that: (a)
            the individual executing this Agreement on behalf of such Party is duly authorized to execute this
            Agreement on its behalf, and (b) this Agreement is a valid and binding obligation of such Party
            and enforceable against such Party in accordance with its terms.
            18.11 Independent Parties. The Parties’ relationship is that of vendor and customer and Open
            is an independent contractor of Customer. Neither Party nor its employees, consultants,
            contractors or agents are agents, employees, partners or joint ventures of the other Party, nor do
            they have any authority to bind the other Party by contract or otherwise to any obligation or liability.
            18.12 English Language. This Agreement is in the English language only, which shall be the
            governing language and controlling in all respects. All versions of this Agreement in any other
            language will be for accommodation only and are not binding upon the Parties. All
            communications and notices to be made or given pursuant to this Agreement shall be in the
            English language.
            18.13 Interpretation. The Parties have participated equally in the negotiation and drafting of this
            Agreement. This Agreement will not be interpreted more favorably toward either Party.
            18.14 Anti-corruption. The Customer has not received or been offered any bribe, kickback, illegal
            or improper payment, gift, or thing of value from any Open personnel or agents in connection with
            this Agreement, other than reasonable gifts and entertainment provided in the ordinary course of
            business. If Customer becomes aware of any violation of the above restriction then Customer will
            promptly notify Open.
            18.15 Entire Agreement; Precedence. This Agreement, including all Exhibits, constitutes the
            final, complete and exclusive agreement between the Parties with respect to the subject matter
            of this Agreement, and supersedes any prior or contemporaneous agreement, proposal,
            warranties and representations. If of any conflict between the Order Form, these Terms and
            Conditions, an SOW and Exhibit B, the following order of precedence shall govern: first this
            Agreement, then Software License Agreement, then Exhibit B Software Support Terms.




                                                             Page 18 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 42 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                     MASTER PROFESSIONAL SERVICES AGREEMENT
                                                       EXHIBIT A - DEFINITIONS


            The capitalized terms in the Agreement, Exhibits or SOW have the following meanings:
            “Acceptance Date” means the date the Customer has approved and signed the final test report,
            a document that formalizes the acceptance of the solution, at the end of the Acceptance Testing,
            as defined in SOW#1.
            “Affiliates” means any entity (i) of which a Party owns more than 50% of the entity; (ii) over which
            a Party exercises management control; or (iii) which is under the common control with a Party.
            “Business Day” means weekdays when Customer’s offices are open for business in Fort Collins,
            Colorado.
            “Confidential Information” means with respect to Open information, the Software (including
            Updates), Documentation, and any results of any testing or analysis of the Software or
            Documentation by any party, and with respect to either party’s information, all information that:
            (a) is marked as confidential or proprietary (b) by its nature is normally and reasonably considered
            confidential, and as otherwise set forth in Exhibit D attached hereto. Confidential Information may
            include information belonging to the Disclosing Party or information entrusted to the Disclosing
            Party by a third party under obligations of confidentiality.
            “Consulting Services” means Open’s professional services for Software and environments that
            may include the: (a) planning, installation, configuration, and implementation of Software
            environments at Customer’s data center; (b) maintenance of hardware, software and network
            connections; (c) planning and implementation of business continuity and disaster recovery; and
            (d) training of Customer staff and/or contractors. Consulting Services do not include Software
            Support Services.
            “Derivative Work” means a work based on the Software, an Open Service or an Open Intellectual
            Property Right (collectively, “Prior Work”), including: (i) for material subject to copyright
            protection, any work that is based upon one or more Prior Works, such as a revision, modification,
            translation, abridgment, condensation, expansion, collection, compilation or any other form in
            which such preexisting works may be recast, transformed or adapted; (ii) for patentable or
            patented inventions, any adaptation, subset, addition, improvement or combination of any Prior
            Work; and (iii) for material subject to trade secret protection, any new material, information or data
            relating to and derived from the pre-existing Open Confidential Information.
            “Delivery Date” means the date Open delivers to the Customer the complete Software.
            “Disclosing Party” means a Party disclosing Confidential Information under this Agreement.
            “Documentation” means an electronic version of the then-current installation instructions and
            user manuals for the Software Open customarily provides to its customers.
            “Error” means a material failure of the Software to perform in accordance with the Documentation
            which Open is able to reproduce and verify using reasonable efforts. Errors do not include, and
            Open will have no responsibility for, any failure of the Software caused by any of the following:
            (i) any alterations, or modifications not made or approved by Open in writing; (ii) misuse or abuse,
            including without limitation the failure to operate the Software in accordance with Open’s
            installation and operating instructions or the Documents, or the operation of Software with
            computers or computer operating systems or third party software other than those recommended



                                                             Page 19 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 43 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            by Open in writing; (iii) damage to the Software due to the fault or negligence of any person or
            entity other than Open or Open’s authorized contractor; (iv) any failure of the computer operating
            systems, hardware environment or third-party software utilized by Customer; or (vi) Force
            Majeure.
            “Excusable Delay” means: (i) a delay caused by a Force Majeure event; (ii) a delay caused by
            Customer, or by Customer’s consultants, agents, contractors or other parties contracting with
            Customer in connection with the Project; (iii) suspension by Customer under Section 4.3
            (Customer Suspension); (iv) a delay caused by the removal of Personnel by Customer other than
            for Good Cause, as provided in Section 5.2 (Removal of Personnel); or (v) any other delay agreed
            by the Parties to be an Excusable Delay.
            “Fees” means all amounts payable to Open by Customer under this Agreement.
            “Force Majeure” means any cause that is beyond the reasonable control and without the fault or
            negligence of a Party, including, but not limited to, acts of God, war, acts of any government or
            agency thereof, fire, explosions, epidemics, quarantine restrictions, embargoes, or severe
            weather conditions.
            “Intellectual Property Right(s)” means all worldwide common law or statutory: (i) patents,
            patent applications, and patent rights; (ii) rights associated with original works, authorship, moral
            rights, copyrights and all its exclusive rights; (iii) rights relating to the protection of trade secrets
            and confidential information, (iv) rights associated with algorithms, designs, industrial designs,
            and semiconductor design; (v) rights related to the possession, use or exploitation of signs,
            trademarks, service marks, trade names, trade dress and related goodwill; (vi) rights analogous
            to those specified above and any and all other industrial or intellectual property rights; and
            (vii) registrations, divisionals, continuations, continuations-in-part, renewals, reissues,
            reexaminations, and extensions of the foregoing (as applicable) now existing or later filed, issued
            or acquired.
            “Major Release” means a new release of Software supported by Open that adds features and
            functionality improving overall product performance, efficiency and usability. Major Releases are
            denoted by a change in the digit number of the release to the left of the decimal point (e.g., 1.5 to
            2.0).
            “Minor Release” means a new Software release supported by Open that impacts overall product
            performance, efficiency and usability. Minor Releases are denoted by a change to the tenths
            decimal number of the release (e.g., 1.5 to 1.6).
            “Order Form” means the order form on the cover page of the Agreement, executed by the
            Parties.
            “Parties” or “Party” means Open or Customer, or both, as applicable.
            “Patch Release” means a Software release that provides Error fixes and is denoted by a change
            to the hundredths decimal number of the release (e.g., 1.5.2 to 1.5.3).
            “Project” means the professional services project described in the related SOW.
            “Project Manager” means the person each Party appoints to handle the day-to-day management
            of that Party’s Project responsibilities.
            “Project Plan” means a document prepared by Open and agreed to in writing by Customer,
            setting out the Parties’ respective tasks and responsibilities, milestones, deliverables, testing and
            Project Schedule.



                                                             Page 20 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 44 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            “Project Schedule” means the schedule for completion of Consulting Services as described in
            an SOW.
            “Proprietary Technology” means any Open Intellectual Property Right, including but not limited
            to technology, information, innovations, designs, know-how, toolkits, architectures, best-practices
            information, data structures, software, methods, product evaluation data, drawings and works of
            authorship. Proprietary Technology also includes any extensions or modifications to the foregoing
            that Open develops during the term of this Agreement; provided however, that Proprietary
            Technology will not be based on, or derived from, any Customer Confidential Information or
            Customer pre-existing Intellectual Property Rights.
            “Receiving Party” means a Party receiving Confidential Information under this Agreement.
            “Service Levels” means the measurement of the performance of the Software or Services, as
            applicable, and is generally expressed as a percentage of a goal (e.g., the percentage of the time
            a network or system is operative or successful transactions are processed).
            “Services” means the Consulting Services and the Software Support Services, each as defined
            in Section 1.
            “Software” means: (a) Open’s proprietary software licensed to Customer under the Software
            License Agreement and (b) Updates provided to Customer with Software Support Services.
            “Software License Agreement” means the software license agreement executed by Customer
            and Open and listed on the Order Form.
            “Software Support Services” means the annual Software maintenance and support services
            described at Exhibit B.
            “Statement of Work” or “SOW” means a document that describes Consulting Services Open will
            provide under this Agreement, and which will reference or be attached to this Agreement as one
            or more Exhibit C (Statement(s) of Work).
            “Third Party Software” means any proprietary software developed by third parties that Open may
            embed with the Software or otherwise provide to Customer.
            “Updates” mean Major Releases, Minor Releases, and Patch Releases. Updates do not include
            stand-alone, plug-in or add-on software products or modules licensed separately that contain new
            features and functionality for which Open charges separate license and Software Support
            Services fees.


                                                                [END]




                                                             Page 21 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 45 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                       MASTER PROFESSIONAL SERVICES AGREEMENT
                                                 EXHIBIT B - SOFTWARE SUPPORT TERMS


            The Software Support Terms is attached to and made a part of the Master Professional
            Services Agreement (the “Agreement”) between Open International LLC (“Open”) and the City
            of Fort Collins, Colorado (“Customer”). The terms and conditions of the Agreement are
            incorporated herein by reference.

            The effective date of this Software Support Terms shall be August 20, 2018 (the “Software
            Support Terms Effective Date”). The capitalized terms used in this Software Support Terms
            shall have the meaning defined under the Agreement, except as otherwise defined below. In the
            event of a conflict between this Software Support Terms and the Agreement, the terms and
            conditions of the Agreement shall prevail.

            SOFTWARE MAINTENANCE, UPGRADE, AND TECHNICAL SUPPORT PROGRAM

            Subject to Customer’s payment of the annual Software Support Services Fee, during the Term
            of the Agreement, Open will participate in the following activities:

            •        Delivery of new versions of modules of the Licensed Product2 under the terms and extent
                     defined herein.
            •        Provision of Second Level Remote Support via the Open Online, which provides telephone
                     support, web or remote access to the server from the Customer.
            •        Correction of errors in the Supported Programs3.
            •        Analysis and approach to the solution of requirements reported by the Customer, by
                     Change in Regulation4 of the Licensed Public Service5 or changes in tax matters related
                     to the scope of the Licensed Product1 and the supported programs2.


            I. SUPPORT AND MAINTENANCE
            Support and maintenance cover the Supported Programs2 during the period defined in this
            Software Support Terms (Exhibit B). During this period Open will answer specific questions about
            the operation of the Supported Programs and will correct, as described in the following




            2
             Licensed product: makes reference to the Software licensed by Customer under the Software License Agreement
            described at page one (Order Form) of this Master Professional Services Agreement.
            3Supported programs: Refers to the Software units associated with the functionalities of modules described in the
            Software License Agreement that authorizes the Software use.
            4 Legislation and regulation: refers to the indications of the relevant regulatory entities in each sector and country,
            formally agreed in advance between the Customer and Open. Technical support of these indications depends on two
            conditions: 1) The technical and functional feasibility determined by Open’s impact analysis, and 2) the indications must
            fall under the basic scope of the system.
            5 Licensed public service: Corresponds to public service described in the license document that Open provides and
            through which authorizes the use of the Software.




                                                                 Page 22 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 46 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            paragraphs, verifiable reported errors in the supported programs so that they operate according
            to the functions described in the software Documentation associated with the version where the
            failure occurs.
            Open will provide second level support service on released versions of the product for a period
            not exceeding one year from the date of release of the respective version, under the following
            conditions:

            SUPPORTED PLATFORM
            The product must be installed on a supported platform; this refers to the hardware and software
            platforms (for example, database server systems, application server systems and systems in
            client stations) that are used by the Supported Programs as expressly stated in the
            Documentation or in the license agreement. The requirements of the Supported Platform are
            subject to modification as specified by Open at its sole discretion upon written notice.

            SUPPORT LEVELS
            The scope of the support service described in this Exhibit B refers to the second level support.

            For clarity of the document, below we define each of the levels of support included.

            First Level Support
            This level of support falls under the responsibility of the Customer, who must structure it with a
            team with experience in the product and procedures of first level support according to their needs.
            Open, at the Customer’s request and at extra charge can provide temporary or permanent staff
            for First Level Support, without this being interpreted that for these activities there is a commitment
            under the current Service Level Agreements (SLA) or that they are part of the response times
            defined herein.

            First level support is defined as a party who serves as a primary contact to the end user in relation
            to the use and scope of the Licensed Product, which person must be able to deal with and close
            independently requests of the following nature:
                •    Basic: generated by novice users who do not have sufficient knowledge of the Supported
                     Programs.
                •    Problems unrelated to the Supported Programs: such as operating faults, configuration,
                     parameterization, hardware problems, database engine and operating system problems,
                     and software not licensed by Open, among others.

            This includes:

                A. Response to End User questions relating to the operation or functionality of the Supported
                   Programs.
                B. Response to end-users with respect to problems or deficiencies of the Supported
                   Programs.
                C. Initial diagnosis of problems or deficiencies of the Supported Programs.
                D. Problem solution within scope, problems or faults associated with the operation,
                   configuration or parameterization deficiencies.
                E. Address with the second level of support of Open (Open Online) cases exceeding its
                   capacity of diagnosis or solution through the mechanism of pending points (incidents) or
                   questions as the case may be.



                                                             Page 23 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 47 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                F. Assist the second level of support of Open (Open Online) in verifying, reproducing and
                   correcting errors.
                G. Provide to the second level of support of Open (Open Online) the information reasonably
                   required during fault diagnosis and application of corrections.
                H. Implement the support solutions Open recommends or provides, including workarounds.

            Second Level Support
            The second level support is contained within the scope of this Exhibit B, it is Open’s responsibility
            and occurs when the first level support provided by the Customer is unable to resolve user issues
            with the Supported Programs or is not able to diagnose and solve performance problems of the
            Supported Programs.

            This support is provided by Open via the Open Online department and aims to answer specific
            questions formulated by the Customer or provide either a temporary or a permanent solution to
            the failures of Supported Programs, reported by the First Level Support team.

            In case of faults reported on Supported Programs, the service level agreements (SLAs)
            described below, will apply.

            For Open to perform the technical support and software maintenance services for Supported
            Programs, the Customer must provide VPN access to the required environments where the failure
            occurs, or replicate the situation in the support environment, so that Open Online can make the
            diagnosis with the continued support of the first level support personnel from the Customer in
            charge of the case.

            Second Level support and maintenance covers:
                1. Analysis and clarification of concerns of a technical or functional nature.
                2. Troubleshooting and Repair. Open will respond appropriately pursuant to the Problem
                   Severities and Response Times described below to repair the errors reported and verified
                   in the Supported Programs, so that they operate as described in the associated
                   documentation, Master Professional Services Agreement, and otherwise in accordance
                   with the service level agreements set forth herein.
                3. Identification and tracking of bug resolution.

            PROBLEM SEVERITY

            RESPONSE TIMES
            Overall, four levels of severity for the reported problems on the Production environment are
            recognized, and for each severity, a Service Level Agreement (SLA) is set:




                                                             Page 24 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 48 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            Severity1. Critical impact on business operations
            The entire system is inoperative, or completely blocks the execution of customer services or billing
            processes.

                     ▪      Response6 is provided on a 24 X 7 basis within one (1) hour of the reception of the
                            report.
                     ▪      The temporary or final solution, within six (6) hours of the problem response. Open
                            will provide a solution to reestablish operations, which may include a temporary
                            solution, provided that a permanent solution is delivered.

            Severity 2. Significant impact on business operations
            Some of the Supported Programs stop working under certain conditions or the system shows
            results that obstruct the continuity of some operations, having a severe impact on the productivity
            of the Customer.
                  ▪      Response is provided on a 24 X 7 basis within two (2) hours7 of the reception of the
                         report.
                     ▪      The temporary or final solution, within ten (10) hours of the problem response.

            Severity 3. Some impact on business operations
            Some functionality of specific supported programs does not operate properly, or their results do
            not correspond to the scope of the agreed functionality, entirely or partially affecting to some
            extent the data, productivity or level of service.

                     ▪      Response, within four (4) business hours of the reception of the report.
                     ▪      The temporary or permanent solution, within twenty-two (22) business hours of the
                            problem response.

            Severity 4. Minimal impact on business operations
            Errors are identified, but they do not affect the daily operation of the company or a critical area of
            functionality.

                     ▪      Response, within eight (8) business hours of receipt of the report.
                     ▪      The temporary or permanent solution, within thirty-two (32) business hours of the
                            problem response.

            For the fulfillment of the SLA’s, defined for each severity level, Open is committed to a target of
            100% compliance. To establish a valid baseline of cases, compliance monitoring will begin once
            an aggregate of 20 cases has been established and reviewed on a monthly basis thereafter.
            Compliance with the SLA is subject to compliance by the CUSTOMER, of a percentage of
            effectiveness in reporting cases of 85%, which will undergo the same monitoring and problem
            resolution process as described for Open compliance.




            6   Response: assignment of a ticket number and notification from a person responsible for handling the case.
            7Business Hours. Business hours as per the USA calendar, from 7:00 am to 7:00 pm Mountain Time or as otherwise
            mutually agreed upon between the Parties. If the report is made on a non-business hour, for SLAs purposes, the first
            business hour after the report is considered.




                                                                 Page 25 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 49 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            Open will prepare the compliance monitoring report and submit to Customer by the 10 th of each
            month. Once monitoring has begun, and in the event 100% compliance is not met for any given
            month, Open and the Customer will review the cause of non-compliance and establish actions to
            remedy. Should issues remain after such review, they will be escalated per the procedures
            identified in the problem resolution section below.

            Effectiveness in reporting cases being understood as the number of cases that for their solution
            require generating deliverable software on the total reported cases.

            Open will provide support for incidents occurring in the non-production environments within a
            reasonable timeframe and in a reasonable manner.

            ADDITIONAL RESPONSE CONSIDERATIONS
            If the delivery of the solution of a fault exceeds the Support Level response time defined in the
            SLA, Open will inform the Customer and together will establish an action plan and the definition
            of date of the solution.

            Open will generate a software patch to solve the fault detected by the Customer in the version
            that is currently in production. The final solution for any level of severity will be delivered by Open
            in the latest version of the Supported Programs released after the report of the fault, according to
            published dates.

            For the provision of the support and maintenance services, Open requires the environments
            defined in the documentation of the product, specifically the following:

                     Production (SUPPORT) Environment. Needs to have an identical version of the supported
                     programs that are found in production and have a representative data set to make Second
                     Level Diagnostic. This SUPPORT environment must be updated at least every two
                     months.

            The Customer shall grant Open remote access to the Support environment for problem diagnosis.

            Response times defined here do not apply to errors reported in unsupported versions, if this
            service is required, Open and the Customer will mutually set the conditions in writing.

            Response times defined here do not apply to different production environments; for those
            situations that happen in environments such as testing, training or configuration, Open and the
            CUSTOMER shall agree on the priority and response time of the situation.

            The response times as defined assume that the response time begins when the Customer reports
            the issue. The Customer shall provide reasonable effort to provide relevant supporting
            documentation as requested to assist in resolving incidents.

            When commuting to the Customer premises is required by the Customer to address issues which
            could otherwise be handled by normal support channels, preapproved travel expenses in
            compliance with the Master Professional Services Agreement, Exhibit F will be reimbursable by
            Customer. Should Open determine that on-site support is necessary or preferable, Open shall
            bear travel & expenses.




                                                             Page 26 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 50 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            The Customer must provide a Support environment with the same version of the Supported
            Programs currently in production and have representative data set for testing; the Support
            environment must be updated at least every two months.
            As a support condition, the Customer must run the audits provided by the Supported Programs
            with a minimum frequency of one month, the results of which should be sent to Open Online to
            be analyzed and if applicable make the respective recommendations.

            ATTENTION OF UNFOUNDED CASES
            Unfoundeded cases are understood as situations reported by the Customer as an incident, in
            which the case does not meet any of the conditions of the four defined Problem Severity Levels
            or is not as a result of a Software fault. Unfounded cases will be monitored and discussed on a
            monthly basis by Open and Customer as described in the section on SLA compliance above.

            PROCEDURE FOR REPORTING PROBLEMS
              A. The structure of the first support level, using the management tool provided by Open called
                 SAO, will report the detected problem to Open Online attaching the corresponding
                 diagnosis.
                B. If as a result of the initial search, it is necessary to obtain additional information on the
                   characteristics of the problem, Open will ask the Customer and give guidance if necessary,
                   for the Customer to perform its collection, analyses and/or reporting to the level of detail
                   required for the diagnosis of the problem.
                C. The Customer must provide the information requested by Open within a reasonable time
                   frame according to the severity level. If after 5 calendar days Open does not receive the
                   information, it will assume that the situation was solved by the Customer and will cancel
                   the case with prior written notification to the Customer.
                D. Once all material information requested is supplied by the Customer, Open will work in the
                   search for a solution.
                E. The Customer will test and distribute the solution on supported programs as necessary
                   within ten (10) calendar days following its receipt. Once the solution is applied and tested,
                   the Customer shall report to Open the result in order to consider the problem closed or to
                   resume its analysis if the solution was not effective. If no response is received within the
                   time limit, it will be assumed that the supplied solution was effective and the case will be
                   closed with prior written notification to the Customer.

            Open considers levels of escalation in case of discrepancies, breaches, poor service quality or
            inadequate attention by Open’s support staffs, these levels of escalation are:
                (1) Customer Solutions Leader
                (2) Customer Solutions Architect
                (3) Support Services Director
                (4) VP Professional Services
                (5) Head of sales, North America.
                (6) President, North America.

            MONITORING SCHEME FOR THE SOFTWARE SUPPORT AGREEMENT
            The monitoring scheme for the provision of services in this agreement includes the following
            documents and instances for this purpose:



                                                             Page 27 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 51 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            Follow up meetings
               • Weekly meetings, in which major issues are reviewed with regard to the prioritization and
                  progress thereof.
                •    They are performed by the client-consultant and the person responsible for the Customer
                     support.
                •    The result is the programming of delivery or the attention to weekly issues.

            Software Support Monthly reports
               • Includes compliance with SLAs, case aging, state and effectiveness in addressing the
                  events recorded within the time period jointly agreed by the Customer and Open.
                •    Reviews to consultancy and requirements.
                •    Significant events that have affected the operation.

            Software Support Committee
            To do a permanent follow-up to the execution of the Software maintenance, Update, and technical
            Support Agreement, there will be regular meetings called Software Support Committee meetings,
            to review issues such as:
                • The progress of commitments of previous Software Support committee meetings.
                •    Issues escalated during the period.
                •    Discussion of the facts presented in the Software Support monthly report.

            The Software Support committee is attended by

                –    the following Open staff: Customer Solutions Leader, the Customer Solutions Architect,
                     and the Support Services Director.
                –    the following the Customer staff: the support team leader and the IT manager.

            The frequency of the Software Support committee will be defined by mutual agreement between
            the CUSTOMER and Open.

            Onsite Support Engineer
            When requested by the Customer and/or contract the inclusion of engineer(s) on site for the
            fulfillment of second level support functions set out in this contract his/their functions will be
            understood as follows:

                A. Channel and manage with Open all outstanding incidents
                B. Provide technical support for the operation of the supported product.
                C. Support the Customer's first level support group in the processes that support the
                   purchased modules of the supported product.
                D. Solve errors found in the supported programs.


            SOFTWARE UPDATE
            During the Term of the MPSA and this Software Support Terms (Exhibit B) the Customer is
            entitled to receive, without additional cost for the software, all new versions that are released.




                                                             Page 28 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 52 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            Versions update aims to extend the life of the applications in such a way that they adapt to
            legislation, new business trends and market technologies.

            New versions of software include functional, performance, platform, operating system or database
            improvements, or improvements suggested by users and accepted by Open.

            Open, as part of its competitive product strategy, seeks to expand or improve the functional scope
            of the licensed programs, ensuring at least one update per year. As part of this process, it is
            possible that:
                a) Modules or components with new features or functionality may be included. The Customer
                   will receive the modules or functionalities that will replace those installed prior to the
                   update, but not those that have been added in the new version and were not present in
                   the contracted version.
                b) Existing components may be replaced by others that include at least the capabilities
                   existing in the application prior to the release of the new component.

            Version updates include:
                a) The object code of the new version delivered on physical media (CD) or sent via electronic
                   media (i.e. the Internet, e-mail, secure FTP address).
                b) Documentation for the new version, which includes:
                   ▪ User guide.
                   ▪ Technical guide.
                   ▪ Version release notes.

            II. LEGAL AND REGULATORY - RELATED REQUIREMENTS
            Legal and regulatory requirements are limited to the activities of analysis and proposal of a
            solution of the requirements reported by the Customer to Open, supporting in their view, the
            impact of the regulatory requirements in the processes that are covered by the supported
            programs.

            The Customer and Open will analyze the impact on processes so that the changes that arise in
            the supported programs are timely and comply with the interpretations jointly agreed. The entirety
            of such requests shall follow the procedure defined by Open for Handling Requirements.

            When Open decides to include a legal requirement in its product baseline, it will be built on the
            latest version of the product. The version in which the requirement will be released will be subject
            to Open’s Software Development Center master plan.

            III. SERVICES NOT INCLUDED
            The following services are not covered by the Open Software Maintenance, Update, and
            Technical Support Program:
                o    First level support
                o    Migration process from previous versions or releases.
                o    Parameterization process.
                o    Configuration process, definition or elaboration of rules to launch the new version.
                o    Service that becomes necessary due to:



                                                             Page 29 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 53 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                         ▪   Hardware failure
                         ▪   Equipment failure or computer programs not covered by this document (operating
                             system, database engine)
                         ▪   Any cause or causes beyond the reasonable control of Open (eg. Floods, fires,
                             lack of electricity or other utilities),
                         ▪   Malpractice of CUSTOMER or any third party,
                         ▪   Operator error,
                         ▪   Improper use of computer hardware or computer programs or the performance of
                             application maintenance by unauthorized persons, and
                         ▪   Inconsistency or lack of data.
                o    Data correction
                o    Training
                o    Development of new features
                o    Tuning of databases
                o    Technical advice on ORACLE and operating system
                o    Specialized consultant services outside the scope of the Agreement
                o    Network support
                o    Base software support
                o    Disaster Recovery environments support

            The Customer may engage Open on a time and material basis under a separate agreement for
            any services not included. Open will promptly provide a quote for such out of scope services
            subject to mutual agreement by the Parties. Any such services performed by Open shall be quoted
            at the following hourly rates, during the initial term of the Agreement.




                                                             Page 30 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 54 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                        Resource                                    Resource          Hourly
             Application                   Title                                 Role Description      Rate
                           Steering Comitee Open                                                    $     150
                           PMO Director                                                             $     150
                           Project assistant                                                        $       35
                           Project Management                                                       $     135
                           Functional Arquitect                                                     $     120
                           Functional Consultant BSS                                                $     120
                           Functional Consultant CRM                                                $     120
                           Functional Engineer CRM                                                  $     100
                           Functional Engineer BSS                                                  $     100
                           Functional Engineer OSS                                                  $     100
                           OOL Consultant                                                           $     120
                           Technical Consultant                                                     $     120
                           Technical Engineer DBA                                                   $     100
                           Migration Engineer                                                       $     100
                           Financial interface Engineer                                             $     100
                           Technical Engineer (Bill Template)                                       $     100
                           Tech Leader                                                              $     135
                           Conversion leader                                                        $     150
                           Functional Leader                                                        $     135
                           Conversion programmer                                                    $     110
                           Integrations Engineer                                                    $     100
                           Platform Engineer                                                        $     100
                           Interface Programmer                                                     $     110




                                                                Page 31 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 55 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                     MASTER PROFESSIONAL SERVICES AGREEMENT
                                                EXHIBIT C – STATEMENT(S) OF WORK


                                                 Statement of Work Number 1

            This Statement of Work Number 1 (the “SOW”) for Consulting Services is attached to and made
            a part of the Master Professional Services Agreement (the “Agreement”) between Open
            International LLC (“Open”) and the City of Fort Collins, Colorado (“Customer”). The terms and
            conditions of the Agreement are incorporated herein by reference.

            The effective date of this SOW shall be August 20, 2018 (the “SOW Effective Date”). The
            capitalized terms used in this SOW shall have the meaning defined under the Agreement,
            except as otherwise defined below. In the event of a conflict between this SOW and the
            Agreement, the terms and conditions of this SOW shall prevail with respect to the subject matter
            of this SOW.




                                                             Page 32 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 56 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                          Statement of Work
                                                 #1
                                                     FORT COLLINS

                                   8697 Request for Proposal
               Vendor Selection and Implementation of a Comprehensive Solution
                           for Utilities/Broadband Billing (CIS/OSS)


                                               Fort Collins, August 2018




                                                             Page 33 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 57 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            Table of Contents
            1.         TERMS / GLOSSARY .................................................................................................. 37
            2.         PURPOSE OF THE DOCUMENT ................................................................................ 38
            3.         SCOPE ........................................................................................................................ 38
                 3.1        SOLUTION SCOPE ..................................................................................................... 38
                 3.2        PROFESSIONAL SERVICES SCOPE ............................................................................. 39
            4.         PROJECT ORGANIZATION ........................................................................................ 48
                 4.1        ORGANIZATIONAL PROJECT STRUCTURE .................................................................... 48
                 4.2        PROJECT ROLES ...................................................................................................... 48
                   4.2.1          Project Management ........................................................................................ 48
                   4.2.2          Functional Team .............................................................................................. 50
                   4.2.3          Technical Team ............................................................................................... 51
            5.         PROJECT SCHEDULE ................................................................................................ 51
                 5.1        HIGH-LEVEL PROJECT PLAN ...................................................................................... 51
                 5.2        MAJOR PROJECT MILESTONES AND CONDITIONS ........................................................ 53
            6.         IMPLEMENTATION APPROACH ................................................................................ 54
                 6.1        INITIATION PROCESS GROUP ..................................................................................... 55
                   6.1.1          Dependencies: ................................................................................................. 56
                   6.1.2          Objectives: ....................................................................................................... 56
                   6.1.3          Processes: ....................................................................................................... 56
                   6.1.4          Staff (roles) involved in the process: ................................................................ 56
                   6.1.5          Activities .......................................................................................................... 56
                   6.1.6          Deliverables ..................................................................................................... 57
                 6.2        PLANNING PROCESS GROUP ..................................................................................... 57
                   6.2.1          Dependencies .................................................................................................. 57
                   6.2.2          Processes ........................................................................................................ 57
                   6.2.3          Objectives ........................................................................................................ 57
                   6.2.4          Staff (Roles) involved in the process ................................................................ 58
                   6.2.5          Activities .......................................................................................................... 58
                   6.2.6          Deliverables ..................................................................................................... 59
                 6.3        EXECUTION PROCESS GROUP ................................................................................... 60
                   6.3.1          Solution Scope Presentation (SSP) ................................................................. 60
                   6.3.2          Client Solution Set Up (CSS) ........................................................................... 62
                   6.3.3          Staff (Roles) involved in the process ................................................................ 62



                                                                             Page 34 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 58 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                   6.3.4         Client Solution Acceptance .............................................................................. 64
                   6.3.5         Staff (Roles) involved in the process ................................................................ 65
                   6.3.6         End User Training ............................................................................................ 66
                   6.3.7         Staff (Roles) involved in the process ................................................................ 66
                   6.3.8         Go Live ............................................................................................................ 67
                   6.3.9         Staff (Roles) involved in the process ................................................................ 68
                   6.3.10        Solution Stabilization........................................................................................ 69
                   6.3.11        Staff (Roles) involved in the process ................................................................ 69
                 6.4       CLOSURE PROCESS .................................................................................................. 70
                   6.4.1         Dependencies .................................................................................................. 71
                   6.4.2         Processes ........................................................................................................ 71
                   6.4.3         Objectives: ....................................................................................................... 71
                   6.4.4         Staff (Roles) involved in the process ................................................................ 71
                   6.4.5         Activities .......................................................................................................... 71
                   6.4.6         Deliverables ..................................................................................................... 72
                 6.5       MONITORING AND CONTROL PROCESS GROUP........................................................... 72
                   6.5.1         Dependencies .................................................................................................. 72
                   6.5.2         Processes ........................................................................................................ 72
                   6.5.3         Objectives: ....................................................................................................... 72
                   6.5.4         Staff (Roles) involved in the process ................................................................ 72
                   6.5.5         Activities .......................................................................................................... 73
                   6.5.6         Deliverables ..................................................................................................... 73
            7.         PROJECT COMMUNICATIONS .................................................................................. 74
                 7.1       PROJECT COMMUNICATION MANAGEMENT ................................................................. 74
                 7.2       RESPONSIBILITIES AND POLICIES ............................................................................... 74
                 7.3       REPORTING .............................................................................................................. 75
                 7.4       MEETINGS ................................................................................................................ 75
                 7.5       COMMUNICATIONS TOOLS ......................................................................................... 75
                   7.5.1         Implementation Tool Kit ................................................................................... 75
                   7.5.2         Project Site ...................................................................................................... 76
                   7.5.3         SAO ................................................................................................................. 77
            8.         RISK MANAGEMENT .................................................................................................. 77
                 8.1       RISK MANAGEMENT PLAN ......................................................................................... 77
            9.         TESTING AND INCIDENT MANAGEMENT................................................................. 78
                 9.1       TESTING PROCESS.................................................................................................... 78



                                                                            Page 35 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 59 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                  9.1.1         Integration Testing ........................................................................................... 78
                  9.1.2         System Testing ................................................................................................ 78
                  9.1.3         Parallel Testing ................................................................................................ 78
                  9.1.4         Stress and Performance Testing ...................................................................... 79
                  9.1.5         User Acceptance Testing – UAT ...................................................................... 79
                  9.1.6         Mocks & Rehearsal .......................................................................................... 79
               9.2        INCIDENT REPORTING PROCESS ................................................................................ 79
            10.      CHANGE CONTROL PROCEDURE............................................................................ 81
            11.      KNOWLEDGE TRANSFER ......................................................................................... 82
            12.      FACILITIES .................................................................................................................. 82
            13.      ASSUMPTIONS ........................................................................................................... 83
               13.1       PERSONNEL ............................................................................................................. 83
               13.2       PHYSICAL ENVIRONMENT .......................................................................................... 83
               13.3       BACKUP & RESTORE (ON-PREMISE) .......................................................................... 84
               13.4       PROJECT SPECIFIC ASSUMPTIONS ............................................................................. 84
               13.5       PROPOSED PAYMENT MILESTONES ........................................................................... 84
            14.      APPENDIX ................................................................................................................... 85
               14.1       MIGRATION ACTIVITIES.............................................................................................. 85
               14.2       MIGRATION DELIVERABLE ......................................................................................... 86
            15.      ATTACHMENTS 1&2 FUNTIONAL REQUIREMENTS MATRIX ………………………………….87




                                                                          Page 36 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 60 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




           1. Terms / Glossary
            The City: The City of Fort Collins

            Open: Open International, LLC

            Initiation Process Group: Group of processes of Open Implementation Methodology described
            in section 6.1.

            Planning Process Group: Group of processes of Open Implementation Methodology described
            in section 6.2.

            Execution Process Group: Group of processes of Open Implementation Methodology described
            in section 6.3.

            Monitor and Control Process Group: Group of processes of Open Implementation Methodology
            described in section 6.4.

            Closure Process Group: Group of processes of Open Implementation Methodology described
            in section 6.5.

            SME: Subject Matter Expert

            SAO: Open Web-based ITSM (Information Technology Service Management) tool which
            supports the processes for incident tracking and functional questions and issue tracking

            Conversion: Migration

            1st Level Support: The first level of end-user support provided by a specialized team of the City.

            2nd Level Support: The second level of end-user support provided by Open, when the first level
            support provided by the City is unable to resolve the issues identified by end-users or is not able
            to diagnose and solve performance problems of Open Smartflex.

            3rd Level Support: The third level of end-user support provided by Open, when the incident
            solution requires a software fix.

            Functional Requirements Matrix: Document that contain the main functionalities of the Software
            aligned with the responses to the RFP, including the Attachment 1 to this SOW #1: Functional
            Requirements Matrix, and Attachment 2 to this SOW #1 that states the revisions to the Functional
            Requirements Matrix mutually agreed during the validation process held between May 29th to
            June 1st, 2018.

            Acceptance Criteria Matrix: Document that contains the acceptance criteria for the
            functionalities defined in the Functional requirement matrix.

            Client Solution: Open Smartflex Solution configured for the client, in this case, the City. (Open
            Smartflex + Client configuration + Interfaces + data conversion)

            Service Audits: Surveys are taken after every Process Group defined in the methodology is
            completed to ensure that the City is satisfied.




                                                             Page 37 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 61 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            2. Purpose of the document
            The objective of this document is to detail the scope of the solution and the professional services
            for the implementation of Open Smartflex at the City of Fort Collins. This scope has been
            developed according to the information provided by the City of Fort Collins, and a set of premises
            that allow the establishment of timeframes and effort required for the success of the project.

            3. Scope
            3.1       Solution Scope
            Open will deliver the following products to support the functional requirements of the City of Fort
            Collins:
                  •   Open Smartflex
                         o   CIS/OSS
                         o   Mobile Workforce Management
                         o   Customer Self Service
            The functional coverage and expected integrations are summarized in the following diagram.
            Further, the Open response to the RFP 8697 outlines the functional fulfillment of the City of Fort
            Collins requirements. Open will provide support to the requirements as to the best understanding
            of each functional item, in addition to clarifications that have been provided by the City during the
            RFP response process.




                                                             Page 38 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 62 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            The detailed scope of the interfaces included in the solution is defined in the attachment F –
            Interfaces. An overview is presented as follows:
              Provider /        Description              Integration Approach (Scope)
              System
              Name
              Active Meter      NextAxiom Process        •    Expectation: Interface is not needed
              Reconfig - In     that will reconfigure    •    Type of integration: - Batch / Flat file
              House             an active meter          •    Classification: Meter Exchange
                                automatically
              AMI headend       ODR requests (out        •  Expectation: Interface is
              by Elster         of cycle and failing        required
                                meters)                  • Type of integration: Batch / Flat file
                                                         • Classification: Reading Requests - Open Smartflex
                                                            has a trigger to a send a request to AMI headend
                                                            via Next Axiom. Create a process and report
                                                            based on a given time range, for inactive services
                                                            associated with an AMI meter and generate an
                                                            exception.
              AMI headend       Water Meter/Com          • Expectation: Interface is required
              by Elster         module marriage          • Type of integration: Batch / Flat file
                                file                     • Classification: Marriage File - Open Smartflex has
                                                            a trigger to send a request to AMI web service (via
                                                            Next Axiom) to synchronize information. Create
                                                            API and develop new element to be
                                                            created/modified from start/stop service orders.
              AMI headend       Sends Cycle               • Expectation: No additional cost/effort from Open
              by Elster         Reading Schedule             required to support interface
                                to EAMS                  • Classification: Read Schedule
              Badger            Water Meters              • Expectation: No additional cost/effort from Open
                                                             required to support interface
                                                         • Type of integration: Batch / Flat file
                                                         • Classification: Asset Inventory - Open Smartflex
                                                            includes an API to upload flat files into the
                                                            database. A process needs to be created to trigger
                                                            mass upload. Some transformation effort may be
                                                            required.
              CEC - Clean       Solar Garden             • Expectation: Interface is required
              Energy            Generation Data          • Type of integration: Batch / Flat file
              Collective                                 • Classification: SDP Readings - Develop a process
                                                            to create a file to send to CEC, using Open
                                                            Smartflex Framework.
              CEC -Clean        Customer Bill             • Expectation: No additional cost/effort from Open
              Energy            Credits                      required to support interface
              Collective                                 • Type of integration: Batch / Flat file
                                                         • Classification: Bill Credits - Use existing API to
                                                            receive the charge/credit.




                                                             Page 39 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 63 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




              Provider /        Description              Integration Approach (Scope)
              System
              Name
              CIS Access        Copy of CIS for          •   Expectation: Interface is not required.
              Data              Mobile                       Proposed Smartflex CIS solution covers this
                                                             functionality.
              CIS Reports       100s of reports          •   Expectation: Interface is not required.
                                                             Proposed Smartflex CIS solution covers this
                                                             functionality
              CIS Service       Three separate           •   Expectation: Interface is not required.
              Order             applications                 Proposed Smartflex CIS solution covers this
              Printing                                       functionality
              City Accounts     CIS Billing Data for     •   Expectation: Interface is not required
              Billing           city accounts            •   Type of integration: Batch / Flat file
                                                         •   Classification: City Bills - Can be supported using
                                                             Open Smartflex grouping functionality.
              Comverge          Demand Response          •   Expectation: Interface is required
                                                         •   Type of integration: Batch / Flat file
                                                         •   Classification: Customer Data - Create a process
                                                             for extraction of customer data from CIS
              Cycle             Automatic                •   Expectation: Interface is required
              Schedule          Cycle/Holiday            •   Type of integration: Batch / Flat file
              Generation        Generation               •   Classification: Cycle Schedules - Open will
                                                             create/expose API, will develop insertion process.
                                                             Next Axiom will call API.
              Cycle             Updates the              •   Expectation: No additional cost/effort from Open
              Schedule          Charge Calc and              required to support interface
              Update            Bill Print cycle to      •   Type of integration: batch
                                run
              Data Cube         Customer                 •    Expectation: Interface is required
                                data/Usage data          •    Type of integration: Batch / Flat file
                                                         •    Classification: Customer Data/Usage - Develop a
                                                              process to create a flat file to Paleon.
              EIP (MDMS)        Meter Reading            •    Expectation: Interface is required
                                Data                     •    Type of integration: Real-time
                                                         •    Classification: Meter reads - Upload response into
                                                              CIS from EIP
              EIP (MDMS)        Meter Reading            •    Expectation: Interface is required
                                Requests (On, Off,       •    Type of integration: Batch / Flat file
                                Out of cycle)            •    Classification: Read requests - Trigger request to
                                                              EIP via Next Axiom
              EIP (MDMS)        Framing Requests         •    Expectation: Interface is required
                                                         •    Type of integration: Trigger process to request
                                                              framing request to MDMS via web services.
                                                         •    Classification: Framing Requests
              EIP (MDMS)        AMI Cut over             •    Expectation: Interface is not required.
                                                              Proposed Smartflex CIS solution covers this
                                                              functionality



                                                             Page 40 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 64 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




              Provider /        Description              Integration Approach (Scope)
              System
              Name
              EIP (MDMS)        Cost True Up             •    Expectation: Interface is not required.
                                                              Proposed Smartflex CIS solution covers this
                                                              functionality
              EIP (MDMS)        Sends Cycle              •    Expectation: Interface is not required
                                Reading Schedule         •    Classification: Reading Schedules
                                to EIP
              EIP (MDMS)        Sends Holiday            •   Expectation: No additional cost/effort from Open
                                Schedule to EIP              required to support interface
                                                         •   Classification: Reading Schedules
              EIP (MDMS)        Consumption on           •   Expectation: Interface is not required
                                Inactive Process         •   Classification: Inactive Account reads
              EIP (MDMS)        CIS data to EIP          •   Expectation: Interface is required
              FlexSync                                   •   Type of integration: Batch / Flat file. Create a file
                                                             and send to MDM on changes around SDP data.
                                                         •   Classification: FlexSync data
              EIP (MDMS)        CIS data to EIP          •   Expectation: This interface is required.
              Virtual                                    •   Type of integration: One-way outgoing batch from
              FlexSync                                       CIS. Retain virtual meter identification scheme
                                                             supported now by CFC. This will be revisited
                                                             during implementation to ensure optimal approach
                                                             considering OSF standard capabilities.
                                                   •         Classification: FlexSync data
              EIP               Missing Meter Read •         Expectation: No additional cost/effort from Open
              (MDMS)/AMI        automated                    required to support interface
              headend           exception handling
              Elster            Elec Meter asset   •         Expectation: No additional cost/effort from Open
                                data                         required to support interface
                                                   •         Type of integration: Batch / Flat file
                                                   •         Classification: Meter Asset Data - Open Smartflex
                                                             includes an API to upload flat files into the
                                                             database. A process needs to be created to trigger
                                                             mass upload. Some transformation effort may be
                                                             required.
              GIS               SDP data                 •   Expectation: Interface is not required
                                                         •   Type of integration: Batch / Flat file
                                                         •   Classification: SDP Data - Utilize Next Axiom to
                                                             extract data from CIS/Access
              GIS               SDP Location data        •   Expectation: Interface is not required
                                (X,Y)                    •   Type of integration: Batch / Flat file
                                                         •   Classification: SDP Data - Next Axiom to call API
                                                             to pass GIS information (may combine with
                                                             previous GIS interface, implemented as a single,
                                                             two-way interface).




                                                             Page 41 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 65 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




              Provider /        Description              Integration Approach (Scope)
              System
              Name
              GIS               Transformer Data         •        Expectation: Interface is not required
                                                         •        Type of integration: Batch / Flat file
                                                         •        Classification: Transformer Data - Open Smartflex
                                                                  includes an API and process to load from SCADA.
              JDE               CIS GL data              •        Expectation: Interface is required
                                                         •        Type of integration: Batch / Flat file
                                                         •        Classification: GL Interface - Utilize Open
                                                                  Smartflex GL summary of financial transactions,
                                                                  need to transform output to JDE format
              Kroll             Customer Identity            •     Expectation: No additional cost/effort from Open
                                Verification (By                   required to support interface
                                CSR)                     •        Type of integration: Real-time
                                                         •        Classification: Identity Verification - Open Smartflex
                                                                  includes a trigger to initiate verification with the
                                                                  external system.
              Kroll             Customer Identity            •     Expectation: No additional cost/effort from Open
                                Verification                       required to support interface
                                (Automated)              •        Type of integration: Batch / Flat file
                                                         •        Classification: Identity Verification - Open Smartflex
                                                                  includes a trigger to initiate verification with the
                                                                  external system. (May be combined with the prior
                                                                  interface)
              Kubra             Payments                     •     Expectation: No additional cost/effort from Open
                                                                   required to support interface
                                                         •        Type of integration: Batch / Flat file
                                                         •        Classification: Payments - Open Smartflex includes
                                                                  a process to upload flat payment files and a web
                                                                  service to receive online payments. Use Next
                                                                  Axiom to transform data into the Open’s format.
              Kubra             Users                    •        Expectation: Interface is required
                                                         •        Type of integration: Batch / Flat file.
                                                         •        Classification: Users. Build process to fetch
                                                                  subscriber information from Kubra.
              Kubra             Bills                        •     Expectation: No additional cost/effort from Open
                                                                   required to support interface
                                                         •        Type of integration: Batch / Flat file
                                                         •        Classification: Invoices - Open Smartflex can either
                                                                  create PDF or XML invoices.
              Kubra             Feature Control          •         Expectation: No additional cost/effort from Open
                                                                   required to support interface
                                                         •        Type of integration: Batch / Flat file
                                                         •        Classification: Feature Control - Open Smartflex
                                                                  can create XML file.




                                                                 Page 42 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 66 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




              Provider /        Description              Integration Approach (Scope)
              System
              Name
              Kubra             Delinquency List             •    Expectation: No additional cost/effort from Open
                                                                  required to support interface
                                                         •        Type of integration: Batch / Flat file
                                                         •        Classification: Delinquencies - Open Smartflex can
                                                                  create XML file
              Larimer           County Assessor          •        Expectation: Interface is not required
              County            data
              Maximo            CIS data to Maximo       •        Expectation: Interface is required
                                                         •        Type of integration: Batch / Flat file. Create a file
                                                                  and adjust formats as necessary per Maximo
                                                                  format for Maximo orders.
                                                         •        Classification: Customer Data
              Mobile            CIS Service Order        •        Expectation: Interface is not required
              Service           Mobile Solution
              Orders
              MVRS              Manual Meter             •        Expectation: Interface is not required.
                                Reading
              Next Axiom        Meter Exchange           •        Expectation: Interface is not required
                                API                      •        Classification: Meter Exchange
              Next Axiom        Service Order            •        Expectation: Interface is not required.
                                Creation API
              Online            Move In/Out              •        Expectation: Interface is not required
              Service           request
              Requests
              Opower            Customer                 •        Expectation: Interface is not required.
                                data/Usage data
              Permits           Used to manage           •        Expectation: Interface is not required.
                                permitting
              Route             Data needed for          •        Expectation: Interface is not required.
              Manager           Water meter                       Proposed Field Service application covers this
                                replacement                       functionality.
              Sewer             Customer                 •        Expectation: Interface is not required
              Collection        data/Usage data          •        Type of integration: Batch / Flat file
              Modal                                      •        Classification: Water Consumption - Can be
                                                                  included in previous Paleon data cube interface
                                                                  with an additional parameter based on service.
              Street Lights / Used to provide            •        Expectation: Interface is not required
              flood lights    customer billing           •        Type of integration: Batch / Flat file
                              information to the         •        Classification: Structures -Process to extract data
                              “Structures”                        for structures database.
                              database
                              application
              Turn On/Off     Automatic Service          •        Expectation: Interface is not required.
              Service Order Order Generation
              Generation




                                                                 Page 43 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 67 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




              Provider /        Description              Integration Approach (Scope)
              System
              Name
              Water             Customer                 •       Expectation: Interface is not required
              Distribution      data/Usage data          •       Classification: Water Consumption - Process to
              Modal                                              extract consumption information based on node.
              Water Smart       Customer                 •       Expectation: Interface is required
                                data/Usage data          •       Type of integration: Batch / Flat file
                                                         •       Classification: Customer & Water Data - Process to
                                                                 extract consumption & street address and send to
                                                                 Water Smart.
              AMI headend       Connect/Disconnec        •       Expectation: No additional cost/effort from Open
                                t Requests                       required to support interface
                                Automated SO             •       Classification: Connects/disconnects - Open
                                processing for Turn              Smartflex has capabilities to request
                                On/Off and Non-                  connect/disconnects and process responses.
                                Payment                          Assume brokered by MDM via Next Axiom.
              Next Axiom        Automated SO             •       Expectation: Interface is not required.
                                close for Move                   Proposed CIS solution covers this functionality.
                                In/Out
              PayPros           Credit Card              •       Expectation: No additional cost/effort from Open
                                payment                          required to support interface
                                processing through
                                IVR
              Professional      Collection Agency        •        Expectation: Interface is not required.
              Finance           Data
              BC Services       Collection Agency            Expectation: No additional cost/effort from Open
                                                             •
                                Data                         required to support interface
                                                         • Type of integration: Batch / Flat file
                                                         • Classification: Delinquencies - Open Smartflex has
                                                            the functionality to assign agency to accounts and
                                                            create a file for the collection agencies. Additional
                                                            customer information needed and synchronization.
              BC Services       Collection Agency         • Expectation: No additional cost/effort from Open
                                Payments                     required to support interface
                                                         • Type of integration: Batch / Flat file
                                                         • Classification: Payments - Will be implemented
                                                            using standard Open Smartflex payment upload
                                                            capability.
              Backflow          Backflow                 • Expectation: Interface is not required.
              program           prevention and              This functionality may be covered by proposed CIS
                                testing program             solution, pending further discussion.
              Call Net          Demand Response          • Expectation: Interface is required
                                                         • Type of integration: Batch / Flat file
                                                         • Classification: Customer Information - Create
                                                            customer extract in the format required by CallNet




                                                                 Page 44 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 68 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




              Provider /        Description              Integration Approach (Scope)
              System
              Name
              CDS Global        Payments from                •     Expectation: No additional cost/effort from Open
                                First National Bank                required to support interface
                                                         •        Type of integration: Batch / Flat file
                                                         •        Classification: Payments - Pickup payment file from
                                                                  FTP server. Utilize existing API via Next Axiom.
              Customer          Send customers           •        Expectation: Interface is not required.
              Mailing List/     notification of their             Will create a process within a service order
              Reconciliatio     AMI meter                         workflow to notify the customer in the desired
              n                 installation.                     format.
              Apex              Oracle Reporting         •        Expectation: Interface is not required.
                                Tool                              Proposed Smartflex reporting solution covers this
                                                                  functionality.
              Crystal           Reporting Tool           •        Expectation: Interface is not required.
              Reports                                             Proposed Smartflex reporting solution covers this
                                                                  functionality.
              Low Income        Provide education        •        Expectation: Interface is not required.
              Solar Garden      and bill credits to               This functionality may be covered by proposed CIS
                                participating Low-                solution, pending further discussion.
                                income families
              Maximo            Maximo work                  •    Expectation: No additional cost/effort from Open
                                management, asset                 required to support interface
                                management and           •        Type of integration: Real-time
                                materials                •        Classification: Service/Work Orders - Open
                                management                        Smartflex has web services to create order and
                                                                  accept service order status from Maximo.
                                                                  Transformation should be performed by Ft Collins
                                                                  within Next Axiom.
              Call-Net          Customer data from       •        Expectation: Interface is required
                                CIS system sent to       •        Type of integration: Batch / Flat file
                                after-hours              •        Classification: Customer Data
                                answering service
                                for both water &
                                electric customers
              Consumption       Automated                •        Expectation: Interface is not required.
              on Inactive       processing for           •        Classification: CIS/MDM. This functionality is
                                Consumption on                    covered by proposed CIS solution, pending further
                                Inactive to reduce                discussion.
                                truck rolls for
                                unnecessary turn-
                                offs.
              ESRI              GIS Mapping              •        Expectation: Interface is not required.
                                                                  Proposed Smartflex CIS solution covers this
                                                                  functionality.
                                                         •        Classification: GIS Mapping




                                                                 Page 45 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 69 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                Provider /         Description               Integration Approach (Scope)
                System
                Name
                Fiber              GIS Mapping                •    Expectation: No additional cost/effort from Open
                Manager                                            required to support interface
                                                             •     Type of integration: Real-time
                                                             •     Classification: GIS Mapping - Utilize Existing Open
                                                                   Smartflex web services.
                Maximo             Maximo work               •     Expectation: Interface is not required.
                                   management, asset         •     Classification: Asset Data
                                   management and
                                   materials
                                   management


            3.2        Professional Services Scope
            The professional services that are needed for the implementation of Open Smartflex at Fort
            Collins are based and delineated by Open’s Implementation Methodology. Open has developed
            this methodology as part of the strategies to ensure successful project implementation and is
            based on Open Smartflex solution architecture, following the guidelines and recommended
            practices of the Project Management Institute (PMI).
            An overall review of Open Implementation Methodology is described as follows:
                •    1.0 Initiation: The purpose of this process group is to define the project and the necessary
                     activities (based on the contractual documents) so that the teams are ready for its planning
                     and execution. Furthermore, the conditions, commercial agreements, and premises of the
                     project are formalized. During the initiation processes, OPEN and the City must define and
                     assign the project teams,and prepare for the implementation.
                •    2.0 Planning: During these processes, the project managers agree on the Project Plan and
                     its appended plans, defining the procedures that guarantee adequate project management.
                     All the information known at that time must be taken into consideration so that the different
                     management plans (Cost, Time, Scope, Risk, Quality, Human Resources,
                     Communications, Stakeholders, Integration, Organizational Change Management8) be the
                     most accurate possible. At the same time, the City project team will be trained in Open
                     Smartflex solution, using the online training tool.
                •    3.1. Solution Scope Presentation (SSP): The objective of this process is to present the
                     solution to be implemented, to the City’s project team. For this purpose, Open’s project team
                     presents the industry business model, explains how Open Smartflex supports the
                     operations of the City (navigating through Open Smartflex) and specifies the acceptance
                     criteria for each of the requirements. Through this process, the knowledge transfer is
                     continued, as the City’s project team will have a clear view of how Open Smartflex will fulfill
                     the requirements. The City project team will have the opportunity to ask any functional
                     questions and address issues regarding the solution scope so that the issues can be




            8
                If the organizational change management services are included in the scope.



                                                                  Page 46 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 70 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                   managed and answered. During this process, the City technical team is trained on the
                   framework and product configuration tools.
              •    3.2. Client Solution Set-up (CSS): The objective of this process is to set up the client
                   solution, putting together all the components required. These components are:
                     o   Industry solution: Open Smartflex solution + Industry Model (best practices).
                         Provided by Open and presented in the Solution Scope Presentation.
                     o   Client Configuration: All the parameters and business rules (basic data) defined in
                         the Solution Scope Presentation and uploaded by the City with the support of Open.
                     o   Migration/conversion data: Historical data extracted, converted and uploaded to
                         Open Smartflex. This data must be extracted and validated by the City to be delivered
                         to Open in the formats defined. This data will be upload by Open using the Data Loader
                         tool.
                     o   System integration: Interfaces constructed and tested by the City, with the support
                         of Open.
                    After these components are put together, the project team (the City and Open) executes
                    the system testing that includes Integration Testing, System Testing and Parallel Testing.
                    These are explained in section 9. Testing and Incident Management.
              •    3.3. Client Solution Acceptance: The objective of this process is to validate that each
                   requirement defined in the scope of the solution meets the acceptance criteria defined. The
                   City’s project team will test the solution using the testing scripts provided by Open and
                   approved by the City, making sure all the functionalities of the solution work in accordance
                   with defined functionality requirements. The City project team will have reinforcement
                   training in the critical functionalities assuring that they have all the knowledge needed to
                   operate the solution; they will operate the system simulating actual operations in the testing
                   process.
              •    3.4. End-User training: The purpose of this process is to carry out the functional training
                   for the end users of the solution. This process is performed by the City’s project team with
                   Open’s support. The process gives the City project team reinforcement in the knowledge
                   transfer, as the City team takes on the task of training as necessary to operate the system.
              •    3.5. Go-Live: The purpose of this process is to start the City’s operation using the Open
                   Smartflex solution. During this process, the go-live plan is reviewed and formally accepted.
                   This plan details the required activities for the process and responsible parties. Also, agreed
                   upon checkpoints are included to approve or reject the go-live of the solution. This process
                   includes the execution of the dress rehearsals to validate the go-live plan.
              •    3.6. Solution Stabilization: The purpose of this process is to carry out all the necessary
                   activities so that the operations, sustained by the solution, are stabilized and can be
                   delivered to Open Online, Open’s client support organization. In other words, the project
                   team of both parties will support the City operations, resolving knowledge gaps for the end-
                   users and solving incidents (software & configuration), in an effective way to minimize the
                   impact on the City’s operations. Also, Open’s project team will transition the City to Open
                   Online to conduct the corresponding solution support.




                                                             Page 47 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 71 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            4.      Project Organization
            4.1       Organizational Project Structure
            Based on Open’s implementation methodology and considering the project strategy, Open has
            defined its project team and proposed a mirror team on the City’s side. The diagram below
            illustrates the teams’ structure and roles (the number of resources depends on each client and its
            organizational structure).




                 NOTE: 1) The final composition of the work team will be detailed during the project initiation
                 processes. 2) Due to the nature of this type of project, it is normal that some resources have
                 partial participation, mainly those belonging to the roles outlined in dotted lines.


            4.2       Project Roles
            A general description of the roles defined for the organizational project structured is provided as
            follows. The role participation and their detailed responsibilities are described in the
            implementation approach.

            4.2.1     Project Management

            4.2.1.1      Project Management Office – PMO (Open)
            The PMO provides support to Open’s Project Manager and will focus on all aspects of scope,
            schedule, cost and risk management. Some of the functions of the PMO are:




                                                             Page 48 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 72 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                •     Hold follow up meetings with Open’s Project manager to monitor and control:
                         o   Project Risk
                         o   Project Schedule
                         o   Project Scope Sign-Off
                         o   Open Project Staff
                •     Assist the project with any concern throughout project execution.
                •     Create, analyze and publish statistical information about the project performance (KPI’s)
                      on a weekly basis.

            4.2.1.2      Project Manager
            The Project Managers of both parties (City and Open) are responsible for ensuring that the scope
            of the project is completed and delivered on time, within budget, and that the project’s objectives
            are met. The Project Managers oversee the project to ensure the desired results are achieved,
            there is an efficient use of resources, and the different stakeholders involved are satisfied. Some
            of their functions are:
                •     To manage the project.
                •     To establish and ensure compliance with the established deadlines.
                •     To provide the necessary resources for the execution of the project.
                •     To channel communications between Open and the City.
                •     To lead project follow-up meetings.
                •     To coordinate and assign tasks to their project team.
                •     To identify, analyze and manage risk during the project.


            Given the importance of this role in the project, dedication to the project should be 100%.

            4.2.1.3      Project Analyst (Open)
            The Project Analyst is responsible for supporting the Open Project Manager in some of the project
            management tasks such as:
                •     Generate a draft version of the weekly report.
                •     Conduct project documentation audits to verify its completion and quality.
                •     Assist the Open project manager on the KPIs generation.

            4.2.1.4       Project Administrator (City)
            The Project Administrator is responsible for supporting the City project manager in any clerical
            activity.




                                                             Page 49 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 73 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            4.2.2     Functional Team

            4.2.2.1      Functional Architect (Open)
            The Functional Architect is responsible for defining the solution architecture to fulfill the scope of
            the project. This role gives support to the project team in any concern that arises on the solution
            architecture.

            4.2.2.2      Functional Lead (Open)
            Open’s Functional Lead is responsible for executing the solution architecture defined by the
            Functional Architect. In addition, the role is responsible for coordinating and integrating the
            functional team.

            4.2.2.3      Functional Consultant (Open)
            This role is responsible for supporting the definition of business rules and parameters and
            proposing alternatives to functional issues that may arise in the project. Some of the specific
            responsibilities of this role are:
                •     To support the definition and upload to Open Smartflex the client basic data and business
                      rules (client configuration).
                •     To transfer the knowledge to the City’s project team regarding Open Smartflex, through
                      the different implementation processes.
                •     To support the solution testing.
                •     To develop the detailed planning of the different implementation processes.

            4.2.2.4      Functional Lead (City)
            The functional lead is responsible for obtaining and communicating City decisions and
            coordinating anything related to functional aspects of the project.

            4.2.2.5      Functional Consultant (City)
            A person with an in-depth understanding of the City’s business processes. Some of the specific
            responsibilities of this role are:
                •     To define and upload the client basic data and business rules (client configuration) to
                      Open Smartflex.
                •     To execute the system testing.
                •     To train the end users on Open Smartflex.
                •     To support the end users and acceptance testing team members, as the first level support
                      for any incident that they may have with Open Smartflex.
                •     To manage functional processes and changes due to the solution implementation.




                                                             Page 50 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 74 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            4.2.3     Technical Team

            4.2.3.1       Technical Team (Open)
            The technical team is responsible for supporting the City’s technical team in activities regarding
            technology, integration, migration/conversion and environment management processes. Some of
            the specific responsibilities of this role are:
                  •   To support the City on technical decision-making.
                  •   To install the solution and create different City environments (for the first time).
                  •   To define the integration strategy.
                  •   To train the City’s technical team on how to install the solution and create solution
                      environments.
                  •   To support the City’s technical team on data migration (the extraction and conversion of
                      the legacy data and uploading it to Open Smartflex).

            4.2.3.2       Technical Team (City)
            This team is responsible for the City’s participation in technical activities of the Project, including
            migration/conversion, system integration, environment administration, reports/dashboard
            development and product configuration. The team is also responsible for the deployments after
            the initial preparation of the client solution. Some of its functions are:
                  •   To install and support the City’s hardware infrastructure.
                  •   To develop the interfaces with other platforms.
                  •   To provide the data to be migrated in the format defined by Open.
                  •   To develop the reports needed by the functional team.
                  •   To develop the product configuration needed in the project.

            5. Project Schedule
            5.2       High-Level Project Plan
            The implementation plan will be a 13-month period with an additional 4-month post-go-live support
            period as a requirement of the City. Open believes this timeframe is adequate, based on our
            experience and our view of the functional scope, the solution business model, and the
            implementation methodology.




                                                             Page 51 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 75 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                              Initiation                                                                                             Go-live BB                    Go-live Utilities                       Project Closure
              2018            08/2018                                     2019                                                       06/2019                       09/2019                                 01/2020

                       Aug        Sep     Oct         Nov       Dec       Jan         Feb       Mar       Apr       May        Jun        Jul        Aug     Sep        Oct        Nov        Dic    Ene

                             Ini & plan
                                  Training
                                                Solution Scope Pres.

                     Technical Training
                                                CSS – Client Conf. Def.

                                                      CSS – Client Configuration

                                                                CSS - Migration

                                                                CSS - Integration
                                                            Provisioning/Integration                       CSS – System Testing

                                                  CSS – Client Configuration BB                                                       Training
                                                                                                                                                      UAT
                                                                CSS – System Testing BB                              End Users Training

                                                                                                                                                                          Stabilization
                                                                                Training/UAT - BB

                                                                                        End Users Training - BB                                                                2 Rollouts
                                                                                                                                                                                     Go Live
                                                                                                                                      Stabilization BB
                                                                      10 Months                                                            3 Months                           4 Months


                              1           2       3         4         5           6         7         8         9         10         11         12          13     14         15         16         17




            The defined timeline for the project starts with two months of initiating and planning activities,
            while the core project team receives initial training on Open Smartflex.
            Once these processes are concluded, the Solution Scope Presentation is executed for three
            months. Also, the migration/conversion and integration processes start and may go for six
            months.
            Once the Solution Scope Presentation is finished, the Client Solution Setup starts, in which all the
            configuration of the solution is done. This process is conducted for 5.5 months. It is important to
            take into consideration that the solution will be configured for both businesses, utilities and
            broadband.
            Broadband Rollout:
            2.5 months before the end of the Client Solution Setup, the solution must be ready (configured
            and tested) to operate/support Broadband business. So, a special project team (City and Open)
            will execute the Train-the-Trainer process, Acceptance Testing and End-User training (City). After
            these processes are finished, the City will be ready for go-live. After the go-live of broadband, a
            stabilization process will be conducted for three months.
            Utilities Rollout:
            After the solution is configured and tested, the Train-the-Trainer process starts. It will be
            conducted for a month, training the team that will execute the end user training and the
            Acceptance Testing.
            Once this process is finished, the Acceptance testing and the End-User training starts. Both
            processes are held in parallel. Once the end users are trained, and the solution is accepted, the
            City can go-live on the solution, and the stabilization starts. The stabilization will continue for four
            months to guarantee that the City’s operation is stable.




                                                                                                          Page 52 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 76 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            A detailed schedule will be developed and mutually agreed to during the Initiation & Planning
            phase aligning to the high level schedule above.


            5.2       Major Project Milestones and Conditions
                        Milestone                                      Description
              Initiating and Planning At this milestone, the project will have an administrative
              Process Completed            preparation, a project charter, the project plan, project kick-
                                           off and resources ready to implement Open Smartflex. All the
                                           documents have been reviewed and approved by the City.
              Solution             Scope At this milestone, the solution scope has been presented by
              Presentation          (SSP) Open and the functional questions and issues, registered by
              Completed                    the City, are solved by Open or the City (it depends on the
                                           solution being a configuration activity or a development
                                           activity). The Acceptance Criteria Matrix is delivered by Open
                                           and approved by the City, and the configuration definitions
                                           are finished.
              Solution Configured and At this milestone, Open Smartflex solution
              Validated                    is configured with all the elements required to support the City
                                           operation. This means that Open Smartflex is installed, the
                                           basic client data (parameters and business rules) are
                                           defined and configured by the City with Open’s support, the
                                           operative data is migrated by the City with Open’s support
                                           and the integration points between Open Smartflex
                                           and external applications, are developed and configured by
                                           the City with Open’s support.
                                           At this milestone, the Open Smartflex solution has been
              Internal Solution Validation tested by Open and the City, executing the testing
              Completed/System Tested scripts defined for the solution. All the elements of the
                                           solution have been tested, and a final report
                                           with these testing results is issued.
              The solution for Broadband At this milestone, the City has performed its testing process
              accepted by the City:        and is satisfied with the results and thereby is ready to initiate
                                           the operation of Broadband business with Open
                                           Smartflex. Also, the City has performed the end-user training.
              Broadband Go-Live            At this milestone, the City has prepared the
                                           production environment with all the components of the
                                           solution and has performed two successful dress rehearsals,
                                           and is prepared to start the operation of the Broadband
                                           business with Smartflex.
              The solution for Utilities At this milestone, the City has performed its testing process
              has        passed      User and is satisfied with the results and thereby is ready to initiate
              Acceptance Testing.          the operation of Utilities business with Open
                                           Smartflex. Also, the City has performed the end-
                                           user training.
              Utilities Go-Live            At this milestone, the City has prepared the production
                                           environment with all the components of the
                                           solution and has performed two successful dress rehearsals,
                                           and is prepared to start the operation of Utility business with
                                           Smartflex. At this juncture, the Open Smartflex solution will be



                                                             Page 53 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 77 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                       Milestone                                       Description
                                            supporting the operation of both businesses (Utilities and
                                            Broadband).
              Solution stabilized       and At this milestone, operation of the client is stable, and
              project accepted              the solution is operating in normal conditions, the knowledge
                                            transfer is finished, and therefore the project can be closed,
                                            maintaining the support during the operation stage.


            6. Implementation Approach
            The methodology structure is presented below with breakdown by process groups, processes
            and threads:
                    Group of                          Process                            Subprocess
                   Processes
               Initiation               1.1. Client/Project delivery          1.1.1. Stakeholder Identification
                                                                              1.1.2. Project Charter creation
                                        1.2. Scope Assurance
                                        1.3. Administrative Preparation
               Planning                 2.1. Project Plan Set-up
                                        2.2. Project Plan Presentation
                                        2.3. Functional and Technical         2.3.1. Training/Certification
                                        Preparation                           2.3.2. Migration Plan Presentation
                                                                              2.3.3. Integration Plan
                                                                                     Presentation
                                        2.4. Project Kick-off
               Execution                3.1. Solution Scope            3.1.1. Set-up Presentation
                                        Presentation (SSP)             3.1.2. Functional Scope Presentation
                                                                       3.1.3. Acceptance Process
                                                                              Presentation
                                                                       3.1.4. Functional Questions and Issue
                                                                              closure
                                        3.2. Client Solution Set-up    3.2.1. Set-up the Solution Environments
                                        (CSS)                          3.2.2. Customization deployment
                                                                       3.2.3. Client Basic data (Parameters &
                                                                              Business rules) loading
                                                                       3.2.4. Migration (Operation Data
                                                                              Loading)
                                                                              3.2.5. Internal Client Solution
                                                                                     Validation
                                        3.3. Client Solution Acceptance3.3.1. Functional and Technical
                                                                              Training for Key-Users
                                                                              3.3.2. Acceptance testing
                                        3.4. End-User training                3.4.1. End-User training Planning
                                                                              3.4.2. End-User training




                                                             Page 54 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 78 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                    Group of                           Process                                 Subprocess
                   Processes
                                        3.5. Go-Live                          3.5.1. Detailed Go-Live Planning
                                                                                     3.5.2. Operation Environment
                                                                                            setup
                                                                                     3.5.3. Final Migration
                                                                                     3.5.4. Go-Live
                                        3.6. Solution Stabilization                  3.6.1. Solution Stabilization
                                                                                     3.6.2. Support transition
               Closure                  4.1. Third party Closure
                                        4.2. Project Closure (Client)
                                        4.3. Administrative Closure
                                        (internal)
               Monitoring and           5.1. Project Monitoring & Control
               Control                  5.2. PMO Monitoring & Control
                                        5.3. Third party Monitoring
                                        5.4. Functional Questions and
                                        Issues Monitoring & Control
                                        5.5. Quality Assurance (ISO)
                                        5.6. Services Audit
                                        (Client Satisfaction)


            The following sections contain a summary of the activities, deliverables, and responsibilities of
            Open and the City, for the main processes to be executed in the project.
            To describe the responsibility level of Open and the City Teams, associated with each activity and
            deliverable included in the implementation methodology processes, the following RACI Definitions
            are used:

                                                        RACI Definitions
                       Responsible for completing the activity or Deliverable
                       Definition R: “Responsible for completing the activity or deliverable; Responsibility
               R
                       can be shared; the degree of responsibility is determined by the individual with the
                       ‘A’.”
               A       Approve and Accept the Deliverable (includes C).
                       Consulted when required (e.g., review and verification). Contributes to input for
               C
                       completing the activity or deliverable.
               I       Informed about of the status or outcome of an activity

            6.1    Initiation Process Group
            The purpose of this group of processes is to define the project and the necessary activities, so
            the teams are prepared for its planning and execution. Further, the conditions, commercial
            agreements, and principles of the project are formalized.
            During the initiation processes, Open and the City must identify the project teams, and prepare
            for the implementation.




                                                             Page 55 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 79 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            6.1.1  Dependencies:
                •  Formal and contractual agreement of the project.
            6.1.2  Objectives:
                •  To identify and document each of the Project Stakeholders.
                •  To define and build the Project Charter.
                •  To Identify the primary objectives of the project stakeholders within the project.
                •  To review the project scope to establish a complete understanding of the solution
                   details.
                • To carry out the necessary arrangements to set-up the project management structure.
            6.1.3 Processes:
                • Client/Project delivery
                • Scope Definition
                • Administrative Preparation
            6.1.4 Staff (roles) involved in the process:
            The staff estimated to be required for execution of this process is defined on the staffing matrix,
            appended to this document. Nevertheless, the project managers may modify it at the initial
            planning and/or during any detail planning process. The general roles that participate in this
            process are:
                •       Open:
                           o Project Manager
                           o Functional Architect
                           o Functional Lead
                           o Functional Consultants
                           o Technical Team
                •       The City:
                           o Project Manager
                           o Project Administrator
                           o Functional Lead
                           o Functional Consultants
            6.1.5       Activities


               Ref          Name
                                                                                                  OPEN


                                                                                                         CITY
                                                                                                         THE
                    1       Provide the logistical requirements of the project according to the
                                                                                                   A      R
                            specifications defined by Open.
                    2       Identify stakeholders for the project                                 R,A     R
                    3       Identify initial risks                                                R,A     R
                    4       Create the Project Charter                                            R,A     A
                    5       Create the Functional Requirements Matrix with the acceptance         R,A     A
                            criteria, extracting from contract requirements

                                            Table 1—Activities of the Initiation Process Group




                                                             Page 56 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 80 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            6.1.6       Deliverables




                                                                                                     OPEN
               Ref           Name                 Description




                                                                                                            CITY
                                                                                                            THE
                                             Document in which Open describes the
                    1        Project Charter business case, the proposed solution, and the          R,A      A
                                             agreed upon acceptance criteria.
                                             Functional Requirements Matrix completed.
                             Functional
                                             The Functional Requirements Matrix is used to
                    2        requirements                                                           R,A      A
                                             create or architect the solution scope presented
                             matrix
                                             by the Open Solution Architect.
                             Risk Management Risk Management Matrix updated with the risk           R,A      A
                    3
                             Matrix          identified in the Initiation Process group.
                                              Project site (SharePoint) readiness, Project Key
                             Prepared project Performance Indicators created, Client and            R,A      I
                    4
                             environment      Contract created in the SAO, Projects team
                                              readiness.
                             Initial conditions Checklist of initial project conditions verified. A          R
                    5
                             completed
                                            Table 2—Deliverables of the Initiation Process Group

            6.2     Planning Process Group
            The purpose of this group is to establish the entire project scope and define the course of actions
            required to attain the project’s objectives. During these processes, the project managers agree
            on the Project Plan, defining the procedures that guarantee acceptable project management. All
            the information known at this time must be considered so that the different management plans
            (Cost, Time, Scope, Risk, Quality, Human Resources, Project Communications, Stakeholders,
            and Integration) can be as accurate as possible.
            6.2.1 Dependencies
                • Project Initiation.
            6.2.2 Processes
                • Project Plan Preparation
                • Project Plan Presentation
                • Functional and Technical Preparation
                • Project Kickoff

            6.2.3       Objectives
                •       To prepare and present the project plan
                •       To train the City Functional Team on all the different modules of Open Smartflex.
                •       To train the City technical team on the various tools of Open Smartflex
                •       To present the Migration Plan
                •       To present the Integration Plan
                •       To communicate the principal aspects of the project, such as general objectives, schedule,
                        scope, project team, project methodology, etc. to the stakeholders.




                                                             Page 57 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 81 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            6.2.4 Staff (Roles) involved in the process
            The staff estimated to be required for execution of this process is defined in the staffing matrix,
            appended to this document. Nevertheless, the project managers may modify it at the initial
            planning. The general roles that participate in this process are:
                •       Open
                           o Project Manager
                           o Functional Architect
                           o Functional Lead
                           o Functional Consultants
                           o Technical Team
                •       The City
                           o Project Manager
                           o Project Administrator
                           o Functional Lead
                           o Functional Consultants
                           o Technical Team
            6.2.5       Activities


               Ref          Name




                                                                                                   OPEN


                                                                                                          CITY
                                                                                                          THE
                    1       Create the Project Plan                                                R,A     C
                    2       Present and approve the Project Plan                                    R      A
                    3       Detail the project schedule                                            R,A    R,A
                    4       Conduct a complete identification of risks, analysis and define risk
                                                                                                   R,A     R
                            responses.
                    5       Complete the courses defined in the training plan                      A       R
                    6       Presentation of the migration plan                                     R       A
                    7       Define the detailed scope of integration and Interfaces                R       A
                    8       Kick off for the project (objectives, scope, and project teams) to
                            communicate the principal aspects of the project to all the            C       R
                            stakeholders.

                                            Table 3—Activities of the Planning Process Group




                                                             Page 58 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 82 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            6.2.6       Deliverables




                                                                                                     OPEN
               Ref          Name                    Description




                                                                                                            CITY
                                                                                                            THE
                                                    Project Plan including the following
                                                    appendices:
                                                    o Scope Management Plan
                                                    o Time Management Plan
                                                    o Cost Management Plan
                                                    o Resource Management Plan
                            Project plan with all   o Quality Management Plan
                    1                               o Risk Management plan                           R,A     A
                            appendices
                                                    o Project Communications Management
                                                        plan
                                                    o Implementation Methodology
                                                    o Change Control Methodology
                                                    o Organizational Change Management Plan
                                                        (If applicable)
                                                    o Solution Environment Management Plan
                                                    Training plan for the functional and technical
                    2       Training Plan                                                            R       A
                                                    training
                                                    Certificates of the courses completed by the
                            Training Course
                    3                               members of the City project team                 C       R

                                                    The approved version of the Migration Plan,
                                                    which can include the following appendices:
                            Migration Plan          o Cross Validations (origin-destination).
                    4       approved                o Management Indicators.                         R,A     A
                                                    o Execution Plan for Migration Programs
                                                    o Functional Business Considerations.
                                                    o Migration Schedule
                                                    o Data loading formats
                            Integration Plan        Integration Plan document approved,
                    5       approved                including the definition of the integration      R,A     A
                                                    architecture with external systems.

                            Kick-off                Kick-off Presentation materials used for
                            Presentation            communicating to project team the following      C       R
                    6
                                                    items: Project objectives, schedule, scope,
                                                    project team, project methodology, etc.

                                            Table 4—Deliverables of the Planning Process Group




                                                             Page 59 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 83 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            6.3       Execution Process Group

            6.3.1 Solution Scope Presentation (SSP)
            The objective of this process is to present the solution to the City’s project team. The Open project
            team describes the industry business model to explain how Open Smartflex supports the City’s
            operations (navigating through Open Smartflex) and specifying the acceptance criteria for each
            of the requirements.
            Open uses this process to describe the recommended practices enabled in the business model,
            providing a clear view of how Open Smartflex will fulfill the customer requirements. This process
            provides the opportunity to identify any changes necessary to support the City’s unique business
            needs, and the Open team will track these changes and identify any impacts on the solution scope
            and schedule.
            6.3.1.1  Dependencies
                • Project Initiation
                • Project Planning

            6.3.1.2  Sub Processes
                • Presentation Set-up
                • Functional Scope Presentation
                • Acceptance Process Presentation
                • Functional Questions and Issues closure

            6.3.1.3    Objectives
                • To present the solution scope, (based on the Functional Requirements Matrix),
                    navigating through the industry model of the solution
                • Present the parameters and business rules (client configuration) that must be uploaded,
                    and the templates required.
                • To present the Acceptance Criteria that will be used to accept the solution.
                • To introduce the testing protocols.
                • To answer and close every functional question and issue, registered during the
                    presentation.

            6.3.1.4    Staff (Roles) involved in the process
            The staff estimated to be required for execution of this process is defined on the staffing matrix,
            appended to this document. Nevertheless, the project managers may modify it at the time of initial
            planning and during any detail planning process. The general roles that participate in this process
            are:

                  •   Open
                        o    Project Manager
                        o    Functional Architect
                        o    Functional Lead
                        o    Functional Consultants

                  •   The City
                         o Project Manager
                         o Project Administrator
                         o Functional Lead



                                                             Page 60 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 84 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                         o     Functional Consultants
                         o     Technical team

            6.3.1.5      Activities




                                                                                                     OPEN
               Ref           Name




                                                                                                            CITY
                                                                                                            THE
                  1          Prepare work plan of the Solution Scope Presentation (SSP)              R,A     A
                  2          Solution Scope Presentation environment set-up                          R,A     C
                  3          Solution recommended practices workshop for every line of business
                                                                                                     R       A
                             (Utilities, Broadband)
                  4          Presentation of required parameters and operating rules (Client         R       A
                             Basic Data)
                  5          Register in the SAO, promptly, each of the functional questions and
                             scope issues that the City project team had during the presentations     A      R
                             of the scope of the solution
                  6          Review all the answers to the functional questions and scope issues      A      R
                             and close them.
                  7          Conduct the final meetings with a functional sponsor and steering
                             committee to close the Solution Scope Presentation (SSP) issues         R       A
                             and functional questions.

                                         Table 5—Activities of the Solution Scope presentation (SSP)

            6.3.1.6      Deliverables




                                                                                                     OPEN
               Ref           Name                  Description




                                                                                                            CITY
                                                                                                            THE
                                                   A detailed plan for the presentation approved
                             Detailed              by the City (Calendar of meetings and
                             presentation plan     resources, the Functional Requirements
                  1                                                                                  R       A
                             approved by the       Matrix with associated scenarios, Inventory of
                             City                  Integrations).

                             Solution Scope
                                                   Installed and operational Solution Scope
                  2          Presentation                                                            R,A     C
                                                   Presentation environment
                             environment
                                                   Templates for basic data loading (client
                             Templates for
                  3                                configuration) delivered and explained to the     R       A
                             basic data loading
                                                   client (parameters and business rules).
                                                   Matrix with the acceptance criteria for each of
                             Acceptance criteria
                  4                                the requirements defined in Functional            R       A
                             matrix.
                                                   Requirements Matrix.
                                                   Testing protocols for the solution
                  5          Testing protocols                                                       R       A
                                                   functionalities



                                                             Page 61 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 85 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                                                  OPEN
               Ref        Name                     Description




                                                                                                         CITY
                                                                                                         THE
                          Functional               Functional questions and issues are
                          questions and            identified in the functional scope
                  6                                                                                R     R,A
                          issues closed            presentation, registered in the SAO,
                                                   resolved, and closed.
                          Changes order (if        Changes orders of the documented gaps
                  7                                                                                R      A
                          applicable)              identified in the process.

                                       Table 6—Deliverables of the Solution Scope presentation (SSP)

            6.3.2 Client Solution Set Up (CSS)
            The objective of this process is to set up the client solution, putting together all the components
            that comprise it. During this process, the project team (City and Open), loads to the industry
            solution (Open Smartflex + Industry Model) all the parameters and business rules (basic data),
            configure any customization, migrate the City’s historical (operational) data, and integrates the
            solution with all the external systems. The result of this process is the complete City Solution
            which is ready for acceptance testing.
            6.3.2.1  Dependencies
                • Solution Scope Presentation (SSP)

            6.3.2.2   Sub Processes:
                • Set-up of the Solutions Environments
                • Customization deployment
                • Client Basic data (Parameterization & Business rules) loading
                • Migration (Operation Data Loading)
                • Internal Client Solution Validation

            6.3.2.3    Objectives:
                • To set up the environments needed for the implementation
                • To deploy all the custom requirements described in the RFP, whether through
                    configuration or software development
                • To define and load the business rules and the parameters, required for the solution.
                • To execute the necessary activities to implement the integrations included the project,
                    presented by Open and approved by the City.
                • To transfer the knowledge on the use of procedures and functionality for parameters
                    and business rules loading to the City’s team.
                • To execute the approved Migration Plan
                • To test the client solution, to validate it works correctly and correct any incident that is
                    causing an unexpected outcome.

            6.3.3 Staff (Roles) involved in the process
            The staff estimated to be required for execution of this process is defined on the staffing matrix,
            appended to this document. Nevertheless, the project managers may modify it at the initial
            planning and during any detail planning process. The general roles that participate in this process
            are:




                                                             Page 62 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 86 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                •        Open
                            o Project Manager
                            o Functional Architect
                            o Functional Lead
                            o Functional Consultants
                            o Technical Team
                •        The City
                            o Project Manager
                            o Project Administrator
                            o Functional Lead
                            o Functional Consultants
                            o Technical Team

            6.3.3.1         Activities


               Ref           Name




                                                                                                      OPEN


                                                                                                             CITY
                                                                                                             THE
                    1        Provide hardware and software that composes the operational
                                                                                                       A      R
                             platform (operating system and other operating software)
                    2        Install the environments defined for the project.                         A      R
                    3        Train the City’s team in loading the basic data (Parameters &
                                                                                                      R       A
                             Business rules) to Open Smartflex. (Client configuration)
                    4        Define and extract the client basic data (parameters and business
                                                                                                       A      R
                             rules) need for the client solution configuration.
                    5        Execute the client configuration (upload parameters and business          A      R
                             rules) according to the project plan.
                    6        Validate the Client basic data (Parameters & Business rules) loaded       A      R
                             to Open Smartflex and adjusted if necessary.
                    7        Execute all the activities required to build the integration endpoints    A      R
                             between Open Smartflex and the required external systems.
                    8        Provide the migration/conversion data in the template formats
                             delivered by Open, in the timeframe and quality required. The             A      R
                             detailed activities are defined in the appended document Migration
                             Activities (14.1 and 14.2).
                    9        Carry out the approved Migration Plan to upload the information           A      R
                             provided by the City and evaluate its quality and integrity.
                    10       Perform system testing to the solution with all the components of the
                             solution (parameters, business rules, operating data, and                R,A     R
                             integration)

                                            Table 7—Activities of the Client Solution Set up Process




                                                             Page 63 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 87 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            6.3.3.2      Deliverables




                                                                                                     OPEN
               Ref        Name                     Description




                                                                                                            CITY
                                                                                                            THE
                          Environments             Environments installed according to the
                  1                                                                                   A      R
                          installed                Environment Management Plan
                          Client solution with     Parameters and business rules loaded into
                  2                                                                                   A      R
                          Client basic data        the solution.
                          Migration/conversio
                                                   Migration/conversion data extracted and
                          n data delivered in                                                         A      R
                  3                                converted in the formats and templates
                          the        provided
                                                   provided by Open.
                          format.
                          Client solution with
                                                   Historical data of client’s legacy systems         A      R
                  4       migrated/converted
                                                   loaded into the solution.
                          data
                          Integrations             Integration points implemented according to
                  5       requirements             the integration scheme defined for the                    R
                          implemented              project.
                                                   Incidents found in the execution of the testing   R       A
                  6       Incidents corrected
                                                   protocols are corrected in the solution.
                                                   The Client Solution (Open Smartflex, City’s
                  7       Solution tested          configuration, Interfaces and migrated data)      R      R,A
                                                   is validated and tested

                                         Table 8—Deliverables of the Client Solution Set up Process

            6.3.4 Client Solution Acceptance
            The objective of this process is to validate the Acceptance Criteria Matrix defined at the Solution
            Scope Presentation. The City’s project team will test the solution using the testing protocols
            provided by Open and approved by the City, making sure the functionality of the solution works
            as it was configured.
            A key element of this process is to continue the knowledge transfer. The broader City project team
            receives training on solution functionality, assuring that they have the knowledge necessary to
            operate the solution. They will run the system, simulating live operations during the acceptance
            testing.
            6.3.4.1   Dependencies
                • Client Solution Set-up (CSS)

            6.3.4.2  Sub Processes:
                • Functional and technical training
                • Acceptance testing

            6.3.4.3    Objectives:
                • To provide navigation and solution functionality to Train the Trainer.
                • To train the City technical team on the functions necessary to operate, maintain, and
                    administer the solution.
                • To validate the solution meets the defined requirements (acceptance criteria). Solution



                                                             Page 64 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 88 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                        Acceptance.
                •       To resolve any issues related to the basic data (parameters and business rules) or
                        operation data (historical data).
                •       To correct any issues reported during the functional testing.

            6.3.5 Staff (Roles) involved in the process
            The staff estimated to be required for execution of this process is defined on the staffing matrix,
            appended to this document. Nevertheless, the project managers may modify it at the initial
            planning and during any detail planning process. The general roles that participate in this process
            are:
                •       Open
                           o Project Manager
                           o Functional Architect
                           o Functional Lead
                           o Functional Consultants
                           o Technical Team
                •       The City
                           o Project Manager
                           o Project Administrator
                           o Functional Lead
                           o Functional Consultants
                           o Technical Team

            6.3.5.1        Activities




                                                                                                      OPEN
               Ref          Name




                                                                                                             CITY
                                                                                                             THE
                    1       Train the functional and technical leaders in the operation and
                                                                                                      R       A
                            administration of the Open Smartflex solution.
                    2       Define and approve the acceptance testing plan.                           R,A     A
                    3       Define the test scenarios, set up the test cases and prepare the test
                                                                                                       A      R
                            data.
                    4       Run the testing activities, collect and analyze the results, verify the
                            progress and manage the errors or defects. These tests must be
                            conducted within the agreed project plan and the established times.        A     R,A
                            Carry out the tests and report cases of possible errors promptly,
                            according to the schedule defined and in the manner agreed
                            between the parties.
                    5       Generate final test reports to formalize the closure of the tests and     R       A
                            subsequently formalize the acceptance of the solution.

                                        Table 9—Activities of the Client Solution Acceptance Process




                                                             Page 65 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 89 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            6.3.5.2        Deliverables




                                                                                                    OPEN
               Ref          Name                   Description




                                                                                                           CITY
                                                                                                           THE
                            Training Plan for      Training plan documents for Functional and
                    1       Functional and                                                           R       A
                                                   Technical Training with its appendices.
                            Technical Training
                            Final report of the    A final report with the detailed results
                    2       Functional and         obtained in the Functional and Technical          R       A
                            Technical training.    training.
                            Testing Plan for       Testing Plan documents for the acceptance
                    3       the acceptance                                                           R       A
                                                   tests with its appendices.
                            tests
                            Record of test         Record of test protocols execution, with the
                    4       protocols              detail of the executed scenarios and the          A       R
                            execution              results.
                                                   Issues reported during the functional testing
                    5       Incidents corrected                                                      R       A
                                                   corrected in the solution.
                                                   A document that formalizes the Solution
                    6       Final tests report                                                       A     R,A
                                                   Acceptance, signed by the City.

                                      Table 10—Deliverables of the Client Solution Acceptance Process

            6.3.6 End User Training
            The purpose of this process is to carry out the functional training for the end users of the solution.
            This training is performed by the City’s training team with Open’s support.
            6.3.6.1   Dependencies
                • Client Solution Set-up (CSS)
                • Functional and technical training

            6.3.6.2  Sub Processes:
                • End-User training Planning
                • End-User training

            6.3.6.3  Objectives:
                • To Create and approve the end-user training Plan.
                • To carry out the Functional User Training.

            6.3.7 Staff (Roles) involved in the process
            The staff estimated to be required for execution of this process is defined on the staffing matrix,
            appended to this document. Nevertheless, the project managers may modify it at the initial
            planning and during any detail planning process. The general roles that participate in this process
            are:
                •       Open
                          o Project Manager
                          o Functional Architect



                                                             Page 66 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 90 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                           o Functional Lead
                           o Functional Consultants
                •       The City
                           o Project Manager
                           o Project Administrator
                           o Functional Lead
                           o Functional Consultants
                           o Technical Team
                           o Trainer
                           o SME’s

            6.3.7.1        Activities




                                                                                                      OPEN
               Ref          Name




                                                                                                             CITY
                                                                                                             THE
                    1       Develop the end-user training plan (schedule, participants, logistics,
                                                                                                       A      R
                            strategy, etc.)
                    2       Perform functional training for end users in the operation of Open
                                                                                                       A      R
                            Smartflex.

                                             Table 11—Activities of the End User Training Process

            6.3.7.2        Deliverables




                                                                                                      OPEN
               Ref          Name                   Description




                                                                                                             CITY
                                                                                                             THE
                            End-user training      Detail plan for the activities, people, schedule
                    1                                                                                  A      R
                            plan.                  and methodology
                            Solution
                                                   Database environment with data for the end
                    2       environment                                                                A      R
                                                   user training.
                            prepared
                            Training Final
                    3                              Completed final training documentation.             A      R
                            Report

                                           Table 12—Deliverables of the End User Training Process

            6.3.8 Go Live
            This process includes all the activities necessary for putting the solution into production.

            6.3.8.1   Dependencies
                • Client Solution Set-up (CSS)
                • End-User training
                • Client Solution Acceptance.

            6.3.8.2  Sub Processes:
                • Detailed Go-Live Planning



                                                             Page 67 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 91 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                •       Operation Environment setup
                •       Final Migration
                •       Go Live

            6.3.8.3   Objectives:
                • To review, update and approve the Go-live plan.
                • To set up the production environment.
                • To run the final migration and verify that the data has been loaded correctly.
                • Begin the operation of the Open Smartflex solution.

            6.3.9 Staff (Roles) involved in the process
            The staff estimated to be required for the execution of this process is defined in the staffing matrix,
            appended to this document. Nevertheless, the project managers may modify it at the initial
            planning and during any of the detail planning processes. The general roles that participate in this
            process are:
                •       Open
                           o Project Manager
                           o Functional Architect
                           o Functional Lead
                           o Functional Consultants
                           o Technical Team
                •       The City
                           o Project Manager
                           o Project Communications
                           o Functional Lead
                           o Functional Consultants
                           o Technical Team

            6.3.9.1        Activities


               Ref          Name                                                                     OPEN


                                                                                                            CITY
                    1       Review, detail, and approval of the Go-Live plan.                         C     THE
                                                                                                            R,A
                    2       Validate the system version guaranteeing that all the developments
                                                                                                      A      R
                            and configurations released for the City have been included.
                    3       Load the conversion data delivered by the City, to the production
                                                                                                      R       A
                            environment
                    4       Manage and operate the platform installed in the production
                            environment. Make all the configurations and installation of all the      A      R
                            improvements that Open recommends.

                                                   Table 13—Activities of the Go Live Process




                                                             Page 68 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 92 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            6.3.9.2      Deliverables




                                                                                                    OPEN
               Ref        Name                     Description




                                                                                                           CITY
                                                                                                           THE
                                                   Go Live Plan updated and approved. Go Live
                                                   plan includes the rollback plan in the event
                                                   we make a no-go decision. Also, the Go Live
                  1       Go Live plan                                                               A     R,A
                                                   plan will include who are the approvers of the
                                                   Go Live decision and criteria that will be
                                                   used.
                          Open Smartflex
                                                   Solution Database installed on the City
                  2       operation                                                                  A      R
                                                   server.
                          environment ready
                          Production               Production environment with the conversion
                  3                                                                                 R       A
                          environment ready        data (historical data) supplied by the client.
                          Migration report         Record of completion of Final Migration with
                  4                                                                                 R       A
                                                   appendix: Control reports (migration audits)
                                                   Documentation indicating that Open
                  5       Go-live documents        Smartflex has begun operations, approved         R       A
                                                   and signed off by the client.

                                                 Table 14—Deliverables of the Go Live Process

            6.3.10 Solution Stabilization
            During this process, the project teams will identify and resolve any issues that arise during the
            initial operation of the solution. Also, City will transition to the Open Online Support team,
            according to the scope of the support and maintenance contract.
            6.3.10.1 Dependencies
                • Go-Live

            6.3.10.2 Sub Processes
                • Solution Stabilization
                • Support transition

            6.3.10.3 Objectives:
                • To ensure that solution works as desired to support the City’s operation.
                • To transition the City to the Open Online team and guarantee the successful transfer of
                   all relevant information and knowledge from the project team to the support team.
                • To ensure that the transfer process has no impact on the City’s operations.

            6.3.11 Staff (Roles) involved in the process
            The staff estimated to be required for execution of this process is defined on the staffing matrix,
            appended to this document. Nevertheless, the project managers may modify it at the initial
            planning and during any detail planning process. The general roles that participate in this process
            are:




                                                             Page 69 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 93 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                •       Open
                           o Project Manager
                           o Functional Architect
                           o Functional Lead
                           o Functional Consultants
                           o Technical Team
                •       The City
                           o Project Manager
                           o Project Administrator
                           o Functional Lead
                           o Functional Consultants
                           o Technical Team

            6.3.11.1       Activities




                                                                                                   OPEN
               Ref          Name




                                                                                                          CITY
                                                                                                          THE
                    1       Review and adjust the stabilization plan                               R       A
                    2       Address the incidents and issues reported by the end user              I      R,A
                    3       Report the software incidents.                                         A       R
                    4       Resolve the software incidents reported.                               R       A
                    5       Monitor and control the operational indicators generated during the     A      R
                            stabilization period.
                    6       Make the transition of the City to Open Online.                        R       A

                                            Table 15—Activities of the Solution Stabilization Process

            6.3.11.2       Deliverables


               Ref          Name                   Description                                     OPEN


                                                                                                          CITY
                                                                                                          THE
                                                   Documentation indicating the end of the
                            Final report of the
                                                   stabilization process and the detail of the
                    1       solution                                                               R       A
                                                   indicators (KPI’s) defined to describe the
                            stabilization
                                                   status of the operation.
                                                   Documents with detailed information about
                            Report of transition   the City and the project, provided by the
                    2                                                                              R       A
                            to Open Online         project team to the support team that must be
                                                   considered for the support of the City.

                                          Table 161—Deliverables of the Solution Stabilization Process

            6.4    Closure Process
            The objective of this group of processes is to carry out all the activities to close out the work
            defined in the project scope.



                                                             Page 70 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 94 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            6.4.1       Dependencies
                •       Execution process group

            6.5.5       Processes
                •       Third party Closure
                •       Project Closure (City)
                •       Administrative Closure (internal)

            6.4.3       Objectives:
                •       To close out the contracts signed by third parties (If applicable).
                •       To formally close the project, verifying that the scope of the project has been delivered.
                •       To finish the project closure within Open at the administrative, management and
                        financial level.

            6.5.5 Staff (Roles) involved in the process
            The staff estimated to be required for execution of this process is defined on the staffing matrix,
            appended to this document. Nevertheless, the project managers may modify it at the initial
            planning and during any detail planning process. The general roles that participate in this process
            are:
                •       Open
                           o Project Manager
                           o Functional Architecture
                           o Functional Lead
                           o Functional Consultants
                           o Technical Team
                •       The City
                           o Project Manager
                           o Project Administrator
                           o Functional Lead
                           o Functional Consultants
                           o Technical Team
                           o Steering Committee

             6.4.5 Activities
                                                                                                       OPEN




               Ref           Name
                                                                                                              CITY
                                                                                                              THE




                    1        Verify the City’s formal acceptance of the deliverables defined in the
                                                                                                        R      A
                             project plan and the contractual documents.
                    2        Verify Open billing has been completed for all payment by Open of
                                                                                                        R      A
                             all payment milestones agreed to in the contract.
                    3        Generate the Project closure documentation.                                R      A
                    4        Create the final project report, which details the final status of the
                                                                                                        R      A
                             contract and its financial closure.
                    5        Final review of any open issue at Closure by the City and the Project
                                                                                                        R      A
                             team
                                              Table 17—Activities of the Closure Process Group



                                                             Page 71 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 95 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




             6.4.6             Deliverables




                                                                                                 OPEN
               Ref        Name                     Description




                                                                                                        CITY
                                                                                                        THE
                          Contract Closure
                          documentation per Contract Closure documentation per the
                    1                                                                         R           A
                          the third-party        third-party contract(s) approved and signed.
                          contract(s)
                          Project Closing        Documents indicating the completion of the
                    2                                                                         R           A
                          Record                 project.
                                          Table 18—Deliverables of the Closure Process Group

            6.5     Monitoring and Control Process Group
            The objective of this group of processes is to monitor, analyze, and oversee the progress of the
            project to meet the performance goals as defined in the Project Plan. The activities in this group
            of processes are carried out continuously during the execution of the project; additionally, the
            intent is to collect, measure, and distribute the key performance indicators related to the
            performance throughout the project lifecycle for its stakeholders.
            6.5.1   Dependencies
                •   None, this group of processes is executed in parallel to the other processes groups.
            6.5.2   Processes
                •   Project Monitoring & Control
                •   PMO Monitoring & Control
                •   Third-party Monitoring
                •   Functional Questions and Issues Monitoring & Control
                •   Quality Assurance (ISO)
                •   Service Audits (City Satisfaction)
            6.5.3   Objectives:
                •   To monitor work progress to ensure objectives are being met.
                •   To identify and measure deviations from project baselines (scope, time and cost) and
                    establish preventive and corrective actions.
                • To engage in a risk and stakeholder management process.
                • To monitor the status of the project regarding the KPI’s defined within scope, time, quality,
                    and risks, to generate alerts and propose alternative solutions so that problems and issues
                    can be resolved.
                • To verify compliance with the obligations in the third-party contract(s).
                • To reconcile conceptual and functional differences; to establish an official status on
                    unresolved questions and issues and resolved/close them.
                • To ensure compliance with project execution, with the implementation methodology,
                    processes, and organizational policies.
                • To identify the level of customer satisfaction regarding the different processes of the
                    implementation methodology.
            6.5.4 Staff (Roles) involved in the process
            The staff estimated for execution of this process is defined on the staffing matrix, appended to
            this document. However, the project managers can modify it at the initial planning and during any
            detail planning process. The general roles that intervene in this process are:




                                                             Page 72 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 96 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                •       Open
                           o Project Manager
                •       The City
                           o Project Manager
                           o Project Administrator
            6.5.5       Activities




                                                                                                         THE CITY
               Ref          Name




                                                                                                  OPEN
                    1       Monitor the project status regarding the indicators defined for scope,
                                                                                                    R R
                            time, quality and risk.
                    2       Manage alerts regarding the health of the project to formulate actions
                                                                                                    R R
                            to anticipate future problems.
                    3       Escalate unresolved issues to the steering committee (if necessary)
                                                                                                    R R
                            to find a final agreement.
                    4       Develop alternative solutions to the various problems or situations
                                                                                                    R R
                            presented in the project.
                    5       Provide human and technical resources to the implementation
                                                                                                    R R
                            project. Based on their plan.
                    6       Monitor the use of human and technical resources allocated to the
                                                                                                    R R
                            various projects.
                    7       Settle any differences within project teams via Project Managers.       R R
                    8       Ensure compliance with the implementation methodology,
                                                                                                    R R
                            processes and organizational policies.
                    9       Be aware of the level of Client satisfaction with the various processes
                                                                                                    R C
                            of the implementation methodology.
                                     Table 19—Activities of the Monitoring and Control Process Group
             6.5.6        Deliverables                                                            OPEN


               Ref          Name                   Description
                                                                                                         CITY
                                                                                                         THE


                            Project Weekly and
                                                   Reports of the project progress, detailing the
                    1       Monthly progress                                                      R      A
                                                   main variables, issues, and status of risks.
                            report
                            Updated      project   Updated project plans after every change
                    2                                                                       R            A
                            plan                   order (If applicable).
                            Functional and
                            technical questions    Functional and technical questions and issues
                    3       and Issues             registered, managed and closed in the SAO R           R
                            recorded and           web tool
                            closed




                                                             Page 73 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 97 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                                                          OPEN
               Ref             Name                   Description




                                                                                                                 CITY
                                                                                                                 THE
                                                  Record of the lessons learned that were
                      4        Lessons Learned                                                R     C
                                                  compiled during project execution.
                                     Table 20—Deliverables of the Monitoring and Control Process Group


            7. Project Communications
            7.1      Project Communication Management
            During the initiation and planning of the project, the Project Manager (Open) builds a Project
            Communication management plan as part of the project plan, which is reviewed and approved
            jointly with the City and has the following objectives:
                  • To identify project stakeholders.
                  • To define information and communication needs within the project, tools, deliverables, and
                    dates for compliance.
                • To establish a stable and consistent environment for all communications to the various
                    project stakeholders.
                • To provide communication support for the project participants.
            The communications management plan defines the communication requirements, detailing the
            participants, the communication events, and the information requirements. Also, defined in the
            plan are:
               • Communication scope
               • Responsibilities and policies
               • Assumptions
               • Stakeholder management matrix
               • Communications event matrix
            The plan includes the definitions of the official tools (information management systems, electronic
            mail, and physical archive), to be used throughout the project.
            The plan defines the communication process to be conducted in the project which includes the
            hierarchy of information distribution, the protocol for sending information and the project
            information flow.
            7.2           Responsibilities and Policies
                  •       The Project Communication Plan, built as part of the project plan, will include all the detail
                          regarding the management of communications throughout the project.
                  •       An email will be used as a formal and official means for any communication including final
                          decisions that have been reached except for payment milestones. Emails will not be used
                          as final approvals for deliverables.
                  •       The new formats and templates necessary for the development of the project activities
                          must be approved by the project managers and made official through publications on the
                          documentation server.
                  •       Meeting minutes will be sent to all attendees by email. The attendees will make their
                          comments and approve them by email. If after the document is issued, no comments are
                          received over the next five (5) working days, the minutes will be considered approved.
                  •       The project team must use the templates defined in the Project Communication Plan.




                                                               Page 74 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 98 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                  •    Project managers (City and Open) are responsible for ensuring compliance with the
                       communications management plan throughout the project’s lifecycle as part of the
                       monitoring and control processes.

            7.3     Reporting
            There are two periodic reports which are intended to communicate the progress of the project to
            the different stakeholders:
                  •Project status report: Periodic project report with a detailed status of the different variables
                   of the project, which is distributed to the main stakeholders of the project (coordination
                   committee and steering committee). Issued on a weekly basis.
               • Executive project report: Periodic project report with a general overview of the status of
                   the different variables of the project, which is distributed to the major stakeholders. Issued
                   monthly.
            The format or template for these reports is defined by Open. Projects Managers may agree to
            modify these templates.


            7.4        Meetings
            All the meetings are defined in the project communication plan and are listed in the event matrix.
            The standard meetings defined are:

                      Meeting        Participants                    Main objective                 Frequency
                                  Project               Check the general project status and
                                  Managers,             resolve any differences that may have
              Steering
                                  Sponsors and          arisen between project managers             Monthly
              Committee
                                  directors of Open
                                  and the City
                                            Check in detail the project status and
              Operative                     ensure the fulfillment of all activities,
                           Project Managers                                             Weekly
              Committee                     define necessary actions to avoid
                                            deviations.
                           Project Managers Ensure the fulfillment of all activities;
              Follow up
                           and Project      explain actions defined by project Weekly
              meetings
                           teams.           management for team execution.
              Risks follow Project Managers Check the status of risks and actions to be
                                                                                        Weekly
              up meeting   and Open PMO     taken in order mitigate or avoid the risks.


            7.5     Communications Tools
            Open has tools built on MS Project, MS Office and SharePoint applications, which have been
            developed to support the project management and all the processes defined in the
            implementation methodology. These tools were developed to make project management more
            efficient and guarantee that the project follows best practice on which the implementation
            methodology is based. Also Open has a Web-based ITSM (Information Technology Service
            Management) tool which supports the processes for incident tracking and functional questions
            and issue tracking. There is a brief description of these tools below:
            7.5.1      Implementation Tool Kit
                •      A set of templates built on Word and PowerPoint required for project management
                       according to the Open Implementation Methodology. It includes templates such as the



                                                             Page 75 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 99 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                   project plan and its attachments (cost management plan, scope management plan, time
                   management plan, project communications plan, and risk management plan), records or
                   minutes for opening and closing processes, a work plan for each process, among others.
                • A set of tools developed in Excel to support the control and monitoring process of the
                   project, which includes pre-designed tables for resource management, effort
                   management, travel expense control, dashboards and control indicators for specific
                   processes such as functional testing.
                • Communication tools, created in Word and PowerPoint, such as monitoring reports,
                   reports for stakeholders and the Kickoff Presentation template, among others.
                • Project timeline built on MS Project and based on a standard WBS (Work Breakdown
                   Structure) created for the implementation of Open Smartflex and adjusted to the specific
                   characteristics of the project.
            7.5.2 Project Site
            Open builds a website on SharePoint for each new project, which is designed to support project
            management and distribution of information among project team members. The most relevant
            aspects of this site are:
                •    Time Management: The official project timeline is published on the site, so project team
                     members can have access to it and update the percentage of progress for each activity
                     assigned. As the project schedule is managed by MS Project, this site integrates
                     completely with MS Project.
                •    Stakeholder Management: A Web-based tool to carry out the crucial tasks that support
                     the stakeholder management process, such as identification, analysis, defining
                     engagement actions, among others. If required, the data can be exported to files in CSV
                     or Excel format.
                •    Risk Management: A Web-based tool that supports the entire risk management process,
                     from the identification of risks, its quantitative and qualitative analysis, to the formulation
                     of actions and monitoring and control of these actions. The tool allows the stakeholders to
                     have a graphic preview summary of the project risk map and their evolution regarding an
                     increase in probability and impact. Also, it supports the monitoring process of the PMO by
                     enabling the creation of observations and questions related to specific risks. If required,
                     this data can be exported to files in CSV or Excel format.
                •    Documentation Management: Using established workflows, the project team can manage,
                     monitor and control the project documentation. This tool allows any member of the project
                     team to access the Implementation Tool Kit, which is organized according to the WBS of
                     the project, and easily identify the template required to formalize any work package. Also,
                     this feature provides a reference ID for each document and its state (draft or final). With
                     this mechanism, Open offers an efficient way to manage project documentation, allowing
                     the user to identify, consult and distribute documents in a unique location and to control
                     the project’s deliverable matrix.
                •    Issues Management (non-functional): This tool allows the user to register, control,
                     categorize, follow up and solve any issues that emerge during the development of a
                     project. Its main objective is to cover every aspect of the project and recognize issues that
                     can affect the project in any of its variables (cost, time, quality, scope, risk, etc.).
                •    Monitoring Reports: A project requires monitoring reports that must be generated on a
                     regular basis to consolidate a communication process with the different stakeholders. This
                     tool has a centralized archive to support the distribution and consultation of each project
                     monitoring report that is generated in the project. If required, current or previous
                     information can be requested by any project team member.




                                                             Page 76 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 100 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            The City must acquire the respective licenses needed to access the SharePoint site. Also, the
            City must have MS Project and MS Office suite (Word, PowerPoint, and Excel) licenses for the
            City project team.
            7.5.3 SAO
            Open also has an information management system, called SAO, which is a web-based ITSM
            (Information Technology Service Management) type of tool that manages Open’s application
            lifecycle and allows the project team to:
                •    Register and monitor incidents that emerged during the project’s testing processes.
                •    Register and monitor City’s project team functional questions and issues related to how
                     the system will meet any specific needs. This process allows Open to manage concerns
                     that the City may have promptly, reducing possible impacts due to changes in the project
                     scope.
            After closing a project, the SAO becomes the platform which supports the management of
            activities associated with support and maintenance of the solution. It also becomes the
            communication channel between the City and Open’s support team, to report incidents, requests
            new requirements and additional consulting services. Through statistical data, time
            measurements for each incident and its management process, notifications and control panels,
            the SAO allows the user to monitor support, to ensure their compliance.
            For communication within the project team and between the on-site and offshore project team,
            Open uses Skype for Business, a tool that supports chat, calls, and video conferences.

            8. Risk Management
            8.1    Risk Management Plan
            Open’s Implementation Methodology includes a complete risk management process which is also
            defined and formalized on the Risk Management Plan, as part of the Project Plan. This process
            includes all the activities needed to establish risk planning, risk identification & analysis, risk
            response, and risk monitoring & controlling.
            For tracking the potential risks, the first step is to jointly identify them promptly and maintain a
            continuous process of identification throughout the lifecycle of the project. Open’s PMO also
            supports the identification process by providing the Project Manager with a set of common risks
            identified within projects Open has managed previously.
            Once all potential risks have been identified, the Project Manager builds the risks register matrix
            where every risk must be evaluated and categorized according to its value (probability impact),
            so that the monitoring and control process is focused on the most significant risks. At least once
            a week, the project team should conduct a risk meeting where they review the risk matrix with the
            following objectives:
                • Identify new risks.
                • Identify if the value of risk has changed (its impact and probability).
                • Track the risk responses defined for the critical risks.
                • Review the appearance of risk triggers.
                • Review the development of the identified risks and the effectiveness of any action.
                • Define new risk responses if necessary.
            After the project teams review all the risks, the risk matrix is updated. Then the Project Managers
            will discuss and analyze the most critical risks in a separate meeting to cross-reference
            information from both sides and to discuss their points of view regarding each critical risk. This is
            very important because, in an efficient risk monitoring and control process, both parties must
            participate actively so that all definitions and actions are accurate.



                                                             Page 77 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 101 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            Open’s PMO also conducts a weekly meeting with the Open PM to review the risk matrix of the
            project. In these meetings, Open’s PM makes a brief presentation about the risk matrix of the
            project, outlining the most critical risks. Each week, the PM will present the development of any
            critical risks (regarding probabilities), and how effective the responses to those risks have been
            to date. The PMO will make suggestions and comments to help achieve the risk management
            goals.
            The risk management plan built as part of the project plan will include all the details regarding the
            management of risks throughout the project.

            9. Testing and Incident Management
            9.1     Testing process
            As part of the implementation methodology, Open has defined a testing methodology that is based
            on the solution architecture and the recommended practices included in Open Smartflex solution.
            During the implementation, the testing processes focus on testing the components that are added
            or changed by/for the City. These are integration, client configuration, and data conversion, which
            are tested executing City functional processes using the testing scripts provided by Open and
            approved by the City.
            Every implementation takes the last version of the Open Smartflex solution, which has been
            tested by Open´s quality assurance department guaranteeing that the solution works properly
            through all the processes defined on Open´s standard practices. During the configuration
            processes (Client Solution Setup) the system testing is performed by the project team, executing
            the test scripts (provided by Open as part of the recommended practices), to guarantee that the
            Client Solution (Open Smartflex + City configuration + Interfaces + data conversion) is working
            properly. During this process the project team executes the following test processes:
            9.1.1 Integration Testing
            This is an important part of the solution validation, where the interaction between the different
            external systems and Open Smartflex is tested. Since Integration Testing involves several
            external systems and platforms, the participation of subject matter experts in these systems and
            platforms is mandatory. This testing process is executed by the project team (City and Open)
            during the Client Solution Set-up.
            9.1.2 System Testing
            System testing is carried out when the entire City Solution is ready. The focus of this testing is to
            check the behavior of the whole system as defined by the scope of the project. The main concern
            of system testing is to verify the system against the final business process. While performing the
            tests, the tester is not concerned with the internals of the system but checks if the system behaves
            as per expectations. This testing process is executed by the project team (City and Open) after
            the client configuration, integration and conversion processes are concluded.
            9.1.3 Parallel Testing
            This is an important part of the system testing, where the rates and all the business rules are
            validated to obtain the expected results on the billing cycles. In this process, the project team
            takes two billing cycles, executes them and compares the results with the one done for the same
            cycle in the legacy systems. All the differences are reviewed, and the process is repeated a
            second time to guarantee the inconsistencies are explained/corrected. The cycles to test are
            chosen by the City, taking into consideration that it contains all or most of the different billing
            conditions of the City. This testing process is executed by the project team (City and Open) during
            the Client Solution Set-up.




                                                             Page 78 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 102 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            9.1.4 Stress and Performance Testing
             Performance testing in the project, concentrates in executing full batch processes with the City’s
            real data using the infrastructure that is going to be used after go-live. Performance testing is
            executed by the City technical team with the support and consultancy of Open.
            Stress Testing is executed by using jmeter to simulate the agreed to number of concurrent users
            to ensure the performance of the system has not degraded by the implementation of a new
            system. The number of users will be determined during the planning phase of the project.
            For automation purposes, Open use testing tools based on Apache JMeter and JUnit. These
            tools are used to test the coding and simulates users in the system to test concurrency,
            performance, functional and technical issues.
            9.1.5 User Acceptance Testing – UAT
            Once the City solution is tested, and the inconsistencies are resolved, the Acceptance testing is
            held. Here, the City tests the solution concerning user needs requirements, and business
            processes, and determine whether the solution can be handed over to the user community or not.
            At this stage, different client representatives are part of the testing team, so that the City has
            confidence in the system.
            9.1.6 Mocks & Rehearsal
            This type of testing is done just before the system goes into the production. It checks the readiness
            of the product, by testing for backups, recovery techniques, shutdown and resumption,
            component failure, and user load.
            Before the go-live, the conversion/migration team must coordinate and execute at least two mocks
            of the Conversion process and two successful dress rehearsals to guarantee that not only the
            solution is ready to operate but to test the go-live processes and assure that they are held in the
            timeframe the project must put on production the solution.


            9.2    Incident Reporting Process
            The Open implementation methodology integrates throughout the project life cycle, a complete
            defect tracking process. This process is supported by a web tool (SAO) which manages the
            workflow needed to register, diagnose and resolve any incident on Open Smartflex, and provides
            data and dashboards related to times, severities, who is managing the incident, and in which state
            it is.
            The incident management flowchart for each type of error is described below:
               • Basic client data (client configuration) and operating data (converted data) errors: If,
                   because of the diagnosis, the incident is determined to be caused by a problem in the
                   basic data or operating data, the customer’s first-level support team must:
                       o Report the incident to the City’s functional leader, detailing the basic data,
                          configuration and operating data to be adjusted.
                       o Once the cause of the incident is corrected, the tester must be notified to authorize
                          the correction.




                                                             Page 79 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 103 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                •    Software errors: If, because of the diagnosis, it is determined that the incident is caused
                     by a software problem, the City’s first-level support team must register an incident in
                     Open’s ITSM tool (SAO) for this incident to be resolved by Open. The incident in the SAO
                     system has a defined flow that will help the diagnosis and analysis of the reported error.
                     The following chart shows the different states of this flow and a brief explanation of each:




                          State                                  Description                     Who?
                                                                                             Client 1st
                                      Record the incident found, attaching required
                     Register                                                                level
                                      documentation.
                                                                                             Support
                                                                                             Open 2nd
                                      Analysis of the reported incident and diagnosis within
                     Diagnosis                                                               level
                                      established times. (SLA Diagnosis)
                                                                                             Support




                                                             Page 80 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 104 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                          State                                 Description                               Who?
                                      If further information on the incident is required within the
                                                                                                      Client 1st
                     Information      diagnosis process, the incident is passed to the
                                                                                                      level
                     Request          “Information Request” status and assigned to the user who
                                                                                                      Support
                                      reported it to clarify any questions.
                                      Once the Coordination Committee defines that the incident
                                                                                                      Open 3rd
                     Pending          solution should be released, a process is executed in the
                                                                                                      level
                     Delivery         SAO tool which packages the deliverable and publishes it
                                                                                                      Support
                                      for applications in the project environments.
                                      Once the 3rd level support team has made the error
                                                                                                      Open 2nd
                                      correction, it passes the incident to “Available” to make it
                     Available                                                                        level
                                      available to generate a deliverable according to the project
                                                                                                      Support
                                      conditions.
                                      Once the Coordination Committee defines that the incident
                                                                                                      Client
                                      solution should be released, a process is executed in the
                     Delivered                                                                        Support
                                      SAO tool which assembles the deliverable and publishes it
                                                                                                      Leader
                                      for applications in the project environments.
                                                                                                      Client 1st
                                      With the error correction validation, the incident must be
                     Closed                                                                           level
                                      passed to a closed state.
                                                                                                      Support
                                      When it is determined that the reported error does not
                                      correspond to an error during the diagnosis, Open’s
                                                                                                      Open 2nd
                                      second-level support team passes the incident to
                     Resolved                                                                         level
                                      ¨Resolved¨ and assigns it to the user who reported it,
                                                                                                      Support
                                      explaining the cause of the error, so the User validates this
                                      response and confirms that it is not a software error.
                                                                                                      Client     1st
                                      If the user who reported the error validates that this is not a
                     Canceled                                                                         level
                                      software error, it changes the incident to be canceled.
                                                                                                      Support


            10. Change Control Procedure
            Taking in consideration that every change to the project may impact cost or schedule and scope
            must be tracked and managed properly, Open’s Implementation Methodology has a Change
            Control procedure that is used to manage any change to the project. This procedure defines the
            responsibilities, activities, and workflow that each change should pass through to be identified,
            analyze and approved. The overall processes of this procedure are described as follow:
               • Identification: Project Managers of both parties (City and Open) must discuss any
                   change to the project. Once a change is identified, it is registered in the change control
                   matrix and is passed to the evaluation phase.
               • Evaluation: During the evaluation phase the change request is analyzed to define the
                   impacts to the project variables regarding the amount of effort, its cost and the estimated
                   time it will require, to include it in the scope of the project. At the end of this phase, the
                   impact of the change is estimated, and the risks associated with its implementation are
                   identified.
               • Approval: During this phase, the change is submitted for approval. The project manager
                   will review the impacts of the change and decide if it is approved or is rejected. If there is
                   no agreement between the project managers, then the change is escalated to the Steering
                   Committee, for their final decision. If the change is approved then the Project Plan and is




                                                             Page 81 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 105 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                     adjusted taking in consideration the estimated impacts from the evaluation phase. If not
                     approved, then it is registered as a change control in the change matrix.
                     During the planning process of the project, this procedure is reviewed by the project
                     managers and appended to the project plan.

            11. Knowledge Transfer
            Open’s Implementation methodology for knowledge transfer is carried out during all phases of the
            project, through the support and assistance of the Open project team to the City staff. The main
            goal of the implementation methodology is to deliver a solution that not only supports the City’s
            operation effectively but to deliver the City the knowledge needed to operate, support, administer
            and evolve the Open Smartflex solution. The main processes where Open promotes its
            knowledge transfer strategy are:
            11.1.1. Functional and Technical Training: During this process, the Open learning virtual
            platform is made available, so that the City can take the available courses. After the courses, the
            City’s project team will be familiar with the recommended practices integrated into Open
            Smartflex.
            The Open learning virtual platform can be available during the project. The use of this platform
            will be coordinated between the project managers.
            11.1.2 Solution Scope Presentation: In this process, Open presents the solution to be
            implemented as a workshop. Through this process, the knowledge transfer is continued, as the
            City’s project team will have a clear view of how Open Smartflex will fulfill the City’s requirements.
            They will have the opportunity to ask any functional questions and/or issues they may have
            regarding the solution scope, so it can be managed and responded.
            11.1.3 Client Solution set up: This process consists of the execution of the activities that allow
            the project teams to have the solution ready to operate. For this purpose, Open’s project team
            supports and transfers the knowledge to the City’s project team on how to configure the solution.
            This knowledge transfer is made while configuring the solution, giving the City project team a way
            to learn and practice.
            11.1.4 Solution Acceptance: This process concentrates most on the product knowledge
            transfer. It starts with the functional and technical training for the core project team, using
            traditional classroom training and practical workshops, in all matters related to the administration
            of Open Smartflex. This training enables them to strengthen their knowledge and replicate it to
            end users. (Train the trainers)
            All the knowledge transferred in this training is put into practice by performing the acceptance test
            processes. The City’s team simulates the daily operational processes to validate correct operation
            and accept the functionalities, achieving a deep level of knowledge.
            11.1.5 End User training: As explained in the previous process, the City’s core team or the
            assigned personnel, will train the end users to operate Open Smartflex. During this process, the
            trainers use the knowledge acquired in the project and adapt it to the context of the company’s
            business processes to transfer this knowledge in a common language to the end users.
            Open Smartflex documentation (user guides and technical guides) is included in the product so it
            can be accessed by any user at any time.

            12. Facilities
            Open recommends project workspaces where the team can work together and have an
            environment that enables an effective communication.



                                                             Page 82 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 106 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            The recommended physical set-up/characteristic of the workspace for the project teams are as
            follows:
                •    Work Space for the project Team (City and Open): It is essential that the project
                     workspace be comfortable (light, noise, space, ergonomics, etc.), accommodates all the
                     members of the project team (Open and the City) and has the elements necessary to
                     perform their jobs, such as:
                         o Enough space for each member of the project team (Open and the City)
                         o Internet and network connection
                         o Printer (one for the whole team)
                         o Computers (for the City’s project team)
                     Our experience shows us the whole team (Open, the City and any third party) must be in
                     the same area so the communication can flow and the project work is done effectively.
                     War rooms are recommended and can be organized in this working area.

                •    Conference rooms: These rooms are essential for the meetings that will be held during
                     the project. It is very important that the facility has spaces in which the teams can meet
                     and advance work effectively. The basic elements/characteristics of these rooms are:
                         o Video capabilities
                         o Telephone
                         o Internet and network connection
                         o Capacity for 35 people maximum
                     Usually, a project of this size may need three conference rooms at a peak time.

                •    Cubicles for calls or conferences: It is common that the project staff needs to
                     communicate with remote personnel. For this, it is very important to have spaces/cubicles
                     where they can make a conference call. This cubicle must have a proper Internet and
                     network connection.

                •    Project Manager´s private area: Space where the Project Manager can discuss project
                     issues and hold meetings in a private matter. This area must have:
                         o Internet and network connection

            13.      Assumptions
            13.1   Personnel
               •   The City must have a qualified Oracle database administrator included in the technical
                   team.
                • The City and Open must have assigned the necessary human and technical resources,
                   according to the staffing matrix, which was created by each party, for the execution of
                   project activities in each of its phases.
                • Any change in the number of resources or its dedication must be documented and
                   managed with the change control management.
            13.2 Physical Environment
            The City will provide:
                •    Office space furnished with readily accessible telecom facilities (desk, power, phone,
                     internet connection), VPN connectivity to the Open project team.
                •    Access cards for on-site staff allowing for 24-hour access to the site, as well as access
                     through an interface to network elements with which the solution is required to integrate.
                     This will also include documentation to connect/access the network elements.
                •    Appropriate security clearance and site access to designated personnel on a 24x7 basis.



                                                             Page 83 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 107 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            13.3    Backup & Restore (On-Premise)
                •   The City will be responsible for the IT infrastructure operation and administration, including
                    backups and Disaster Recovery site for the production and non-production environments.
            13.4    Project Specific Assumptions
                •   The functional scope of this project is detailed in the document, “Solution Overview.”
                •   The Project Timeline and Implementation strategy are specified in the project schedule
                    and the staffing matrix.
                •   The proposal includes on-site training (train-the-trainers) and Open Academy (virtual
                    platform) is available at no additional cost.
                •   The provisioning configuration services, were estimated assuming that three (3) platforms
                    will be configured including network electronics, video and phone. The City must provide
                    the documentation and specifications. Such information is relevant to determine the
                    configuration of the Software and the modules that need to be used for the integration with
                    the platforms. Open developed the project timeline assuming the required documentation
                    would be available three (3) weeks prior to the project start date. The Parties agree that
                    the Customer will provide this information as it becomes available. The Customer also
                    acknowledges Open has requested the City provide the sandbox platform connections at
                    the beginning of the first month of the project and the acceptance platforms at the
                    beginning of the fifth month of the project. The City will provide the sandbox platform as
                    it becomes available. If the information, sandbox environments or acceptance platforms
                    are not available to Open in the abovementioned timeframes, once the information,
                    sandbox environments or acceptance platforms are available, Open will evaluate any
                    impact to the project and inform the Customer within ten (10) business days. In such
                    event, Open will initiate a change request in accordance with Section 6 of the MPSA for
                    discussion and mutual agreement by the Parties. Nevertheless, Open will make best
                    efforts to mitigate any impact to the project.
                •   One month after the project starts, all the definitions corresponding to the Broadband
                    platforms must be closed and delivered to the Open project team.
                •    Open has assumed typical scenarios for the system configuration and professional
                     services estimation.
                •    It’s estimated one thousand and seven hundred (1,700) hours for reports
                •    Two thousand (2.000) hours are estimated to address regulatory requirements.
                •    From the contract approval and the go-live process, Open has included the services
                     described in the support and maintenance agreement. After go-live, the City must sign a
                     new agreement.
                •    For deliverable signoff, the responsible party for deliverables will inform the approval party
                     that it’s complete. The approval party has five days to accept the deliverable or inform the
                     reason for the rejection. Any difference will be resolved on the Operative Committee or
                     escalated to the Steering Committee.

            13.5   Project Payment Milestones
            The project payment milestones shall be in accordance with Section 8 of the Master Professional
            Services Agreement.




                                                             Page 84 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 108 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




           14. Appendix
            14.1     Migration Activities
                                                                                                    The    Ope
              Process                                    Task
                                                                                                    City    n
                                                         Create 2 Conversion environments
                                                         (Legacy System). One is a pristine
                                                         environment to be used as a baseline        R     A
                                                         and the other environment will be used
              Initiation                                 to pull data from and for testing.
                                                         Review initial Conversion Templates -
                                                                                                     C     R
                                                         Banner
                                                         Determine Conversion File Method -
                                                                                                     C     R
                                                         Banner
                                                         Run Scripts                                 C     R
                                                         Create Data Integrity Reports               C     R
                                                         Analyze and resolve Data issues
                                                                                                     R     A
                                                         identified by the Scripts
              Data Analysis
                                                         Review and Balance the 7 Banner
                                                         financial tables to ensure at start that
                                                                                                     C     R
                                                         the AR is Balanced and Deposits
                                                         balance to the GL.
                                                         Identify Source Files/Data Elements to
                                                                                                     C     R
                                                         be converted
                                                         Map Source data to Staging Tables           C     R
              Data Mapping
                                                         Define Files to be converted manually       C     R
                                                         Ensure Data Cleanse Items are
                                                                                                     C     R
                                                         Complete
                                                         Provide Legacy System extract files
                                                                                                     R     A
                                                         with data
                                                         Develop Extraction programs (Financial
                                                                                                     C     R
                                                         and Non Financial Extracts)
              Conversion Program                         Test Extraction programs                    C     R
              Development                                Revise/Adjust Extraction programs           C     R
                                                         Develop Load Scripts of extraction data
                                                                                                     C     R
                                                         input layer
                                                         Review Conversion Plan and
                                                                                                    R,A    A
                                                         Acceptance Criteria
                                                         Develop Balancing procedures for
                                                         Conversion. (Financial data as well as      C     R
                                                         Statistical data)
                                                         Develop scripts for data validation         R     A
                                                         Validate converted data                    R,A    A
              Testing                                    Mine accounts that will be used for
                                                                                                     R     A
                                                         testing of Conversion
                                                         Reconcile Converted Data. Data is
                                                         reconciled when loaded to Staging
                                                                                                     C     R
                                                         Tables prior to loading to Open
                                                         Smartflex



                                                             Page 85 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 109 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                                                  The     Ope
              Process                                    Task
                                                                                                  City     n
                                                         Develop Reconciliation Detail report      R       A
                                                         Assist with Validate Errors and
                                                                                                      R   A
                                                         Conversion Counts
                                                         Mock Conversion 1 - Extract Data from
                                                         Banner and Load to Smartflex staging         C   R
                                                         tables
                                                         Run Balancing Reports                        R   A
                                                         Assist with Validate Errors and
                                                                                                      R   A
                                                         Conversion Counts
                                                         Mock Conversion 2 - Extract Data from
              Go Live Support
                                                         Banner and Load to Smartflex staging     R,A     A
                                                         tables
                                                         Run Balancing Reports                        R   A
                                                         Assist with Validate Errors and
                                                                                                      R   A
                                                         Conversion Counts
                                                         Execute Cut-Over Plan - Banner            C      R
                                                         Validate Converted Data                  R,A     A
                                                         Support if questions/issues arise post
              Post Go Live Support                                                                    R   A
                                                         conversion


            14.2 Migration Deliverable
             Process                         Task                                             The City Open
                                             Conversion environments will be                     R      A
                                             built.
                                             All Banner tables with data wil be                   C       R
              Initiation
                                             identified.
                                             Conversion File Methodology will                     C       R
                                             have been determined.
                                             Report submitted of all Data
                                                                                                  C       R
                                             Anomalies found.
                                             Balancing reports will be done
              Data Analysis
                                             showing the Banner financial
                                                                                                  A       R
                                             tables are in balanced within
                                             themselves.
                                             Data mapping Document would
                                                                                                  A       R
                                             have been completed.
                                             Manual data conversion activities
                                                                                                  A       R
              Data Mapping                   will have been identified.
                                             Data Cleansing for items identified
                                             and approved to date will have                       A       R
                                             been completed.
                                             Extraction programs developed
                                                                                                  C       R
                                             and tested.
              Conversion Program Development
                                             Conversion Plan and Acceptance
                                                                                                  A       R,A
                                             criteria reviewed.




                                                             Page 86 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 110 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




              Process                                        Task                                The City Open
                                                             Balancing Procedures for
                                                             Conversion both of Financial Data
                                                                                                   A       R
                                                             and non-financial data will have
              Testing
                                                             been completed.
                                                             Validation of converted data will
                                                                                                  R,A     R,A
                                                             have been executed.
                                                             Cut-over plan will have been
                                                                                                   A       R
                                                             executed.
                                                             Converted Data uploaded to Open.      A       R
              Go Live Support
                                                             Converted Data validated.             A       R
                                                             Balancing Reports will be run and
                                                                                                   A       R
                                                             balanced.
                                                             Conversion team on site to clean
                                                             up any issues that may arise
              Post Go Live Support                                                                 A       R
                                                             around converted
                                                             Data.




                                                              Page 87 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 111 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                     MASTER PROFESSIONAL SERVICES AGREEMENT
                                              EXHIBIT D – CONFIDENTIALITY
            In connection with the Services to be provided by Open under this Agreement, the Parties agree
            to comply with the policies and procedures with regard to the exchange and handling of
            confidential information and other sensitive materials between the Parties as set forth below.

            1. Definitions.
               For purposes of this Agreement, the party who owns the Confidential Information and is
               disclosing same shall be referenced as the “Disclosing Party.” The party receiving the
               Disclosing Party’s Confidential Information shall be referenced as the “Receiving Party.”

            2. Confidential Information.
               Confidential Information means information which is not public and/or is proprietary, including
               but not limited to the Software (including Updates), Documentation, and any results of any
               testing or analysis of the Software or Documentation by any party, utility user information,
               utility data, service billing records, utility user equipment information, location information,
               network security system, business plans, formulae, processes, intellectual property, trade
               secrets, designs, photographs, plans, drawings, schematics, methods, specifications,
               samples, reports, mechanical and electronic design drawings, client lists, financial
               information, studies, findings, inventions, and ideas and with respect to either Party’s
               information, all information that either (a) is marked as confidential or proprietary, or (b) by its
               nature is normally and reasonably considered confidential. To the extent practical,
               Confidential Information shall be marked “Confidential” or “Proprietary.” Nevertheless, Open
               shall treat as Confidential Information all utility user personally identifiable information in any
               form, whether bearing a mark of confidentiality or otherwise requested by the Customer,
               including but not limited to account, address, billing, consumption, contact and other utility
               user data, which Customer makes available to Open in accordance with Section 11(b) of the
               Agreement. In the case of disclosure in non-documentary form of non-customer identifiable
               information, made orally or by visual inspection, the Disclosing Party shall have the right, or,
               if requested by the Receiving Party, the obligation to confirm in writing the fact and general
               nature of each disclosure within a reasonable time after it is made in order that it is treated as
               Confidential Information. Any information disclosed to the other Party prior to the execution of
               this Agreement and related to the services for which Open has been engaged shall be
               considered in the same manner and be subject to the same treatment as the information
               disclosed after the execution of this Agreement with regard to protecting it as Confidential
               Information.

            3. Use of Confidential Information.
               Subject to section 5 of this Exhibit D, Receiving Party hereby agrees that it shall use the
               Confidential Information solely for the purpose of performing its obligations under this
               Agreement and not in any way detrimental to Disclosing Party. Receiving Party agrees to use
               the same degree of care Receiving Party uses with respect to its own proprietary or
               confidential information, which in any event shall result in a reasonable standard of care to
               prevent unauthorized use or disclosure of the Confidential Information. Except as otherwise
               provided herein, Receiving Party shall keep confidential and not disclose the Confidential
               Information other than to its directors, officers, employees, agents, representatives, and
               subcontractors (collectively, its “Representatives”). The Customer and Open shall cause each
               of their Representatives to become familiar with, and abide by, the terms of this section, which
               shall survive this Agreement as an ongoing obligation of the Parties. Neither Party shall use
               Confidential Information to obtain any economic or other benefit for itself, or any third party,
               other than in the performance of obligations under this Agreement.



                                                             Page 371 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 112 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            4. Exclusions from Definition.
               The term “Confidential Information” as used herein does not include any data or information
               which is already known to the Receiving Party or which before being divulged by the
               Disclosing Party (1) was generally known to the public through no wrongful act of the
               Receiving Party; (2) has been rightfully received by the Receiving Party from a third party
               without restriction on disclosure and without, to the knowledge of the Receiving Party, a
               breach of an obligation of confidentiality; (3) has been approved for release by a written
               authorization by the other Party; or (4) has been disclosed pursuant to a requirement of a
               governmental agency or by operation of law.

            5. Required Disclosure.
               If the Receiving Party is required (by interrogatories, requests for information or documents,
               subpoena, civil investigative demand or similar process, or by federal, state, or local law,
               including without limitation, the Colorado Open Records Act) to disclose any Confidential
               Information, the Parties agree the Receiving Party will, to the extent practicable, provide the
               Disclosing Party with prompt notice of such request, so the Disclosing Party may seek an
               appropriate protective order or waive the Receiving Party’s compliance with this Agreement.

                Additionally, if Customer is required to disclose this Agreement or the Software License
                Agreement in connection with a public records request, Open shall have an opportunity to
                provide Customer with redacted versions of each such agreement which will have Confidential
                Information redacted and Customer shall be permitted to disclose such redacted versions of
                the Agreements in response to such public records requests.

                The Receiving Party shall furnish a copy of this Exhibit D with any disclosure.

            6. Except as set forth in paragraph 5, Open shall not disclose Confidential Information to any
               person, directly or indirectly, nor use it in any way, except as required or authorized in
               writing by the Customer.


            7. Red Flags Rules.
               Open must implement reasonable policies and procedures to detect, prevent and mitigate the
               risk of identity theft in compliance with the Identity Theft Red Flags Rules found at 16 U.S.
               Code of Federal Regulations Part 681 (the “Red Flag Rules”). Further, Open must take
               appropriate steps to mitigate identity theft if it occurs with one or more of the Customer’s
               covered accounts and must as expeditiously as possible notify the Customer in writing of
               significant breaches of security or Red Flag Rules to the Customer.

            8. Data Protection and Data Security.
               In addition to the requirements of paragraph 7 of this Exhibit, Open shall have in place
               information security safeguards designed to conform to or exceed industry best practices
               regarding the protection of the confidentiality, integrity and availability of utility system and
               user information and shall have written agreements requiring any subcontractor to meet those
               standards. These information security safeguards (the “Information Security Program”) shall
               be materially consistent with, or more stringent than, the safeguards described in this Exhibit.

                     a) Open’s information security safeguards shall address the following elements:

                         •   Data Storage, Backups and                         •   Logical Access Control (e.g.,
                             Disposal                                              Role-Based)




                                                             Page 372 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 113 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                         •   Information Classification and                    •    Application Security Controls
                             Handling                                              and Procedures (User
                         •   Secure Data Transfer (SFTP                            Authentication, Security
                             and Data Transfer                                     Controls, and Security
                             Specification)                                        Procedures, Policies and
                         •   Secure Web Communications                             Logging)
                         •   Network and Security                              •   Incident Response
                             Monitoring                                        •   Vulnerability Assessments
                         •   Application Development                           •   Hosted Services
                             Security                                          •   Personnel Security


                     b) Subcontractors. Open may use subcontractors, as provided in the Agreement, though
                     such activity shall not release or absolve Open from the obligation to satisfy all conditions
                     of this Agreement, including the data security measures described in this Exhibit, and to
                     require a substantially similar level of data security, appropriate to the types of services
                     provided and Customer data received, for any subcontractor Open may use. Accordingly,
                     any release of data, Confidential Information, or failure to protect information under this
                     Agreement by a subcontractor or affiliated party shall be attributed to Open and may be a
                     material breach of this Agreement.

            9. Confidential Information is not to be stored on any local workstation, laptop, or media such
               as CD/DVD, USB drives, external hard drives or other similar portable devices unless Open
               can ensure security for the Confidential Information so stored. Workstations or laptops to be
               used in the Services will be required to have personal firewalls on each, as well as have
               current, active anti-virus definitions.


            10. The agreement not to disclose Confidential Information as set forth in this Exhibit shall apply
                during the Term and at any time thereafter unless specifically agreed in writing by both
                Parties.


            11. If Open breaches this Agreement, in the Customer’s sole discretion, the Customer may
                immediately terminate this Agreement and withdraw Open’s right to access Confidential
                Information.


            12. Notwithstanding any other provision of this Agreement, all material, i.e. various physical
                forms of media in which Confidential Information is contained, including but not limited to
                writings, drawings, tapes, diskettes, prototypes or products, shall remain the sole property of
                the Disclosing Party and, upon request, shall be promptly returned, together with all copies
                thereof to the Disclosing Party except for any copies kept in an automated backup or
                archival system or as required to comply with any applicable legal or accounting
                recordkeeping requirement. Upon such return of physical records, all digital and electronic
                data shall also be deleted in a non-restorable way by which it is no longer available to the
                Receiving Party. Written verification of the deletion (including date of deletion) is to be
                provided to the Disclosing Party within ten (10) days after completion of engagement,
                whether it be via termination, completion or otherwise.




                                                             Page 373 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 114 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




            13. Each Party acknowledges that the other Party has access to Confidential Information that is
                critical to the continued success of the Party’s business. Accordingly, each Party agrees that
                the other Party does not have an adequate remedy at law for breach of this Exhibit D and
                therefore, each Party shall be entitled, as a non-exclusive remedy, and in addition to an
                action for damages, to seek and obtain an injunction or decree of specific performance or
                any other remedy, from a court of competent jurisdiction to enjoin or remedy any violation or
                threatened breach of this Exhibit D.




                                                             Page 374 of 391
                           Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 115 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             MASTER PROFESSIONAL SERVICES AGREEMENT


                                                       EXHIBIT E – PROJECT COST, MILESTONE PAYMENTS AND RETAINAGE


                                                               Milestone               Retainage     Milestone
                                                                Percent    Month           %         Payment          Retained $        Total
              Contract signing / software Delivery                25%        0           10%         $1,056,175.43    $117,352.83    $1,173,528.25
              Initiation and planning                             10%        2           10%           $422,470.17     $46,941.13     $469,411.30
              Solution Scope Presentation                         20%        5           10%           $844,940.34     $93,882.26     $938,822.60
              Broadband Go-Live                                   25%       10           10%         $1,056,175.43    $117,352.83    $1,173,528.25
              Utilities Go-Live                                   10%       13           10%           $422,470.17     $46,941.13     $469,411.30
              Stabilization                                       10%       17           10%           $422,470.17     $46,941.13     $469,411.30
                                                                                      SUB TOTAL      $4,224,701.70    $469,411.30    $4,694,113.00

              License                                            100%         0          64%           $205,200.00    $364,935.20     $570,000.00
              Support Year 1                                     100%         0          50%            $56,992.50     $56,992.50     $113,985.00
              Support Year 2                                     100%        12          50%           $111,301.00    $111,301.00     $222,602.00
                                                                                      SUB TOTAL        $373,493.50    $533,228.70     $906,587.00

                                                                                                   TOTAL             $1,002,640.00   $5,600,700.00

              Travel Expenses                                    N/A         1-14            N/A                                     $1,100,000.00



            Supplemental Conversion Support

            Conversion Services                                  N/A                         10%                      $51,000.00       $510,000.00
            Travel                                               N/A                         N/A                                       $136,000.00




                                                                           Page 375 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 116 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                             MASTER PROFESSIONAL SERVICES AGREEMENT


                                     EXHIBIT F – TRAVEL EXPENSE GUIDELINES


                            Lodging, Per Diem Meals and Incidentals and Other expenses:

    Lodging:

        •   Hotels will be reimbursed at cost up to $109/day provided the government rate is available. If the
            government rate is not available, the best available rate shall be used and a printout of the available
            rates at the time of the reservation provided as documentation.
        •   Hotel taxes do not count to the $109 limit, i.e. the rate is $109 plus applicable taxes.
        •   Receipts are to be provided.
        •   Alternative lodging (non-hotel) shall be reimbursable at cost not to exceed $109/day per person. The
            not to exceed includes related expenses for utilities, periodic maid service, etc.



    Meals and Incidentals:

    In lieu of requiring expense receipts, Fort Collins will use Federal GSA per diem guidelines. Receipts not
    required.

        •   Daily rate: $59
        •   Travel Days rate: 75% of $59 = $44.25


    Vehicle Expenses:

        •   All costs related to rental vehicles (gas, parking, etc.) must be documented if they are to be
            reimbursed. The standard for vehicle size is mid-size to lower.
        •   If a private vehicle is used, mileage will be reimbursed using the mileage rate set by the IRS. The
            standard for determining total mileage is the most direct route.
        •   Mileage for vehicles will be at the current rate found at www.gsa.gov. The rate for 2018 is $0.545.


    Air Travel:

        •   Coach class
        •   Minimum 10-day advance purchase
        •   Travel to/from airport up to $75 US and $30 International each way (receipts required)


    Extraordinary Costs

        •   Prior authorization required.

    Expenses Not Allowed
       • Liquor, movies, or entertainment (including in-room movies);
       • Sporting events;
       • Laundry, dry-cleaning or shoe repair;
       • Personal phone calls, including connection and long-distance fees;
       • Computer connections (unless required for City business);
       • Other personal expenses not directly related to City business;

                                                             Page 376 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 117 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD


        •   Convenience charges;
        •   Rescheduling Airline Charges not related to City requirements.
        •   Excessive meal tip amounts generally over 20%;
        •   Delivery fees shall not exceed 10% of the total bill, if not already included;
        •   Extra Baggage for one day trips;
        •   Air Travel (when local);
        •   Items that are supplied by the City;
        •   Health and accident insurance.


    Time Frame for Reporting

        •   Per contract (every 30 days).




    Reference:

    The Federal GSA guidelines for Fort Collins are $109/day for hotel and $59 for meals and incidentals (M&IE).
    (Incidentals are defined as 1) fees and tips given to porters, baggage carriers, bellhops, hotel maids, stewards
    or stewardesses, and 2) transportation between places of lodging or business and places where meals are
    taken). Hotel taxes (i.e. lodging taxes) are not covered by per diem and are expensed as a separate line item.

    The M&IE is further broken down by:



        •   Breakfast: $13
        •   Lunch: $15
        •   Dinner: $26
        •   Incidentals: $5


    Federal guidelines further provide for the use of 75% of the M&IE rate for travel days, i.e. $44.25 for Fort Collins.




                                                             Page 377 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 118 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                             MASTER PROFESSIONAL SERVICES AGREEMENT


                            EXHIBIT G – ESCROW AGREEMENTS RELEASE CONDITIONS


    Below are the Software Source Code Escrow Release Conditions and the Financial Escrow Release
    Conditions which will be incorporated into the terms of the corresponding Software Source Code Escrow and
    Financial Escrow agreements between the Parties and the selected third-party software management and
    financial institutions.

    These conditions are enumerated herein independently to expressly state the Parties’ intent in advance of
    finalizing such escrow agreements.

    The Software Source Code Escrow Release Conditions are as follows:

        1.      Upon termination of this Agreement pursuant to Section 4.4(b) of the MPSA, the Software Source
                Code Escrow shall be released to the Party whose performance is not delayed by the Force
                Majeure event.

        2.      Upon termination of this Agreement pursuant to Section 13.2 of the MPSA, the Software Source
                Code Escrow shall be released to the non-defaulting Party.

        3.      Upon termination of this Agreement pursuant to Section 13.3 of the MPSA, the Software Source
                Code Escrow shall be released to the Party not declared insolvent or the subject of the bankruptcy
                filing.

        4.      Upon termination of this Agreement pursuant to Section 13.4 of the MPSA, the Software Source
                Code Escrow shall be released to Open.

        5.      Upon the occurrence of a material default under the MPSA and-or the Software License
                Agreement, the Software Source Code Escrow shall be released to the non-defaulting Party.

        6.      Upon the occurrence of any of the following events, the Software Source Code Escrow shall be
                released to Customer:

                a) If Acceptance by the Customer is not completed within six (6) months after the agreed Utilities
                   CIS Go-Live Date due to reasons solely attributable to Open and such Acceptance is not
                   unreasonably withheld by the Customer.

                b) Open’s compliance to the SLA at a level of 95% is a material condition of the Agreement. In
                   the event Open fails to sustain 95% compliance for four (4) out of six (6) months on a rolling
                   basis and subject to the baseline of cases, and a minimum 85% on Customer’s effectiveness
                   compliance in reporting cases during any month in which Open fails to achieve 95%
                   compliance, as defined by Exhibit B, Software Support Agreement Terms to the MSPA the
                   Customer shall have the right, but not the obligation, at its sole discretion to terminate the
                   Agreement for default notwithstanding MPSA Section 13.2

                c) In the event Open is not compliant for Severity 1 events as defined by Exhibit B, Software
                   Support Agreement Terms to the MPSA as follows:

                     Severity 1
                     • The fault remains without a temporary or final solution provided for a period of 48 hours, on
                        three (3) occurrences within any 6-month period; or
                     • The fault remains without a temporary or final solution provided for a period of 24 hours, on
                        six (6) occurrences within any 6-month period.
                                                             Page 378 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 119 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                     Such six (6) month period shall be on a rolling basis and subject to the baseline of cases, and a
                     minimum 85% on Customer’s effectiveness compliance in reporting cases during any month in
                     which Open fails to achieve the compliance on the Severity 1, in accordance with Exhibit B,
                     Software Support Agreement Terms to the MPSA.

                d) Open or Open Investments, LLC is acquired, transferred, merged or assigned to another entity
                   unable to provide the Customer all the services in accordance with the MPSA and Software
                   License Agreement.
                e) Open or Open Investments reorganizes in a manner that it inhibits Open’s ability to continue
                   supporting the Software in accordance with the Software Support Agreement Terms.
                f) Open fails to maintain an active on-going 18-24 month business development/ product
                   roadmap for North American and routine cadence of at least two (2) significant system
                   enhancements and/or upgrades on an annual basis.
                g) Open or Open Investments, LLC, or its successor or assignee, exits the North American
                   market or discontinues as a US business entity.
                h) Open or Open Investments, LLC fails to comply with Section 16.3 of the MPSA.

        7.      If this Agreement is not renewed or extended at the expiration of the Term by the Customer in its
                sole discretion in accordance with Section 13.1, and none of the above conditions for release of
                the Software Source Code Escrow have occurred, the Software Source Code Escrow will be
                released to Open upon such expiration.


    The Financial Release Conditions are as follows:

        1.      The Financial Escrow will be released in increments to Open upon achievement of the North
                American deployments as follows:

                a. 1/3 of $2,000,000 released upon signing of one (1) new contract in the United States,
                   excluding the City of Fort Collins;

                b. 1/3 of $2,000,000 released upon signing of a second new contract in the United States,
                   excluding the City of Fort Collins; and

                c. 1/3 of $2,000,000 released upon successful completion and acceptance of a new installation
                   in the United States, excluding the City of Fort Collins.

                d. If any portion of the Financial Escrow is released under this section, then all references to
                   Financial Escrow in this Agreement shall be to the remaining balance.

        2.      Upon termination of this Agreement pursuant to Section 4.4(b) of the MPSA, the Financial Escrow
                shall be released to the Party whose performance is not delayed by the Force Majeure event.

        3.      Upon termination of this Agreement pursuant to Section 13.2 of the MPSA, the Financial Escrow
                shall be released to the non-defaulting Party.

        4.      Upon termination of this Agreement pursuant to Section 13.3 of the MPSA, the Financial Escrow
                shall be released to the Party not declared insolvent or the subject of the bankruptcy filing.

        5.      Upon termination of this Agreement pursuant to Section 13.4 of the MPSA, the Financial Escrow
                shall be released to Open.

        6.      Upon the occurrence of a material default under the MPSA and-or the Software License
                Agreement, the Financial Escrow shall be released to the non-defaulting Party.


                                                             Page 379 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 120 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD


        7.      Upon the occurrence of any of the following events, the Financial Escrow shall be released to
                Customer:

                a) If Acceptance by the Customer is not completed within six (6) months after the agreed Utilities
                   CIS Go-Live Date due to reasons solely attributable to Open and such Acceptance is not
                   unreasonably withheld by the Customer.

                b) Open’s compliance to the SLA at a level of 95% is a material condition of the Agreement. In
                   the event Open fails to sustain 95% compliance for four (4) out of six (6) months on a rolling
                   basis and subject to the baseline of cases, and a minimum 85% on Customer’s effectiveness
                   compliance in reporting cases during any month in which Open fails to achieve 95%
                   compliance, as defined by Exhibit B, Software Support Agreement Terms to the MPSA the
                   Customer shall have the right, but not the obligation, at its sole discretion to terminate the
                   Agreement for default notwithstanding MPSA Section 13.2

                  c) In the event Open is not compliant for Severity 1 events as defined by Exhibit B, Software
                     Support Agreement Terms to the MPSA

                     Severity 1
                     • The fault remains without a temporary or final solution provided for a period of 48 hours, on
                        three (3) occurrences within any 6-month period; or
                     • The fault remains without a temporary or final solution provided for a period of 24 hours, on
                        six (6) occurrences within any 6-month period.

                     Such six (6) month period shall be on a rolling basis and subject to the baseline of cases, and a
                     minimum 85% on Customer’s effectiveness compliance in reporting cases during any month in
                     which Open fails to achieve the compliance on the Severity 1, in accordance with Exhibit B,
                     Software Support Agreement Terms to the MPSA.

                c)    Open or Open Investments, LLC is acquired, transferred, merged or assigned to another
                     entity unable to provide the Customer all the services in accordance with the MPSA and the
                     Software License Agreement.
                d)   Open or Open Investments reorganizes in a manner that it inhibits Open’s ability to continue
                     supporting the Software in accordance with the Software Support Agreement Terms.
                e)   Open terminates the license provided under the Software License Agreement in accordance
                     with Section 10.4 of the Software License Agreement.
                f)   Open fails to maintain an active on-going 18-24 month business development/ product
                     roadmap for North American and routine cadence of at least two (2) significant system
                     enhancements and/or upgrades on an annual basis.
                g)   Open or Open Investments, LLC, or its successor or assignee, exits the North American
                     market or discontinues as a US business entity.
                h)   Open or Open Investments, LLC fails to comply with Section 16.3 of the MPSA.

        8.      If this Agreement is not renewed or extended at the expiration of the Term by the Customer at its
                sole discretion in accordance with Section 13.1, and none of the above conditions for release of
                the Software Source Code Escrow have occurred, the Software Source Code Escrow will be
                released to Open upon such expiration.




                                                             Page 380 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 121 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                             MASTER PROFESSIONAL SERVICES AGREEMENT


                                             EXHIBIT G – ATTACHMENT 1
                                    SOFTWARE SOURCE CODE ESCROW AGREEMENT




                                    (BALANCE OF THIS PAGE LEFT INTENTIONALLY BLANK)




                                                             Page 381 of 391
         Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 122 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                                                   Effective Date
                                                                                        Deposit Account Number
                                                                                        *Effective Date and Deposit Account Number to be
                                                                                        supplied by Iron Mountain only.


                                            Three-Party Escrow Service Agreement
    1.    Introduction
          This Three Party Escrow Service Agreement (the “Agreement”) is entered into by and between ____[insert full legal name of
          Depositor]____ (the “Depositor”), and by ____[insert full legal name of Beneficiary]____ (the “Beneficiary”) and by Iron
          Mountain Intellectual Property Management, Inc. (“Iron Mountain”). Depositor, Beneficiary, and Iron Mountain may be
          referred to individually as a "Party" or collectively as the "Parties" throughout this Agreement.
          (a) The use of the term services in this Agreement shall refer to Iron Mountain services that facilitate the creation,
               management, and enforcement of software or other technology escrow accounts as described in Exhibit A attached to
               this Agreement (“Services”). A Party shall request Services under this Agreement by selecting such Service on Exhibit A
               upon execution of the Agreement or by submitting a work request for certain Iron Mountain Services (“Work Request”)
               via written instruction or the online portal maintained at the website located at www.ironmountainconnect.com or other
               websites owned or controlled by Iron Mountain that are linked to that website (collectively the “Iron Mountain
               Website”).
          (b) The Beneficiary and Depositor have, or will have, entered into a license agreement or other agreement (“License
               Agreement”) conveying intellectual property rights to the Beneficiary, and the Parties intend this Agreement to be
               considered as supplementary to such agreement, pursuant to Title 11 United States [Bankruptcy] Code, Section 365(n).
    2.    Depositor Responsibilities and Representations
          (a) It shall be solely the Depositor’s responsibility to: (i) make an initial deposit of all proprietary technology and other
               materials covered under this Agreement (“Deposit Material”) to Iron Mountain within thirty (30) days of the Effective
               Date; (ii) make any required updates to the Deposit Material during the Term (as defined below) of this Agreement; and
               (iii) ensure that a minimum of one (1) copy of Deposit Material is deposited with Iron Mountain at all times. At the time
               of each deposit or update, Depositor will provide an accurate and complete description of all Deposit Material sent to Iron
               Mountain using the form attached to this Agreement as Exhibit B.
          (b) Depositor represents that it lawfully possesses all Deposit Material provided to Iron Mountain under this Agreement and
               that any current or future Deposit Material liens or encumbrances will not prohibit, limit, or alter the rights and
               obligations of Iron Mountain under this Agreement. Depositor warrants that with respect to the Deposit Material, Iron
               Mountain’s proper administration of this Agreement will not violate the rights of any third parties.
          (c) Depositor represents that all Deposit Material is readable and useable in its then current form; if any portion of such
               Deposit Material is encrypted, the necessary decryption tools and keys to read such material are deposited
               contemporaneously.
    3.    Beneficiary Responsibilities and Representations
          (a) Beneficiary acknowledges that, as between Iron Mountain and Beneficiary, Iron Mountain’s obligation is to maintain the
               Deposit Material as delivered by the Depositor and that, other than Iron Mountain’s inspection of the Deposit Material (as
               described in Section 4) and the performance of any of the optional verification Services listed in Exhibit A, Iron Mountain has
               no other obligation regarding the completeness, accuracy, or functionality of the Deposit Material.
          (b) It shall be solely the Beneficiary’s responsibility to monitor whether a deposit or deposit update has been accepted by Iron
               Mountain.
    4.    Iron Mountain Responsibilities and Representations
          (a) Iron Mountain agrees to use commercially reasonable efforts to provide the Services requested by Authorized Person(s)
               (as identified in the “Authorized Person(s)/Notices Table” below) representing the Depositor or Beneficiary in a Work
               Request. Iron Mountain may reject a Work Request (in whole or in part) that does not contain all required information at
               any time upon notification to the Party originating the Work Request.
          (b) Iron Mountain will conduct a visual inspection upon receipt of any Deposit Material and associated Exhibit B. If Iron
               Mountain determines that the Deposit Material does not match the description provided by Depositor represented in
               Exhibit B, Iron Mountain will notify Depositor of such discrepancy.



                                                                   Page 382 of 391
         Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 123 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD


          (c) Iron Mountain will provide notice to the Beneficiary of all Deposit Material that is accepted and deposited into the escrow
               account under this Agreement. Either Depositor or Beneficiary may obtain information regarding deposits or deposit
               updates upon request or through the Iron Mountain Website.
          (d) Iron Mountain will follow the provisions of Exhibit C attached to this Agreement in administering the release of Deposit
               Material.
          (e) Iron Mountain will hold and protect Deposit Material in physical or electronic vaults that are either owned or under the
               control of Iron Mountain, unless otherwise agreed to by the Parties.
          (f) Upon receipt of written instructions by both Depositor and Beneficiary, Iron Mountain will permit the replacement or
               removal of previously submitted Deposit Material. The Party making such request shall be responsible for getting the
               other Party to approve the joint instructions. Any Deposit Material that is removed from the deposit account will be
               either returned to Depositor or destroyed in accordance with Depositor’s written instructions.
          (g) Should transport of Deposit Material be necessary for Iron Mountain to perform Services requested by Depositor or
               Beneficiary under this Agreement or following the termination of this Agreement, Iron Mountain will use a commercially
               recognized overnight carrier such as Federal Express or United Parcel Service. Iron Mountain will not be responsible for
               any loss or destruction of, or damage to, such Deposit Material while in the custody of the common carrier.
    5.    Deposit Material Verification
          (a) Beneficiary may submit a verification Work Request to Iron Mountain for one or more of the Services defined in Exhibit A
               attached to this Agreement and Depositor consents to Iron Mountain’s performance of any level(s) of such Services. Upon
               request by Iron Mountain and in support of Beneficiary’s request for verification Services, Depositor shall promptly
               complete and return an escrow deposit questionnaire and reasonably cooperate with Iron Mountain by providing
               reasonable access to its technical personnel whenever reasonably necessary.
          (b) The Parties consent to Iron Mountain’s use of a subcontractor to perform verification Services. Such subcontractor shall
               be bound by the same confidentiality obligations as Iron Mountain and shall not be a direct competitor to either
               Depositor or Beneficiary. Iron Mountain shall be responsible for the delivery of Services of any such subcontractor as if
               Iron Mountain had performed the Services. Depositor warrants and Beneficiary warrants that any material it supplies for
               verification Services is lawful, does not violate the rights of any third parties and is provided with all rights necessary for
               Iron Mountain to perform verification of the Deposit Material.
          (c) Iron Mountain will work with a Party who submits any verification Work Request for Deposit Material covered under this
               Agreement to either fulfill any standard verification Services Work Request or develop a custom Statement of Work
               (“SOW”). Iron Mountain and the requesting Party will mutually agree in writing to an SOW on terms and conditions that
               include but are not limited to: description of Deposit Material to be tested; description of verification testing; requesting
               Party responsibilities; Iron Mountain responsibilities; Service Fees; invoice payment instructions; designation of the paying
               Party; designation of authorized SOW representatives for both the requesting Party and Iron Mountain with name and
               contact information; and description of any final deliverables prior to the start of any fulfillment activity. Provided that
               the requesting Party has identified in the verification Work Request or SOW that the Deposit Material is subject to the
               regulations of the International Traffic in Arms Regulations (22 CFR 120)(hereinafter “ITAR”), Iron Mountain shall ensure
               that any subcontractor who is granted access to the Deposit Material for the performance of verification Services shall be
               a U.S. Person as defined in 8 U.S.C. 1101(a)(20) or who is a protected person as defined in 8 U.S.C. 1324b(a)(3). After the
               start of fulfillment activity, each SOW may only be amended or modified in writing with the mutual agreement of both
               Parties, in accordance with the change control procedures set forth in the SOW. If the verification Services extend beyond
               those described in Exhibit A, the Depositor shall be a necessary Party to the SOW governing the Services.
    6.    Payment
          The Party responsible for payment designated in the Paying Party Billing Contact Table (“Paying Party”) shall pay to Iron
          Mountain all fees as set forth in the Work Request (“Service Fees”). All Service Fees are due within thirty (30) calendar days
          from the date of invoice in U.S. currency and are non-refundable. Iron Mountain may update Service Fees with a ninety (90)
          calendar day written notice to the Paying Party during the Term of this Agreement (as defined below). The Paying Party is
          liable for any taxes (other than Iron Mountain income taxes) related to Services purchased under this Agreement or shall
          present to Iron Mountain an exemption certificate acceptable to the taxing authorities. Applicable taxes shall be billed as a
          separate item on the invoice. Any Service Fees not collected by Iron Mountain when due shall bear interest until paid at a rate
          of one percent (1%) per month (12% per annum) or the maximum rate permitted by law, whichever is less. Notwithstanding
          the non-performance of any obligations of Depositor to deliver Deposit Material under the License Agreement or this
          Agreement, Iron Mountain is entitled to be paid all Service Fees that accrue during the Term of this Agreement.
    7.    Term and Termination
          (a) The term of this Agreement is for a period of one (1) year from the Effective Date (“Initial Term”) and will automatically
               renew for additional one (1) year terms (“Renewal Term”) (collectively the “Term”). This Agreement shall continue in full
               force and effect until one of the following events occur: (i) Depositor and Beneficiary provide Iron Mountain with sixty
               (60) days’ prior written joint notice of their intent to terminate this Agreement; (ii) Beneficiary provides Iron Mountain
               and Depositor with sixty (60) days’ prior written notice of its intent to terminate this Agreement; (iii) the Agreement

                                                                   Page 383 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 124 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD


             terminates under another provision of this Agreement; or (iv) any time after the Initial Term, Iron Mountain provides sixty
             (60) days’ prior written notice to the Depositor and Beneficiary of Iron Mountain’s intent to terminate this Agreement.
             The Effective Date and the Deposit Account Number shall be supplied by Iron Mountain only. The Effective Date supplied
             by Iron Mountain and specified above shall be the date Iron Mountain sets up the escrow account.
        (b) Unless the express terms of this Agreement provide otherwise, upon termination of this Agreement, Iron Mountain shall
             return physical Deposit Material to the Depositor and erase electronically submitted Deposit Material. If reasonable
             attempts to return the physical Deposit Material to Depositor are unsuccessful, Iron Mountain shall destroy the Deposit
             Material.
        (c) In the event of the nonpayment of undisputed Service Fees owed to Iron Mountain, Iron Mountain shall provide all
             Parties to this Agreement with written notice of Iron Mountain’s intent to terminate this Agreement. Any Party to this
             Agreement shall have the right to make the payment to Iron Mountain to cure the default. If the past due payment is not
             received in full by Iron Mountain within thirty (30) calendar days of the date of such written notice, then Iron Mountain
             shall have the right to terminate this Agreement at any time thereafter by sending written notice to all Parties. Iron
             Mountain shall have no obligation to perform the Services under this Agreement (except those obligations that survive
             termination of this Agreement, which includes the confidentiality obligations in Section 10) so long as any undisputed
             Service Fees due Iron Mountain under this Agreement remain unpaid.
    8. Infringement Indemnification
        Anything in this Agreement to the contrary notwithstanding, Depositor at its own expense shall defend, indemnify and hold
        Iron Mountain fully harmless against any claim or action asserted against Iron Mountain (specifically including costs and
        reasonable attorneys’ fees associated with any such claim or action) to the extent such claim or action is based on an assertion
        that Iron Mountain’s administration of this Agreement infringes any patent, copyright, license or other proprietary right of any
        third party. When Iron Mountain has notice of a claim or action, it shall promptly notify Depositor in writing. Depositor may
        elect to control the defense of such claim or action or enter into a settlement agreement, provided that no such settlement or
        defense shall include any admission or implication of wrongdoing on the part of Iron Mountain without Iron Mountain’s prior
        written consent, which consent shall not be unreasonably delayed or withheld. Iron Mountain shall have the right to employ
        separate counsel and participate in the defense of any claim at its own expense.
    9. Warranties
        IRON MOUNTAIN WARRANTS ANY AND ALL SERVICES PROVIDED HEREUNDER SHALL BE PERFORMED IN A COMMERCIALLY
        REASONABLE MANNER CONSISTENT WITH INDUSTRY STANDARDS. EXCEPT AS SPECIFIED IN THIS SECTION, ALL CONDITIONS,
        REPRESENTATIONS, AND WARRANTIES INCLUDING, WITHOUT LIMITATION, ANY IMPLIED WARRANTIES OR CONDITIONS OF
        MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, SATISFACTORY QUALITY, OR ARISING FROM A COURSE OF
        DEALING, USAGE, OR TRADE PRACTICE, ARE HEREBY EXCLUDED TO THE EXTENT ALLOWED BY APPLICABLE LAW. AN
        AGGRIEVED PARTY MUST NOTIFY IRON MOUNTAIN PROMPTLY UPON LEARNING OF ANY CLAIMED BREACH OF ANY
        WARRANTY AND, TO THE EXTENT ALLOWED BY APPLICABLE LAW, SUCH PARTY’S REMEDY FOR BREACH OF THIS WARRANTY
        SHALL BE SUBJECT TO THE LIMITATION OF LIABILITY AND CONSEQUENTIAL DAMAGES WAIVER IN THIS AGREEMENT. THIS
        DISCLAIMER AND EXCLUSION SHALL APPLY EVEN IF THE EXPRESS WARRANTY AND LIMITED REMEDY SET FORTH ABOVE FAILS
        OF ITS ESSENTIAL PURPOSE.
    10. Confidential Information
        Iron Mountain shall have the obligation to implement and maintain safeguards designed to protect the confidentiality of the
        Deposit Material and use at least the same degree of care to safeguard the confidentiality of the Deposit Material as it uses to
        protect its own confidential information, but in no event less than a reasonable degree of care. Except as provided in this
        Agreement Iron Mountain shall not use or disclose the Deposit Material. Iron Mountain shall not disclose the terms of this
        Agreement to any third party other than its financial, technical, or legal advisors, or its administrative support service
        providers. Any such third party shall be bound by the same confidentiality obligations as Iron Mountain. If Iron Mountain
        receives a subpoena or any other order from a court or other judicial tribunal pertaining to the disclosure or release of the
        Deposit Material, Iron Mountain will promptly notify the Parties to this Agreement unless prohibited by law. After notifying
        the Parties, Iron Mountain may comply in good faith with such order or subpoena. It shall be the responsibility of Depositor or
        Beneficiary to challenge any such order or subpoena; provided, however, that Iron Mountain does not waive its rights to
        present its position with respect to any such order or subpoena. Iron Mountain will cooperate with the Depositor or
        Beneficiary, as applicable, to support efforts to quash or limit any order or subpoena, at such Party’s expense.
    11. Limitation of Liability
        EXCEPT FOR: (I) LIABILITY FOR DEATH OR BODILY INJURY; (II) PROVEN GROSS NEGLIGENCE OR WILLFUL MISCONDUCT; OR (III)
        THE INFRINGEMENT INDEMNIFICATION OBLIGATIONS OF SECTION 8, ALL OTHER LIABILITY RELATED TO THIS AGREEMENT, IF
        ANY, WHETHER ARISING IN CONTRACT, TORT (INCLUDING NEGLIGENCE) OR OTHERWISE, OF ANY PARTY TO THIS AGREEMENT
        SHALL BE LIMITED TO THE AMOUNT EQUAL TO ONE YEAR OF FEES PAID TO IRON MOUNTAIN UNDER THIS AGREEMENT. IF
        CLAIM OR LOSS IS MADE IN RELATION TO A SPECIFIC DEPOSIT OR DEPOSITS, SUCH LIABILITY SHALL BE LIMITED TO THE FEES
        RELATED SPECIFICALLY TO SUCH DEPOSITS.


                                                               Page 384 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 125 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD


    12. Consequential Damages Waiver
        IN NO EVENT SHALL ANY PARTY TO THIS AGREEMENT BE LIABLE FOR ANY INCIDENTAL, SPECIAL, PUNITIVE OR
        CONSEQUENTIAL DAMAGES, LOST PROFITS, ANY COSTS OR EXPENSES FOR THE PROCUREMENT OF SUBSTITUTE SERVICES
        (EXCLUDING SUBSTITUTE ESCROW SERVICES), OR ANY OTHER INDIRECT DAMAGES, WHETHER ARISING IN CONTRACT, TORT
        (INCLUDING NEGLIGENCE) OR OTHERWISE EVEN IF THE POSSIBILITY THEREOF MAY BE KNOWN IN ADVANCE TO ONE OR MORE
        PARTIES.
    13. General
        (a) Purchase Orders. In the event that the Paying Party issues a purchase order or other instrument used to pay Service Fees
            to Iron Mountain, any terms and conditions set forth in the purchase order which constitute terms and conditions which
            are in addition to those set forth in this Agreement or which establish conflicting terms and conditions to those set forth
            in this Agreement are expressly rejected by Iron Mountain.
        (b) Right to Make Copies. Iron Mountain shall have the right to make copies of all Deposit Material as reasonably necessary
            to perform the Services. Iron Mountain shall copy all copyright, nondisclosure, and other proprietary notices and titles
            contained on Deposit Material onto any copies made by Iron Mountain. Any copying expenses incurred by Iron Mountain
            as a result of a Work Request to copy will be borne by the requesting Party. Iron Mountain may request Depositor’s
            reasonable cooperation in promptly copying Deposit Material in order for Iron Mountain to perform this Agreement.
        (c) Choice of Law. The validity, interpretation, and performance of this Agreement shall be construed under the laws of the
            Commonwealth of Massachusetts, USA, without giving effect to the principles of conflicts of laws.
        (d) Authorized Person(s). Depositor and Beneficiary must each authorize and designate one person whose actions will legally
            bind such Party (“Authorized Person” who shall be identified in the Authorized Person(s) Notices Table of this Agreement
            or such Party’s legal representative) and who may manage the Iron Mountain escrow account through the Iron Mountain
            website or written instruction. Depositor and Beneficiary warrant that they shall maintain the accuracy of the name and
            contact information of their respective designated Authorized Person during the Term of this Agreement by providing
            Iron Mountain with a written request to update its records for the Party’s respective Authorized Person which includes
            the updated information and applicable deposit account number(s).
        (e) Right to Rely on Instructions. With respect to release of Deposit Material or the destruction of Deposit Material, Iron
            Mountain shall rely on instructions from a Party’s Authorized Person. In all other cases, Iron Mountain may act in reliance
            upon any instruction, instrument, or signature reasonably believed by Iron Mountain to be genuine and from an
            Authorized Person, officer, or other employee of a Party. Iron Mountain may assume that such representative of a Party
            to this Agreement who gives any written notice, request, or instruction has the authority to do so. Iron Mountain will not
            be required to inquire into the truth of, or evaluate the merit of, any statement or representation contained in any notice
            or document reasonably believed to be from such representative.
        (f) Force Majeure. No Party shall be liable for any delay or failure in performance due to events outside the defaulting
            Party’s reasonable control, including without limitation acts of God, strikes, riots, war, acts of terrorism, fire, epidemics, or
            delays of common carriers or other circumstances beyond its reasonable control. The obligations and rights of the
            excused Party shall be extended on a day-to-day basis for the time period equal to the period of the excusable delay.
        (g) Notices. Iron Mountain shall have the right to rely on the last known address provided by each the Depositor and
            Beneficiary for its respective Authorized Person and Billing Contact as set forth in this Agreement or as subsequently
            provided as an update to such address. All notices regarding Exhibit C (Release of Deposit Material) shall be sent by
            commercial express mail or other commercially appropriate means that provide prompt delivery and require proof of
            delivery. All other correspondence, including but not limited to invoices and payments, may be sent electronically or by
            regular mail. The Parties shall have the right to rely on the last known address of the other Parties. Any correctly
            addressed notice to the last known address of the other Parties, that is refused, unclaimed, or undeliverable shall be
            deemed effective as of the first date that said notice was refused, unclaimed, or deemed undeliverable by electronic mail,
            the postal authorities, or commercial express mail.
        (h) No Waiver. No waiver of any right under this Agreement by any Party shall constitute a subsequent waiver of that or any
            other right under this Agreement.
        (i) Assignment. No assignment of this Agreement by Depositor or Beneficiary or any rights or obligations of Depositor or
            Beneficiary under this Agreement is permitted without the written consent of Iron Mountain, which shall not be
            unreasonably withheld or delayed. Iron Mountain shall have no obligation in performing this Agreement to recognize any
            successor or assign of Depositor or Beneficiary unless Iron Mountain receives clear, authoritative and conclusive written
            evidence of the change of Parties.
        (j) Severability. In the event any of the terms of this Agreement become or are declared to be illegal or otherwise
            unenforceable by any court of competent jurisdiction, such term(s) shall be null and void and shall be deemed deleted
            from this Agreement. All remaining terms of this Agreement shall remain in full force and effect.
        (k) Independent Contractor Relationship. Depositor and Beneficiary understand, acknowledge, and agree that Iron
            Mountain’s relationship with Depositor and Beneficiary will be that of an independent contractor and that nothing in this
            Agreement is intended to or should be construed to create a partnership, joint venture, or employment relationship.

                                                                 Page 385 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 126 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD


        (l) Attorneys' Fees. Any costs and fees incurred by Iron Mountain in the performance of obligations imposed upon Iron
            Mountain solely by virtue of its role as escrow service provider including, without limitation, compliance with subpoenas,
            court orders, discovery requests, and disputes arising solely between Depositor and Beneficiary, including, but not limited
            to, disputes concerning a release of the Deposit Material shall, unless adjudged otherwise, be divided equally and paid by
            Depositor and Beneficiary.
        (m) No Agency. No Party has the right or authority to, and shall not, assume or create any obligation of any nature
            whatsoever on behalf of the other Parties or bind the other Parties in any respect whatsoever.
        (n) Disputes. Any dispute, difference or question arising among any of the Parties concerning the construction, meaning,
            effect or implementation of this Agreement or the rights or obligations of any Party will be submitted to, and settled by
            arbitration by a single arbitrator chosen by the corresponding Regional Office of the American Arbitration Association in
            accordance with the Commercial Rules of the American Arbitration Association. The Parties shall submit briefs of no more
            than 10 pages and the arbitration hearing shall be limited to two (2) days maximum. Arbitration will take place in Boston,
            Massachusetts, USA. Any court having jurisdiction over the matter may enter judgment on the award of the arbitrator.
            Service of a petition to confirm the arbitration award may be made by regular mail or by commercial express mail, to the
            attorney for the Party or, if unrepresented, to the Party at the last known business address.
        (o) Interpleader. Anything to the contrary notwithstanding, in the event of any dispute regarding the interpretation of this
            Agreement, or the rights and obligations with respect to the Deposit Material in escrow or the propriety of any action
            contemplated by Iron Mountain hereunder, then Iron Mountain may, in its sole discretion, file an interpleader or similar
            action in any court of competent jurisdiction to resolve any such dispute.
        (p) Regulations. Depositor and Beneficiary are responsible for and warrant, to the extent of their individual actions or
            omissions, compliance with all applicable laws, rules and regulations, including but not limited to: customs laws; import;
            export and re-export laws; and government regulations of any country from or to which the Deposit Material may be
            delivered in accordance with the provisions of this Agreement. Depositor represents and warrants that the establishment
            of a deposit account containing ITAR regulated Deposit Material for the Beneficiary, and Iron Mountain’s subsequent
            release of such Deposit Material under the terms of this Agreement will be lawful under any applicable U.S. export control
            regulations and laws, including ITAR. Conversely, Depositor shall refrain from establishing a deposit account containing
            ITAR regulated Deposit Material for the Beneficiary if the release of such Deposit Material to the Beneficiary, under the
            terms of this Agreement, would be in violation of any applicable U.S export control regulations and laws, including ITAR.
            With respect to Deposit Material containing personal information and data, Depositor agrees to (i) procure all necessary
            consents in relation to personal information and data; and (ii) otherwise comply with all applicable privacy and data
            protection laws as they relate to the subject matter of this Agreement. Iron Mountain is responsible for and warrants, to
            the extent of their individual actions or omissions, compliance with all applicable laws, rules and regulations to the extent
            that it is directly regulated by the law, rule or regulation and to the extent that it knows or has been advised that, as a
            result of this Agreement, its activities are subject to the law, rule or regulation. Notwithstanding anything in this
            Agreement to the contrary, if an applicable law or regulation exists or should be enacted which is contrary to the
            obligations imposed upon Iron Mountain hereunder, and results in the activities contemplated hereunder unlawful,
            Depositor and/or Beneficiary will notify Iron Mountain and Iron Mountain will be relieved of its obligations hereunder
            unless and until such time as such activity is permitted.
        (q) No Third Party Rights. This Agreement is made solely for the benefit of the Parties to this Agreement and their respective
            permitted successors and assigns, and no other person or entity shall have or acquire any right by virtue of this
            Agreement unless otherwise agreed to by all of the Parties.
        (r) Entire Agreement. The Parties agree that this Agreement, which includes all attached Exhibits and all valid Work Requests
            and SOWs submitted by the Parties, is the complete agreement between the Parties concerning the subject matter of this
            Agreement and replaces any prior or contemporaneous oral or written communications between the Parties. There are
            no conditions, understandings, agreements, representations, or warranties, expressed or implied, which are not specified
            in this Agreement. Each of the Parties warrant that the execution, delivery, and performance of this Agreement has been
            duly authorized and signed by a person who meets statutory or other binding approval to sign on behalf of its
            organization as named in this Agreement. This Agreement may be modified only by mutual written agreement of all the
            Parties.
        (s) Counterparts. This Agreement may be executed electronically in accordance with applicable law or in any number of
            counterparts, each of which shall be an original, but all of which together shall constitute one instrument.
        (t) Survival. Sections 7 (Term and Termination), 8 (Infringement Indemnification), 9 (Warranties), 10 (Confidential
            Information), 11 (Limitation of Liability), 12 (Consequential Damages Waiver), and 13 (General) of this Agreement shall
            survive termination of this Agreement or any Exhibit attached to this Agreement.

                                   (BALANCE OF THIS PAGE LEFT INTENTIONALLY BLANK – SIGNATURE PAGE FOLLOWS)



                                                                Page 386 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 127 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




    IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of the Effective Date by their authorized representatives:

                           DEPOSITOR                                                      BENEFICIARY

            Signature                                                   Signature
          Print Name                                                  Print Name
                 Title                                                       Title
                 Date                                                        Date

                       IRON MOUNTAIN
           INTELLECTUAL PROPERTY MANAGEMENT, INC.
      Signature
      Print Name
      Title
      Date

                             (BALANCE OF THIS PAGE LEFT INTENTIONALLY BLANK – NOTICES TABLES AND EXHIBITS FOLLOW)




                                                                Page 387 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 128 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD


                                                   Authorized Person Notices Table
     Please provide the names and contact information of the Authorized Persons under this Agreement. Please complete all
     information as applicable. Incomplete information may result in a delay of processing.
                   DEPOSITOR (Required information)                                BENEFICIARY (Required information)
               Print Name                                                       Print Name
                      Title                                                            Title
             Email Address                                                   Email Address
            Street Address                                                  Street Address
                      City                                                               City
           State/Province                                                     State/Province
          Postal/Zip Code                                                    Postal/Zip Code
                  Country                                                            Country
           Phone Number                                                       Phone Number
              Fax Number                                                         Fax Number

              Paying Party Billing Contact Information Table
                           (Required information)
      Please provide the name and contact information of the Billing
      Contact for the Paying Party under this Agreement. All
      Invoices will be sent to this individual at the address set forth
      below. Incomplete information may result in a delay of
      processing.
            Company Name
                Print Name
                        Title
             Email Address
             Street Address
                        City
             State/Province
            Postal/Zip Code
                    Country
             Phone Number
              Fax Number
          Purchase Order #

    IRON MOUNTAIN INTELLECTUAL PROPERTY MANAGEMENT, INC.
    All notices should be sent to ipmclientservices@ironmountain.com OR Iron Mountain Intellectual Property Management, Inc.,
    Attn: Client Services, 6111 Live Oak Parkway, Norcross, Georgia, 30093, USA. Telephone: 800-875-5669. Facsimile: 770-239-9201




                                                                Page 388 of 391
       Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 129 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD

                                                                         Exhibit A
                                                       Escrow Services Fee Schedule – Work Request
                                                             Deposit Account Number

Service                                           Service Description - Three-Party Escrow Service Agreement                                                 One-           Annual
                     All services are listed below. Check the requested service and submit a Work Request to Iron Mountain for services                    Time/Per          Fees
                     requested after agreement signature.                                                                                                 Service Fees
   Setup Fee         One-time Setup Fee for Iron Mountain to setup a standard Three-Party Escrow Service Agreement.                                          $2,600
(Required at
Setup)

   Deposit           Iron Mountain will set up one deposit account to manage and administrate access to Deposit Material to be secured in a                                  $1,200
Account Fee          controlled storage environment. Iron Mountain will provide account services that include unlimited deposits, electronic
(Required at         vaulting, access to Iron Mountain Connect™ Escrow Management Center for secure online account management,
Setup)               submission of electronic Work Requests, and communication of status. Release of deposit material is also included in the
                     annual fee. An oversize fee of $200 USD per 1.2 cubic foot will be charged for deposits that exceed 2.4 cubic feet.

    Beneficiary      Iron Mountain will fulfill a Work Request to add a Beneficiary to an escrow deposit account and manage account access                                    $900
Fee (Required        rights. Beneficiary will have access to Iron Mountain Connect™ Escrow Management Center for secure online account
at Setup)            management, submission of electronic Work Requests, and communication of status.
    File List Test   Iron Mountain will perform one (1) File List Test, which includes a Deposit Material media readability analysis, a file listing, a      $3,000           N/A
                     file classification table, virus scan outputs, and confirmation of the presence or absence of a completed escrow deposit
                     questionnaire. A final report will be sent to the requesting Party regarding the Deposit Material. Deposit must be provided
                     on CD, DVD-R, or deposited electronically.
   Level 1           Iron Mountain will perform one (1) Inventory and Analysis Test on the specified deposit, which includes the outputs of the               $6,000 or       N/A
Inventory and        File List Test, identifying the presence/absence of build, setup and design documentation (including the presence or absence         based on SOW
Analysis Test        of a completed escrow deposit questionnaire), and identifying materials required to recreate the Depositor's application             if custom work
                     development and production environments. Output includes a report that includes compile and setup documentation, file                    required
                     classification tables and file listings. The report will list required software development materials, including, without
                     limitation, required source code languages and compilers, third-party software, libraries, operating systems, and hardware,
                     and Iron Mountain’s analysis of the deposit. A final report will be sent to the requesting Party regarding the Deposit
                     Material.
   Dual              Iron Mountain will store and manage a redundant copy of the Deposit Material in one (1) additional location. All Deposit                  N/A            $750
Vaulting             Material (original and copy) must be provided by the Depositor.
   Remote            Iron Mountain will store and manage the Deposit Material in a remote location, designated by the client, outside of Iron                  N/A            $750
Vaulting             Mountain’s primary escrow vaulting location. All Deposit Material (original and copy) must be provided by the Depositor.
   Custom            Custom contract changes to Iron Mountain templates are subject to the Custom Contract Fee, which covers the review and                   $900            N/A
Contract Fee         processing of custom or modified contracts.
                                                   Additional Verification Services (Fees based on Statement of Work)
Level 2              Iron Mountain will fulfill a Statement of Work (SOW) to perform a Deposit Compile Test, which includes the outputs of the Level 1 - Inventory and Analysis
Deposit              Test, plus recreating the Depositor’s software development environment, compiling source files and modules, linking libraries and recreating executable
Compile Test         code, providing a pass/fail determination, and creation of comprehensive compilation documentation with a final report sent to the Paying Party regarding
                     the Deposit Material. The requesting Party and Iron Mountain will agree on a custom SOW prior to the start of fulfillment. A completed escrow deposit
                     questionnaire is required for execution of this test.
Level 3              Iron Mountain will fulfill a Statement of Work (SOW) to perform one Binary Comparison Test - Binary Comparison, which includes the outputs of the Level 2
Binary               test, a comparison of the executable files built from the Deposit Compile Test to the actual executable files in use by the Beneficiary to ensure a full binary-
Comparison           level match, with a final report sent to the Requesting Party regarding the Deposit Material. The Paying Party and Iron Mountain will agree on a custom
Test                 SOW prior to the start of fulfillment. A completed escrow deposit questionnaire is required for execution of this test.
Level 4              Iron Mountain will fulfill a Statement of Work (SOW) to perform one Deposit Usability Test - Full Usability, which includes which includes the outputs of the
Full Usability       Level 1 and Level 2 tests (if applicable). Iron Mountain will confirm that the deposited application can be setup, installed and configured and, when
Test                 installed, will execute functional tests, based on pre-determined test scripts provided by the Parties, and create comprehensive setup and installation
                     documentation. A final report will be sent to the Paying Party regarding the Deposit Material. The Paying Party and Iron Mountain will agree on a custom
                     SOW prior to the start of fulfillment. A completed escrow deposit questionnaire is required for execution of this test.

  Pursuant to the Agreement, the undersigned hereby issues this Work Request for performance of the Service(s) selected above.
             Paying Party – For Future Work Request Use Only
           Paying Party Name

                      Signature

                     Print Name
                            Title
                           Date
  IRON MOUNTAIN INTELLECTUAL PROPERTY MANAGEMENT, INC.
  All Work Requests should be sent to ipmclientservices@ironmountain.com OR Iron Mountain Intellectual Property Management, Inc., Attn: Client Services, 6111 Live Oak
  Parkway, Norcross, Georgia, 30093, USA. Telephone: 800-875-5669. Facsimile: 770-239-9201




                                                                                  Page 389 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 130 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                    Exhibit B
                                              Deposit Material Description
                            (This document must accompany each submission of Deposit Material)

                Company Name                                                    Deposit Account Number
                 Deposit Name                                                            Deposit Version
             (Deposit Name will appear in account history reports)

            Deposit Media
            (Please Label All Media with the Deposit Name Provided Above)
               Media Type                       Quantity          Media Type                               Quantity
                  CD-ROM / DVD                                       USB Drive
                  DLT Tape                                           Documentation
                  DAT Tape(4mm/8mm)                                  Hard Drive / CPU
                  LTO Tape                                           Circuit Board
                  Other (please describe):




                                                      Total Size of Transmission            # of Files         # of Folders
                                                      (specify in bytes)
                  Electronic Deposit

            Deposit Encryption
            (Please check either “Yes” or “No” below and complete as appropriate)
            Is the media or are any of the files encrypted?   Yes or     No
            If yes, please include any passwords and decryption tools description below. Please also deposit all necessary
            encryption software with this deposit. Depositor at its option may submit passwords on a separate Exhibit B.
                Encryption tool name                                                    Version
                Hardware required
                Software required
                Other required information

            Deposit Certification (Please check the box below to certify and provide your contact information)
                  I certify for Depositor that the above described Deposit       Iron Mountain has inspected and accepted the above
               Material has been transmitted electronically or sent via      described Deposit Material either electronically or
               commercial express mail carrier to Iron Mountain at the       physically. Iron Mountain will notify Depositor of any
               address below.                                                discrepancies.
                       Print Name                                                         Name
                              Date                                                         Date
                     Email Address
                Telephone Number

            Note: If Depositor is physically sending Deposit Material to Iron Mountain, please label all media and mail all
            Deposit Material with the appropriate Exhibit B via commercial express carrier to the following address:

            Iron Mountain Intellectual Property Management, Inc.
            Attn: Vault Administration
            6111 Live Oak Parkway,
            Norcross, Georgia, 30093
            Telephone: 800-875-5669
            Facsimile: 770-239-9201


                                                                   Page 390 of 391
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 131 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                Exhibit C
                                                     Release of Deposit Material
                                              Deposit Account Number

            Iron Mountain will use the following procedures to process any Beneficiary Work Request to release Deposit
            Material. All notices under this Exhibit C shall be sent pursuant to the terms of Section 13(g) Notices.

                1.   Release Conditions.
                     Depositor and Beneficiary agree that a Work Request for the release of the Deposit Material shall be
                     based solely on one or more of the following conditions (defined as “Release Conditions”):
                     (i)       Depositor’s breach of the License Agreement or other agreement between the Depositor and
                               Beneficiary regulating the use of the Deposit Material covered under this Agreement; or
                     (ii)      Failure of the Depositor to function as a going concern or operate in the ordinary course; or
                     (iii)     Depositor is subject to voluntary or involuntary bankruptcy.
                2.   Release Work Request.
                     A Beneficiary may submit a Work Request to Iron Mountain to release the Deposit Material covered
                     under this Agreement. To the extent that the Deposit Material is subject to applicable U.S. export control
                     regulations and laws, including ITAR, the Beneficiary Work Request to release the Deposit Material must
                     include Beneficiary’s certification that such release would be compliant with the applicable U.S. export
                     control regulations and laws, including ITAR. Iron Mountain will send a written notice of this Beneficiary
                     Work Request within five (5) business days to the Depositor’s Authorized Person.
                3.   Contrary Instructions.
                     From the date Iron Mountain mails written notice of the Beneficiary Work Request to release Deposit
                     Material covered under this Agreement, Depositor’s Authorized Person shall have ten (10) business days
                     to deliver to Iron Mountain contrary instructions. Contrary instructions shall mean the written
                     representation by Depositor that a Release Condition has not occurred or has been cured (“Contrary
                     Instructions”). Contrary Instructions shall be on company letterhead and signed by a Depositor
                     Authorized Person. Upon receipt of Contrary Instructions, Iron Mountain shall promptly send a copy to
                     Beneficiary’s Authorized Person. Additionally, Iron Mountain shall notify both Depositor and Beneficiary
                     Authorized Persons that there is a dispute to be resolved pursuant to the Disputes provisions of this
                     Agreement. Iron Mountain will continue to store Deposit Material without release pending (i)
                     instructions from Depositor to release the Deposit Material to Beneficiary; or (ii) dispute resolution
                     pursuant to the Disputes provisions of this Agreement; or (iii) withdrawal of Contrary Instructions from
                     Depositor’s Authorized Person or legal representative; or (iv) receipt of an order from a court of
                     competent jurisdiction. The existence of a Release Condition dispute shall not relieve the Paying Party
                     from payment of applicable Service Fees.
                4.   Release of Deposit Material.
                     If Iron Mountain does not receive timely Contrary Instructions from a Depositor Authorized Person or
                     receives written instructions directly from Depositor’s Authorized Person to release a copy of the Deposit
                     Material to the Beneficiary, Iron Mountain is authorized to release Deposit Material to the Beneficiary.
                     Iron Mountain is entitled to receive any undisputed, unpaid Service Fees due Iron Mountain from the
                     Parties before fulfilling the Work Request to release Deposit Material covered under this Agreement. Any
                     Party may cure a default of payment of Service Fees.
                5.   Termination of Agreement Upon Release.
                     This Agreement will terminate upon the release of Deposit Material held by Iron Mountain.
                6.   Right to Use Following Release.
                     Beneficiary has the right under this Agreement to use the Deposit Material for the sole purpose of
                     continuing the benefits afforded to Beneficiary by the License Agreement. Notwithstanding, the
                     Beneficiary shall not have access to the Deposit Material unless there is a release of the Deposit Material
                     in accordance with this Agreement. Beneficiary shall be obligated to maintain the confidentiality of the
                     released Deposit Material.




                                                               Page 391 of 391
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 132 of 426




                          Exhibit 2
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 133 of 426
DocuSign Envelope ID: 60F68C41-DAAD-4744-BEF4-FB67EDDBAC8C




                                              SOFTWARE LICENSE AGREEMENT

                                                             ORDER FORM

           Customer
            Customer Name:                                               Primary Customer Contact          Payment Administrator
                                                                         Name: Lori Clements               Name: Mona Walder
             City of Fort Collins                                        Title: Sr Mgr, Customer Support   Email:
             215 N. Mason St.                                            Phone: 970-221-6396               mwalder@fcgov.com
             Fort Collins, CO 80524                                      Email: lclements@fcgov.com

            License term: Perpetual, see Section 1.1
            Software product: Open Smartflex
            Payment terms: Net 30


              Software Product          Utility Services      Maximum number of Customers/ End             License Fee
                                                              Users
              Open Smartflex CIS        Electric, Water,      75,000 Utilities Customer End Users          $337,500
                                        Wastewater,                                                        ($4.50/Utilities
                                        Stormwater                                                         Customer End
                                                                                                           Users)
              Open Smartflex Field      Electric, Water,      75,000 Customer End Users (Utilities         $135,000
              Services                  Wastewater,           & Broadband)
                                                                                                           ($1.80/Customer
                                        Stormwater
                                                                                                           End Users)
              Open Smartflex            Broadband             10,000 Broadband Customer End                $60,000
              Telecom B/OSS                                   Users                                        ($6.00/Broadband
                                                                                                           Customer End
                                                                                                           Users)
              Open Smartflex            Electric, Water,      75,000 Customer End Users (Utilities         $37,500
              Customer Self-Service     Wastewater,           & Broadband)                                 ($0.50/Customer
              (CSS)                     Stormwater                                                         End Users)
              Total                                           75,000 Customer End Users                    $570,000


            Additional licenses for any product may be purchased at the per Customer End User price set forth in this
            Agreement, as adjusted, in blocks of 5,000. Payment for such additional licenses shall be made in
            accordance with Section 9 of this Licensing agreement.
            This Order Form is governed by, and incorporates by reference, the Software License Terms and
            Conditions attached to this Order Form (the Order Form and the Terms and Conditions, together, the
            “Agreement”). The Agreement “Effective Date” is the date of last signature of this Order Form.

            After year three from the execution of the Agreement, the Software Licenses Fee for additional unit
            purchases may be increased at a rate of 2.5% per year. There will be no rate increase for years one
            through three.




                                                               Page 1 of 7
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 134 of 426
DocuSign Envelope ID: 60F68C41-DAAD-4744-BEF4-FB67EDDBAC8C




            AGREED AND ACCEPTED:


             CITY OF FORT COLLINS, COLORADO                       OPEN INTERNATIONAL LLC.



             By: _________________________                        By: _____________________________
                                                                           Hernando Parrott
             Name: Darin Atteberry                                Name: ___________________________
             Title: City Manager                                           President North America
                                                                  Title: ____________________________
                     8/9/2018                                              8/7/2018
             Date: _______________________                        Date: ____________________________
            Address for Notice: Attn:                             Address for Notice: Attn:
            Darin Atteberry                                       Hernando Parrott
            City Hall West                                        600 California Street, 11th floor
            300 LaPorte Ave.                                      San Francisco, CA 94108
            Fort Collins, CO 80521


             CITY OF FORT COLLINS, COLORADO


             By: _________________________
             Name: Gerry Paul
             Title: Purchasing Director
                     8/9/2018
             Date: _______________________
            Address for Notice: Attn:
            Gerry Paul
            215 N. Mason
            PO Box 580
            Fort Collins, CO 80522


            APPROVED AS TO FORM



            _____________________
            Assistant City Attorney II


            ATTEST



            ____________________
            Chief Deputy City Clerk


                                                             Page 2 of 7
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 135 of 426
DocuSign Envelope ID: 60F68C41-DAAD-4744-BEF4-FB67EDDBAC8C




                                    SOFTWARE LICENSE TERMS AND CONDITIONS
                                                       INTRODUCTION


           These terms and conditions apply to Open International LLC a Florida limited liability company
           (“Open”) and the customer identified on the Order Form (“Customer”).
           Capitalized terms used in this Agreement which are not defined in the body of the Agreement or
           in Exhibit A – Definitions have the definitions provided to such terms in the Master Professional
           Services Agreement between Open and Customer dated the same date as this Agreement (the
           “MPSA”).


                                                         SOFTWARE
            1     LICENSE
            1.1 Subject to the terms and conditions of this Agreement and timely payment of all applicable
            License Fees, Open grants Customer a non-exclusive, non-transferable, license, without right to
            sublicense, to: (a) install the Software on Customer Computers in production and non-production
            environments; and (b) and Use the Software and Documentation solely to manage the Utility
            Services. The term of the foregoing license shall be perpetual, subject to the provisions of Section
            13 (Term and Termination) (the “License Term”) of the MPSA.
            1.2 Customer may make a reasonable number of inactive copies of the Software exclusively for
            inactive back-up or archival purposes and may make two (2) copies of the Documentation for its
            internal use provided Customer also reproduces on such copies any copyright, trademark or other
            proprietary markings and notices contained in the Software and Documentation and does not
            remove any such marks from the original.
            1.3 Customer agrees and acknowledges that its right to Use the Software and Documentation is
            subject to timely payment of all License Fees.
            2     INTELLECTUAL PROPERTY RIGHTS
            2.1     The Software is licensed, not sold. The Software, including its operation, source and object
            code, architecture and implementation, and the Documentation is Open’s valuable intellectual
            property. Title to the Software and all associated Intellectual Property Rights are retained by
            Open. Nothing in this Agreement gives Customer any Intellectual Property Rights in the Software
            or Documentation, other than the limited license set out in Section 1 (License). Open reserves all
            rights not expressly granted in this Agreement.
            2.2      Customer shall not remove or destroy any proprietary, trademark or copyright markings or
            notices placed upon or contained within any Software or Documentation. No right, title or interest
            in or to any trademark, service mark, trade name, or logo of Open, its licensors, or the Customer
            is granted under this Agreement.
            3     RESTRICTIONS
            3.1     Customer shall not infringe any of Open’s Intellectual Property Rights.
            3.2    Customer shall not modify, enhance, translate, supplement, create Derivative Works from,
            reverse engineer, reverse compile or otherwise reduce the Software to human-readable form.



                                                             Page 3 of 7
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 136 of 426
DocuSign Envelope ID: 60F68C41-DAAD-4744-BEF4-FB67EDDBAC8C




            3.3    Customer shall not perform or permit benchmarking of the Software and shall not publish
            the results from any benchmark tests except as required by the Colorado Open Records Act.
            3.4     Customer shall not perform or permit the Use, evaluation or viewing of the Software or
            Documentation for the purpose of designing or otherwise creating any software program, or any
            portion thereof, that performs functions similar to the functions performed by the Software.
            3.5      Except as expressly permitted in a writing signed by an authorized officer of Open,
            Customer shall not cause or permit any of the following: (a) copying (except as set forth herein),
            (b) sublicensing, (c) providing access or other dissemination of the Software, in whole or in part,
            to any third party or (iv) the Use of the Software for the benefit of any third party, including any
            Affiliate of Customer.
            4     SOFTWARE WARRANTIES
            4.1     Performance.
            (a)      Open warrants that the Software will perform in accordance with its Documentation for a
            period of ninety (90) days from Acceptance Date. This warranty covers problems reported to Open
            in writing during the warranty period. Customer’s exclusive remedy for breach warranty is that
            Open will, at its option, repair or replace the Software to make the Software conform to the
            foregoing warranty, subject to Section 13.2 of the MPSA.
            (b)    Following the warranty period, the performance of the Software will be addressed under
            the Software Support Services program described in the MPSA, if applicable.
            4.2      Open warrants that the Software will not contain any computer “viruses,” “worms” and
            other illicit code, “back door,” “time bomb,” or comparable devices that would give Open or a third
            party the ability intentionally to interrupt or disable the Software. Open will promptly notify
            Customer of any computer viruses, worms or other illicit code subsequently discovered in the
            Software. Notwithstanding the foregoing, Customer acknowledges that the Software utilizes a
            license key mechanism which limits the scope of use of the Software to the Use during the License
            Term. The license key is designed to expire automatically if Customer exceeds the permitted
            scope of Use or to expire automatically at the end of the License Term, or both, at which point the
            Software will no longer function.
            4.3     The warranty in Section 4.1 of this Agreement shall not apply to non-conformities in the
            Software due to one or more of the following causes: (a) modifications not made or approved by
            Open; (b) negligence or intentional acts by Customer or any third party authorized by Customer;
            (c) misuse or abuse of the Software, including the failure to use or install the Software in
            accordance with the Documentation; (d) incorrect data, or incorrect data entry by Customer or
            any third party authorized by Customer (e) third-party software, hardware or firmware not provided
            or authorized by Open in writing; or (f) Force Majeure.
            4.4  EXCEPT AS EXPRESSLY SPECIFIED IN THIS SECTION 4, OPEN MAKES NO
            WARRANTY OR GUARANTY OF ANY KIND, EXCEPT AS STATED IN THE MASTER
            PROFESSIONAL SERVICES AGREEMENT.
            5     CUSTOMER WARRANTY
            Customer represents and warrants to the best of Customer’s knowledge, that Customer and each
            of its employees granted access to the Software is not: (a) a resident of any country subject to a
            United States embargo or other similar United States export restrictions; (b) on the United States
            Treasury Department’s list of Specifically Designated Nationals; (c) on the United States
            Department of Commerce’s Denied Persons List or Entity List; or (d) on any other United States
            export control list.

                                                             Page 4 of 7
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 137 of 426
DocuSign Envelope ID: 60F68C41-DAAD-4744-BEF4-FB67EDDBAC8C




            6     AUDITS
            6.1     Customer shall maintain records regarding the number of Customer End Users managed
            with the Software and shall make such information available to Open upon request. In addition,
            upon request Open shall have the right to audit Customer’s Use of the Software to verify
            compliance with the terms of this Agreement, and Customer will promptly pay any underpayment
            discovered in the course of such audit, based on the Parties’ mutually agreed upon price.
            6.2    All amounts mutually agreed to be owed by Customer under this Section 6 shall be
            payable within thirty (30) days after the date of invoice from Open.
            7     EXPORT
            The Software and related technology are subject to applicable United States export laws and
            regulations. Customer shall comply with all applicable United States and international export laws
            and regulations with respect to the Software and related technology. Without limitation, Customer
            shall use reasonable efforts to avoid the download, export, re-export or other transfer of the
            Software or related technology, without a United States government license: (a) to a resident of
            any country subject to a United States embargo or other similar United States export restrictions;
            (b) to any person on the United States Treasury Department’s list of Specifically Designated
            Nationals; (c) to any person or entity on the United States Department of Commerce’s Denied
            Persons List or Entity List; or (d) to any person or entity on any other United States export control
            list.
                                                  GENERAL LEGAL TERMS
            8     CONFIDENTIALITY
            The Parties’ obligations shall be as set forth in the MPSA.


            9     FEES AND PAYMENT
            9.1     Open’s License Fee due under this Agreement is set forth on the Order Form.
            9.2     Open will invoice for the License Fee in accordance with Section 8 of the MPSA.
            9.3     All other payment terms shall be as set forth in Section 8 of the MPSA.
            10 INFRINGMENT INDEMNIFICATION
            10.1 Open (as the “Indemnitor”), at its own expense, shall defend, or at its option settle, any
            third-party claim, suit or proceeding brought by a third party against Customer (as the
            “Indemnitee”) alleging that the Software as delivered by Open and used within the scope of this
            Agreement, infringes any United States patent or any trademark or copyright or misappropriates
            any trade secret.
            10.2 Open’s indemnification obligations under this Section 10 are conditioned upon Customer:
            (a) promptly (not less than ten (10) business days after notice of claim) notifying Open in writing
            of the claim, (b) granting Open sole control of the defense and settlement of the claim, and (c)
            providing Open, at Open’s expense, with all assistance, information and authority reasonably
            required for the defense and settlement of the claim.
            10.3 Open shall have no obligation under this Section 10 for any claim, suit or proceeding to
            the extent that it results from: (a)the combination, operation or use of the Software with equipment,
            devices, software or data not specified by Open; (b)any modification to the Software not made by
            Open; (c)failure to use updated or modified Software provided by Open, if Open notified Customer

                                                             Page 5 of 7
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 138 of 426
DocuSign Envelope ID: 60F68C41-DAAD-4744-BEF4-FB67EDDBAC8C




            that the use of the updated or modified Software was necessary to avoid a claim of infringement;
            or (d) use of the Software not in accordance with this Agreement and the Documentation.
            10.4 Open shall have the right, at its sole option, to obtain the right for Customer to continue
            use of the Software or to replace or modify the affected Software so that it is no longer alleged or
            believed to infringe, provided that this can be done without material loss of functionality. If neither
            of the foregoing options is available to Open on commercially reasonable terms, Open may
            terminate Customer’s rights and Open’s obligations under this Agreement with respect to the
            affected Software and refund to Customer the License Fees and implementation costs paid for
            the affected Software. If Open selects this option it will be considered a triggering event for the
            Financial Escrow stated in the MPSA.
            10.5 THE PROVISIONS OF THIS SECTION 10 SET FORTH OPEN’S SOLE AND EXCLUSIVE
            OBLIGATIONS, AND CUSTOMER’S SOLE AND EXCLUSIVE REMEDIES, WITH RESPECT TO
            INFRINGEMENT OR MISAPPROPRIATION OF THIRD PARTY INTELLECTUAL PROPERTY
            RIGHTS.

            11. SOFTWARE SOURCE CODE ESCROW
            Subject to the terms of the Software Source Code Escrow incorporated into the MPSA, the terms
            of the Software License in this Agreement shall become perpetual as to the versions of Software
            released to Customer without additional obligation to pay License Fees and/or Support Fees
            pursuant to such Escrow Agreement.

            12. GENERAL

            Entire Agreement; Precedence. This Agreement, including all exhibits thereto, constitutes the
            final, complete and exclusive agreement between the Parties with respect to the subject matter
            of the Agreement, and supersedes any prior or contemporaneous agreement, proposal,
            warranties and representations. In the event of any conflict between this Agreement and the
            MPSA, the MPSA shall govern and control.




                                                             Page 6 of 7
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 139 of 426
DocuSign Envelope ID: 60F68C41-DAAD-4744-BEF4-FB67EDDBAC8C




                                              SOFTWARE LICENSE AGREEMENT


                                                      EXHIBIT A - DEFINITIONS


            The following capitalized terms in the Agreement have the following meanings:
            “Customer Computer” means a physical or virtual server which is: (a) owned or controlled by
            Customer or (b) otherwise approved in writing by Open.
            “Customer End User” means a natural person or entity which receives the type of Utility Services
            listed on the Order Form, and is which is in the location listed on the Order Form.
            “License Fee” means the one-time license fee listed on the Order Form.

            “License Term” is defined in Section 1.1.
            “Use” means the installation, accessing, displaying, and operation of the Software for the benefit
            of Customer.
            “Utility Services” has the meaning specified on the Order Form. Examples of Utility Services
            include: electricity, gas, water, wastewater, stormwater, broadband, video and telecom services.


                                                             [END]




                                                             Page 7 of 7
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 140 of 426




                           ([KLELW
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 141 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                     MASTER PROFESSIONAL SERVICES AGREEMENT


                                                     EXHIBIT C – ATTACHMENT 1
                                                      STATEMENT OF WORK #1
                                                  FUNCTIONAL REQUIREMENTS M ATRIX




                                     (BALANCE OF THIS PAGE LEFT INTENTIONALLY BLANK)




                                                             Page 88 of 391
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 142 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




       Proposed Vendor Functional Matrix Responses

                                               No Modification is required. Desired
                                                 functionality is achieved through
                        Provided as part
            A                                 configuration and is part of base Code.
                        of base system.
                                              Cost of configuration is part of solution
                                                         implementation.

                                              Not Currently in the system, but will be
                                               fully vetted, tested and present in the
            B           In Development       system prior to launch. Enhancement or
                                             modification to enable this functionality
                                                      will be included in price.


                        Base will require     Enhancements are classified as minor
            C                some           coding utilizing system defined user exits
                         enhancements         with costing between $1,000 - 15,000




                        Base will require     Enhancements or modifications using
            D            minor software      established user exits or minor custom
                             coding         coding costing between $15,001 - 35,000




                         Base Code will       Modifications that require substantial
            E              have to be       development and coding costing between
                            modified                    $35,001 - $75,000




                           Extensive         Extensive development effort is required
            F            modification to    resulting in development and coding costs
                           base code              from $75,001 - over $100,000




                        Software can not
                                             The development of this function is not
            G            be enhanced or
                                                  possible with this application
                            modified




                                                                                          Page 89 of 391
                                                                                           Response Template         C-2
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 143 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                              1.0 General Requirements

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                            Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

     System Navigation
    System provides that on all entry screens, fields tab in logical
                                                                             A                       Yes         Framework        8.0
    workflow order presented on the screen.
    System provides that all of the modules/interfaces, including
                                                                             A                       Yes         Framework        8.0
    reports, have a consistent look and feel.
    System maintains key header information from one screen to                                                                            Open Smartflex screens
    the next. The utility requires that account number is part of the                                                                     include fields that
    key header information.                                                                                                               display key information
                                                                                                                                          (e.g. account number on
                                                                                                                                          a customer care
                                                                                                                                          management screen).
                                                                             A                       Yes         Framework        8.0
                                                                                                                                          Those fields have been
                                                                                                                                          defined according to the
                                                                                                                                          industry best practices.




    System provides the ability to use hot keys or fast-paths to
                                                                             G                       No
    navigate throughout the system.
    System provides the ability to quickly access entry forms using
    shortcuts for heads down / high volume data entry (without               A                       Yes         Framework        8.0
    using the mouse).
    System provides the ability to bookmark a form with specific
    account information, then access a different (customer,
                                                                             G                       No
    account, premises) set of data and be able to go back to the
    bookmark.
    System provides the ability to have multiple open sessions for a
                                                                             A                       Yes         System tools     8.0
    user to access data.


                                                                                 Page 90 of 391
                                                                                 Response Template                                                             C-3
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 144 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               1.0 General Requirements

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                            Version   Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

    System provides the ability to control different screen-paths
                                                                             A                       Yes         System tools     8.0
    based on user role.
    System provides a calendar function as an option where date
                                                                             A                       Yes         System tools     8.0
    fields are provided throughout the system.
    Within date fields the system provides a calendar function,
    which can highlight current date, allows for selection of desired        A                       Yes         System tools     8.0
    date and allows for selection of future date.
    System provides the ability to provide user-defined online
    documentation that may be used as an online procedures                   A                       Yes         System tools     8.0
    manual.
    System/vendor provides electronic system documentation that
                                                                             A                       Yes         System tools     8.0
    can be turned into help for the users.
    System provides the ability to assign user specific screen
                                                                             A                       Yes         Framework        8.0
    presentation criteria based on user sign-in.
    System provides the ability to access the last 10 or more
                                                                             G                       No
    accounts accessed through a 'back' button or drop down list.
    System provides for significant "copy/cut and paste" capabilities
    including but not limited to between fields, screens/windows,            A                       Yes         Framework        8.0
    applications, date fields, other.




                                                                                 Page 91 of 391
                                                                                 Response Template                                                       C-4
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 145 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                1.0 General Requirements

                                                                                             Is Functionality   Name of System
                                                                                               Included in      or Module That
                         Requirement Description                          Vendor Score                                                    Version      Vendor Notes
                                                                                              Price? (Yes or     Provides This
                                                                                                   No)           Functionality

                                                                                                                                                    Open Smartflex will
                                                                                                                                                    allow the Utility to
                                                                                                                                                    configure print formats
                                                                                                                                                    for documents of
                                                                                                                                                    business processes used
                                                                                                                                                    to send information to
                                                                                                                                                    its customers. This
                                                                                                                                                    feature makes it
                                                                                                                                                    unnecessary to execute
    System should provide a multitude of output features, including
                                                                                                                                                    a mail merge process.
    but not limited to directing to any network printer, MS Office
                                                                               A                       Yes           System tools           8.0
    applications, screen print, files of varying formats, social media,
                                                                                                                                                    In addition, Open
    fax, other
                                                                                                                                                    Smartflex allows users
                                                                                                                                                    to take screenshots of
                                                                                                                                                    any system screen by
                                                                                                                                                    pressing the Print
                                                                                                                                                    Screen button.




    On a screen, when there is only one primary option available,
    the CIS/OSS system should be able to prefill the screen as                 A                       Yes      Sales and customer care     8.0
    much as possible
    Search Criteria
    System provides the ability to accommodate multi-company
                                                                               A                       Yes           System tools           8.0
    codes.



                                                                                   Page 92 of 391
                                                                                   Response Template                                                                     C-5
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 146 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             1.0 General Requirements

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                            Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    System provides unique identifiers that will be presented within
    the main CSR screen that allow the CSR to quickly identify              A                       Yes         System tools     8.0
    which company they are accessing.
    System provides that every data element in the system, with                                                                          Open Smartflex
    access to be granted to users with the proper security, is                                                                           identifies and manages
    available for inquiry, including but not limited to account                                                                          both financial and
    number, customer number, premises number, parcel ID,                                                                                 overall status for each
    customer name, phone number, driver's license number, social                                                                         service. Financial status
    security number, email address, account status,                                                                                      shows if the product has
    equipment/meter number, premise address, mailing address,                                                                            debts, arrears or write-
                                                                            A                       Yes         System tools     8.0
    cycle or route                                                                                                                       off amounts. Overall
                                                                                                                                         status shows if the
                                                                                                                                         product is active,
                                                                                                                                         terminated or
                                                                                                                                         disconnected.


    System provides the ability to mask specific numbers (e.g.,
    SS#) or provide full access to SSN, based on security access            A                       Yes         System tools     8.0
    with database encryption.
    System provides the ability to create a user-defined search that                                                                     Open Smartflex has the
    can easily be changed and exported based on the user's needs,                                                                        capability of searching
                                                                            A                       Yes         Framework        8.0     on many of the standard
    to include, but is not limited to any field, filter or if-then
    statements.                                                                                                                          characteristics found in
                                                                                                                                         the customer/account




                                                                                Page 93 of 391
                                                                                Response Template                                                              C-6
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 147 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             1.0 General Requirements

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                           Version      Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

                                                                                                                                       Open Smartflex's
                                                                                                                                       Framework of
                                                                                                                                       Interactive Reports
                                                                                                                                       allows users to consult
                                                                                                                                       any information
                                                                                                                                       extracted from the
                                                                                                                                       database. Authorized
    System provides the ability to save the user-defined search for                                                                    users can execute
                                                                           A                       Yes         Framework       8.0
    future use.                                                                                                                        reports at any time
                                                                                                                                       using custom filtering
                                                                                                                                       and grouping options.

                                                                                                                                       This also applies to the
                                                                                                                                       next item (below).


    System provides the ability for the saved user-defined searches
    to be grouped and accessed through a drop down list by other           A                       Yes         Framework       8.0
    users with the appropriate level of security.
                                                                                                                                       Open Smartflex's
                                                                                                                                       Framework of
                                                                                                                                       interactive reports
    System provides the ability to export searches into a 3rd party                                                                    allows the Utility to
                                                                           A                       Yes         Framework       8.0
    tools such as MS Excel with the appropriate security.                                                                              export data to MS Excel
                                                                                                                                       or to plain text (without
                                                                                                                                       vendor help).




                                                                               Page 94 of 391
                                                                               Response Template                                                             C-7
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 148 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             1.0 General Requirements

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                            Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

                                                                                                                                         Open Smartflex allows
                                                                                                                                         the users to organize
                                                                                                                                         and define, within
                                                                                                                                         information screens, the
                                                                                                                                         order of the data
                                                                                                                                         presented.

    System provides the ability within a search results screen to                                                                        Alternatively, Open
    rearrange (drag and drop) display columns to have search data           A                       Yes         Framework        8.0     Smartflex Framework of
    presented based on a personal preference.                                                                                            interactive reports
                                                                                                                                         allows the Utility to
                                                                                                                                         display data extracted
                                                                                                                                         from database entities.
                                                                                                                                         The fields shown in the
                                                                                                                                         report are defined by
                                                                                                                                         the user.

    System provides the ability to search by partial address such as
                                                                            A                       Yes         System tools     8.0
    street name.
    System provides that searches can be performed on more than
                                                                            A                       Yes         Framework        8.0
    one search criteria field at the same time.
    System provides that searches can be performed on accounts
                                                                            A                       Yes         Framework        8.0
    regardless of their status.
    System provides the ability to support wild card and phonetic
    (i.e., Soundex) searches on any number of fields. These
                                                                            G                       No
    searches should be able to work in all software modules
    including ad-hoc reporting.



                                                                                Page 95 of 391
                                                                                Response Template                                                             C-8
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 149 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             1.0 General Requirements

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                           Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

                                                                                                                                        Open Smartflex allows
                                                                                                                                        the Utility to generate
                                                                                                                                        and display data,
                                                                                                                                        through reporting
                                                                                                                                        framework that enables
    System provides the ability to filter/order adjustment dates on                                                                     extract information
                                                                            A                       Yes         Framework       8.0
    accounting forms for ease of finding certain charges.                                                                               from database entities.

                                                                                                                                        This also applies to the
                                                                                                                                        next item (below).



    System provides the ability to filter/order consumption dates on
                                                                            A                       Yes         Framework       8.0
    accounting forms for ease of finding certain charges.




                                                                                Page 96 of 391
                                                                                Response Template                                                             C-9
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 150 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                              1.0 General Requirements

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                                    Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

                                                                                                                                                  Open Smartflex's
                                                                                                                                                  Framework of
                                                                                                                                                  Interactive Reports
                                                                                                                                                  allows the Utility to
                                                                                                                                                  display data extracted
                                                                                                                                                  from database entities.
    System provides the ability to filter/order customer interactions                                                                             The visible fields in
                                                                             A                       Yes      Sales and customer care     8.0
    based on call date.                                                                                                                           created report can be
                                                                                                                                                  filtering and ordering by
                                                                                                                                                  user.

                                                                                                                                                  This also applies to the
                                                                                                                                                  next item (below).

    System provides the ability to filter/order customer interactions
                                                                             A                       Yes      Sales and customer care     8.0
    based on resolution date.




                                                                                 Page 97 of 391
                                                                                 Response Template                                                                     C-10
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 151 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               1.0 General Requirements

                                                                                      Is Functionality   Name of System
                                                                                        Included in      or Module That
                         Requirement Description                   Vendor Score                                           Version     Vendor Notes
                                                                                       Price? (Yes or     Provides This
                                                                                            No)           Functionality

                                                                                                                                    Open Smartflex's
                                                                                                                                    Framework of
                                                                                                                                    Interactive Reports
                                                                                                                                    allows the Utility to
                                                                                                                                    organize the data
                                                                                                                                    extracted from database
                                                                                                                                    entities through SQL
    System provides the ability to default the display order
                                                                        A                       Yes         Framework       8.0     statements ("order by"
    (ascending/descending) by user group.
                                                                                                                                    option). Furthermore,
                                                                                                                                    the fields can be
                                                                                                                                    ordered in the created
                                                                                                                                    report by user to
                                                                                                                                    facilitate viewing and
                                                                                                                                    handling.




                                                                            Page 98 of 391
                                                                            Response Template                                                          C-11
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 152 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                1.0 General Requirements

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                                    Version      Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

                                                                                                                                                The Open Smartflex's
                                                                                                                                                Information Presenter
                                                                                                                                                screens allow users to
                                                                                                                                                organize the following
                                                                                                                                                information:
                                                                                                                                                - Search result area:
                                                                                                                                                increases or reduces the
                                                                                                                                                panel size in order to
                                                                                                                                                determine the amount
                                                                                                                                                of records to show.
    System provides the ability to drag and drop query result
                                                                           A                       Yes            Framework             8.0     - Detail of the selected
    columns based on user login.
                                                                                                                                                record: defines the
                                                                                                                                                hidden or visible fields
                                                                                                                                                of the selected record.
                                                                                                                                                - Associated
                                                                                                                                                information: defines the
                                                                                                                                                information order to be
                                                                                                                                                visualized.




    System to provide a running history of all customers per log on
                                                                           B                       Yes      Sales and customer care     8.0
    session.




                                                                               Page 99 of 391
                                                                               Response Template                                                                    C-12
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 153 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               1.0 General Requirements

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                                    Version     Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    System provides the ability to capture service point identifier
    field information which will indicate to the CSR and the
    customer what that meter is actually tied to. (example: house,
                                                                              A                       Yes             Metering             8.0
    pool, other structure) This information will NOT be presented in
    the bill print extract file. This information can be viewed on the
    primary CSR screen.
                                                                                                                                                   Open Smartflex allows
                                                                                                                                                   searching the
                                                                                                                                                   customers' requests,
    System allows for the search of service orders, payment                                                                                        showing the user who
                                                                              A                       Yes      Sales and customer care     8.0
    arrangements, payments and notes by creator (CSR, UBR, etc.)                                                                                   created them, and work
                                                                                                                                                   orders generated for
                                                                                                                                                   their management.

    Primary Call Center, Billing, Credit & Collections, and
    Field Worker Screen Criteria
    System provides the ability to display payment information on
                                                                              A                       Yes      Sales and customer care     8.0
    primary CSR screen.
    System provides the ability to display amounts due and due
                                                                              A                       Yes      Sales and customer care     8.0
    dates on primary CSR screen.
    System provides the ability to display usage information on
                                                                              A                       Yes      Sales and customer care     8.0
    primary CSR screen.
    System provides the ability to display customer information on
                                                                              A                       Yes      Sales and customer care     8.0
    primary CSR screen.
    System provides the ability to display account information on
                                                                              A                       Yes      Sales and customer care     8.0
    primary CSR screen.
    System provides the ability to display premises information on
                                                                              A                       Yes      Sales and customer care     8.0
    primary CSR screen.


                                                                                  Page 100 of 391
                                                                                  Response Template                                                                  C-13
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 154 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             1.0 General Requirements

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                                    Version   Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    System provides the ability to display rebate information on
                                                                            A                       Yes             Rebates              8.0
    primary CSR screen.
    System provides the ability to display product / service
                                                                            A                       Yes      Sales and customer care     8.0
    information on primary CSR screen.
    System provides the ability to display service order information
                                                                            A                       Yes      Sales and customer care     8.0
    on primary CSR screen.
    System provides the ability to display customer interaction
                                                                            A                       Yes      Sales and customer care     8.0
    information on primary CSR screen.
    System provides the ability to display credit information on
                                                                            A                       Yes      Sales and customer care     8.0
    primary CSR screen.
    System provides the ability to display billing information on
                                                                            A                       Yes      Sales and customer care     8.0
    primary CSR screen.
    System provides the ability to access detailed payment
                                                                            A                       Yes      Sales and customer care     8.0
    information from the primary CSR screen.
    System provides the ability to access detailed usage information
                                                                            A                       Yes      Sales and customer care     8.0
    from the primary CSR screen.
    System provides the ability to access detailed customer
                                                                            A                       Yes      Sales and customer care     8.0
    information from the primary CSR screen.
    System provides the ability to access detailed account
                                                                            A                       Yes      Sales and customer care     8.0
    information from the primary CSR screen.
    System provides the ability to access detailed premises
                                                                            A                       Yes      Sales and customer care     8.0
    information from the primary CSR screen.
    System provides the ability to access detailed service
                                                                            A                       Yes      Sales and customer care     8.0
    information from the primary CSR screen.
    System provides the ability to access detailed service order
                                                                            A                       Yes      Sales and customer care     8.0
    information from the primary CSR screen.




                                                                                Page 101 of 391
                                                                                Response Template                                                           C-14
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 155 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               1.0 General Requirements

                                                                                             Is Functionality   Name of System
                                                                                               Included in      or Module That
                         Requirement Description                          Vendor Score                                                    Version   Vendor Notes
                                                                                              Price? (Yes or     Provides This
                                                                                                   No)           Functionality

    System provides the ability to access detailed customer
    interaction information from the primary CSR screen (including             B                       Yes      Sales and customer care     8.0
    internet e-mail)
    System provides the ability to access detailed credit information
                                                                               A                       Yes      Sales and customer care     8.0
    from the primary CSR screen.
    System provides the ability to access detailed billing information
                                                                               A                       Yes      Sales and customer care     8.0
    from the primary CSR screen.
    System provides the ability to design special inquiry screens for
                                                                               A                       Yes      Sales and customer care     8.0
    other departmental access.
    Online Help

    System offers user documentation and screen/field level "help"
                                                                               B                       Yes           System tools           8.0
    that is accessible from each online screen,is context sensitive, is
    printable, and provides pop-up windows for table values.
    Vendor should provide a user-customized "help" that will be
                                                                               B                       Yes           System tools           8.0
    available to all users.
    System provides the ability for online help to be updated with
    each new version release. CLIENT-specific help will not be                 B                       Yes           System tools           8.0
    changed.
    System provides the ability for online help to provide an index
                                                                               A                       Yes           System tools           8.0
    and search capability.
    Automated Work Queue




                                                                                   Page 102 of 391
                                                                                   Response Template                                                           C-15
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 156 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             1.0 General Requirements

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                                  Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    System provides the ability to allow the system administrator to                                                                           Open Smartflex provides
    define actions for any event, process or transaction, that are                                                                             the ability to modify the
    triggered upon any combination of the following: successful                                                                                step sequence of a
    completion, unsuccessful end, at beginning, during processing                                                                              business process,
    and time elapsed.                                                                                                                          including the addition of
                                                                                                                                               new work queue items
                                                                                                                                               and decision paths. The
                                                                                                                                               system allows the
                                                                                                                                               service provider to
                                                                                                                                               combine steps in
                                                                                                                                               sequential or parallel
                                                                                                                                               order (at the beginning
                                                                                                                                               or during the
                                                                                                             Back-office workforce             processing).
                                                                            A                       Yes                                8.0
                                                                                                                 management
                                                                                                                                               Decision paths between
                                                                                                                                               steps can include
                                                                                                                                               conditions to determine
                                                                                                                                               the next step (upon the
                                                                                                                                               successful completion,
                                                                                                                                               upon the unsuccessful
                                                                                                                                               end). In addition,
                                                                                                                                               business process can
                                                                                                                                               include waiting steps
                                                                                                                                               such as awaiting
                                                                                                                                               payment in start service
                                                                                                                                               process (elapsed time).



                                                                                Page 103 of 391
                                                                                Response Template                                                                  C-16
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 157 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             1.0 General Requirements

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                                  Version      Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

    System provides the ability to provide a calendar or similar
                                                                                                            Back-office workforce
    mechanism for the system administrator to schedule events.             A                       Yes
                                                                                                                management
                                                                                                                                      8.0

    System allows administrator to schedule an event multiple                                               Back-office workforce
                                                                           A                       Yes                                8.0
    times.                                                                                                      management
    System provides the ability for linking together of a series of                                                                           Open Smartflex
    events necessary to complete a transaction. An event can be a                                                                             workflow process
    display screen, an entry screen or a program. As each event is                                                                            management
    completed the system would continue with the next event until                                                                             establishes the
    all have been completed.                                                                                                                  sequence of steps
                                                                                                                                              (events) of a business
                                                                                                                                              process from the
                                                                                                                                              beginning to the end,
                                                                           A                       Yes      Products and services     8.0     ensuring that the
                                                                                                                                              customers' requests are
                                                                                                                                              met. Each step
                                                                                                                                              represents an action to
                                                                                                                                              be performed by the
                                                                                                                                              system (such as a
                                                                                                                                              validation) or by the
                                                                                                                                              users (such as filling out
                                                                                                                                              an entry screen).




                                                                               Page 104 of 391
                                                                               Response Template                                                                    C-17
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 158 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             1.0 General Requirements

                                                                                        Is Functionality   Name of System
                                                                                          Included in      or Module That
                         Requirement Description                     Vendor Score                                                  Version      Vendor Notes
                                                                                         Price? (Yes or     Provides This
                                                                                              No)           Functionality

    System provides the ability for electronic management, routing                                                                           Open Smartflex allows
    by office, workgroup or individual, and reporting of work                                                                                managing task (work
    generated by the system such as nightly batch or update.                                                                                 queues items) in order
                                                                                                                                             to be executed by work
                                                                                                                                             units who are available
                                                                                                                                             users with the required
                                                                                                                                             skill. Work units request
                                                                                                                                             tasks on-demand or a
                                                                                                                                             work unit supervisor
                                                                                                                                             assigns it manually. In
                                                                                                                                             addition, work unit
                                                                                                                                             supervisor has access to
                                                                                                                                             dashboards with work
                                                                          A                       Yes      Products and services     8.0     queues information to
                                                                                                                                             monitor assignment and
                                                                                                                                             execution progress.

                                                                                                                                             Also, the system offers
                                                                                                                                             an automatic
                                                                                                                                             assignation algorithm
                                                                                                                                             that assigns works to
                                                                                                                                             corresponding work
                                                                                                                                             units based on their
                                                                                                                                             roles and skills




                                                                              Page 105 of 391
                                                                              Response Template                                                                   C-18
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 159 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             1.0 General Requirements

                                                                                       Is Functionality   Name of System
                                                                                         Included in      or Module That
                         Requirement Description                    Vendor Score                                                  Version      Vendor Notes
                                                                                        Price? (Yes or     Provides This
                                                                                             No)           Functionality

    System provides the ability for a work queue to be managed or                                                                           Open Smartflex allows
    owned by individual, variable-sized work group, department,                                                                             the creation of work
    location/facility                                                                                                                       queues that can be
                                                                                                                                            executed by a work unit
                                                                                                                                            according to
                                                                                                                                            administrative work
                                                                                                                                            type and operational
                                                                                                                                            zone. Tasks can be
                                                                                                                                            handled by areas
                                                                                                                                            managed by a
                                                                                                                                            supervisor.

                                                                                                          Back-office workforce             A work unit represents
                                                                         A                       Yes                                8.0
                                                                                                              management                    an available user with
                                                                                                                                            the required skill to
                                                                                                                                            perform the task. When
                                                                                                                                            a work unit is ready to
                                                                                                                                            work, it asks for tasks on-
                                                                                                                                            demand. For this
                                                                                                                                            requirement, each
                                                                                                                                            member of a Work
                                                                                                                                            Group can be
                                                                                                                                            represented as a work
                                                                                                                                            unit and has the same
                                                                                                                                            skill set.




                                                                             Page 106 of 391
                                                                             Response Template                                                                   C-19
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 160 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                              1.0 General Requirements

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                                  Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

    System Provides the Ability for Work Queue Items to be viewed,                                            Back-office workforce
                                                                             A                       Yes                                8.0
    modified, deleted, printed, void                                                                              management
    System provides the ability for work queue items to be
                                                                                                              Back-office workforce
    reassigned to another individual, work group, department,                A                       Yes
                                                                                                                  management
                                                                                                                                        8.0
    location/facility
                                                                                                              Back-office workforce
                                                                             A                       Yes                                8.0
    System will limit the ability to reassign an item after 'x' times                                             management
    System provides the ability to allow for appropriate controls to
    be placed on key queues to notify users of the need to work the                                           Back-office workforce
    queue. As new items are routed to the queue, users will                  A                       Yes
                                                                                                                  management
                                                                                                                                        8.0
    automatically be alerted. System should also be able to turn off
    auto notices.
    Approvals
    System provides adequate levels of management review and                                                                                    Open Smartflex allows
    approval throughout the system, this may include an automatic                                                                               supervisor user approve
    queuing or routing of transactions pending management                                                                                       a process before to be
    approval.                                                                                                                                   completed. These
                                                                                                                                                processes are delivered
                                                                                                                                                by Open, as part of the
                                                                             A                       Yes          System tools          8.0     solution, which have
                                                                                                                                                been defined according
                                                                                                                                                to best practices for the
                                                                                                                                                industry, e.g., debt
                                                                                                                                                negotiation.




                                                                                 Page 107 of 391
                                                                                 Response Template                                                                   C-20
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 161 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             1.0 General Requirements

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                            Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    System provides the ability to establish approval based on user-                                                                     Open Smartflex allows
    defined roles.                                                                                                                       the supervisor user to
                                                                                                                                         approve a process
                                                                                                                                         before its completion.
                                                                                                                                         These processes are
                                                                                                                                         delivered by Open, as
                                                                            A                       Yes         System tools     8.0     part of the solution, and
                                                                                                                                         have been defined
                                                                                                                                         according to best
                                                                                                                                         practices for the
                                                                                                                                         industry, e.g., debt
                                                                                                                                         negotiation.

    Auditing
    System provides a consistent online audit trail for all
    transactions. This audit trail should be easily traceable from          A                       Yes         System tools     8.0
    resultant transaction back to source entry.
    System provides for all reasonable type edits, unless otherwise                                                                      Open Smartflex offers
    specified, will be provided with some type of override                                                                               the ability to track who
    mechanism with an audit trail of overrides exercised. This will                                                                      has modified data from
    include User-ID, date and time stamp, an option for entering a          A                       Yes         System tools     8.0     database entities, and
    comment, and with full management approval/security access.                                                                          provides detailed
                                                                                                                                         information about it
                                                                                                                                         such as user, date and




                                                                                Page 108 of 391
                                                                                Response Template                                                             C-21
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 162 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                              1.0 General Requirements

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                            Version     Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

    System provides the ability to have all automatic system                                                                              Open Smartflex
    functions provided with some means of either manually                                                                                 incorporates some
    overriding the function or the ability to identify and flag                                                                           automatic processes
    exceptions to the automated process. An audit trail of changes           A                       Yes         System tools     8.0     with a manual
    to overrides and items flagged as exceptions must be provided.                                                                        overriding or with
    This will include User-ID, date and time stamp, and provide for                                                                       identification of
    an option for entering a comment.                                                                                                     exceptions. Those

    System provides for the logging of and identification of any user
                                                                             A                       Yes         System tools     8.0
    who accesses and/or modifies account, rate, meter, work order,
    billing adjustment, schedule, programs, customer
    System provides for user-defined audit retention and archiving
                                                                             A                       Yes         System tools     8.0
    abilities based upon user-defined timeframe.
    Scheduling




                                                                                 Page 109 of 391
                                                                                 Response Template                                                              C-22
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 163 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             1.0 General Requirements

                                                                                        Is Functionality   Name of System
                                                                                          Included in      or Module That
                         Requirement Description                     Vendor Score                                            Version      Vendor Notes
                                                                                         Price? (Yes or     Provides This
                                                                                              No)           Functionality

    System provides the ability to allow events to be scheduled on                                                                     Open Smartflex allows
    one or more computers for batch processing, at any time. An                                                                        the service provider to
    event can be any combination of the following: batch, step                                                                         schedule processes of
    within a batch or restart, program or group of events.                                                                             the system by defining
                                                                                                                                       and updating
                                                                                                                                       information as the date,
                                                                                                                                       time and frequency of
                                                                                                                                       execution. These
                                                                                                                                       processes are
                                                                                                                                       automatically
                                                                                                                                       programmed in the
                                                                                                                                       server, so it is possible
                                                                                                                                       to program multiple
                                                                          A                       Yes         System tools     8.0     processes without
                                                                                                                                       requiring to program
                                                                                                                                       them on each
                                                                                                                                       workstation.

                                                                                                                                       The processes that can
                                                                                                                                       be scheduled are pre-
                                                                                                                                       defined by Open
                                                                                                                                       according to the
                                                                                                                                       successful practices of
                                                                                                                                       the industry but the
                                                                                                                                       service provider can
                                                                                                                                       develop their own
                                                                                                                                       processes to be
                                                                                                                                       scheduled as needed.


                                                                              Page 110 of 391
                                                                              Response Template                                                             C-23
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 164 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                              1.0 General Requirements

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                            Version     Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

    System provides the ability to offer online inquiry and updating
                                                                             A                       Yes         Framework        8.0
    during the batch processing window.
    System provides the ability to respond to error conditions that                                                                       Open Smartflex provides
    are severe in nature. This response would be a call or page sent                                                                      the functionality of
    to personnel responsible for resolving problems that cannot be           A                       Yes         System tools     8.0
                                                                                                                                          "Tickets Management
    resolved by use of automated online notification and resolution.                                                                      for Help Desk" that
    For example, an event such as a batch process that ends                                                                               allow users to report
    abnormally or a hardware failure.                                                                                                     errors, unexpected
                                                                                                                                          Open Smartflex allows
    System provides the ability to have in the areas where batch                                                                          correcting errors in
    processing occurs, a clear easy and concise way to roll back                                                                          customer invoices,
    postings that were done in error or out of sequence. The roll                                                                         through billing notes
    back function shall be handled by or be a function of the                A                       Yes            Billing       8.0     that automatically
    software / database system. The roll back process should be an                                                                        generate the
    automatic, intrinsic function of the software, not something that                                                                     corresponding financial
    would require CLIENT's staff to run multiple utilities and batch                                                                      movements (debits and
    processes to perform a roll back.                                                                                                     credits).
    System to provide capability to restart or rollback any job or
    process that was halted in progress due to power failure,
    system interruption, etc. Must provide consistent and logical
                                                                             A                       Yes             SCS          8.0
    restart and rollback processes for all batch and critical
    interactive processes, without having to totally resubmit and
    start over, or restore from a physical backup.




                                                                                 Page 111 of 391
                                                                                 Response Template                                                           C-24
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 165 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             1.0 General Requirements

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                            Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    System to provide detailed error messages (certain errors will                                                                       When there are
    alert system administrator with priority assigned).                                                                                  problems in the
                                                                                                                                         processes execution,
                                                                                                                                         Open Smartflex displays
                                                                                                                                         error messages that
                                                                                                                                         alert users about the
                                                                            A                       Yes         System tools     8.0     situation. It includes the
                                                                                                                                         cause and the possible
                                                                                                                                         solution. These
                                                                                                                                         messages can be
                                                                                                                                         consulted by the system
                                                                                                                                         administrator.

     System Administration / Configuration
                                                                                                                                         Open Smartflex allows
                                                                                                                                         defining a role for each
                                                                                                                                         user in order to manage
                                                                                                                                         access privileges to
                                                                                                                                         system options, or
                                                                                                                                         screens. For this
                                                                            A                       Yes         System tools     8.0     requirement, users do
    System provides the ability to allow the administrator and other                                                                     not have access to
    designated users the ability to accomplish all major changes in                                                                      screens that include
    processing requirements by changing various system                                                                                   system parameters
    parameters and/or user-defined business rules without changing                                                                       and/or business rules,
    code in programs. This is to be accomplished without the need                                                                        unless they are granted.
    for professional services.



                                                                                Page 112 of 391
                                                                                Response Template                                                              C-25
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 166 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                              1.0 General Requirements

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                           Version     Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

    System provides for system administrator-defined fields and                                                                          Open Smartflex allows
    allow system administrator to define edits on user-defined fields                                                                    the creation of new
    by using Possible Value Lists, drop down lists or other field /          A                       Yes         Framework       8.0     fields for customer,
    data validation to enhance the integrity of data entered into the                                                                    account, premise, and
    system.                                                                                                                              product business




                                                                                 Page 113 of 391
                                                                                 Response Template                                                          C-26
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 167 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             1.0 General Requirements

                                                                                       Is Functionality   Name of System
                                                                                         Included in      or Module That
                         Requirement Description                    Vendor Score                                           Version      Vendor Notes
                                                                                        Price? (Yes or     Provides This
                                                                                             No)           Functionality

                                                                                                                                     Open International
                                                                                                                                     deploys a set of tools,
                                                                                                                                     under Open Smartflex
                                                                                                                                     Framework module,
                                                                                                                                     that are aimed to ease
                                                                                                                                     and accelerate the
                                                                                                                                     development of new
                                                                                                                                     applications for:
                                                                                                                                      - Data inquiry and
                                                                                                                                     presentation
                                                                                                                                      - Reporting and
                                                                                                                                     dashboards
                                                                         A                       Yes         Framework       8.0      - Batch process
                                                                                                                                     execution
                                                                                                                                      - Object publication
                                                                                                                                      - Database entity
                                                                                                                                     registration

                                                                                                                                     Using the Framework
                                                                                                                                     module, the Utility will
                                                                                                                                     be able to create new
                                                                                                                                     screens and adjust the
                                                                                                                                     attributes of all the
    System provides for the system administrator to easily change                                                                    fields displayed on
    the description of fields.                                                                                                       them.




                                                                             Page 114 of 391
                                                                             Response Template                                                            C-27
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 168 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               1.0 General Requirements

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                            Version      Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

                                                                                                                                           Open International
                                                                                                                                           releases web
                                                                                                                                           documentation with
                                                                                                                                           Open Smartflex, which is
                                                                                                                                           accessible from any
                                                                                                                                           device. Using the
                                                                              A                       Yes         System tools     8.0     documentation, users
                                                                                                                                           will be able to consult
                                                                                                                                           functional information
    System provides the ability to allow for all software and                                                                              as well technical details,
    database design elements (ERD's (Entity Relationship                                                                                   such as ERD's.
    Diagrams), design graphics, etc.)) to be available for viewing
    and/or updating by the system administrator.
    System provides the ability to allow system administrator to
                                                                              A                       Yes         System tools     8.0
    initiate restart and recovery procedures after any event.
    System Security
    System provides the ability to allow system administrator
    view/edit privileges for users who are on the system and what             A                       Yes         System tools     8.0
    modules/fields they are accessing.

    System to provide security at all levels, including the following:
    a) System Level                                                           A                       Yes         System tools     8.0
    b) Business Function Level                                                A                       Yes         System tools     8.0
    c) Event Level                                                            A                       Yes         System tools     8.0
    d) Screen Level                                                           A                       Yes         System tools     8.0
    e) Field Level                                                            A                       Yes         System tools     8.0




                                                                                  Page 115 of 391
                                                                                  Response Template                                                             C-28
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 169 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                              1.0 General Requirements

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                            Version   Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

    System to provide restriction of access to user-defined
    customer / account information and related processing by user,         A                       Yes         System tools     8.0
    user group, department, other
    System should provide for all violations of security to be
                                                                           A                       Yes         System tools     8.0
    reported and logged.
    System provides the ability for an administrator to easily set-
    up, define and manage users and groups and their access                A                       Yes         System tools     8.0
    levels.
    System provides the ability to support secure access to the
    database, in so much as only authorized users are allowed to
                                                                           A                       Yes         System tools     8.0
    access the database and should report attempts by
    unauthorized users to use the system.
    System provides the ability to support, where online processing
    is occurring via remote or web based clients, a secure                 A                       Yes         System tools     8.0
    (encrypted) access to the system.
    System should have the ability to suspend login after "x"
    attempts to access the system with an incorrect password.              A                       Yes         System tools     8.0

    System provides the ability to identify and track transactions
    that have been changed through the database.                           A                       Yes         System tools     8.0

    System provides a password expiration date, for non-usage,
    which can be set for user-defined or other timeframes.                 A                       Yes         System tools     8.0

    System provides a mechanism for the user to be notified x
    number of days before the password is to expire, allowing the          B                       Yes         System tools     8.0
    user to create a new password.




                                                                               Page 116 of 391
                                                                               Response Template                                                   C-29
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 170 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                              1.0 General Requirements

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                            Version   Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

    System provides the ability to mask / hide / encrypt portions of
    specific numbers thorough out the application (i.e. social
    security number, credit card number and other data, etc.).               A                       Yes         System tools     8.0


    Data Validation and Exception Reporting
    System provides that all exception reporting and error handling
    is online. The error correction and exception processing will use
    an automated online process to accomplish this function in an            A                       Yes         System tools     8.0
    online real time processing mode. Appropriate controls will
    notify the users and their supervisors of the need to work the
    exceptions.




                                                                                 Page 117 of 391
                                                                                 Response Template                                                   C-30
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 171 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                              1.0 General Requirements

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                                  Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

    System to allow the selection of specified exception and/or error                                                                           The Utility will have the
    items for processing or printing or online work queue based on                                                                              ability to set up event
    user-specified criteria.                                                                                                                    notifications (without
                                                                                                                                                the vendor help), which
                                                                                                                                                will be issued when the
                                                                                                                                                system detects the
                                                                                                                                                defined event. Those
                                                                                                                                                notifications can create
                                                                                                                                                tickets (administrative
                                                                                                              Back-office workforce             orders) to be managed
                                                                             A                       Yes                                8.0
                                                                                                                  management                    by users.

                                                                                                                                                For this requirement,
                                                                                                                                                the Utility can set a
                                                                                                                                                notification for each
                                                                                                                                                event, and determine
                                                                                                                                                which one needs to be
                                                                                                                                                managed by a user.




                                                                                 Page 118 of 391
                                                                                 Response Template                                                                   C-31
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 172 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                              1.0 General Requirements

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                              Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    System to provide processing controls to prove the accuracy                                                                            Open Smartflex will
    and completeness of all processing. Additionally, these controls                                                                       allow the Utility to
    must prevent reprocessing where the process has already been                                                                           define the required
    done. Example: The system should issue a warning if                                                                                    processes by billing
    attempting to double post the usage from meter reading or                                                                              cycle, giving the capacity
    double post cash receipts, etc.                                                                                                        of establish the
                                                                                                                                           execution sequence
                                                                                                              Payment and debt             among them ensuring
                                                                            A                       Yes                            8.0
                                                                                                                 collection                the business cycle
                                                                                                                                           completeness.
                                                                                                                                           Moreover, every
                                                                                                                                           process has an internal
                                                                                                                                           control in order to avoid
                                                                                                                                           double processing of
                                                                                                                                           records.

    System to have parameter-defined validation rules to control                                                                           Open Smartflex allows
    data validity and reasonableness edits. This is to include the                                                                         defining rules to validate
    ability to specify any edit override capability on the                  A                       Yes          Framework         8.0
                                                                                                                                           the information entered
    reasonableness edits and the security placed on that override                                                                          in the applications'
    capability. Edits will be performed prior to posting updates to                                                                        fields. In addition, it is
    the data and will include an error correction facility.                                                                                possible to define the
    System to provide a way to correct or reverse any error that
    may occur. This is applicable to any and all errors whether             A                       Yes            Billing         8.0
    system generated or operator induced. Within the same fiscal
    year at a minimum.




                                                                                Page 119 of 391
                                                                                Response Template                                                               C-32
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 173 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             1.0 General Requirements

                                                                                 Is Functionality   Name of System
                                                                                   Included in      or Module That
                         Requirement Description                 Vendor Score                                        Version   Vendor Notes
                                                                                  Price? (Yes or     Provides This
                                                                                       No)           Functionality




                                                                       Page 120 of 391
                                                                       Response Template                                                  C-33
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 174 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             1.0 General Requirements

                                                                                 Is Functionality   Name of System
                                                                                   Included in      or Module That
                         Requirement Description                 Vendor Score                                        Version   Vendor Notes
                                                                                  Price? (Yes or     Provides This
                                                                                       No)           Functionality




                                                                       Page 121 of 391
                                                                       Response Template                                                  C-34
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 175 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                                    Version   Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    Generation Information
    System provides the ability to store prior system customer
                                                                            A                       Yes      Sales and customer care     8.0
    numbers from legacy system.
    System to automatically generate unique customer numbers.               A                       Yes      Sales and customer care     8.0

    System to automatically generate unique premise numbers.                A                       Yes           System tools           8.0
    System to automatically generate unique account numbers.                A                       Yes      Sales and customer care     8.0
    System provides the ability to store a unique location number to
    identify Branch, Office, etc., within the utility. These numbers
                                                                            A                       Yes      Sales and customer care     8.0
    will be used to help direct the output file for processing and
    printing.
    System provides the ability to have a multi-company code or
    unique location number that will allow easy access for a CSR to         A                       Yes      Sales and customer care     8.0
    select.
    System provides the ability to create a temporary account (e.g.,
                                                                            A                       Yes      Sales and customer care     8.0
    construction sites, etc.).
    System provides the ability to associate one customer with
                                                                            A                       Yes      Sales and customer care     8.0
    multiple premises.
    System provides the ability to associate a customer to a billing
                                                                            A                       Yes      Sales and customer care     8.0
    account and premise.
    System provides the ability for user to modify specific data
    fields (regarding customer, meter, billing, etc.) for a single          A                       Yes      Sales and customer care     8.0
    account.




                                                                                Page 122 of 391
                                                                                Response Template                                                           C-35
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 176 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                             Is Functionality   Name of System
                                                                                               Included in      or Module That
                         Requirement Description                          Vendor Score                                                    Version     Vendor Notes
                                                                                              Price? (Yes or     Provides This
                                                                                                   No)           Functionality

                                                                                                                                                    Open Smartflex allows
                                                                                                                                                    the service provider to
                                                                                                                                                    modify basic customer
                                                                                                                                                    data through the
                                                                                                                                                    customer care module.
                                                                                                                                                    In addition, the system
                                                                                                                                                    allows the company to
    System provides the ability for user to modify specific data
                                                                                                                                                    modify the customer's
    fields (regarding customer, meter, billing, etc.) for an account           A                       Yes      Sales and customer care     8.0
                                                                                                                                                    bill through credit and
    range.
                                                                                                                                                    debit movements and to
                                                                                                                                                    exchange meters
                                                                                                                                                    between two customers
                                                                                                                                                    when their meters are
                                                                                                                                                    swapped.



    System provides the ability to override standard billing cycle to
                                                                               A                       Yes      Sales and customer care     8.0
    establish a customer-requested bill date.
    System provides the ability to create multiple customers,
    premises, or accounts from a single setup screen with                      A                       Yes      Sales and customer care     8.0
    appropriate edits and quality control features.
    System provides the ability to capture customers' birth dates
    and also provides for the calculation of age, in order to allow (or        C                       Yes      Sales and customer care     8.0
    disallow) certain functions or services based upon age.
    System provides the ability to set defaults (carry data from one
    screen to the other) in designated fields, based upon customer             G                       No
    class with the ability for an override condition.


                                                                                   Page 123 of 391
                                                                                   Response Template                                                                   C-36
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 177 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                                    Version   Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

    System provides the ability to reset defaults (reset data
    between customers to default amount) in designated fields
                                                                             G                       No
    based upon customer class with the ability for an override
    condition.
    System provides the ability to default mailing address to service
                                                                             A                       Yes      Sales and customer care     8.0
    address unless over-written.
    System provides the ability to override defaults with proper
                                                                             A                       Yes      Sales and customer care     8.0
    security.
    Account Data Customer Identification and Information
    System provides the ability to capture and modify customer
                                                                             A                       Yes      Sales and customer care     8.0
    identification data fields.
    System provides the ability to capture a company name for non-
                                                                             A                       Yes      Sales and customer care     8.0
    residential accounts.
    System provides the ability to capture customer's entire name
    including first, middle, last, and:
    d) Title                                                                 A                       Yes      Sales and customer care     8.0

    e) Suffix                                                                A                       Yes      Sales and customer care     8.0

    f) Double Last Name                                                      A                       Yes      Sales and customer care     8.0

    System provides the ability to search by First or Last name.             A                       Yes      Sales and customer care     8.0
    System provides the ability to capture one or more types of
    Identification such as Social Security Number, Driver's license          A                       Yes      Sales and customer care     8.0
    number, Tax ID, other.
    System will capture the identity verification type and reference
                                                                             A                       Yes      Sales and customer care     8.0
    number, including date, time, method, user ID.



                                                                                 Page 124 of 391
                                                                                 Response Template                                                           C-37
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 178 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                                    Version   Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    System provides the ability to identify the relationship of second
    person to primary account holder including but not limited to
                                                                              A                       Yes      Sales and customer care     8.0
    spouse, roommate, parent, co-applicant, guarantor, property
    manager, owner, key contact, account manager, DBA, other.

    System provides information to be associated for Primary and
    associated party(ies) on account: Multiple phone numbers,
                                                                              A                       Yes      Sales and customer care     8.0
    email addresses, employment information and identification
    numbers. All fields have unique labels by field type.
    Addresses
    System to provide individual fields for each component of the
    premises' service address, including but not limited to the
    following:




                                                                                  Page 125 of 391
                                                                                  Response Template                                                           C-38
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 179 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                    Is Functionality   Name of System
                                                                                      Included in      or Module That
                         Requirement Description                 Vendor Score                                            Version      Vendor Notes
                                                                                     Price? (Yes or     Provides This
                                                                                          No)           Functionality

                                                                                                                                   Open Smartflex provides
                                                                                                                                   a functionality that
                                                                                                                                   allows the Utility to
                                                                                                                                   enter and store address
                                                                                                                                   information such as
                                                                                                                                   house number,
                                                                                                                                   fractional house
                                                                                                                                   number, direction,
                                                                                                                                   street name, unit
                                                                                                                                   number, suffix, street
                                                                                                                                   type, and apartment
                                                                                                                                   number. However, these
                                                                                                                                   are not stored as
    a) House Number                                                   A                       Yes         System tools     8.0     individual fields since
                                                                                                                                   the system is capable of
                                                                                                                                   using the USPS address
                                                                                                                                   validation service for the
                                                                                                                                   identification of the
                                                                                                                                   customer's premise
                                                                                                                                   address.

                                                                                                                                   Additional work will be
                                                                                                                                   required if this is
                                                                                                                                   mandatory.




                                                                          Page 126 of 391
                                                                          Response Template                                                             C-39
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 180 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                        Is Functionality   Name of System
                                                                                          Included in      or Module That
                         Requirement Description                     Vendor Score                                            Version      Vendor Notes
                                                                                         Price? (Yes or     Provides This
                                                                                              No)           Functionality

    b) Fractional House Number                                            A                       Yes         System tools     8.0
    c) Pre-Direction                                                      A                       Yes         System tools     8.0
    d) Street Name                                                        A                       Yes         System tools     8.0
    e) Post-Direction                                                     A                       Yes         System tools     8.0
    f) Unit Type (i.e., APT/Lot/other identification number, etc.)        A                       Yes         System tools     8.0
    g) Unit Number (i.e., actual number of suite or apartment)            A                       Yes         System tools     8.0
    h) Street Suffix (Ln, Blvd, Rd, St…etc.)                              A                       Yes         System tools     8.0
    i) Assessor Parcel Number / Tax Map Identification                    A                       Yes         System tools     8.0
                                                                                                                                       The state information
                                                                                                                                       can be obtained from
                                                                                                                                       the USPS or should be
                                                                                                                                       configured in advance if
                                                                                                                                       no integration with the
    j) State                                                              A                       Yes         System tools     8.0     USPS will be done. It is
                                                                                                                                       displayed to the user
                                                                                                                                       each time the user
                                                                                                                                       enters an address to
                                                                                                                                       ensure accuracy.

                                                                                                                                       Zip Code is inferred
                                                                                                                                       using the address
                                                                                                                                       location, which is
    k) Zip Code                                                           A                       Yes         System tools     8.0
                                                                                                                                       computed or prompted
                                                                                                                                       to the user if it is a new
                                                                                                                                       address.




                                                                              Page 127 of 391
                                                                              Response Template                                                              C-40
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 181 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                    Is Functionality   Name of System
                                                                                      Included in      or Module That
                         Requirement Description                 Vendor Score                                            Version      Vendor Notes
                                                                                     Price? (Yes or     Provides This
                                                                                          No)           Functionality

                                                                                                                                   Open Smartflex provides
                                                                                                                                   a functionality that
                                                                                                                                   allows the Utility to
                                                                                                                                   enter and store address
                                                                                                                                   information such as
                                                                                                                                   house number,
                                                                                                                                   fractional house
                                                                                                                                   number, direction,
                                                                                                                                   street name, unit
                                                                                                                                   number, suffix, street
                                                                                                                                   type, and apartment
                                                                                                                                   number. However, these
                                                                                                                                   are not stored as
    l) Zip Code +4                                                    A                       Yes         System tools     8.0     individual fields since
                                                                                                                                   the system is capable of
                                                                                                                                   using the USPS address
                                                                                                                                   validation service for the
                                                                                                                                   identification of the
                                                                                                                                   customer's premise
                                                                                                                                   address.

                                                                                                                                   Additional work will be
                                                                                                                                   required if this is
                                                                                                                                   mandatory.




                                                                          Page 128 of 391
                                                                          Response Template                                                             C-41
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 182 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                                  Version      Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

                                                                                                                                                 Open Smartflex
                                                                                                                                                 validates every address
                                                                                                                                                 against an external
                                                                                                                                                 database with the
                                                                                                                                                 purpose of address
    System provides the ability to have a field for each of the above
                                                                              A                       Yes          System tools          8.0     normalization. The
    items.
                                                                                                                                                 returned normalized
                                                                                                                                                 address is stored as a
                                                                                                                                                 string in a single text
                                                                                                                                                 field.

    System provides the ability to have multiple meters that are
    associated to one account with different location and/or                  A                       Yes      Products and services     8.0
    identification information.
                                                                                                                                                 Open Smartflex has the
                                                                                                                                                 ability of billing for
                                                                                                                                                 totalized consumption
                                                                                                                                                 using totalizing meters
    System provides the ability to have virtual services for the                                                                                 (Master meters) and
                                                                              A                       Yes             Billing            8.0
    purpose of billing for totalize consumption.                                                                                                 user-defined billing rules
                                                                                                                                                 that distribute
                                                                                                                                                 consumption among sub-
                                                                                                                                                 services.

    System will provide for unique premises identification fields,
    including but not limited to dwelling type, services provided, X/Y        A                       Yes          System tools          8.0
    coordinates, city limits designation.



                                                                                  Page 129 of 391
                                                                                  Response Template                                                                  C-42
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 183 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                            Version     Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    System provides the     ability to add a single address into the
                                                                              A                       Yes         System tools     8.0
    system.
    System provides the     ability to add addresses en masse into the
                                                                              A                       Yes         System tools     8.0
    system.
    System provides the     ability to validate the creation of new
    addresses within the    system to eliminate duplicates or to              A                       Yes         System tools     8.0
    provide an override.
                                                                                                                                           Open Smartflex offers
                                                                                                                                           the company a premise
                                                                                                                                           attribute named "Type
                                                                                                                                           of premise" which is
    System to provide a premise comment field (e.g., barn,
                                                                              A                       Yes         System tools     8.0     generally used to
    building, etc.).
                                                                                                                                           indicate the type of
                                                                                                                                           building in the given
                                                                                                                                           address.

    System to provide built-in validation of USPS standards for
    street name, direction, and street type plus other standard               A                       Yes         System tools     8.0
    abbreviations.




                                                                                  Page 130 of 391
                                                                                  Response Template                                                          C-43
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 184 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                                    Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

                                                                                                                                                 Open Smartflex has the
                                                                                                                                                 ability to validate every
                                                                                                                                                 new address with
                                                                                                                                                 external databases using
                                                                                                                                                 APIs with the purpose of
                                                                                                                                                 address normalization.
                                                                                                                                                 Even if the addresses
    System to provide validation of E-911 addresses for service
                                                                            A                       Yes           System tools           8.0     fails the validation, the
    address with ability to override.
                                                                                                                                                 system will provide
                                                                                                                                                 override ability.

                                                                                                                                                 This also applies to 311
                                                                                                                                                 addresses.


    System to provide validation of 311 addresses for service
                                                                            A                       Yes           System tools           8.0
    address with ability to override.
    System to capture multiple address types, such as billing,
                                                                            A                       Yes      Sales and customer care     8.0
    seasonal etc.
    System to provide the ability to maintain seasonal start and end
    dates for alternate mailing addresses with the ability to revert        A                       Yes      Sales and customer care     8.0
    automatically based on a date or other fields.
    System to provide subordinate accounts the use of their own                                                Payment and debt
                                                                            A                       Yes                                  8.0
    mailing address, or the mailing address of the Master.                                                        collection
    System to provide the ability to accommodate multiple mailing
                                                                            A                       Yes      Sales and customer care     8.0
    names and addresses for multiple copies of the bill.



                                                                                Page 131 of 391
                                                                                Response Template                                                                     C-44
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 185 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                                    Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    System to provide the mailing address to allow for at least two
                                                                            A                       Yes      Sales and customer care     8.0
    ATTN or C/O fields/lines.
    System provides for batch validation and correction of USPS API
                                                                            A                       Yes           System tools           8.0
    / CASS certification of addresses.
    System accommodates foreign addresses that do not follow the
                                                                            A                       Yes           System tools           8.0
    USPS API / CASS certification.
                                                                                                                                                 Open Smartflex offers
                                                                                                                                                 the ability to validate,
                                                                                                                                                 using billing business
    System provides the ability to flag accounts with foreign                                                                                    rules, whether the mail
                                                                            A                       Yes      Sales and customer care     8.0
    addresses for extra postage.                                                                                                                 address is located in a
                                                                                                                                                 place that requires extra
                                                                                                                                                 postage.

     Other Customer Account Data
                                                                                                                                                 Accounts, customers,
                                                                                                                                                 premises, and services
                                                                                                                                                 have different pre-
                                                                                                                                                 established statuses in
                                                                                                                                                 the system that allow
    System provides the ability to independently track the status of                                                                             the company to identify
    the account, customer, premises and service(s), including but           A                       Yes      Sales and customer care     8.0     their current situation in
    not limited to active, inactive, final, pending, new, other.                                                                                 relation to technical and
                                                                                                                                                 financial condition. This
                                                                                                                                                 feature includes inactive
                                                                                                                                                 status.




                                                                                Page 132 of 391
                                                                                Response Template                                                                     C-45
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 186 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                                    Version   Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    System provides the capability to independently track account
    attributes on the account, customer, premises and service(s)
    including but not limited to the following: delinquent,                 A                       Yes      Sales and customer care     8.0
    collections, income, temporary, write-off, bankruptcy, bad debt,
    renewables, net metering, user-defined
    System to provide the ability to create and define configurable
                                                                            A                       Yes           System tools           8.0
    data fields without system programming.
    System to provide the ability to have and use multiple alert
                                                                            A                       Yes           System tools           8.0
    codes.
    System captures account information online for the following:
    a) Detailed View of Master Account and Associated Sub                                                      Payment and debt
                                                                            A                       Yes                                  8.0
    Accounts                                                                                                      collection
    b) Detailed View of a Customer that is Associated to Multiple
                                                                            A                       Yes      Sales and customer care     8.0
    Accounts. Accounts Billed Separately and in Different Routes
    System captures the history of products / services / rebates,
                                                                            A                       Yes      Sales and customer care     8.0
    etc., provided for a customer.




                                                                                Page 133 of 391
                                                                                Response Template                                                           C-46
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 187 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                             Is Functionality   Name of System
                                                                                               Included in      or Module That
                         Requirement Description                          Vendor Score                                                    Version      Vendor Notes
                                                                                              Price? (Yes or     Provides This
                                                                                                   No)           Functionality

                                                                                                                                                    Open Smartflex provides
                                                                                                                                                    the ability to model
                                                                                                                                                    customer surveys as
                                                                                                                                                    activities and survey
                                                                                                                                                    fields as fulfillment
                                                                                                                                                    properties of those
                                                                                                                                                    activities. Each survey
                                                                                                                                                    field may be set as an
                                                                                                                                                    open question or
    System captures information obtained by a customer                                                                                              restricted to a drop-
                                                                                                                     Field service
    survey/audit, such as number of units, fixture type, date,                 A                       Yes                                  8.0     down list, and the
                                                                                                                     management
    results.                                                                                                                                        answer will be validated
                                                                                                                                                    according to user-
                                                                                                                                                    defined rules.

                                                                                                                                                    Field technicians will
                                                                                                                                                    enter the answers to the
                                                                                                                                                    questionnaires when
                                                                                                                                                    closing the orders.



                                                                                                                                                    The Non-technical losses
    System captures any tampering history at the customer level.               A                       Yes         Fraud prevention         8.0
                                                                                                                                                    functionality associates
    System to provide the ability to select preferred method of
                                                                               A                       Yes      Sales and customer care     8.0
    communication formats (e.g., paper, electronic, SMS, etc.)
    System to provide unlimited customer types/class for
                                                                               A                       Yes      Sales and customer care     8.0
    differentiation, such as residential, commercial, industrial, other


                                                                                   Page 134 of 391
                                                                                   Response Template                                                                   C-47
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 188 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                              Is Functionality   Name of System
                                                                                                Included in      or Module That
                         Requirement Description                           Vendor Score                                                    Version   Vendor Notes
                                                                                               Price? (Yes or     Provides This
                                                                                                    No)           Functionality

    System captures the original date when the customer moved in
                                                                                A                       Yes      Sales and customer care     8.0
    and all services were activated.
    System to provide the ability to enter, display and track billing
                                                                                A                       Yes      Sales and customer care     8.0
    delivery method, such as mail, EBPP, SMS/Text, other
    System to provide the ability to enter, display and track
                                                                                                                   Payment and Debt
    payment method for a customer, including mail, EBPP, ACH,                   A                       Yes                                  8.0
                                                                                                                      collection
    credit card, web, IVR, other
    System to provide the ability to capture tax exempt certificate
                                                                                A                       Yes              Billing             8.0
    number.
    System to provide method of notification for expired tax exempt
                                                                                A                       Yes              Billing             8.0
    certificates.
    System to provide the ability to capture internal credit rating
    based upon user-defined criteria (e.g. # NSF's, late payments,              A                       Yes      Sales and customer care     8.0
    etc.).
    System provides the ability to automatically change the
                                                                                                                   Payment and debt
    payment type to "Cash Only" based on a user-defined number                  A                       Yes                                  8.0
                                                                                                                      collection
    of NSFs, with a built-in override.
                                                                                                                  Device and materials
    System to capture meter information at the premises level.                  A                       Yes                                  8.0
                                                                                                                     management
    System provides the ability to capture multiple contact
    information associated to the service address, including tenant,            A                       Yes      Sales and customer care     8.0
    property manager, owner, other.
    System provides the option for the customer to select the type
                                                                                A                       Yes      Sales and customer care     8.0
    of bill (bill choice), for example, a summary bill or detailed bill.
    System provides the ability to view customer rate information
    on the primary CSR Screen to include base rate, tiered, usage,              A                       Yes                                  8.0
    demand, energy, other:

                                                                                    Page 135 of 391
                                                                                    Response Template                                                           C-48
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 189 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                                    Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

                                                                                                                                                 The system provides the
                                                                                                                                                 ability to view customer
                                                                                                                                                 balance information on
                                                                                                                                                 the customer care
                                                                                                                                                 screen. In addition, it
                                                                                                                                                 also shows the product
                                                                                                                                                 offering that determines
    p) Power Factor Charge                                                  A                       Yes      Sales and customer care     8.0
                                                                                                                                                 customer rates.

                                                                                                                                                 This also applies to the
                                                                                                                                                 next two items (below).




    q) Renewable Energy Charge                                              A                       Yes      Sales and customer care     8.0

    r) Facility Charge (Annual for supporting street lights)                A                       Yes      Sales and customer care     8.0

    s) User-defined                                                         A                       Yes      Sales and customer care     8.0

    System provides the ability to attach a recorded call, email and
                                                                            A                       Yes      Sales and customer care     8.0
    documents to the customer record
     Service(s) Generation

    System provides a unique identifier for each service type.              A                       Yes      Sales and customer care     8.0

    System displays services available within a user-defined range
                                                                            A                       Yes      Sales and customer care     8.0
    for new and existing services.


                                                                                Page 136 of 391
                                                                                Response Template                                                                    C-49
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 190 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                                    Version      Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

                                                                                                                                                Open Smartflex allows
                                                                                                                                                the service provider to
                                                                                                                                                visualize rates, their
                                                                                                                                                validity period and
    System provides a view of rates and billing schedules for
                                                                           A                       Yes              Billing             8.0     criteria used to identify
    services that are being activated.
                                                                                                                                                the value to be applied
                                                                                                                                                over a specific billing
                                                                                                                                                item.

    System provides the ability to prevent a user from activating a
    service that has been removed from the premises (i.e.,                 A                       Yes      Sales and customer care     8.0
    abandoned property).




                                                                               Page 137 of 391
                                                                               Response Template                                                                      C-50
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 191 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                       Is Functionality   Name of System
                                                                                         Included in      or Module That
                         Requirement Description                    Vendor Score                                                    Version      Vendor Notes
                                                                                        Price? (Yes or     Provides This
                                                                                             No)           Functionality

                                                                                                                                              Open Smartflex allows
                                                                                                                                              the service provider to
                                                                                                                                              establish the criteria
                                                                                                                                              used to identify the rate
                                                                                                                                              to be applied over a
                                                                                                                                              specific billing item.
                                                                                                                                              These criteria have been
    System must be able to capture specific rate determinants
                                                                                                                                              defined according to
    (e.g., service, customer class, usage type, consumption
                                                                                                                                              industry best practices,
    level/history, capacity, meters, and timing) that allow the          A                       Yes              Billing             8.0
                                                                                                                                              but they can be changed
    system to correctly assign a default rate with the proper
                                                                                                                                              by the Utility according
    amount of reporting to notify users of the change.
                                                                                                                                              to its business needs.
                                                                                                                                              For example, service
                                                                                                                                              class, commercial plan,
                                                                                                                                              category, and
                                                                                                                                              subcategory.



    System has the flexibility for manually overriding rate
                                                                         A                       Yes      Sales and customer care     8.0
    determinates based on specific situations.
    System provides the ability to create and store a new service
                                                                         A                       Yes           System tools           8.0
    address without all premise attributes.
    System provides the ability to capture and identify temporary
    service locations for the following:
    a) Seasonal Sites                                                    A                       Yes      Sales and customer care     8.0

    b) New Construction                                                  A                       Yes      Sales and customer care     8.0


                                                                             Page 138 of 391
                                                                             Response Template                                                                    C-51
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 192 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                                    Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    c) Other User Defined Sites                                             A                       Yes      Sales and customer care     8.0

    d) Date of original service enrollment                                  A                       Yes      Sales and customer care     8.0

    e) Based on Length of Temporary Service                                 A                       Yes      Sales and customer care     8.0
                                                                                                                                                 Open Smartflex allows
                                                                                                                                                 the company the
                                                                                                                                                 configuration of forms
                                                                                                                                                 for different requests.
    System to provide the ability for the utility to define required
                                                                            A                       Yes       Products and services      8.0     This configuration
    data fields.
                                                                                                                                                 includes the definition
                                                                                                                                                 of required and
                                                                                                                                                 additional fields.

    System to provide for service activation and termination history
    to be maintained and reviewable for a minimum of 7 years,               A                       Yes      Sales and customer care     8.0
    independent of the customer activity.
    Memos and Notes
    System provides an automatic log entry for history of customer
                                                                            A                       Yes      Sales and customer care     8.0
    name changes in the system.
    System provides an automatic log entry for history of customer
                                                                            A                       Yes      Sales and customer care     8.0
    mailing address changes in the system.
    System to capture User-ID, and a Date and Time stamp that
                                                                            B                       Yes      Sales and customer care     8.0
    the memo or note was made.
    System provides security levels for allowing add, edit, and
                                                                            B                       Yes      Sales and customer care     8.0
    delete functions for memos or notes.


                                                                                Page 139 of 391
                                                                                Response Template                                                                     C-52
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 193 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                                    Version   Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    System to provide for free-form notes and remarks.                        B                       Yes      Sales and customer care     8.0
    System to provide for an unlimited amount of memos or notes
    and remarks on a customer, premises, account, services and                B                       Yes      Sales and customer care     8.0
    meters.
    System to provide the ability to categorize notes and remarks
                                                                              B                       Yes      Sales and customer care     8.0
    based on user-defined criteria.
    System to provide the online ability for sorting and displaying
                                                                              B                       Yes      Sales and customer care     8.0
    notes and remarks based upon category, date, etc.
    System to provide the online ability to identify critical or
    permanent notes / remarks. These notes/remarks are exempt                 B                       Yes      Sales and customer care     8.0
    from purge / archive.
    System to provide the ability to produce a system generated
    note or memo based upon user-defined account activity or                  B                       Yes      Sales and customer care     8.0
    condition.
    System provides the ability to automatically or manually purge
    notes or memos after a user-defined time frame and proper                 B                       Yes      Sales and customer care     8.0
    security.
    System provides the ability to have expiration dates on user-
                                                                              B                       Yes      Sales and customer care     8.0
    defined notes that can be setup at the time of creation.

    System provides the ability to display all notes that are
                                                                              B                       Yes      Sales and customer care     8.0
    associated to a customer, regardless of their specific account.
    System provides the ability to display, log, and respond to all e-
    mails communications? that are associated to a customer,                  B                       Yes      Sales and customer care     8.0
    regardless of their specific account.



                                                                                  Page 140 of 391
                                                                                  Response Template                                                           C-53
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 194 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                                    Version     Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

    System has the ability to provide (or disable) spell check and
                                                                             B                       Yes      Sales and customer care     8.0
    word-wrapping ability for entering notes or memos.
    System will, with a certain business, a copy of the email is sent                                                                             Open Smartflex provides
                                                                             A                       Yes      Sales and customer care     8.0
    to the internal account representative.                                                                                                       the ability to set up
    Master and Sub-Accounts
    System to provide the ability to associate sub-accounts to a                                                Payment and Debt                  Open Smartflex allows
                                                                             A                       Yes                                  8.0
    master account or to multiple sub-accounts.                                                                    collection                     the company to define
    System to provide the ability for the sub-account to be                                                                                       association between
                                                                                                                Payment and debt
    associated or disassociated to the master account at any time            A                       Yes                                  8.0
                                                                                                                   collection
    during the billing month.
    System to provide the ability to maintain credit history of sub-
                                                                             A                       Yes      Sales and customer care     8.0
    accounts independently from the master account.
    System to provide the ability to maintain the credit history of
                                                                             A                       Yes      Sales and customer care     8.0
    the master account independently from the sub-accounts.
    System to provide financial and reading history independently
                                                                             A                       Yes      Sales and customer care     8.0
    or collectively for master and sub-accounts.
    System provides an online view of a master and its associated
                                                                                                                Payment and debt
    sub-accounts, that includes accounts, premises, and balances             A                       Yes                                  8.0
                                                                                                                   collection
    detail, etc.
    System provides the ability to establish a master account for
                                                                                                                Payment and debt
    statement and reporting purposes only. Actual billing and                A                       Yes                                  8.0
                                                                                                                   collection
    payment takes place on the sub-account level.
    System provides the ability to establish a master account for                                               Payment and debt
                                                                             A                       Yes                                  8.0
    consolidation of billing and payments.                                                                         collection
     Customer Calls




                                                                                 Page 141 of 391
                                                                                 Response Template                                                                   C-54
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 195 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                                    Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

    System has the ability to link with an interactive voice response
                                                                             A                       Yes      Sales and customer care     8.0
    system.
    System provides the ability to pre-populate the primary
                                                                             A                       Yes      Sales and customer care     8.0
    customer information screen from inbound calls.
                                                                                                                                                  Open Smartflex offers a
                                                                                                                                                  functionality for
    System provides the ability to track all customer contacts
                                                                             A                       Yes      Sales and customer care     8.0     registering every
    online.
                                                                                                                                                  interaction with the
                                                                                                                                                  customer.

    System captures date and time of when customer called.                   A                       Yes      Sales and customer care     8.0

    System captures notes relating to the nature of the call.                A                       Yes      Sales and customer care     8.0




                                                                                 Page 142 of 391
                                                                                 Response Template                                                                   C-55
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 196 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                                    Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

                                                                                                                                                  The Customer Care
                                                                                                                                                  module allows the
                                                                                                                                                  company to manage
                                                                                                                                                  different types of
                                                                                                                                                  contacts including
                                                                                                                                                  complaints and
                                                                                                                                                  inquiries. This option
    System provides the ability to classify a resolution type for the                                                                             manages statuses,
                                                                             A                       Yes      Sales and customer care     8.0
    call, including inquiry, complaint, other.                                                                                                    registration causes and
                                                                                                                                                  type of answers
                                                                                                                                                  (whether they are a
                                                                                                                                                  customer or a company
                                                                                                                                                  issue) allowing the
                                                                                                                                                  Utility to track the
                                                                                                                                                  situation of each one.


    System provides the ability to capture resolution date and time.         A                       Yes      Sales and customer care     8.0

    System to provide an online form for supervisors to monitor
                                                                             A                       Yes      Sales and customer care     8.0
    open contacts by CSR-ID.
    System provides the ability to create reports for customer call
                                                                             A                       Yes      Sales and customer care     8.0
    information.




                                                                                 Page 143 of 391
                                                                                 Response Template                                                                   C-56
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 197 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                      Is Functionality   Name of System
                                                                                        Included in      or Module That
                         Requirement Description                   Vendor Score                                                    Version      Vendor Notes
                                                                                       Price? (Yes or     Provides This
                                                                                            No)           Functionality

                                                                                                                                             The Customer Care
                                                                                                                                             module allows the
                                                                                                                                             company to manage
                                                                                                                                             different types of
                                                                                                                                             contacts. On the one
                                                                                                                                             hand, the system allows
                                                                                                                                             service provider to
    System will provide the ability to provide user-defined call                                                                             define types of request
                                                                        A                       Yes      Sales and customer care     8.0
    types.                                                                                                                                   to address customer
                                                                                                                                             needs. In addition, it
                                                                                                                                             facilitates to specify a
                                                                                                                                             type of comment or an
                                                                                                                                             interaction channel for
                                                                                                                                             each contact with
                                                                                                                                             customers.

     Customer Conversation Scripting




                                                                            Page 144 of 391
                                                                            Response Template                                                                    C-57
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 198 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                                    Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

                                                                                                                                                  Open Smartflex will
                                                                                                                                                  allow the Utility to
                                                                                                                                                  define and modify
                                                                                                                                                  verification guidelines
                                                                                                                                                  with single and multiple
    System provides the ability to create, store, and present scripts                                                                             response questions. The
                                                                             A                       Yes      Sales and customer care     8.0
    for calls that the CSR's can follow.                                                                                                          Utility can use these
                                                                                                                                                  guidelines to build the
                                                                                                                                                  requests that the
                                                                                                                                                  business requires.




                                                                                 Page 145 of 391
                                                                                 Response Template                                                                    C-58
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 199 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                    Is Functionality   Name of System
                                                                                      Included in      or Module That
                         Requirement Description                 Vendor Score                                                    Version      Vendor Notes
                                                                                     Price? (Yes or     Provides This
                                                                                          No)           Functionality

                                                                                                                                           The Utility is provided
                                                                                                                                           with the ability to design
                                                                                                                                           its own verification
                                                                                                                                           guidelines according to
                                                                                                                                           type of service, using
                                                                                                                                           answers in order to
                                                                                                                                           define the following
                                                                                                                                           questions. If the type of
    System provides the ability to configure scripts by
                                                                      A                       Yes      Sales and customer care     8.0     service is included as an
    product/service and the type of call.
                                                                                                                                           answer, the verification
                                                                                                                                           guideline will show the
                                                                                                                                           next questions
                                                                                                                                           according to the answer
                                                                                                                                           previously selected.




                                                                          Page 146 of 391
                                                                          Response Template                                                                     C-59
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 200 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                                    Version      Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

                                                                                                                                                Open Smartflex provides
                                                                                                                                                the ability to design the
                                                                                                                                                questions showed in the
                                                                                                                                                verification guidelines
                                                                                                                                                according to the
                                                                                                                                                answers previously
    System provides the ability to have scripts prompt users of key                                                                             selected in the request
                                                                           A                       Yes      Sales and customer care     8.0
    data capture questions related to the issue.                                                                                                registration. The Utility
                                                                                                                                                can use these guidelines
                                                                                                                                                to build the requests
                                                                                                                                                that the business
                                                                                                                                                require.



                                                                                                                                                Open Smartflex provides
                                                                                                                                                the ability to design
                                                                                                                                                verification guidelines
                                                                                                                                                with no limit on the
    System provides the ability to have up to 20 questions for each                                                                             number of questions.
                                                                           A                       Yes      Sales and customer care     8.0
    script type.                                                                                                                                The Utility can use these
                                                                                                                                                guidelines to build the
                                                                                                                                                requests that the
                                                                                                                                                business require.

    Account Operations/Manipulation
    System to provide the ability to activate one or more specific
                                                                           A                       Yes      Sales and customer care     8.0
    services without others.



                                                                               Page 147 of 391
                                                                               Response Template                                                                    C-60
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 201 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                                    Version   Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

    System provides the ability to terminate any flat rate service
                                                                             A                       Yes       Products and services      8.0
    and start metered service without programming.
    System to provide the ability to alert the user of customers that
                                                                             B                       Yes           System tools           8.0
    have alert codes (e.g., cash only, confidential, etc.).
    System to provide the integration of captured e-mail address for
                                                                             A                       Yes      Sales and customer care     8.0
    delivery of bills and notices electronically.
    System to provide the ability to notify user of unused but
    available products, services, programs, etc. for potential cross-        A                       Yes      Sales and customer care     8.0
    or up-sales.
    System to provide the ability to associate customer to special
    service offerings such as budget billing, water budgets, energy          B                       Yes      Sales and customer care     8.0
    or water efficiency, other.
    System to provide the ability to set up an installment plan for
                                                                                                                Payment and debt
    services provided with a fixed total amount due, monthly                 A                       Yes                                  8.0
                                                                                                                   collection
    payment amount, and fixed end date.
    System to provide the ability to set up an installment plan for
    charitable contributions, with a fixed or unlimited total amount         A                       Yes              Billing             8.0
    due, monthly payment amount, and fixed or unlimited end date.
    System to provide the ability to setup and maintain recurring                                               Payment and debt
                                                                             A                       Yes                                  8.0
    bank drafting.                                                                                                 collection
    System provides the ability to setup the EFT draft date x                                                   Payment and debt
                                                                             A                       Yes                                  8.0
    number of days from the bill date.                                                                             collection
    System provides the ability to establish a preferred EFT draft                                              Payment and debt
                                                                             A                       Yes                                  8.0
    date that will override the system bill EFT draft date.                                                        collection




                                                                                 Page 148 of 391
                                                                                 Response Template                                                           C-61
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 202 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                                    Version   Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    System to provide the ability to require certain identification
    and/or personal information during the account creation and             A                       Yes      Sales and customer care     8.0
    maintenance process.
    System to provide the ability to transfer customers from one
                                                                            A                       Yes      Sales and customer care     8.0
    premises to another, maintaining existing customer information.
    System to provide the ability to create a new customer and
                                                                            A                       Yes      Sales and customer care     8.0
    transfer services from an existing customer to the new
    System to provide the ability to request one or more services to
                                                                            A                       Yes      Sales and customer care     8.0
    be terminated with a date certain (final-off).
    System to provide the ability to automatically identify and
                                                                            A                       Yes            Framework             8.0
    report accounts with no activity for a specified period of time.
    Account Display
    System to provide the ability to view historical financial
    information when creating a new account, whether the historical         A                       Yes      Sales and customer care     8.0
    information is active, in collections, or written off.
    System provides the ability to view the following online:
    a) Accounts Receivable History                                          A                       Yes            Framework             8.0

    b) Payment History 84 Months                                            A                       Yes      Sales and customer care     8.0

    c) Adjustment History                                                   A                       Yes      Sales and customer care     8.0

    d) Deposit History                                                      A                       Yes      Sales and customer care     8.0




                                                                                Page 149 of 391
                                                                                Response Template                                                           C-62
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 203 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                       Is Functionality   Name of System
                                                                                         Included in      or Module That
                         Requirement Description                    Vendor Score                                                    Version     Vendor Notes
                                                                                        Price? (Yes or     Provides This
                                                                                             No)           Functionality

                                                                                                                                              By using customer care
                                                                                                                                              module, CSR can access
                                                                                                                                              to the simple interest
                                                                                                                                              history per each
    e) Simple Interest History                                           A                       Yes      Sales and customer care     8.0     customer, identifying
                                                                                                                                              the charges associated
                                                                                                                                              with interests in the
                                                                                                                                              credit history.


    f) Payment Plans and Status                                          A                       Yes      Sales and customer care     8.0

    g) Payment Plan Historical Information                               A                       Yes      Sales and customer care     8.0
                                                                                                            Payment and debt
    h) Current Accounts Receivable Charges and Due Dates                 A                       Yes                                  8.0
                                                                                                               collection
                                                                                                                                              Open Smartflex does not
                                                                                                                                              need statuses for
                                                                                                                                              payments because they
                                                                                                                                              are applied online into
    i) Current Payment Transactions not yet Dispersed / Posted to                                           Payment and debt                  the system. When
                                                                         A                       Yes                                  8.0
    Accounts Receivable                                                                                        collection                     payment agencies
                                                                                                                                              report payments, the
                                                                                                                                              information is updated
                                                                                                                                              immediately.


    j)   Account Billing History                                         A                       Yes      Sales and customer care     8.0



                                                                             Page 150 of 391
                                                                             Response Template                                                                   C-63
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 204 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                                    Version   Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    k) Service Order History                                                  A                       Yes      Sales and customer care     8.0

    l)   Open Service Orders                                                  A                       Yes      Sales and customer care     8.0

    m) Active Products/Services for a Customer or Premises                    A                       Yes      Sales and customer care     8.0

    n) Metered and Billed Consumption across Associated Meters                A                       Yes      Sales and customer care     8.0

    o) Metered and Billed Consumption across Associated Services              A                       Yes      Sales and customer care     8.0

    p) Metered and Billed Consumption across Associated Accounts              A                       Yes      Sales and customer care     8.0

    q) Metered and Billed Consumption for Individual Meters or
                                                                              A                       Yes      Sales and customer care     8.0
    Services
    r) Metered and Billed Consumption across multiple Multi-
    Registers. (i.e. TOU or Net metering) (This includes functionality        A                       Yes      Sales and customer care     8.0
    that goes up and down, across accounts)
    s) Customer Calls, Memos, Notes History                                   B                       Yes      Sales and customer care     8.0

    t) Credit History by Customer                                             A                       Yes      Sales and customer care     8.0
    System has the ability to export all consumption history in a
                                                                              A                       Yes            Framework             8.0
    standard file format to the desktop.
    System provides the ability to view history of bad payments
    (NSF, slow pay, etc.) received on an account for a user-defined           A                       Yes            Framework             8.0
    time period.




                                                                                  Page 151 of 391
                                                                                  Response Template                                                           C-64
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 205 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                           Version      Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

                                                                                                                                       Every product
                                                                                                                                       associated with an
                                                                                                                                       account has a status
                                                                                                                                       that reflects the current
    System provides the ability to flag accounts that have active
                                                                           A                       Yes           Billing       8.0     account details. Based
    recurring charges.
                                                                                                                                       on this, products with
                                                                                                                                       active recurring charges
                                                                                                                                       can be identified easily.

                                                                                                                                       Open Smartflex will
                                                                                                                                       allow the Utility to
                                                                                                                                       define the validity
                                                                                                                                       period for each rate,
                                                                                                                                       including the start and
                                                                                                                                       stop dates for billing
    System provides the ability to establish and track the end-date
                                                                           A                       Yes         Framework       8.0     purposes. Moreover,
    of recurring charges.
                                                                                                                                       special charges can be
                                                                                                                                       billed for specific
                                                                                                                                       accounts or products in
                                                                                                                                       just one billing period,
                                                                                                                                       considering the start
                                                                                                                                       date only.




                                                                               Page 152 of 391
                                                                               Response Template                                                            C-65
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 206 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                                 Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

                                                                                                                                              Open Smartflex provides
                                                                                                                                              the ability to upload
                                                                                                                                              templates and designs
                                                                                                                                              to generate bills from a
                                                                                                                                              directory placed in a
    System provides the ability to link to and display bill images                                                                            server that belongs to
                                                                            A                       Yes             Billing           8.0
    stored outside the CIS/OSS system.                                                                                                        the local network.

                                                                                                                                              This also applies to the
                                                                                                                                              next item (below).


    System provides the ability to list available linked bill images
                                                                     A                              Yes             Billing           8.0
    according to search, filter, and sort criteria.
    Customer Web Information - leave detail and roll up for counting purposes
    System to provide the ability to store encrypted “PIN” numbers,
    for security reasons, in order to prevent unauthorized access to        A                       Yes       Self-service portal     8.0
    the customers' Web Self-Service accounts.
    System to provide the ability to track a customer's encrypted
                                                                            G                       No
    security password for Web Self-Service.




                                                                                Page 153 of 391
                                                                                Response Template                                                                  C-66
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 207 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                        Is Functionality   Name of System
                                                                                          Included in      or Module That
                         Requirement Description                     Vendor Score                                                    Version      Vendor Notes
                                                                                         Price? (Yes or     Provides This
                                                                                              No)           Functionality

                                                                                                                                               Open Smartflex allows
                                                                                                                                               customers to change
                                                                                                                                               their passwords after
    System to provide the ability to store a 'hint' question and                                                                               confirmation of
                                                                          A                       Yes         Self-service portal      8.0
    answer for web self-service.                                                                                                               generated PIN codes
                                                                                                                                               that are sent to their
                                                                                                                                               emails.

                                                                                                                                               OpenSmartflex allows
                                                                                                                                               customers to reset their
                                                                                                                                               own password without
                                                                                                                                               CSR intervention. The
                                                                                                                                               CSR can assist customers
                                                                                                                                               indicating how to
    Ability for a designated CSR to reset a customer's security                                                                                proceed. This approach
                                                                          A                       Yes         Self-service portal      8.0
    password for web self-service.                                                                                                             ensures customers to
                                                                                                                                               rely on the Utility
                                                                                                                                               procedures to protect
                                                                                                                                               the confidentiality of
                                                                                                                                               sensitive information



    Landlord/Tenant Information
    System to provide the ability to setup, change, delete and/or
    revert-to-landlord, the active customer when a tenant is final        A                       Yes      Sales and customer care     8.0
    billed.




                                                                              Page 154 of 391
                                                                              Response Template                                                                    C-67
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 208 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                                    Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    System provides the ability to recognize/modify/waive service
                                                                            A                       Yes      Sales and customer care     8.0
    initiation fees for addresses reverting to a landlord's name.
    System to provide the ability to mass setup, change and delete
                                                                            A                       Yes      Sales and customer care     8.0
    landlord and revert-to information.
                                                                                                                                                 Open Smartflex provides
                                                                                                                                                 the ability to schedule a
                                                                                                                                                 specific date for stop
    System to provide the ability to establish an effective time
                                                                            A                       Yes      Sales and customer care     8.0     service with the purpose
    period for revert-to functionality.
                                                                                                                                                 of executing the revert-
                                                                                                                                                 to-landlord process.

    System provides the ability to view the landlord history at the
                                                                            A                       Yes      Sales and customer care     8.0
    premises.
    System to provide the ability where accounts on owner’s revert-
    to program will automatically transfer into landlord name, after        A                       Yes      Sales and customer care     8.0
    a tenant closes the account.
    Special Contracts
    System captures special negotiated service contract rates.              A                       Yes      Sales and customer care     8.0




                                                                                Page 155 of 391
                                                                                Response Template                                                                    C-68
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 209 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                                    Version      Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

                                                                                                                                                The basic contract
                                                                                                                                                information can be
                                                                                                                                                entered directly in the
                                                                                                                                                account attributes,
                                                                                                                                                other billing and
                                                                                                                                                management
                                                                                                                                                information is created
                                                                                                                                                within functionalities
                                                                                                                                                given in the solution.
                                                                                                                                                SLAs can be configured
                                                                                                                                                to be automatically
                                                                                                                                                assigned depending on
    System captures any contract information, for example, but not                                                                              the type of customer,
    limited to: SLA's, Business partners, equipment maintenance,                                                                                type of request, among
                                                                           A                       Yes      Sales and customer care     8.0
    contract status, credit & collection details, special minimums,                                                                             other characteristics.
    special facility tariffs, etc.                                                                                                              Special minimums,
                                                                                                                                                tariffs and other billing
                                                                                                                                                conditions are part of
                                                                                                                                                the product offering and
                                                                                                                                                rates, and credit &
                                                                                                                                                collections activities are
                                                                                                                                                configurable in the
                                                                                                                                                solution. All other
                                                                                                                                                contract-related
                                                                                                                                                information would be
                                                                                                                                                evaluated and
                                                                                                                                                addressed with the
                                                                                                                                                proper functionality

                                                                               Page 156 of 391
                                                                               Response Template                                                                     C-69
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 210 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                      Is Functionality   Name of System
                                                                                        Included in      or Module That
                         Requirement Description                   Vendor Score                                                    Version      Vendor Notes
                                                                                       Price? (Yes or     Provides This
                                                                                            No)           Functionality

    System to provide the ability to view historical financial
    information when creating a new account with a special
                                                                        A                       Yes      Sales and customer care     8.0
    contract, whether the historical information is active, in
    collections, or written off
    System provides the ability to assign special discount codes
    (contract) at the customer level to follow the customer for         A                       Yes      Sales and customer care     8.0
    income, assistance, medical, other.
                                                                                                                                             Open Smartflex offers
                                                                                                                                             the ability to have user-
                                                                                                                                             defined type of
                                                                                                                                             customer. Based on the
                                                                                                                                             above, special discounts
    d) Economic Development (where rate reflects the discount)          A                       Yes      Sales and customer care     8.0     can be configured in the
                                                                                                                                             Product Offering for
                                                                                                                                             Economic Development
                                                                                                                                             customers.



    System provides the ability to track low income accounts
                                                                        A                       Yes      Sales and customer care     8.0
    through visual account identifiers.
                                                                                                                                             Open Smartflex allows
                                                                                                                                             to have user-defined
    System provides the ability to track SHARE/HEAP, Lifeline,
                                                                                                                                             types of customer which
    Economic Development and other user-defined accounts,               A                       Yes      Sales and customer care     8.0
                                                                                                                                             can be visualized in the
    through separate visual account identifiers.
                                                                                                                                             CSR screen.

     Product Generation



                                                                            Page 157 of 391
                                                                            Response Template                                                                     C-70
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 211 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                                    Version      Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

                                                                                                                                                Open Smartflex uses
                                                                                                                                                unique identifiers for
    System provides a unique identifier for each product type.             A                       Yes      Sales and customer care     8.0
                                                                                                                                                each customer's
                                                                                                                                                product.
                                                                                                                                                Through billing and
                                                                                                                                                product management
                                                                                                                                                modules, Open
                                                                                                                                                Smartflex allows the
    System provides a view of rates and billing schedules for                                                                                   service provider to
                                                                           A                       Yes      Sales and customer care     8.0
    services/products that are being activated.                                                                                                 visualize the rate
                                                                                                                                                (product offer) and
                                                                                                                                                billing information (such
                                                                                                                                                as cycle, periods).

                                                                                                                                                Open Smartflex, through
                                                                                                                                                the customer care
                                                                                                                                                module, offers the
                                                                                                                                                company the option to
    System has the flexibility for manually overriding rates                                                                                    change the commercial
                                                                           A                       Yes      Sales and customer care     8.0
    determinants, based on specific situations.                                                                                                 plan to installed
                                                                                                                                                products in the
                                                                                                                                                customer.



    System provides the ability to capture date of original product
                                                                           A                       Yes      Sales and customer care     8.0
    purchase.




                                                                               Page 158 of 391
                                                                               Response Template                                                                     C-71
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 212 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                      2.0 Account, Customer & Premise Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                                    Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

    System provides the ability for user-definable fields.                   A                       Yes      Sales and customer care     8.0
    System provides the ability to set up an installment plan for
    products/equipment sales/rental with a fixed total amount due,
                                                                             B                       Yes      Sales and customer care     8.0
    monthly payment amount, simple or compound interest, and
    with a fixed end-date.
                                                                                                                                                  Open Smartflex allows
                                                                                                                                                  the Utility to define
                                                                                                                                                  different product
    System to provide the ability to associate customer to special
                                                                                                                                                  offerings, including the
    product offerings such as descounts, levelized payments,                 A                       Yes       Products and services      8.0
                                                                                                                                                  charge rates and
    efficiency, donations.
                                                                                                                                                  discounts needed for
                                                                                                                                                  billing purposes.

                                                                                                                                                  The Customer Care
                                                                                                                                                  module offers the
                                                                                                                                                  company the option to
                                                                                                                                                  transfer the financial
    System to provide the ability to create a new customer and then                                                                               obligations to a new
    transfer / inactivate product(s) from an existing customer to the        A                       Yes      Sales and customer care     8.0     customer from a
    new customer.                                                                                                                                 specified date, making
                                                                                                                                                  this new customer
                                                                                                                                                  responsible for the
                                                                                                                                                  provided service.




                                                                                 Page 159 of 391
                                                                                 Response Template                                                                     C-72
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 213 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               3.0 Customer Self Service

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                                 Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

    On-line Internet Account Setup
    System to provide the ability for customers to create their own
                                                                             A                       Yes       Self-service portal     8.0
    profile, including user name and password.
                                                                                                                                               Open Smartflex allows
                                                                                                                                               customers to change
                                                                                                                                               their passwords after
    System provides the ability to change Pin or Password using a                                                                              confirmation of
                                                                             A                       Yes       Self-service portal     8.0
    security question.                                                                                                                         generated PIN codes
                                                                                                                                               that are sent to their
                                                                                                                                               emails.

    System would require authentication, using an account/PIN
    combination, when linking an account or group of accounts to a           A                       Yes       Self-service portal     8.0
    user name.
    System to provide the ability to provide email confirmation and
                                                                             A                       Yes       Self-service portal     8.0
    user ID information in real-time, automatically.
    System to provide the ability to link accounts online.                   A                       Yes       Self-service portal     8.0
    System to provide the ability to require username/password to
                                                                             A                       Yes       Self-service portal     8.0
    access account information.
    System to provide the ability to relate multiple customer
                                                                             A                       Yes       Self-service portal     8.0
    accounts to one online account.
    System supports Spanish language and presentation (Customer-
                                                                             A                       Yes       Self-service portal     8.0
    preferred language preference).
    System will allow for removal of items not needed by the utility
                                                                             A                       Yes       Self-service portal     8.0
    (e.g., tabs, certain features, functionality, etc.).
    System will allow for the web self-service customer to initiate a
                                                                             A                       Yes       Self-service portal     8.0
    request to change the customer's name on the account.



                                                                                 Page 160 of 391
                                                                                 Response Template                                                                 C-73
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 214 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                3.0 Customer Self Service

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                                 Version   Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    System will allow for the web self-service customer to initiate a
                                                                              A                       Yes       Self-service portal     8.0
    request to change the customer's mailing address.
    In the event the customer has more than one address, the
    system will allow the web self-service customer to initiate a
                                                                              A                       Yes       Self-service portal     8.0
    request to "pick and choose" which address to change, from a
    drop-down list of all addresses.
    System will allow for internal links (hyperlinks) to shared
                                                                              A                       Yes       Self-service portal     8.0
    documents, images, websites, and other media.
    System will allow for external links (hyperlinks) to shared
                                                                              A                       Yes       Self-service portal     8.0
    documents, images, websites, and other media.
    Entire online web self-care system will be customized for the
    utility including the exact same "look-and-feel" on all pages as
    the utility's website. This includes colors, fonts and
                                                                              A                       Yes       Self-service portal     8.0
    background, branding, logo, headlines, style sheet, display of
    content, frames, lists, drop down menus, sidebars and display
    of HTML tables.
    Online Internet Account Actions
    System to provide the ability to set up recurring checking and /
                                                                              A                       Yes       Self-service portal     8.0
    or savings account payment drafts online (ACH).
    System to provide the ability to set up recurring credit / debit
                                                                              A                       Yes       Self-service portal     8.0
    card payments online.
    System to provide the ability to modify recurring credit / debit
                                                                              A                       Yes       Self-service portal     8.0
    card information online.
    System to provide the ability to modify recurring checking /
                                                                              A                       Yes       Self-service portal     8.0
    savings account information online.
    System provides the ability to notify the customer if their credit
                                                                              A                       Yes       Self-service portal     8.0
    / debit card information is nearing expiration date.



                                                                                  Page 161 of 391
                                                                                  Response Template                                                        C-74
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 215 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                3.0 Customer Self Service

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                                 Version      Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    System provides the ability to pay a one-time payment via
                                                                              A                       Yes       Self-service portal     8.0
    credit card, checking or savings account
    System provides options for payment-type, based on the
    previous payment history. For example, if the customer used a
    different credit card last month and but prefers to use a                 A                       Yes       Self-service portal     8.0
    different card this month. Then the system will mask all
    numbers except the last four digits.
    System to provide the ability for new customers to enter all
    required and optional customer account information, in order to           A                       Yes       Self-service portal     8.0
    establish themselves as new customers.
    System to provide the ability to require employee approval of
                                                                              A                       Yes       Self-service portal     8.0
    new customers, prior to establishing a customer in the system.
    System to provide the ability to update mailing address, phone
    number, or other user-defined, customer account fields online.
                                                                              A                       Yes       Self-service portal     8.0
    Any changes will be captured, including old value / new values
    and change source, etc.
    System to provide the ability for online account updates to be                                                                              Open Smartflex is an
    available, in real-time, for access to display the most current           A                       Yes       Self-service portal     8.0     integrated solution that
    field / element value.                                                                                                                      allows online
    System to provide the ability for online account updates to be                                                                              The system has a
    available, in a real-time approval queue for access to display the        A                       Yes       Self-service portal     8.0     workflow functionality
    most current element value.                                                                                                                 that allows definition of
    System to provide the ability to prevent a customer from
    performing an online, self-service function, if an alert code or
                                                                              A                       Yes       Self-service portal     8.0
    restriction exists for that customer and that function (e.g., Cash
    Only customer attempting to make a payment online).
    System to provide the ability to accept a payment online.                 A                       Yes       Self-service portal     8.0


                                                                                  Page 162 of 391
                                                                                  Response Template                                                                  C-75
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 216 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               3.0 Customer Self Service

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                                 Version   Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    System to provide the ability to post a payment real-time.                A                       Yes       Self-service portal     8.0
    System to provide the ability to accept payments to specific
                                                                              A                       Yes       Self-service portal     8.0
    services/products online.
    System to provide the ability to accept specific recurring or one-
    time Energy Assistance Program, Green Power, or other user-               A                       Yes       Self-service portal     8.0
    defined program, etc., contributions on their account.
    System to provide the ability to remove specific recurring
    Energy Assistance Program, Green Power, Good Neighbor or                  A                       Yes       Self-service portal     8.0
    other user-defined program, etc., contributions on their
    System to provide the ability to post payment to specific
    commodity and/or non-commodity charges on an account                      A                       Yes       Self-service portal     8.0
    online.




                                                                                  Page 163 of 391
                                                                                  Response Template                                                        C-76
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 217 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                              3.0 Customer Self Service

                                                                                        Is Functionality   Name of System
                                                                                          Included in      or Module That
                         Requirement Description                     Vendor Score                                           Version      Vendor Notes
                                                                                         Price? (Yes or     Provides This
                                                                                              No)           Functionality

                                                                                                                                      OpenSmartflex identifies
                                                                                                                                      the origin of credits and
                                                                                                                                      according to this
                                                                                                                                      information it defines if
                                                                                                                                      they are applicable on
                                                                                                                                      the outstanding balance
                                                                                                                                      or remain as credit ;
                                                                                                                                      e.g., the deposit
                                                                                                                                      payment will remain as
                                                                                                                                      credit until it is decided
                                                                                                                                      to be applied on the
                                                                                                                                      outstanding balance for
    System provides the ability to hold credit payments that were                                                                     the same account or
    applied to a specific service. This credit balance will not be        A                       Yes           Billing       8.0     make a refund to the
    applied to outstanding balances.                                                                                                  customer.

                                                                                                                                      In addition,
                                                                                                                                      OpenSmartflex allows
                                                                                                                                      the Utility to have a
                                                                                                                                      customer with different
                                                                                                                                      accounts conceding the
                                                                                                                                      convenience of handling
                                                                                                                                      separately outstanding
                                                                                                                                      balances by services by
                                                                                                                                      not applying credits
                                                                                                                                      originated by a service
                                                                                                                                      from one account to
                                                                                                                                      another.


                                                                              Page 164 of 391
                                                                              Response Template                                                            C-77
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 218 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                3.0 Customer Self Service

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                                 Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    System to provide the ability to post deposit payments to
                                                                            A                       Yes       Self-service portal     8.0
    account online.
                                                                                                                                              Open Smartflex provides
                                                                                                                                              the ability to prioritize
                                                                                                                                              charge payments,
    System will apply payments to a pending deposit amount first                                                                              including pending
                                                                            A                       Yes       Self-service portal     8.0
    before applying to outstanding balances.                                                                                                  deposit amount,
                                                                                                                                              according to the
                                                                                                                                              payment priority
                                                                                                                                              defined by the Utility.
    System provides total amount needed to be paid, to avoid
    service being disconnected, with an option to pay the indicated         A                       Yes       Self-service portal     8.0
    amount (minimum amount due).
    System to provide the ability for customers to sign-up for
                                                                            A                       Yes       Self-service portal     8.0
    budget billing or other payment plans.
    System to provide the ability for customers to sign-up for
                                                                            A                       Yes       Self-service portal     8.0
    levelized payment plan.
    System provides the ability to select preferred due date, within
    specific guidelines specified by business processes. Preferred
                                                                            A                       Yes       Self-service portal     8.0
    due date will continue until customer requests a change or
    cancellation.
    System to provide the ability to change bill type and other
                                                                            B                       Yes       Self-service portal     8.0
    options as offered by the utility.
    System to provide the ability to request products and services
                                                                            A                       Yes       Self-service portal     8.0
    online.
    System to provide the ability to signup for utility specific
                                                                            A                       Yes       Self-service portal     8.0
    newsletter.




                                                                                Page 165 of 391
                                                                                Response Template                                                                 C-78
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 219 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                3.0 Customer Self Service

                                                                                             Is Functionality   Name of System
                                                                                               Included in      or Module That
                         Requirement Description                          Vendor Score                                                 Version   Vendor Notes
                                                                                              Price? (Yes or     Provides This
                                                                                                   No)           Functionality

    System to provide the ability to initiate Trouble Ticket
    (example: electric outage, etc.) that goes to an internal online           A                       Yes       Self-service portal     8.0
    work queue for review.
    System to provide the ability to direct trouble ticket to 3rd-party
                                                                               A                       Yes       Self-service portal     8.0
    application.
    System to provide the ability to generate service orders based
    upon user-defined parameters that upon manual/automatic                    A                       Yes       Self-service portal     8.0
    approval may or may not be created.
    Systems displays a change history log.                                     A                       Yes       Self-service portal     8.0
    System to provide the ability to review pending service orders.
                                                                               A                       Yes       Self-service portal     8.0
    (ability to select which orders to see)
    System to provide the ability to request a payment plan
    (payment arrangement) online and a promise to pay with                     A                       Yes       Self-service portal     8.0
    appropriate internal controls and business practices.
    System to provide the ability to request and generate a letter of
                                                                               A                       Yes       Self-service portal     8.0
    credit online.
    System to provide the ability to schedule service appointments
                                                                               A                       Yes       Self-service portal     8.0
    online.
    System to provide the ability for a customer to request a
                                                                               A                       Yes       Self-service portal     8.0
    transfer from one premise to another.
    System to provide the ability for a customer to request a turn-
                                                                               A                       Yes       Self-service portal     8.0
    on at a premise.
    System to provide the ability to request a product or service be
                                                                               A                       Yes       Self-service portal     8.0
    turned off or discontinued.
    Online request can be submitted to an online work queue or
                                                                               A                       Yes       Self-service portal     8.0
    processed real time.




                                                                                   Page 166 of 391
                                                                                   Response Template                                                        C-79
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 220 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             3.0 Customer Self Service

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                                 Version   Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

    System provides the ability to see all payment plans that the
    customer has had. The system will also display on a single
    screen the ability to see status of active payment arrangement,
                                                                           A                       Yes       Self-service portal     8.0
    number of payment arrangements in a user defined time period,
    number of payment arrangements successfully completed and
    number of payment arrangements missed/defaulted.
    System to allow user to set up deferred payment plans based
    on fixed dollar amount per month in addition to current bill           A                       Yes       Self-service portal     8.0
    amount.
    System to allow the set up of payment plans for accounts
                                                                           A                       Yes       Self-service portal     8.0
    according to a utility-defined status and conditions.
    System to allow flexibility to modify payment plan installment
    amounts and due dates - according to utility-defined status and        A                       Yes       Self-service portal     8.0
    conditions.
    System provides the ability to extend payment terms and dates
    with certain utility-defined status, conditions, and that is           A                       Yes       Self-service portal     8.0
    approved/rejected through the use of an online work queue.
    System logs all emails or online requests on Customer /
                                                                           A                       Yes       Self-service portal     8.0
    Account.
    Customer Self-Service system provides the ability to accept
    payment and process donations, contributions and conservation          A                       Yes       Self-service portal     8.0
    programs for city-wide services.
     Online Internet Analysis
    System to provide the ability to run comparisons of 2 years
                                                                           A                       Yes       Self-service portal     8.0
    consumption online.




                                                                               Page 167 of 391
                                                                               Response Template                                                        C-80
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 221 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             3.0 Customer Self Service

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                                 Version   Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    System to provide the ability to input any two or more service
    addresses and run comparisons of consumption history for a              A                       Yes       Self-service portal     8.0
    single account holder.
    System to provide the ability to view service-specific meter
                                                                            A                       Yes       Self-service portal     8.0
    readings online.
    System to provide the ability to view service-specific
                                                                            A                       Yes       Self-service portal     8.0
    consumption information online.
    System to provide the ability to run comparisons of
                                                                            A                       Yes       Self-service portal     8.0
    consumption by billing period online.
    System to provide the ability to run comparisons of
                                                                            A                       Yes       Self-service portal     8.0
    consumption by weather conditions online.
    System to provide the ability to run comparisons of
                                                                            A                       Yes       Self-service portal     8.0
    consumption by season.
    System to provide the ability to run comparisons of monthly bill
    amounts and consumption for a user-specified number of                  A                       Yes       Self-service portal     8.0
    months.
    System to provide the ability to run comparisons of monthly bill
    amounts and consumption for a user-specified number of                  A                       Yes       Self-service portal     8.0
    months by weather conditions.
    System to provide the ability to run comparisons of related
    accounts for single account holder, by monthly bill amount for a        A                       Yes       Self-service portal     8.0
    user-specified number of months in history.
    System to provide the ability to run comparisons of related
    accounts by geography, e.g., zip code, area code, phone prefix,         A                       Yes       Self-service portal     8.0
    etc.
    System to provide the ability to highlight billing exceptions
                                                                            A                       Yes       Self-service portal     8.0
    online.
    System to provide the ability to set up account bill amount
                                                                            A                       Yes       Self-service portal     8.0
    exception criteria online.


                                                                                Page 168 of 391
                                                                                Response Template                                                        C-81
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 222 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               3.0 Customer Self Service

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                                 Version   Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    System to provide the ability to set up account consumption
                                                                              A                       Yes       Self-service portal     8.0
    exception criteria online.
    System to provide the ability to display negative credit impact
                                                                              A                       Yes       Self-service portal     8.0
    events online.
    System to provide the ability to run "what if" payment terms.             A                       Yes       Self-service portal     8.0
    System to provide the ability to view real-time pricing for
                                                                              A                       Yes       Self-service portal     8.0
    customer comparison on the web.
    System to provide the ability to export consumption and billing
    data for a 2-year period and importing into an Excel type                 A                       Yes       Self-service portal     8.0
    format.
    System to provide the ability to calculate real-time rate
    modeling for commodity sales as well as non-commodity
    product/service price modeling. In addition, system should allow          B                       Yes       Self-service portal     8.0
    for an individual account to have its bill calculated online under
    different rates to determine which is least costly.

     Online Internet Display/Views
    System to provide the ability to view account history online
                                                                              A                       Yes       Self-service portal     8.0
    (statement of account).
    System to provide the ability to view account financial
                                                                              A                       Yes       Self-service portal     8.0
    transaction history for over 24 months.
    System to provide the ability to view current amount due and
    due date, amount past due and due date, payment schedules                 A                       Yes       Self-service portal     8.0
    and due dates and total balance due and due date.

    System to provide the ability to view current statement online.           A                       Yes       Self-service portal     8.0



                                                                                  Page 169 of 391
                                                                                  Response Template                                                        C-82
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 223 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               3.0 Customer Self Service

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                                 Version   Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    System to provide the ability to view and print the most current
                                                                              A                       Yes       Self-service portal     8.0
    bill or statement online.
    System to provide the ability to view and print a selected bill or
                                                                              A                       Yes       Self-service portal     8.0
    statement up to 24-months or more prior online.
    System to provide the ability to view service specific metered
                                                                              A                       Yes       Self-service portal     8.0
    and billed consumption for 24-months or more of history online.
    System to provide the ability to view service specific non-
    metered and billed consumption for 24-months or more of                   A                       Yes       Self-service portal     8.0
    history online.
    System to provide the ability to view credit status online.               B                       Yes       Self-service portal     8.0
    System to provide the ability to view current status of service
                                                                              A                       Yes       Self-service portal     8.0
    appointments online.
    System to provide the ability to view total Customer-Account-
                                                                              A                       Yes       Self-service portal     8.0
    Premise-Meter relationship.
    System to provide the ability to view high-level service order
    information online ( e.g., date initiated, status, type of SO,            A                       Yes       Self-service portal     8.0
    anticipated work date, close date, etc.).
    System provides the ability to display date and time a payment
                                                                              A                       Yes       Self-service portal     8.0
    was made through the WEB or IVR.
    System to provide the ability to view posted payment history
                                                                              A                       Yes       Self-service portal     8.0
    including date, time, and amount.
    System supports the capture of on-site safety or necessary
    information (e.g., pool, dog, dog temperament, pool                       A                       Yes       Self-service portal     8.0
    information, etc.).
    System supports the capturing of marital status.                          A                       Yes       Self-service portal     8.0
    System supports the capturing of employer information,
                                                                              A                       Yes       Self-service portal     8.0
    including: employer name, title, start date, address and phone.



                                                                                  Page 170 of 391
                                                                                  Response Template                                                        C-83
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 224 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                              3.0 Customer Self Service

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                                    Version   Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    System to provide the ability to change user id, password,
                                                                            A                       Yes       Products and services      8.0
    phone number, email address and alternate email address.
    System provides for optional program enrollment/disenrollment
    for energy assistance programs, green power, paperless billing /
    EBPP, conservation/efficiency measures, rebate programs as              A                       Yes      Sales and customer care     8.0
    defined in the Conservation and Rebate tab, and other user
    defined programs.
    System provides for optional program enrollment/disenrollment
    for net metering, monthly billing options, and preferred rate           A                       Yes         Self-service portal      8.0
    code.
    Internet Criteria
    System to provide the ability to send customers email or SMS
    messages based on the customer profile (e.g., Budget bill,              A                       Yes         Self-service portal      8.0
    Levelized, Payment plan, ACH, etc.).
    System to provide the ability to provide email or SMS
    notification for account reminders, payment arrangements, high-         A                       Yes         Self-service portal      8.0
    use detection (with AMI), appointments, etc.
    System to provide the ability to provide email or SMS
                                                                            A                       Yes         Self-service portal      8.0
    notification of online profile changes.
    System to provide the ability for CSR to observe online user's
                                                                            A                       Yes         Self-service portal      8.0
    screen when engaged on call with same user.
    System to provide the ability to display messages based upon
                                                                            B                       Yes         Self-service portal      8.0
    customer status/services/un-used available services, etc.
    System to provide the ability to conduct an online discussion
                                                                            A                       Yes         Self-service portal      8.0
    session with a customer (web chat).
    Interactive Voice Response



                                                                                Page 171 of 391
                                                                                Response Template                                                           C-84
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 225 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                     3.0 Customer Self Service

                                                                                             Is Functionality   Name of System
                                                                                               Included in      or Module That
                         Requirement Description                          Vendor Score                                                  Version      Vendor Notes
                                                                                              Price? (Yes or     Provides This
                                                                                                   No)           Functionality

    System to provide the     ability to provide account data via IVR
                                                                               A                       Yes       Self-service portal      8.0
    interface.
    System to provide the     ability to accept payment via IVR
                                                                               A                       Yes       Self-service portal      8.0
    interface.
    System to provide the     ability to accept service request via IVR
                                                                               A                       Yes       Self-service portal      8.0
    interface.
    System to provide the     ability to log IVR interface access in
                                                                               A                       Yes       Self-service portal      8.0
    customer history.
    Broadband
    System to provide the     ability to order Internet, Phone, and                                                                               OpenSmartflex provides
                                                                               A                       Yes       Self-service portal      8.0
    Video services online.                                                                                                                        tools that allow the
    System to provide the     ability to determine if services are                                                                                OpenSmartflex allows
                                                                               A                       Yes       Self-service portal      8.0
    available.                                                                                                                                    the Utility to determine
    System to provide the     ability to create and track a trouble-
                                                                               A                       Yes       Self-service portal      8.0
    ticket.
    System to provide the     ability to view current promotions and
                                                                               A                       Yes       Self-service portal      8.0
    bundles.
    System to provide the ability to change service.                           A                       Yes       Self-service portal      8.0
    System to provide the ability to self troubleshoot via a web
                                                                               G                       No
    work-flow.
    System to provide the ability to request a call back.                      A                       Yes      Products and services     8.0
    System to provide the abilty to reset a password for an
                                                                               A                       Yes      Products and services     8.0
    integreted system, such as email, voice mail, etc.
    System to provide the ability to view phone usage data, such as                                                                               OpenSmartflex allows
                                                                               A                       Yes             Rating             8.0
    summarized Long Distance.                                                                                                                     the Utility to manage




                                                                                   Page 172 of 391
                                                                                   Response Template                                                                  C-85
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 226 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               3.0 Customer Self Service

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                                  Version     Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

    System to provide the abilty for the customer to "Click to dial".        G                       No
                                                                                                                                                OpenSmartflex provides
    System to provide the ability to access "TV Everywhere".                 A                       Yes      Products and services     8.0
                                                                                                                                                tools that allow the




                                                                                 Page 173 of 391
                                                                                 Response Template                                                                C-86
                                                                                           Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 227 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               4.0 Credit and Collections

                                                                                       Is Functionality   Name of System
                                                                                         Included in      or Module That
                      Requirement Description                           Vendor Score                                             Version      Vendor Notes
                                                                                        Price? (Yes or     Provides This
                                                                                             No)           Functionality

    System Requirements
    System provides the ability to maintain a record of open                                               Payment and debt
                                                                             A               Yes                                   8.0
    accounts receivable indefinitely.                                                                         collection
    System will retain searchable history on accounts with any
                                                                             A               Yes             System tools          8.0
    balance for more than 84-months.
    System provides the ability to view on-screen a listing of at
    least 84 (user-defined) months transactions on a specific
                                                                             A               Yes              Framework            8.0
    account. These transactions include adjustments, payments,
    meter transactions, database changes, etc.
    System provides the ability for the system to maintain all
    account receivable charges regardless of debit or credit in their        A               Yes                 Billing           8.0
    original state at time of billing.
    A/R Processing
                                                                                                                                           The system allows the
                                                                                                                                           company to define the
                                                                                                                                           payment distribution
                                                                                                                                           priority at different
                                                                                                                                           levels including billing
                                                                                                                                           items. By using this level
                                                                                                                                           any payment made will
    System provides the ability to allocate partial payments based
                                                                                                                                           be allocated to the
    on service for Priority, Due Date to Oldest Date, Weighed                                              Payment and debt
                                                                             A               Yes                                   8.0     oldest bill first and
    Percentage, Prioritize any combination of these, and/or User                                              collection
                                                                                                                                           inside it, the system will
    Defined Order.                                                                                                                         allocate the payment
                                                                                                                                           according to each billing
                                                                                                                                           item based on the
                                                                                                                                           defined priority.




    System provides the ability to accept overpayments with                                                Payment and debt
                                                                             A               Yes                                   8.0
    automatic generation of proper accounting entries.                                                        collection
    System provides the ability to provide for positive (or negative)
                                                                             A               Yes                 Billing           8.0
    billing adjustments with audit trail.
    System provides the ability to manually transfer balances on
                                                                             A               Yes                 Billing           8.0
    inactive accounts to other accounts, with a clear audit trail.
    System will allow overpayments to remain as a credit on the
    account with automatic generation of proper accounting                   A               Yes           Financial interface     8.0
    entries.
    System provides the ability to automatically create an edit
                                                                                                           Payment and debt
    report to approve final credit balance refunds. Refund dates are         A               Yes                                   8.0
                                                                                                              collection
    user-defined.
    System has the ability to retain a credit balance on an account,
                                                                                                           Payment and debt
    regardless of account status or other automated refund                   A               Yes                                   8.0
                                                                                                              collection
    parameters.
    System provides the ability to have a grace period between the
                                                                             G               No
    last payment date and the issuance of a refund check.
    System provides the ability to issue a credit refund regardless
                                                                                                           Payment and debt
    of the balance due on the account in the event of a payment              A               Yes                                   8.0
                                                                                                              collection
    made in error.
    System provides the ability request a check to be cut for any
                                                                                                           Payment and debt
    specified amount regardless of balance of account but not to             A               Yes                                   8.0
                                                                                                              collection
    exceed the credit balance on the account.
    System provides the ability to make the appropriate journal                                            Payment and debt
                                                                             A               Yes                                   8.0
    entries to the general ledger when refunds are made.                                                      collection
    System to allow user to code bankruptcy date, identify prior
                                                                                                           Payment and debt
    amount for write off, and system will ignore all amounts due             A               Yes                                   8.0
                                                                                                              collection
    prior to the bankruptcy date.
    System should generate refunds of final bill credits or                                                Payment and debt
                                                                             A               Yes                                   8.0
    overpayments.                                                                                             collection
    System provides the ability to automatically generate security
                                                                                                           Payment and debt
    deposit refunds as a credit to the account based on pre-defined          A               Yes                                   8.0
                                                                                                              collection
    rules.
    System provides the ability to automatically generate security
                                                                                                           Payment and debt
    deposit refunds as a check to the customer based on pre-                 A               Yes                                   8.0
                                                                                                              collection
    defined rules.
    A/R Adjustments
    System provides the ability to post adjustments to accounts                                            Payment and debt
                                                                             A               Yes                                   8.0
    that have been written off.                                                                               collection
    System provides on-screen interactive adjustment process,
                                                                             A               Yes                 Billing           8.0
    including review and approval prior to posting.
    System provides the ability to set dollar limits of adjustments
    that will not be applied to the customers account. The                   A               Yes                 Billing           8.0
    adjustments will be placed in a queue for approval.

    System provides an audit trail of all adjustments that include
    the following: Dollar Amount, User ID that Created, Modified,
                                                                             A               Yes                 Billing           8.0
    and/or Deleted, and approved the Adjustment with date and
    time stamp and Reason or reason code or comment.
    System provides the ability to track entry and posting date
    fields and the name of the program or process that generated             A               Yes                 Billing           8.0
    the adjustment.
    System provides the ability to notify a defined reviewer when a
    predetermined number of adjustments have been made by a                  A               Yes                 Billing           8.0
    single user.
                                                                                                                                           Open Smartflex will
                                                                                                                                           allow the Utility to bill
                                                                                                                                           generated charges that
                                                                                                                                           were not previously
                                                                                                                                           billed, generate new
    System provides the ability to accommodate back billing for                                                                            consumption charges in
    multiple periods with an adjustable start and end date using             A               Yes                 Billing           8.0     order to adjust
    rates effective during back billing time frame.                                                                                        estimated usage
                                                                                                                                           charges when actual
                                                                                                                                           readings are finally
                                                                                                                                           obtained, and correct
                                                                                                                                           the billed amounts.

    System supports sending and reversing transactions to the
                                                                             A               Yes           Financial interface     8.0
    general ledger.
    Selected users can transfer deposits from one account to
                                                                             A               Yes                 Billing           8.0
    another with audit trail.
    System provides the ability to transfer individual A/R line items
                                                                             A               Yes                 Billing           8.0
    from one account to another with audit trail based on security.

    System provides the ability to transfer entire A/R record from
                                                                             A               Yes                 Billing           8.0
    one account to another with audit trail and proper security.
    System provides the ability to transfer entire A/R items to a
    new account at the point of termination, a customer has the
    option to have their A/R transferred to a new billing account in
                                                                             A               Yes                 Billing           8.0
    accordance with Utility defined parameters. Initial bill at the
    new location will represent both the transferred A/R and new
    A/R.
    System provides a summary of the information on the bill that
                                                                             A               Yes                 Billing           8.0
    identifies all A/R-related items.




                                                                                                                                                                        Page 174 of 391
                                                                                                                                                                              Response Template   C-87
                                                                          Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 228 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




    System provides the ability to transfer a portion or any dollar
    amount of A/R items to a new account at the point of
    termination; a customer has the option to have their A/R
                                                                      A   Yes        Billing       8.0
    transferred to a new billing account in accordance with Utility
    defined parameters. Initial bill at the new location will
    represent both the transferred A/R and new A/R.
    System provides the ability to reverse a payment due to NSF or              Payment and debt
                                                                      A   Yes                      8.0
    other return.                                                                  collection
    System provides the ability to automatically charge a return
                                                                      A   Yes        Billing       8.0
    payment fee when the payment reversal is processed.
                                                                                                         Open Smartflex provides
                                                                                                         the ability to restore
    System provides the ability to override a charge for a payment                                       customers' debt due to
                                                                      A   Yes        Billing       8.0
    reversal.                                                                                            NSFs or other returned
                                                                                                         payments.

    System to allow a returned payment (NSF) fee to be a fixed
                                                                      A   Yes        Billing       8.0
    amount.
    System to allow a returned payment (NSF) fee to be a
                                                                      A   Yes        Billing       8.0
    percentage of the payment amount.
    System provides the ability to adjust all types of products /
                                                                      A   Yes        Billing       8.0
    service billing for the months that are in error.
    System provides the ability to view the previous 84 (user-
    defined) months adjustments, with complete details (e.g.,         A   Yes        Billing       8.0
    reading, number of months adjusted, remarks, etc.).
    System provides the ability to make adjustments on Accounts
                                                                      A   Yes        Billing       8.0
    Receivable by individual service.
    System provides the ability to make adjustments on Accounts
    Receivable for any charges on meter and non-meter products /      A   Yes        Billing       8.0
    services.
    System provides the ability to enter mass adjustments to a
                                                                      A   Yes        Billing       8.0
    range of Accounts, Services, Products and/or Cancel/Rebills.
    Late Fee Processing/Penalty
    System provides the ability to calculate and display minimum
                                                                                Payment and debt
    balance required and the last day to pay before further action    A   Yes                      8.0
                                                                                   collection
    may be taken.
    Automatically produce past due notices based upon customers'
                                                                                Payment and debt
    preferred method of communication and user-defined business       A   Yes                      8.0
                                                                                   collection
    rules.
    System sends email reminder notice if email is present and/or               Payment and debt
                                                                      A   Yes                      8.0
    otherwise a paper copy is sent.                                                collection
    System provides the ability to generate past due notices                    Payment and debt
                                                                      A   Yes                      8.0
    automatically based on age of receivable and status of account.                collection
    System provides the ability to assess late fees based on age of             Payment and debt
                                                                      A   Yes                      8.0
    receivables.                                                                   collection
    System provides the ability to calculate late fees as a fixed               Payment and debt
                                                                      A   Yes                      8.0
    amount or a percentage.                                                        collection
                                                                                                         Open Smartflex allows
                                                                                                         creation of special
                                                                                                         product offerings in
                                                                                                         order to include
                                                                                                         accounts that are
                                                                                                         exempt from late fees.
                                                                                                         Those product offerings
    System provides the ability to mark accounts that are exempt                Payment and debt
                                                                      A   Yes                      8.0   do not have business
    from late fees.                                                                collection
                                                                                                         rules for calculation of
                                                                                                         late fee surcharges.

                                                                                                         This also applies to the
                                                                                                         next item (below).



    System provides the ability to mark accounts that are exempt                Payment and debt
                                                                      A   Yes                      8.0
    from late fees by rate schedule/type.                                          collection
                                                                                Payment and debt
    System provides the ability to adjust late fees.                  A   Yes                      8.0
                                                                                   collection
    System provides the option to calculate and assess late fees,
                                                                                Payment and debt
    while the account has scheduled payment terms, on the unpaid      A   Yes                      8.0
                                                                                   collection
    balance.
    System provides the ability to calculate and assess a late fee              Payment and debt
                                                                      A   Yes                      8.0
    based upon non-compliance of payment plan terms.                               collection
                                                                                                         One-time late fee
                                                                                                         exemption for an
                                                                                                         account can be achieved
                                                                                                         by using billing
                                                                                                         adjustment notes that
                                                                                                         update customer
    System provides the ability to exempt an account from a late                                         balance. Open Smartflex
                                                                                Payment and debt
    fee with a one-time override in addition to letter and/or         A   Yes                      8.0   provides configuration
                                                                                   collection
    email/social media generation.                                                                       of collection plans that
                                                                                                         allow scheduling of
                                                                                                         customer notice (letter
                                                                                                         or email) generation.




    System provides the ability to establish a promise to pay date              Payment and debt
                                                                      A   Yes                      8.0
    that temporarily extends the date of the amount due.                           collection
    System provides the ability to place the account that has a                 Payment and debt
                                                                      A   Yes                      8.0
    promise to pay date out of the normal collection track.                        collection
                                                                                                         One-time late fee
                                                                                                         exemption for an
                                                                                                         account can be achieved
                                                                                                         by using billing
                                                                                                         adjustment notes that
                                                                                                         update customer
    System provides the ability to exempt an account from a late                Payment and debt
                                                                      A   Yes                      8.0   balance. Open Smartflex
    fee with a one time override with an audit trail.                              collection
                                                                                                         can track with audit
                                                                                                         trails any adjustment to
                                                                                                         customer balance made
                                                                                                         using billing notes.



    Delinquent Processing
                                                                                                         The search of
                                                                                                         delinquent receivable
                                                                                                         charges by account
                                                                                                         number or customer
                                                                                                         name is available on the
    System provides the ability to access through inquiry all
                                                                      A   Yes        Billing       8.0   customer care
    delinquent receivables charges for an account or a customer.
                                                                                                         management screen.
                                                                                                         For any other viewer, it
                                                                                                         would require additional
                                                                                                         configuration.

    System provides the ability to assess a late fee and leave
                                                                      A   Yes        Billing       8.0
    customer in collection stream yet not create a shut off.
    Provide the ability to exempt accounts to prevent them from
                                                                                Payment and debt
    going into delinquency status on a recurring basis (e.g.,         A   Yes                      8.0
                                                                                   collection
    Church, University, other agencies, etc.).
    System provides the ability to generate outbound collection                 Payment and debt
                                                                      A   Yes                      8.0
    calls, social media and/or email.                                              collection
    System generates an additional collection letter within a user-             Payment and debt
                                                                      A   Yes                      8.0
    defined time frame to include an additional charge.                            collection




                                                                                                                                    Page 175 of 391
                                                                                                                                          Response Template    C-88
                                                                             Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 229 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                                                                 Delinquent account
                                                                                                                 assignment to a
    System provides the ability to manually prevent a delinquent                    Payment and debt
                                                                         A   Yes                           8.0   collection agency can be
    account from being turned over to a collection agency.                             collection
                                                                                                                 overridden in the
                                                                                                                 system.
    System provides the ability to make adjustments to delinquent
                                                                         A   Yes          Billing          8.0
    accounts.
    System provides the ability to suspend the delinquency process
                                                                                    Payment and debt
    temporarily for an account in lieu of changing delinquency           A   Yes                           8.0
                                                                                       collection
    exemption permanently.
                                                                                                                 The Utility is able to
                                                                                                                 manage real and
                                                                                                                 exempt debt from
                                                                                                                 various debt collection
                                                                                                                 processes, such as
                                                                                                                 payment arrangements,
                                                                                                                 bankruptcy
                                                                                                                 proceedings, life
    System provides for setting up user-defined rules for dropping
                                                                                                                 support, high bill
    accounts from delinquent ledger for various reasons including
                                                                                                                 investigation (usage
    but not limited to: payment arrangements, bankruptcy                            Payment and debt
                                                                                                                 analysis) /bill disputes
                                                                         A   Yes                           8.0
    proceedings, life support, high bill investigation/bill disputes,                  collection
                                                                                                                 (claim), re-read order
    re-read order pending, payment extensions, under a certain                                                   pending, payment
    dollar amount, other user-defined circumstances.                                                             extensions, among
                                                                                                                 others. These rules are
                                                                                                                 part of Open Smartflex
                                                                                                                 core and are defined
                                                                                                                 according to the
                                                                                                                 industry best practices.



    System provides the ability to create delinquency exceptions
                                                                                    Payment and debt
    that will increase the duration of time before the next              A   Yes                           8.0
                                                                                       collection
    scheduled collection process.
    System provides the ability to notify both the primary and the                  Payment and debt
                                                                         A   Yes                           8.0
    secondary party when an account is delinquent.                                     collection
    System provides the ability to notify a 3rd-party when the                      Payment and debt
                                                                         A   Yes                           8.0
    account is delinquent.                                                             collection
    System provides the ability to automatically send selected
                                                                                    Payment and debt
    delinquent notices to the customer in addition to multiple third     A   Yes                           8.0
                                                                                       collection
    parties.
    System provides the ability to generate separate delinquent
    notices for accounts in Master metered relationships, i.e.                      Payment and debt
                                                                         A   Yes                           8.0
    apartments, mobile home parks and strip malls/commercial                           collection
    accounts.
    System provides the ability to charge collection cost based on
                                                                                    Payment and debt
    the delinquent activity to the Delinquent Ledger account or          A   Yes                           8.0
                                                                                       collection
    equivalent.
                                                                                                                 This information is
                                                                                                                 available on the
    System provides the ability to search for unpaid bills on the                                                customer care screen;
                                                                                    Payment and debt
    delinquent ledger or accounts receivable by name and social          A   Yes                           8.0   additional configuration
                                                                                       collection
    security number, etc.                                                                                        may be required to
                                                                                                                 show it on other
                                                                                                                 screens.

    System provides the ability to track Delinquent Ledger history                  Payment and debt
                                                                         A   Yes                           8.0
    billing even after payment has been made for up to 84 months.                      collection
    System provides the ability to automatically generate cut-off
    service orders for accounts based on user definable rules such                  Payment and debt
                                                                         A   Yes                           8.0
    as Age of Receivable, Cycle or Route, Dollar Amount, and by                        collection
    Area.
    System provides the ability to manually exempt an account                       Payment and debt
                                                                         A   Yes                           8.0
    from disconnect service order.                                                     collection
    System provides the ability to manually generate user-defined                   Payment and debt
                                                                         A   Yes                           8.0
    special cutoffs.                                                                   collection
    System provides the ability to apply a selected fee to the                      Payment and debt
                                                                         A   Yes                           8.0
    delinquent service order.                                                          collection
    System provides the ability to run a selection process that will
    optionally create final door hangers notices for delinquent
                                                                                    Payment and debt
    accounts based upon a variety of options, including but not          B   Yes                           8.0
                                                                                       collection
    limited to: Route, Minimum Balance, Maximum Number of
    Orders, Service Type, Age, and/or a combination of all listed.

    System will provide the capability of reinstating the account
    back into the accounts delinquency track when the reversal of        A   Yes          Billing          8.0
    the payment has been applied (e.g., returned check, etc.).
    System will provide the capability of reinstating the account
    back into the accounts delinquency track with an automatic
    grace period from when the reversal of the payment was               G   No
    applied. This allows for mailing of a customer notification time
    period.
    System provides the ability to automatically generate service
    orders to terminate remaining product and/or services after a
                                                                         A   Yes   Products and services   8.0
    designated time following cut off of a service for delinquency, if
    the delinquency remains unpaid.
    System provides the ability to produce and print delinquent                     Payment and debt
                                                                         A   Yes                           8.0
    door hangers.                                                                      collection
    System provides the ability to provide door hangers to include,
    but not limited to: Mailing Address, Telephone Number,
    Customer's Service Address, Account Number, Reason for the
    proposed termination, Total outstanding balance and past due
                                                                                    Payment and debt
    amount, due date and time to pay by, notice of additional            A   Yes                           8.0
                                                                                       collection
    deposit amount, notice of reconnect fee, special notes, and any
    other user defined fields. Notice must be printed in the
    following languages but not limited to: English, Spanish, Braille,
    Tagalog, Korean, and Vietnamese
    System provides the ability to filter based on Past Due
    Amounts and Cut off days determined by the business and                         Payment and debt
                                                                         A   Yes                           8.0
    create a generic file that can be sent to an IVR system to                         collection
    performoutbound dialing activities.
                                                                                                                 The Utility can define
                                                                                                                 debt collection plans
                                                                                                                 that exclude customers
                                                                                                                 from call outbound
    System provides the ability for accounts to be manually exempt                  Payment and debt
                                                                         A   Yes                           8.0   dialing. Additionally, a
    from being exported to an IVR system for outbound dialing.                         collection
                                                                                                                 customer can be
                                                                                                                 switched between
                                                                                                                 different plans.

    System provides the ability to filter based on Past Due
    Amounts and Cut Off Days determined by the business and
                                                                                    Payment and debt
    create a file that can be sent to email/social media/text            A   Yes                           8.0
                                                                                       collection
    messaging system (SMS) to perform utbound communication
    activities.
    System provides the ability for accounts to be manually exempt
                                                                                    Payment and debt
    from being exported to a text/SMS/social media systems for           A   Yes                           8.0
                                                                                       collection
    outbound communication.
    Write-Off
    System provides the ability to manually write-off selected                      Payment and debt
                                                                         A   Yes                           8.0
    charges.                                                                           collection




                                                                                                                                            Page 176 of 391
                                                                                                                                                  Response Template   C-89
                                                                            Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 230 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                                                                  With Open Smartflex,
                                                                                                                  each account that
                                                                                                                  matches one of the
                                                                                                                  write-off selection
                                                                                                                  policies is automatically
                                                                                                                  included in the write-off
                                                                                                                  list. The Utility can
                                                                                                                  manage policies without
    System provides the ability to automatically select accounts for
                                                                        A   Yes     Financial interface     8.0   Open intervention using
    write-off, based upon user-defined criteria.                                                                  criteria defined
                                                                                                                  considering the industry
                                                                                                                  best practices; e.g., age
                                                                                                                  of debt, amount of debt
                                                                                                                  and location.




    System provides the ability to track when and how much an
                                                                        A   Yes     Financial interface     8.0
    account was written off for.
    System provides the ability to view at the customer-level
                                                                        A   Yes     Financial interface     8.0
    historical write-offs for accounts that pertain to that customer.
                                                                                                                  Any account that has
                                                                                    Payment and debt              been written off can be
    Customers that have been written-off can be reactivated.            A   Yes                             8.0
                                                                                       collection                 reactivated with the
                                                                                                                  proper authority.
                                                                                                                  Open Smartflex will
                                                                                                                  include the amounts
                                                                                                                  that correspond to the
                                                                                                                  correction of payments
                                                                                                                  to prior-year in the
                                                                                                                  results of the period in
                                                                                                                  which they were
                                                                                                                  warned, then they will
                                                                                                                  be informed to ERP, A/P
                                                                                                                  or A/R based on the
    System provides the ability to display write-off amounts online                                               established integration.
                                                                        A   Yes     Financial interface     8.0
    and post payments to prior-year write-off ledger accounts.
                                                                                                                  Also, when a payment is
                                                                                                                  made to a write-off
                                                                                                                  invoice, the system
                                                                                                                  reactivates the client's
                                                                                                                  accounts receivables
                                                                                                                  and applies the paid
                                                                                                                  amount.




    System to flag user when a customer with write-off history                      Payment and debt
                                                                        C   Yes                             8.0
    wants to creating a new account.                                                   collection
                                                                                                                  Open Smartflex will
                                                                                                                  allow the Utility to
                                                                                                                  gather all the
                                                                                                                  information related to
                                                                                                                  debt (e.g., current
                                                                                                                  receivables, deferred
                                                                                                                  receivables, or write-off
                                                                                                                  receivables) in order to
    System provides ability to activate a customer account in write-                                              negotiate a new
                                                                        A   Yes     Financial interface     8.0
    off status without collecting the write-off amount.                                                           payment agreement
                                                                                                                  with the customer. In
                                                                                                                  such case, the
                                                                                                                  negotiation can include
                                                                                                                  a reduction in the
                                                                                                                  amount of billing
                                                                                                                  charges, such as the
                                                                                                                  write-off amount.

                                                                                                                  Open Smartflex allows
                                                                                                                  the Utility to bring
                                                                                                                  together all customer's
                                                                                                                  amounts debt such as
                                                                                                                  current receivables,
                                                                                                                  deferred receivables, or
                                                                                                                  write-off receivables in
    System prevents a user from re-activating a customer account                                                  order to negotiate a
    in write-off status without collecting the write-off amount, but    A   Yes     Financial interface     8.0   new payment
    with the option of override.                                                                                  agreement with the
                                                                                                                  customer. In such case,
                                                                                                                  the negotiation can
                                                                                                                  include reduction in the
                                                                                                                  amount of billing
                                                                                                                  charges (e.g. write-off
                                                                                                                  amount).

    System provides the ability to run the write-off batch process
                                                                        A   Yes     Financial interface     8.0
    within an hour window.
    Archive and Purge Records
    System provides the ability for selected users to archive billing
    and accounts receivable history based on user entered               A   Yes        System tools         8.0
    effective dates and balances.
    System provides the ability for selected users to archive
                                                                        A   Yes        System tools         8.0
    payment history based on user entered effective dates.
    System provides the ability for selected users to archive other
    financial and customer related information based upon user-         A   Yes        System tools         8.0
    defined criteria.
    System provides the ability to re-instate an archived record to
                                                                        A   Yes        System tools         8.0
    the active system.
                                                                                                                  Open Smartflex provides
                                                                                                                  a data purging
                                                                                                                  functionality to remove
    System provides the ability to purge selected records based                                                   selected records from
                                                                        A   Yes        System tools         8.0
    upon effective dates and user-defined criteria.                                                               the database,
                                                                                                                  considering specific
                                                                                                                  criteria and validity
                                                                                                                  periods.
                                                                                                                  Open Smartflex's data
                                                                                                                  purging functionality
                                                                                                                  backs up selected
                                                                                                                  records before these are
    System provides the ability to select user-defined dates to back
                                                                        A   Yes        System tools         8.0   removed from database.
    up prior to purging records.
                                                                                                                  Record selection criteria
                                                                                                                  are the same for back
                                                                                                                  up and purge processes.

    Credit Rating
    System provides the ability to automatically update credit
    history with NSF check data, number of delinquency notices,
                                                                        A   Yes   Sales and customer care   8.0
    and number of cut-off for non-pay service orders, breaking
    promises-to-pay, etc.
    System provides the ability for credit history of all accounts of
                                                                        A   Yes   Sales and customer care   8.0
    a customer to be evaluated at the customer level.




                                                                                                                                              Page 177 of 391
                                                                                                                                                    Response Template   C-90
                                                                            Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 231 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                                                                  Open Smartflex will
                                                                                                                  allow the Utility to
                                                                                                                  configure and generate
                                                                                                                  reports containing the
    System provides the ability to identify bankruptcy accounts by
                                                                        A   Yes   Sales and customer care   8.0   information of accounts
    the current bankruptcy status.
                                                                                                                  associated with
                                                                                                                  bankruptcy filings.



                                                                                                                  Open Smartflex stores
    System provides the ability to track the status of bankruptcy                                                 and updates the status
                                                                        A   Yes   Sales and customer care   8.0
    filings.                                                                                                      of registered bankruptcy
                                                                                                                  filings.
                                                                                                                  Open Smartflex displays
                                                                                                                  in customer account
    System provides the ability to track bankruptcy history in
                                                                        A   Yes   Sales and customer care   8.0   screen the bankruptcy
    customer account screen.
                                                                                                                  history of an account.

    System allows to establish rule driven overall credit score for a
                                                                        A   Yes   Sales and customer care   8.0
    customer.
    System allows to establish rule driven overall credit score for
                                                                        B   Yes   Sales and customer care   8.0
    an account.
    System automatically assess credit impact with user definable
                                                                        B   Yes   Sales and customer care   8.0
    point values for credit activities.
    System to provide capability to expire credit impact points over
                                                                        B   Yes   Sales and customer care   8.0
    time to positively restore credit score.
    System provides the ability to retrieve credit ranking from
    credit rating agency. CLIENT uses Equifax and the score is a
                                                                                    Payment and debt
    simple three tiered deposit decision - based upon the               A   Yes                             8.0
                                                                                       collection
    customer's overall credit score. There is an expectation that
    the interface to Equifax will be within the CIS.
    System allows for capability to allow refund of deposit fees to
                                                                                    Payment and debt
    be dependent on obtaining or maintaining adequate credit            A   Yes                             8.0
                                                                                       collection
    score.
                                                                                                                  Open Smartflex has the
    System will provide the option to create user-defined criteria to                                             ability to print
    consider a customer's/customer account's overall credit rating                                                additional messages on
                                                                        A   Yes        System tools         8.0
    and length of service with the utility to determine messaging                                                 customer bills that meet
    content and frequency of delinquent notification.                                                             user-defined criteria.

    Deposits

    System will provide the ability to assess a deposit by service.     A   Yes   Sales and customer care   8.0

    System will provide for a deposit-application hierarchy.            A   Yes   Sales and customer care   8.0

    System will support the ability to charge different deposit
    amounts for commercial and industrial customers, in particular
    based on SQFT, Type of Business, Services, Amount of
                                                                        A   Yes   Sales and customer care   8.0
    Anticipated Consumption by Service, Equipment (e.g., machine
    shops, motors, etc.), Lighting, Eco-Friendly Conditions, and
    Political or CLIENT Guarantees or Promises.
    System will provide for separate deposits to be reported for
                                                                        A   Yes   Sales and customer care   8.0
    individual services.
    System provides the ability to default deposit amount for
    selected services based upon user-defined criteria (e.g., type of   A   Yes   Sales and customer care   8.0
    service, number of services, Credit Bureau rating, etc.).
    System provides the ability to accept Line of Credit or Surety
    Bond information to satisfy the deposit requirement for non-        A   Yes   Sales and customer care   8.0
    residential accounts.
    System provides the ability to assess deposit by service.
    Separate deposits can be collected and reported for individual                  Payment and debt
                                                                        A   Yes                             8.0
    services. Must have way to insure the correct deposit is applied                   collection
    to the service.
    System allows a deposit for a single account and across
    multiple accounts. A customer can apply a single deposit to         A   Yes   Sales and customer care   8.0
    cover multiple premises.
    System will transfer existing deposit(s) to a new account or
    service. At the point of termination, a customer has the option
                                                                        A   Yes   Sales and customer care   8.0
    to have their deposit transferred to a new billing account in
    accordance with utility defined parameters.
    System allows for the transfer of the deposit to another
    account being opened by the customer when credit rating
                                                                        A   Yes   Sales and customer care   8.0
    warrants the need for an increased deposit if the customer
    transfers from one premises to another.
    System will calculate the deposit amount due at the new
    premises and alert the user as to the amount that the
    transferring deposit is over or short the new deposit               A   Yes   Sales and customer care   8.0
    requirement, if the customer transfers from one premises to
    another, with the ability to override.
    System provides calendar year interest paid to customer for
                                                                        A   Yes   Sales and customer care   8.0
    preparation of 1099-Interest forms.
    System provides the ability to have flexibility in calculating
    interest on deposits that is user controlled. Interest
                                                                        A   Yes   Sales and customer care   8.0
    calculations, calculation methods (simple), and accruals are
    determined by the user.
    System provides the ability to calculate interest on deposits
    that were paid in increments, calculating interest on each
                                                                        A   Yes   Sales and customer care   8.0
    increment based upon the date and amount of the deposit
    payment.
    System provides the ability to calculate a new deposit for
    services when transferred, taking into account credit history,
                                                                        A   Yes   Sales and customer care   8.0
    types of services, and customer type, with the ability to
    override.
    System has the ability to display accrued interest not yet paid
                                                                        A   Yes   Sales and customer care   8.0
    on deposits.
    System provides the ability for users to manually or
    automatically apply interest or deposit and interest to active      A   Yes   Sales and customer care   8.0
    accounts by service(s).
    System provides the ability to apply deposit and deposit                        Payment and debt
                                                                        A   Yes                             8.0
    interest to a bill on a user-defined interval and rate.                            collection
    System will evaluate current deposits and provide the ability to
    recommend increased/decreased requirements on active
    accounts based on Credit History, Customer Class, Types of          B   Yes   Sales and customer care   8.0
    Services, Usage History, Average Bill Amount and Length of
    Service with the Utility.
    System will allow for the deposit to be paid in a single payment
                                                                        A   Yes   Sales and customer care   8.0
    or in installments being billed over a user-defined timeframe.
    System will provide on-screen ability to view outstanding
                                                                        A   Yes   Sales and customer care   8.0
    deposits not yet applied.
    System provides the ability to track expiration dates on all
                                                                        A   Yes   Sales and customer care   8.0
    letters of credit and surety bonds held in lieu of deposit.
    System provides the ability to automatically generate a letter
    to customer in a user-defined number of days prior to the           A   Yes        System tools         8.0
    expiration of the letter of credit, surety bond, or CD's.
    System provides the ability to transfer deposits from one
    account to another account, regardless of status, with an audit     A   Yes   Sales and customer care   8.0
    trail.
    System provides the ability to hold a deposit, exempting it from
                                                                        A   Yes   Sales and customer care   8.0
    automatic refund.
    System provides the ability to automatically refund deposits
    when the deposit requirement period has expired and the             A   Yes   Sales and customer care   8.0
    current credit rating is satisfactory.
    System provides the ability to automatically apply the deposit
    on the account when the deposit requirement period has              A   Yes   Sales and customer care   8.0
    expired and the current credit rating is satisfactory.
    System provides for application of the deposit to the final bill
                                                                        A   Yes   Sales and customer care   8.0
    when an account is closed.




                                                                                                                                             Page 178 of 391
                                                                                                                                                   Response Template   C-91
                                                                             Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 232 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




    System creates appropriate GL entries for deposit refunds.           A   Yes   Sales and customer care   8.0

    Deposit payment and refund history are maintained at
                                                                         A   Yes   Sales and customer care   8.0
    customer and account level.
    Deposit payment and refund history are maintained at service
                                                                         A   Yes   Sales and customer care   8.0
    level.
    System provides for the ability to automatically send a letter to
    a customer indicating that a deposit was assessed, the deposit       A   Yes        System tools         8.0
    amount, and deposit terms and conditions.
    Payment Arrangements
    System provides the ability to see all payment plans that the
    customer has had. The system will also display on a single
    screen the ability to see Status, Number of Payment
                                                                         A   Yes   Sales and customer care   8.0
    Arrangements, Number of Payment Arrangements Successfully
    Completed, and the Number of Payment Arrangements
    Defaulted.
    System to provide for non-standard payment plan periods (i.e.                    Payment and debt
                                                                         A   Yes                             8.0
    daily, weekly, monthly, etc.) on customer payment plans.                            collection
    System provides the ability to vary payment plan agreement                       Payment and debt
                                                                         A   Yes                             8.0
    amounts and due dates.                                                              collection
    System provides the ability to establish payment plan
                                                                         G   No
    agreement by selected open items.
    System to allow user to set up deferred payment plans based
                                                                                     Payment and debt
    on fixed dollar amount per month in addition to current bill         A   Yes                             8.0
                                                                                        collection
    amount.
    System to allow the set up of payment plans for accounts                         Payment and debt
                                                                         A   Yes                             8.0
    regardless of status.                                                               collection
    System to allow flexibility to modify payment plan installment                   Payment and debt
                                                                         A   Yes                             8.0
    amounts and due dates.                                                              collection
    System provides the ability to prevent cut-off notices from                      Payment and debt
                                                                         A   Yes                             8.0
    being created when payment plan terms are being met.                                collection
    System provides the ability to alter delinquent and other
                                                                                     Payment and debt
    messaging based upon satisfaction or non-satisfaction of             A   Yes                             8.0
                                                                                        collection
    payment plan.
    System provides the ability to automatically suspend creation
                                                                                     Payment and debt
    of a cut-off service order when terms of a payment                   A   Yes                             8.0
                                                                                        collection
    arrangement are being met.
    System provides the ability to automatically generate a cut-off
                                                                                     Payment and debt
    service order when terms of a payment arrangement are not            A   Yes                             8.0
                                                                                        collection
    met.
    System to automatically produce payment plan notices based
    upon customers' preferred method of communication and user-          A   Yes        System tools         8.0
    defined business rules.
    System to manually produce payment plan notices based upon
    customers' preferred method of communication and user-               A   Yes        System tools         8.0
    defined business rules.
    System will apply overpayments to the next payment due in                        Payment and debt
                                                                         A   Yes                             8.0
    the payment plan if the customer overpays.                                          collection
    System will accept a payment and apply it to open receivables
                                                                                     Payment and debt
    or allow a credit balance on the account if the customer has         A   Yes                             8.0
                                                                                        collection
    completed their payment plan.
    System will calculate monthly payment, based on fixed number
                                                                                     Payment and debt
    of months on balance due at that point in time, with the             A   Yes                             8.0
                                                                                        collection
    provision that a user can change payment plans at any time.
    System will calculate monthly payment, based on fixed number
    of months on balance due at that point in time, including rule                   Payment and debt
                                                                         A   Yes                             8.0
    defined interest charge, and a user can change payment plans                        collection
    at any time.
    System to automatically provide an alert to user of payment
                                                                         A   Yes        System tools         8.0
    plan arrangement that is in default.
    System to provide the ability to create user-defined                             Payment and debt
                                                                         A   Yes                             8.0
    parameters/limits for users creating payment arrangements.                          collection
    System to provide the ability to create user-defined
                                                                                     Payment and debt
    parameters, with override capability, for payment                    A   Yes                             8.0
                                                                                        collection
    arrangements.
    System to provide audit trail displaying user who created the
                                                                                     Payment and debt
    payment arrangement in addition to displaying approving              A   Yes                             8.0
                                                                                        collection
    user's details.
    Collection Agency Processing
    System provides the ability to flag accounts as exempt from                      Payment and debt
                                                                         A   Yes                             8.0
    being sent to the collection agency.                                                collection
    System provides the ability to flag accounts as exempt based                     Payment and debt
                                                                         A   Yes                             8.0
    on dollar amount from being sent to the collection agency.                          collection
                                                                                     Payment and debt
    Capture name and/or code of collection agency.                       A   Yes                             8.0
                                                                                        collection
                                                                                     Payment and debt
    Capture date account is given to collection agency.                  A   Yes                             8.0
                                                                                        collection
    System provides the ability to maintain the collection agency
                                                                                     Payment and debt
    data and full details of delinquent accounts (same information       A   Yes                             8.0
                                                                                        collection
    on active accounts as delinquent).
    System provides the ability to generate notice(s) to customer                    Payment and debt
                                                                         A   Yes                             8.0
    of pending Collection Agency action.                                                collection
                                                                                                                   The Interactive Report
                                                                                                                   Framework of Open
                                                                                                                   Smartflex will allow the
                                                                                                                   Utility to display data
                                                                                                                   extracted from
    System provides the ability to generate a file based on user-                                                  database entities
                                                                                     Payment and debt
    defined criteria of newly selected accounts that will be sent to     A   Yes                             8.0   through SQL statements
                                                                                        collection
    the Collection Agency.                                                                                         without vendor
                                                                                                                   intervention; the Utility
                                                                                                                   can create reports by
                                                                                                                   searching unassigned
                                                                                                                   orders of collection
                                                                                                                   agencies.
                                                                                                                   Open Smartflex will
                                                                                                                   allow the Utility to
                                                                                                                   receive collection
                                                                                                                   agency electronic files.
    System provides the ability to receive electronic file from credit               Payment and debt
                                                                         A   Yes                             8.0   These files can include
    agency of collections and automatically update CIS.                                 collection
                                                                                                                   executed collection
                                                                                                                   orders and total amount
                                                                                                                   collected.

    System provides the ability to add a service fee to the accounts                 Payment and debt
                                                                         A   Yes                             8.0
    sent to the Collection Agency.                                                      collection
    System provides the ability to generate notice to customer                       Payment and debt
                                                                         A   Yes                             8.0
    when an account is turned over to a collection agency                               collection
    System provides the ability to write off an un-collectable                       Payment and debt
                                                                         A   Yes                             8.0
    account.                                                                            collection
    System provides the ability to mass write-off selected un-                       Payment and debt
                                                                         A   Yes                             8.0
    collectable accounts.                                                               collection
    Responsible Third Party/Guarantor/Co-signer
    Automatically generate past-due notices to guarantors for the                    Payment and debt
                                                                         A   Yes                             8.0
    past-due accounts they are guaranteeing.                                            collection
                                                                                                                   Open Smartflex allows
                                                                                                                   users to detach the
    System provides the ability to automatically release the
                                                                                     Payment and debt              guarantor from an
    guarantor from financial responsibility for an account when the      A   Yes                             8.0
                                                                                        collection                 account manually
    account meets regulatory good standing guidelines.
                                                                                                                   according to company
                                                                                                                   policies.




                                                                                                                                               Page 179 of 391
                                                                                                                                                     Response Template   C-92
                                                                             Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 233 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                                                            Open Smartflex will
                                                                                                            allow users to transfer
    System provides the ability to transfer receivable balances
                                                                                                            the balance from a
    from a delinquent account to a guarantor account. This                         Payment and debt
                                                                         A   Yes                      8.0   delinquent account to
    transfer would take place at the time the past-due account is                     collection
                                                                                                            the guarantor account
    deemed un-collectable.                                                                                  by using billing
                                                                                                            adjustment notes.
    Miscellaneous
    Allow for vacant accounts with usage to revert to landlord                     Payment and debt
                                                                         A   Yes                      8.0
    /owner for the account.                                                           collection
    System provides the ability to track expiration dates related to               Payment and debt
                                                                         A   Yes                      8.0
    HEAP/Utili-Care/SHARE (Low Income Program - or the like).                         collection
    System provides the ability to automatically generate a letter
                                                                                   Payment and debt
    to customer in a user-defined number of days prior to the            A   Yes                      8.0
                                                                                      collection
    expiration of benefits.
    System provides the ability to calculate late fees as a fixed                  Payment and debt
                                                                         A   Yes                      8.0
    amount or a percentage or the greater of the two options.                         collection
    System provides the ability to calculate an estimated future bill,
    for a specified given date, for all service types to a premise,      B   Yes        Billing       8.0
    including outstanding loans that would be called.
    System provides the ability to create an invoice that states all
    outstanding inactive balances (lienable amount) at a specified
    premise with service dates (to/from). The invoice number is          B   Yes        Billing       8.0
    generated by the system specific to the premise each time it is
    generated.
    System generates a notification to send the invoice referenced
                                                                         B   Yes     System tools     8.0
    in item 120 6 (above) to the owner of the premise.




                                                                                                                                      Page 180 of 391
                                                                                                                                            Response Template     C-93
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 234 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             5.0 Financial Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                                 Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

     General Ledger Accounting
                                                                                                                                              Open Smartflex
                                                                                                                                              accommodates
                                                                                                                                              accounting movements
                                                                                                                                              in G/L numbers
                                                                                                                                              according to
                                                                                                                                              configuration made by
                                                                                                                                              the company.

                                                                                                                                              Accounting movements
                                                                                                                                              can be categorized and
                                                                                                                                              grouped by date,
    System provides the ability to accommodate the association of a
                                                                                                                                              company, product
    G/L balance sheet and revenue number to a rate that contains
                                                                            B                       Yes       Financial interface     8.0     offering, market
    Org Key/Fund Level (5 bytes), Object Code (6 bytes), Project
                                                                                                                                              segment, billing cycle,
    Number (10 bytes), Activity (5 bytes), and Description up to 32.
                                                                                                                                              customer ID, age of
                                                                                                                                              debt, receivable type,
                                                                                                                                              geographic location, and
                                                                                                                                              collection agency,
                                                                                                                                              among others.

                                                                                                                                              The utility would need
                                                                                                                                              to configure G/L number
                                                                                                                                              assignation using those
                                                                                                                                              criterias.




                                                                                Page 181 of 391
                                                                                Response Template                                                                 C-94
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 235 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             5.0 Financial Management

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                                 Version   Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

    System provides the ability to accommodate the association of a
    G/L expense number to a rate that contains Org Key/Fund Level
                                                                           B                       Yes       Financial interface     8.0
    (5 bytes), Object Code (6 bytes), Project Number (10 bytes),
    Activity (5 bytes), and Description up to 32.

    System must have the capacity to accommodate at a minimum
                                                                           B                       Yes       Financial interface     8.0
    a 32 digit alphanumeric G/L number for each rate.

    System must accommodate a separate required cash receipts
    number that has the capacity to accommodate a minimum of a             B                       Yes       Financial interface     8.0
    32 digit alphanumeric G/L number for each rate.




                                                                               Page 182 of 391
                                                                               Response Template                                                        C-95
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 236 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             5.0 Financial Management

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                                 Version      Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

                                                                                                                                             Open Smartflex provides
                                                                                                                                             configuration for G/L
                                                                                                                                             number assignation to
                                                                                                                                             accounting movements
                                                                                                                                             generated by billed
                                                                                                                                             charges, billing
                                                                                                                                             adjustments and
                                                                                                                                             received payments. This
                                                                                                                                             process is performed
                                                                                                                                             according to predefined
    System provides the ability to accommodate multiple G/L                                                                                  criteria.
                                                                           A                       Yes       Financial interface     8.0
    numbers with related percentage distribution for each rate.
                                                                                                                                             Open Smartflex also
                                                                                                                                             allows users to
                                                                                                                                             configure multiple G/L
                                                                                                                                             numbers for an
                                                                                                                                             accounting classifier,
                                                                                                                                             and to determine a
                                                                                                                                             percentage share per
                                                                                                                                             G/L number.



    System provides the ability to associate a 3rd Party work order
                                                                           A                       Yes             Billing           8.0
    system or project number to a rate.
    System can follow FUND and FERC Accounting principles used
                                                                           C                       Yes       Financial interface     8.0
    by municipal utilities.




                                                                               Page 183 of 391
                                                                               Response Template                                                                 C-96
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 237 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                5.0 Financial Management

                                                                                              Is Functionality   Name of System
                                                                                                Included in      or Module That
                         Requirement Description                           Vendor Score                                                 Version      Vendor Notes
                                                                                               Price? (Yes or     Provides This
                                                                                                    No)           Functionality

    Ability to classify project (in-field - WMS/Maximo) accounting
    transactions by Internal Fund Code, Budget Fiscal Year,
    Accounting Month, and Accounting Quarter, Program / Project,
    Unit / Crew, and Organization/Department, Service Order                     A                       Yes       Financial interface     8.0
    Number and Activity, Cost Center, Responsibility Area, and
    System (Trans, Dist, Etc.), Expense Element (Major/Minor),
    and FERC.
    Ability to collect costs by expenditure group for Payroll/Labor                                                                               The system allows the
    Costs, Contract Labor, Inventory Stock Code, Vehicle                                                                                          company to establish
    Charges/Vehicles, Direct Purchases, and other User Defined                                                                                    G/L codes to each
    Fields.                                                                     A                       Yes       Financial interface     8.0     transaction performed
                                                                                                                                                  and related to customer
                                                                                                                                                  request's attention.
                                                                                                                                                  Other internal costs not
    Ability to enter, store, and update non-financial (statistical) data                                                                          related tothat
                                                                                                                                                  Provided   customer
                                                                                                                                                                 the
    for tracking, including but not limited to: Consumption,                                                                                      financial analysts have
    weather related data, kilowatt hours, Generation Data/Costs,                                                                                  user profiles with the
    Fuels Including Consumption and Cost, and Environmental.                                                                                      appropriate
                                                                                                                                                  permissions, Open
                                                                                                                                                  Smartflex will allow
                                                                                A                       Yes       Financial interface     8.0     them to access the
                                                                                                                                                  system to view any
                                                                                                                                                  additional information
                                                                                                                                                  needed to complement
                                                                                                                                                  that included in the
                                                                                                                                                  financial reports.




                                                                                    Page 184 of 391
                                                                                    Response Template                                                                 C-97
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 238 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                5.0 Financial Management

                                                                                              Is Functionality   Name of System
                                                                                                Included in      or Module That
                         Requirement Description                           Vendor Score                                                 Version      Vendor Notes
                                                                                               Price? (Yes or     Provides This
                                                                                                    No)           Functionality

    Ability to allocate costs within the organization's Various Funds,
    Various Companies or Divisions, Captial Projects, and Work                  A                       Yes       Financial interface     8.0
    Order Numbers.
    Ability to electronically enter, store, and update and create a bill                                                                          Open Smartflex provides
    using the following information including but not limited to:                                                                                 users with the ability to
    Date, Name and Address of Customer to be Invoiced, Incident                                                                                   generate individual bills
    and /or Transaction Date and/or Due Date, Type of Billing,                                                                                    for user-defined billing
    Charge and /or Credit Multi-Account Number, Description and                 A                       Yes             Billing           8.0     items. The system will
    Itemized Breakdwon of Charges, Total Amount Due,                                                                                              prompt the user to
    Department Requesting Billing, Name of Person Submitting                                                                                      enter a motive for each
    Request, Department Approval, Second Party or Additional                                                                                      item added to the bill.
    Liable Party, and Work Order and/or Invoice Number.                                                                                           General configuration
                                                                                                                                                  made for billing items
    System provides the ability to accept payment and process the
    associated G/L transactions for business defined city-wide                  A                       Yes       Financial interface     8.0
    services.
    Payment Posting
    System will provide detailed GL transactions to interfaced
    systems for payments based upon the rate's GL code for the                  A                       Yes       Financial interface     8.0
    utility payments only.
    System will provide detailed GL transactions to interfaced
    systems for non-commodity payments based upon the rate's                    A                       Yes       Financial interface     8.0
    G/L code.
     Credits and Refunds
    System provides the ability to issue a check, through JDEwards,
    for a user-specified amount for any reason (i.e., over charges,             A                       Yes       Financial interface     8.0
    etc.) regardless of the account balance.




                                                                                    Page 185 of 391
                                                                                    Response Template                                                                 C-98
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 239 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                              5.0 Financial Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                                 Version     Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    System will provide the ability to pay a credit refund by check                                           Payment and debt
                                                                            A                       Yes                               8.0
    or application to the account based on user defined criteria.                                                collection
    System provides the ability to maintain credit balances on the
                                                                            A                       Yes             Billing           8.0
    system until purged.
    System provides the ability to automatically refund
                                                                                                              Payment and debt
    overpayments within a specified time on finaled accounts,               A                       Yes                               8.0
                                                                                                                 collection
    allowing for exemption based upon user-defined parameters.
                                                                                                                                              CRSs can review account
                                                                                                                                              information and credit
    System will provide online reviews of any account prior to                                                Payment and debt                history of customers
                                                                            A                       Yes                               8.0
    applying the refund.                                                                                         collection                   before registering
                                                                                                                                              refund requests.

    System will provide the ability to issue mass credit refunds                                              Payment and debt
                                                                            A                       Yes                               8.0
    based on user-defined criteria.                                                                              collection
    System will provide for the issuance of a credit refund on Net                                            Payment and debt
                                                                            A                       Yes                               8.0
    Metering Accounts where due and payable.                                                                     collection
     Reconciliation/Reports
    System provides the ability to report unidentified payments that                                          Payment and debt
                                                                            A                       Yes                               8.0
    are held in suspense.                                                                                        collection
    System provides the ability to report contributions to special
                                                                            A                       Yes             Billing           8.0
    program offerings.
    System provides the ability to show aging of A/R in detail and
                                                                            A                       Yes       Financial interface     8.0
    summary, grouped by account number or G/L code.



                                                                                Page 186 of 391
                                                                                Response Template                                                                C-99
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 240 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               5.0 Financial Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                                 Version     Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

    System provides the ability to show aging of an account’s
    outstanding balance in a minimum of 30, 60, 90 and over,                 A                       Yes       Financial interface     8.0
    arrears increments by service. Increments are user-defined.
    System will provide for review of bad debt write-offs.                   A                       Yes       Financial interface     8.0
    System will provide the ability to track financial monthly and/or                                          Payment and debt
                                                                             A                       Yes                               8.0
    year-end write-off of receivables.                                                                            collection
    System provides control, balancing and reconciliation between
    the billing cycle revenues and the general ledger revenue                A                       Yes       Financial interface     8.0
    cycles.
    System provides a daily payment reconciliation by Account,
                                                                                                               Payment and debt
    Transaction Type, Cashier Code(user id), Office Location, and            A                       Yes                               8.0
                                                                                                                  collection
    Company/Regin/Area.
    System provides a daily accounts receivable reconciliation by                                              Payment and debt
                                                                             A                       Yes                               8.0
    services, by cycle and / or route.                                                                            collection
                                                                                                                                               The Open Smartflex G/L
                                                                                                                                               module creates
                                                                                                                                               accounting events for
                                                                                                                                               each CIS-supported
                                                                                                                                               financial operation of
                                                                                                                                               the company. If the
    System provides the ability to provide for internal financial
                                                                             A                       Yes       Financial interface     8.0     Utility has configured
    controls and balancing.
                                                                                                                                               accounting records
                                                                                                                                               generation correctly,
                                                                                                                                               Open Smartflex
                                                                                                                                               guarantees financial
                                                                                                                                               information coherence.



                                                                                 Page 187 of 391
                                                                                 Response Template                                                              C-100
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 241 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               5.0 Financial Management

                                                                                             Is Functionality   Name of System
                                                                                               Included in      or Module That
                         Requirement Description                          Vendor Score                                                 Version   Vendor Notes
                                                                                              Price? (Yes or     Provides This
                                                                                                   No)           Functionality

    System provides the ability so that the user can reconcile detail
    in base CIS/OSS system to output files such as billing print files,        A                       Yes       Financial interface     8.0
    G/L interface, and reports.
    System provides the ability so that the user can reconcile
    today’s beginning balance to prior day's ending balance, using
                                                                               G                       No
    financial transactions by category and type to come up with an
    ending balance for the day (i.e., daily balancing).
    System provides the ability for all financial transactions (e.g.,
    cash, G/L, A/P, revenues, etc.) and consumption amounts to be
    balanced Daily, End of Month, Calendar Year-to-Date, Fiscal                A                       Yes          Framework            8.0
    Year-to-Date, Twelve Consecutive Months, and Ad-Hoc, As
    Necessary.
    System will retain searchable information on accounts with 30,
                                                                                                                 Payment and debt
    60, 90, and over, arrears by service or user-defined dates. This           A                       Yes                               8.0
                                                                                                                    collection
    includes a business post date, today's date, or any date.
    System will track all service usage and revenues including
    adjustments by cycles, routes, zones, meter or daily, end of                                                 Payment and debt
                                                                               A                       Yes                               8.0
    month, fiscal year to date, calendar year to date, twelve months                                                collection
    ending, etc.




                                                                                   Page 188 of 391
                                                                                   Response Template                                                       C-101
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 242 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             5.0 Financial Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                                 Version     Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

                                                                                                                                              Open Smartflex allows
                                                                                                                                              users to make the
                                                                                                                                              appropriate accounting
                                                                                                                                              transaction adjustments
                                                                                                                                              to manage errors that
                                                                                                                                              may have created an out-
                                                                                                                                              of-balance situation.
                                                                                                                                              After performing the
    System will report and allow users to make correction for out of
                                                                                                                                              necessary adjustments,
    balance conditions of pre-defined rule driven financial and             A                       Yes       Financial interface     8.0
                                                                                                                                              users will rerun the
    consumption transactions.
                                                                                                                                              processes that were
                                                                                                                                              reversed for Open
                                                                                                                                              Smartflex to report the
                                                                                                                                              correct amounts.




                                                                                Page 189 of 391
                                                                                Response Template                                                               C-102
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 243 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             5.0 Financial Management

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                                 Version      Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

                                                                                                                                             Open Smartflex provides
                                                                                                                                             a functionality to
                                                                                                                                             estimate future revenue
                                                                                                                                             amount based on
                                                                                                                                             previous monthly bills.
                                                                                                                                             The system makes
                                                                                                                                             assumptions about
                                                                                                                                             usage future behavior,
                                                                                                                                             but it will not track
    System will track usage and revenue amounts for all services
                                                                                                                                             estimated usage outside
    for the purpose of projecting revenue, usage, and growth to            A                       Yes       Financial interface     8.0
                                                                                                                                             what is inferred from
    support rate cases and fees.
                                                                                                                                             billing estimate. To
                                                                                                                                             forecast growth, the
                                                                                                                                             Utility can create
                                                                                                                                             dashboards or reports in
                                                                                                                                             order to establish
                                                                                                                                             growth rates.




    System will report detailed billing by customer, account,
                                                                           A                       Yes             Billing           8.0
    premise, meter.
    System will track individual revenue and billing components for
    class of customer, by business and service type and industrial         A                       Yes             Billing           8.0
    categories for all services.




                                                                               Page 190 of 391
                                                                               Response Template                                                               C-103
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 244 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                              5.0 Financial Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                                 Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

                                                                                                                                               The system provides a
                                                                                                                                               number of balancing
    System provides controls that will not allow the system to be                                                                              controls to ensure that
    out of range (or problematic) on a daily basis. System will                                                Payment and debt                received dollars match
                                                                             A                       Yes                               8.0
    balance for both total dollars received and the number of items                                               collection                   with the specific
    by payment period.                                                                                                                         payment items during
                                                                                                                                               the reporting period.

    System generates a report that captures number of customers
                                                                             A                       Yes             Billing           8.0
    billed for each bill item.
                                                                                                                                               Open Smartflex allows
    System generates an unbilled revenue report that includes
                                                                                                                                               estimation of future
    information that accounts for previous 2 years of consumption
                                                                             A                       Yes       Financial interface     8.0     revenue based on bills
    and dollar amount to estimate next 30 to 60 days of revenue
                                                                                                                                               from the previous
    and consumption.
                                                                                                                                               month.
    System provides the ability to show aging of A/R in detail and
                                                                             A                       Yes       Financial interface     8.0
    summary, grouped by account number or G/L code.
    System provides the ability to show aging of an account’s
    outstanding balance in a minimum of 30, 60, 90 and over,                 A                       Yes       Financial interface     8.0
    arrears increments by service. Increments are user-defined.

    System will provide for review of bad debt write-offs.                   A                       Yes       Financial interface     8.0
    System will provide the ability to track financial monthly and/or                                          Payment and debt
                                                                             A                       Yes                               8.0
    year-end write-off of receivables.                                                                            collection
    System provides control, balancing and reconciliation between
    the billing cycle revenues and the general ledger revenue                A                       Yes       Financial interface     8.0
    cycles.



                                                                                 Page 191 of 391
                                                                                 Response Template                                                                C-104
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 245 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               5.0 Financial Management

                                                                                             Is Functionality   Name of System
                                                                                               Included in      or Module That
                         Requirement Description                          Vendor Score                                                 Version     Vendor Notes
                                                                                              Price? (Yes or     Provides This
                                                                                                   No)           Functionality

    System provides a daily payment reconciliation by Account,
                                                                                                                 Payment and debt
    Transaction Type, Cashier Code(user id), Office Location, and              A                       Yes                               8.0
                                                                                                                    collection
    Company/Regin/Area.
    System provides a daily accounts receivable reconciliation by                                                Payment and debt
                                                                               A                       Yes                               8.0
    services, by cycle and / or route.                                                                              collection
                                                                                                                                                 The Open Smartflex G/L
                                                                                                                                                 module creates
                                                                                                                                                 accounting events for
                                                                                                                                                 each CIS-supported
                                                                                                                                                 financial operation of
                                                                                                                                                 the company. If the
    System provides the ability to provide for internal financial
                                                                               A                       Yes       Financial interface     8.0     Utility has configured
    controls and balancing.
                                                                                                                                                 accounting records
                                                                                                                                                 generation correctly,
                                                                                                                                                 Open Smartflex
                                                                                                                                                 guarantees financial
                                                                                                                                                 information coherence.

    System provides the ability so that the user can reconcile detail
    in base CIS/OSS system to output files such as billing print files,        A                       Yes       Financial interface     8.0
    G/L interface, and reports.
    System provides the ability so that the user can reconcile
    today’s beginning balance to prior day's ending balance, using
                                                                               G                       No
    financial transactions by category and type to come up with an
    ending balance for the day (i.e., daily balancing).
    System will be able to report using a business post date, today's
                                                                               A                       Yes       Financial interface     8.0
    date, or any date.



                                                                                   Page 192 of 391
                                                                                   Response Template                                                              C-105
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 246 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                              5.0 Financial Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                              Version   Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

    System provides the ability for all financial transactions (e.g.,
    cash, G/L, A/P, revenues, etc.) and consumption amounts to be
    balanced Daily, End of Month, Calendar Year-to-Date, Fiscal              A                       Yes          Framework         8.0
    Year-to-Date, Twelve Consecutive Months, and Ad-Hoc, As
    Necessary.
    System will retain searchable information on accounts with 30,
                                                                                                               Payment and debt
    60, 90, and over, arrears by service or user-defined dates. This         A                       Yes                            8.0
                                                                                                                  collection
    includes a business post date, today's date, or any date.
    System will track all service usage and revenues including
    adjustments by cycles, routes, zones, meter or daily, end of                                               Payment and debt
                                                                             A                       Yes                            8.0
    month, fiscal year to date, calendar year to date, twelve months                                              collection
    ending, etc.




                                                                                 Page 193 of 391
                                                                                 Response Template                                                    C-106
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 247 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             5.0 Financial Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                                 Version     Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

                                                                                                                                              Open Smartflex allows
                                                                                                                                              users to make the
                                                                                                                                              appropriate accounting
                                                                                                                                              transaction adjustments
                                                                                                                                              to manage errors that
                                                                                                                                              may have created an out-
                                                                                                                                              of-balance situation.
                                                                                                                                              After performing the
    System will report and allow users to make correction for out of
                                                                                                                                              necessary adjustments,
    balance conditions of pre-defined rule driven financial and             A                       Yes       Financial interface     8.0
                                                                                                                                              users will rerun the
    consumption transactions.
                                                                                                                                              processes that were
                                                                                                                                              reversed for Open
                                                                                                                                              Smartflex to report the
                                                                                                                                              correct amounts.




    System will track usage and revenue amounts for all services                                                                              Open Smartflex provides
    for the purpose of projecting revenue, usage, and growth to             A                       Yes       Financial interface     8.0     a functionality to
    support rate cases and fees.                                                                                                              estimate future revenue
    System will report detailed billing by customer, account,                                                                                 amount based on
                                                                            A                       Yes             Billing           8.0
    premise, meter.
    System will track individual revenue and billing components for
    class of customer, by business and service type and industrial          A                       Yes             Billing           8.0
    categories for all services.




                                                                                Page 194 of 391
                                                                                Response Template                                                               C-107
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 248 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             5.0 Financial Management

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                              Version      Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

    System provides controls that will not allow the system to be                                                                         The system provides a
    out of range (or problematic) on a daily basis. System will                                              Payment and debt             number of balancing
                                                                           A                       Yes                            8.0
    balance for both total dollars received and the number of items                                             collection                controls to ensure that
    by payment period.                                                                                                                    received dollars match
                                                                                                                                          with the specific




                                                                               Page 195 of 391
                                                                               Response Template                                                             C-108
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 249 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                  6.0 Billing Management

                                                                                             Is Functionality   Name of System
                                                                                               Included in      or Module That
                         Requirement Description                          Vendor Score                                           Version      Vendor Notes
                                                                                              Price? (Yes or     Provides This
                                                                                                   No)           Functionality

    General Billing Criteria
    System provides the ability to calculate and bill for all products
    and services on a single bill, including both metered and                  A                       Yes           Billing       8.0
    unmetered services.
    System provides the ability to bill for multiple meters at a single
                                                                               A                       Yes           Billing       8.0
    location.
    System provides the ability to bill for an aggregate of meters at
                                                                               A                       Yes           Billing       8.0
    a single location.
    System provides the ability to bill for associated services, i.e.,
                                                                               A                       Yes           Billing       8.0
    reconnect charge, etc.
    System captures consumption for meter exchanges between
    billing periods and calculates the billed consumption correctly,           A                       Yes           Billing       8.0
    taking into account billing multiplier differences.
                                                                                                                                           Open Smartflex is able
                                                                                                                                           to register usage based
                                                                                                                                           on real-time readings
                                                                                                                                           intervals through an
                                                                                                                                           interface with MDM
                                                                                                                                           systems. Once usage has
    System has the ability to capture consumption and bill based on
                                                                               A                       Yes           Billing       8.0     been recorded, the
    real time billing determinants taken from MV-90.
                                                                                                                                           recurring billing process
                                                                                                                                           is performed according
                                                                                                                                           to the defined billing
                                                                                                                                           periods.




                                                                                   Page 196 of 391
                                                                                   Response Template                                                          C-109
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 250 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                  6.0 Billing Management

                                                                                       Is Functionality   Name of System
                                                                                         Included in      or Module That
                         Requirement Description                    Vendor Score                                           Version      Vendor Notes
                                                                                        Price? (Yes or     Provides This
                                                                                             No)           Functionality

    System has the ability to systematically, or automatically,
                                                                         A                       Yes           Billing       8.0
    change rates based on demand and/or consumption usage.
    System has the ability to modify billed consumption values
                                                                         A                       Yes           Billing       8.0
    including :
    a) Product of the Metered Consumption and a Fixed User
                                                                         A                       Yes           Billing       8.0
    Defined Calculation Adjustment Factor
                                                                                                                                     After consumption is
                                                                                                                                     estimated due to any
                                                                                                                                     reason and the next
                                                                                                                                     actual reading is
                                                                                                                                     registered, Open
                                                                                                                                     Smartflex launches a
                                                                                                                                     process called
                                                                                                                                     consumption recovery,
                                                                                                                                     which compares the
                                                                                                                                     prior estimated
    b) Product of the Metered Consumption and Number of Units            A                       Yes           Billing       8.0
                                                                                                                                     consumption to the
                                                                                                                                     actual consumption in
                                                                                                                                     order to establish the
                                                                                                                                     differences between
                                                                                                                                     them and correct the
                                                                                                                                     consumption charges,
                                                                                                                                     increasing or decreasing
                                                                                                                                     the customers’ balances.




                                                                             Page 197 of 391
                                                                             Response Template                                                         C-110
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 251 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                   6.0 Billing Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                           Version   Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    System provides the ability for a line-item charge to be the
    product of any given rate and any user-defined data items,
                                                                              A                       Yes           Billing       8.0
    including but not limited to: consumption value, multipliers,
    unit(s), ratio and/or percentage calculation adjustment factor
    System has the ability to bill for flat rates that contain but not
    limited to the following rate determinants:
    a) ERU (Equivalent Residential Unit) Factor                               A                       Yes           Billing       8.0
    b) Square Feet (lot size minus structures)                                A                       Yes           Billing       8.0
    c) Square Footage (structure/home)                                        B                       Yes           Billing       8.0
    d) Units (decimal)                                                        A                       Yes           Billing       8.0
    e) Equipment Charges (e.g., temporary poles, etc.)                        A                       Yes           Billing       8.0
    f) Fixed Consumption                                                      A                       Yes           Billing       8.0
    g) Special Negotiated Charges                                             A                       Yes           Billing       8.0
    h) Line Extension Charges                                                 A                       Yes           Billing       8.0
    i) Standby Generation                                                     A                       Yes           Billing       8.0
    System provides the ability to bill for associated meters, e.g.,
                                                                              A                       Yes           Billing       8.0
    demand meter with associated electric kWh meter.
    Billing Initiation
    System provides the ability to provide an on-screen bill
                                                                              A                       Yes           Billing       8.0
    calculation for a single bill and generation feature.
    System provides the ability to provide an on-screen bill
                                                                              A                       Yes           Billing       8.0
    calculation for a complete route and generation feature.
    System provides the on-screen ability to assign cycle dates to
                                                                              A                       Yes           Billing       8.0
    schedule and initiate billing cycles.
    System provides the on-screen ability to initiate billing cycles
                                                                              A                       Yes           Billing       8.0
    when all billing criteria has been met.




                                                                                  Page 198 of 391
                                                                                  Response Template                                                 C-111
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 252 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                  6.0 Billing Management

                                                                                       Is Functionality   Name of System
                                                                                         Included in      or Module That
                         Requirement Description                    Vendor Score                                           Version      Vendor Notes
                                                                                        Price? (Yes or     Provides This
                                                                                             No)           Functionality

                                                                                                                                     Open Smartflex
                                                                                                                                     supports billing process
                                                                                                                                     for unmetered and third
                                                                                                                                     party services, based on
                                                                                                                                     dates associated with
                                                                                                                                     billing periods and
                                                                                                                                     previously defined by
                                                                                                                                     the Utility. In addition,
    System provides the ability to bill for other unmetered and
                                                                         A                       Yes           Billing       8.0     when customers do not
    related services at a user-defined time.
                                                                                                                                     want to continue with
                                                                                                                                     the contracted services,
                                                                                                                                     they request the stop
                                                                                                                                     service and the Utility
                                                                                                                                     generates the final bill.




    System provides the on-screen ability to change the billing
                                                                         A                       Yes           Billing       8.0
    cycles / routes.




                                                                             Page 199 of 391
                                                                             Response Template                                                          C-112
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 253 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                 6.0 Billing Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                           Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

                                                                                                                                         Open Smartflex provides
                                                                                                                                         the ability to change the
                                                                                                                                         billing cycle for specific
                                                                                                                                         accounts. Moreover,
    System provides the on-screen ability to combine or split billing                                                                    billing cycle changing
                                                                             A                       Yes           Billing       8.0
    cycles / routes.                                                                                                                     can be performed for
                                                                                                                                         accounts in batch
                                                                                                                                         according to the Utility's
                                                                                                                                         needs.

    System provides the on-screen ability to hold billing cycles /
                                                                             G                       No
    routes.
    System provides for billing on a monthly schedule that includes
                                                                             A                       Yes           Billing       8.0
    meter reading activities.
    System provides the ability to schedule meter reading on a
    monthly and bi-monthly basis. For example, one office bills              A                       Yes          Metering       8.0
    monthly and another office bills bi-monthly.




                                                                                 Page 200 of 391
                                                                                 Response Template                                                           C-113
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 254 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                 6.0 Billing Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                           Version      Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

                                                                                                                                          Open Smartflex provides
                                                                                                                                          the ability to customize
                                                                                                                                          the business rules and
                                                                                                                                          associate them with the
                                                                                                                                          charges that are billed
                                                                                                                                          monthly and bi-
    System provides the ability to bill both monthly and bi-monthly                                                                       monthly. The business
                                                                              A                       Yes           Billing       8.0
    for the same account.                                                                                                                 rule must manage the
                                                                                                                                          adequate logic in order
                                                                                                                                          to have different billing
                                                                                                                                          frequencies for the
                                                                                                                                          same account.


    System provides the ability to bill multiple cycles on the same
                                                                              A                       Yes           Billing       8.0
    day.
    System provides for services to be billed on a user-defined
                                                                              A                       Yes           Billing       8.0
    schedule such as monthly, bi-monthly, quarterly, annually, etc.
    System provides the ability to override the system default billing
                                                                              A                       Yes           Billing       8.0
    date.
    System will provide the ability for accounts / cycle / routes to
    bill once all criteria has been met, including event-based and            A                       Yes           Billing       8.0
    time-based.




                                                                                  Page 201 of 391
                                                                                  Response Template                                                          C-114
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 255 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                   6.0 Billing Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                           Version     Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

                                                                                                                                          The utility is able to
                                                                                                                                          change the due date per
    System will provide the ability to automatically bill out of cycle                                                                    each product,
    for a customer who has selected a preferred billing date and a                                                                        registering an expiry
                                                                              A                       Yes           Billing       8.0
    preferred due date without impact of the meter reading                                                                                date as an extension in
    schedule.                                                                                                                             which no surcharge for
                                                                                                                                          late payment is
                                                                                                                                          generated.
    System provides the ability to generate bills from a meter
                                                                              A                       Yes           Billing       8.0
    reading route that is uploaded after the scheduled billing date.
    System provides the ability to override the standard due date
                                                                              A                       Yes           Billing       8.0
    and specify a specific due date for a customer's bill.
                                                                                                                                          Open Smartflex allows
                                                                                                                                          generating reports in
                                                                                                                                          order to show
                                                                                                                                          information about
                                                                                                                                          closing date of reading
                                                                                                                                          orders. In addition,
    System provides the ability to identify if a cycle or route has                                                                       Open Smartflex allows
    been read within X amount of days. System provides                        A                       Yes          Metering       8.0     the company to notify
    notification if the cycle or route is trying to be read again.                                                                        one or more users when
                                                                                                                                          reading orders are
                                                                                                                                          pending to be executed
                                                                                                                                          X amount of days after
                                                                                                                                          their generation.




                                                                                  Page 202 of 391
                                                                                  Response Template                                                         C-115
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 256 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                     6.0 Billing Management

                                                                                                Is Functionality   Name of System
                                                                                                  Included in      or Module That
                         Requirement Description                             Vendor Score                                           Version   Vendor Notes
                                                                                                 Price? (Yes or     Provides This
                                                                                                      No)           Functionality

    System provides a warning if the read dates entered are a user-
                                                                                  B                       Yes          Metering       8.0
    defined number of days from the previous read dates.
    Billing Proration
    System provides the ability to prorate non-consumption based
    charges and credits based on a user-defined number of days in                 A                       Yes           Billing       8.0
    the billing cycle.
    System has the ability to prorate for days less than system or
                                                                                  A                       Yes           Billing       8.0
    user- defined minimum number of billing days.
    System provides the ability to prorate a new bill based on the
                                                                                  A                       Yes           Billing       8.0
    number of days active.
    System provides the ability to prorate a final bill based on the
                                                                                  A                       Yes           Billing       8.0
    number of days active.
    System provides the ability to turn off specific proration types
    that included rate change, initial bill, final bill, number of days in        A                       Yes           Rating        8.0
    billing period
    System provides the ability to trigger based on usage an
                                                                                  A                       Yes           Rating        8.0
    automatic meter configuration and rate change.
    System provides the ability prorate based on the number of
    days that are outside the normal billing schedule. For example,
    billing days between 28-32 days is billed, based upon 30-days                 A                       Yes           Billing       8.0
    consumption / service charges, or anything outside of that
    range is billed based on the actual number of days.




                                                                                      Page 203 of 391
                                                                                      Response Template                                                 C-116
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 257 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               6.0 Billing Management

                                                                                        Is Functionality   Name of System
                                                                                          Included in      or Module That
                         Requirement Description                     Vendor Score                                           Version      Vendor Notes
                                                                                         Price? (Yes or     Provides This
                                                                                              No)           Functionality

                                                                                                                                      Open Smartflex provides
                                                                                                                                      the ability to customize
                                                                                                                                      the business rules
                                                                                                                                      according to the needs
                                                                                                                                      of the Utility. These
                                                                                                                                      rules can be adapted to
    System provides that the system will not prorate where billing                                                                    validate that the
                                                                          A                       Yes           Billing       8.0
    days are less than 'x' (user-defined) days.                                                                                       number of days of the
                                                                                                                                      billing period is less than
                                                                                                                                      a user-defined number
                                                                                                                                      of days in order to avoid
                                                                                                                                      proration.



    System provides the ability to prorate dollar amount by number
                                                                          A                       Yes           Billing       8.0
    of days, e.g., $3 per month customer charge = $0.10 per day.




                                                                              Page 204 of 391
                                                                              Response Template                                                            C-117
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 258 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                  6.0 Billing Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                           Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

                                                                                                                                         Open Smartflex provides
                                                                                                                                         the ability to customize
                                                                                                                                         the business rules
                                                                                                                                         according to the Utility’s
                                                                                                                                         needs. Billing rules can
                                                                                                                                         be customized to
    System provides the ability to not bill an account if active less
                                                                             A                       Yes           Billing       8.0     validate whether
    than "x" (user-defined) number of days.
                                                                                                                                         accounts will be billed or
                                                                                                                                         not according to a user-
                                                                                                                                         defined number of days.




                                                                                                                                         Open Smartflex provides
                                                                                                                                         the ability to customize
                                                                                                                                         the business rules
                                                                                                                                         according to the Utility’s
                                                                                                                                         needs. Billing rules can
                                                                                                                                         be associated with the
    System provides the ability to bill only certain charges if an                                                                       required charges in
                                                                             A                       Yes           Billing       8.0
    account is active less than "x" (user-defined) number of days.                                                                       order to validate
                                                                                                                                         whether they will be
                                                                                                                                         billed or not according
                                                                                                                                         to a user-defined
                                                                                                                                         number of days.




                                                                                 Page 205 of 391
                                                                                 Response Template                                                           C-118
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 259 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               6.0 Billing Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                           Version     Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    System provides the ability to reflect prorated detailed amounts
                                                                            A                       Yes           Billing       8.0
    on a customer's bill due to rate change during billing period.
    Billing Process
    System must be able to capture specific rate determinants that
    allow the system to correctly assign a default rate, with
    override, based on the following:
    a) Service Type                                                         A                       Yes           Billing       8.0
    b) Customer Class                                                       A                       Yes           Billing       8.0
    c) Usage Type                                                           A                       Yes           Billing       8.0
    d) Consumption Level / History                                          A                       Yes           Billing       8.0
    e) Demand                                                               A                       Yes           Billing       8.0
    f) Net Metering                                                         A                       Yes           Billing       8.0
    System has the ability to utilize specific additional rate
    determinants and utilize them when calculating a bill:
    a) User Defined Rate Packages - Excel-Based Billing                     A                       Yes           Billing       8.0     The Open Smartflex rule
                                                                                                                                        Units is a standard
    b) Number of Units                                                      A                       Yes           Billing       8.0     element of a rate
                                                                                                                                        configuration.
    c) Discount Identifiers (Low income, Seniors)                           A                       Yes           Billing       8.0
    d) North American Industry Classification System (NAICS)                A                       Yes           Billing       8.0




                                                                                Page 206 of 391
                                                                                Response Template                                                         C-119
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 260 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             6.0 Billing Management

                                                                                  Is Functionality   Name of System
                                                                                    Included in      or Module That
                         Requirement Description               Vendor Score                                           Version      Vendor Notes
                                                                                   Price? (Yes or     Provides This
                                                                                        No)           Functionality

                                                                                                                                The Utility can define
                                                                                                                                rates for customers with
                                                                                                                                a different business type
                                                                                                                                using the rate search
                                                                                                                                criteria provided by
    e) Business Type                                                A                       Yes           Billing       8.0
                                                                                                                                Open Smartflex, such as
                                                                                                                                category, subcategory or
                                                                                                                                customer type.


                                                                                                                                The Utility can define
                                                                                                                                rates for customers
                                                                                                                                based on their actual
                                                                                                                                location using the rate
    f)   Geographic or Location (X/Y coordinate) - Based            A                       Yes           Billing       8.0
                                                                                                                                criteria provided by
                                                                                                                                Open Smartflex, such as
                                                                                                                                geographical location or
                                                                                                                                rate zone.




                                                                        Page 207 of 391
                                                                        Response Template                                                          C-120
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 261 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               6.0 Billing Management

                                                                                       Is Functionality   Name of System
                                                                                         Included in      or Module That
                         Requirement Description                    Vendor Score                                           Version     Vendor Notes
                                                                                        Price? (Yes or     Provides This
                                                                                             No)           Functionality

                                                                                                                                     Open Smartflex provides
                                                                                                                                     a complete set of rate
                                                                                                                                     determinants in order
                                                                                                                                     for the Utility to bill
                                                                                                                                     customers according to
                                                                                                                                     their particular
                                                                                                                                     characteristics. Rate
                                                                                                                                     determinants delivered
                                                                                                                                     by Open Smartflex are
    g) Rate Determinants                                                 A                       Yes           Billing       8.0
                                                                                                                                     used to find the
                                                                                                                                     required rate
                                                                                                                                     considering their
                                                                                                                                     product offering,
                                                                                                                                     category and
                                                                                                                                     subcategory, type of
                                                                                                                                     customer, among
                                                                                                                                     others.

    h) Flat Fees                                                         A                       Yes           Billing       8.0
    i)   Fixed Consumption (street lights based on a consumption)        A                       Yes           Billing       8.0
    j) Min Consumptions                                                  A                       Yes           Billing       8.0
    k) Average Consumption - estimation                                  A                       Yes           Billing       8.0
    l) Average Consumption for previous 12 months                        A                       Yes           Billing       8.0
    m) Amount of Usage                                                   A                       Yes           Billing       8.0
    n) Contracted Rates                                                  A                       Yes           Billing       8.0
    o) Percentage (calculation adjustment factor)                        A                       Yes           Billing       8.0



                                                                             Page 208 of 391
                                                                             Response Template                                                        C-121
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 262 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                 6.0 Billing Management

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                           Version      Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

    q) Water Connection Size                                               A                       Yes           Billing       8.0
                                                                                                                                       Open Smartflex stores
                                                                                                                                       all information related
                                                                                                                                       to billing, such as
                                                                                                                                       charges, rates, usage,
                                                                                                                                       and adjustments in
                                                                                                                                       order to use it for the
    System to provide all details of calculation adjustment factors                                                                    generation of billing
                                                                           A                       Yes           Billing       8.0
    and results to be used for billing statement creation.                                                                             statements; additionally,
                                                                                                                                       the Utility can use this
                                                                                                                                       information for report
                                                                                                                                       generation and analysis.




    System provides the ability on-screen for "What If Billing" and
    prospectus billing. Billing factors can be changed and                 A                       Yes           Billing       8.0
    calculations can be viewed.




                                                                               Page 209 of 391
                                                                               Response Template                                                          C-122
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 263 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                    6.0 Billing Management

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                           Version      Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

                                                                                                                                       Open Smartflex will
                                                                                                                                       allow the Utility to track
                                                                                                                                       different historical
                                                                                                                                       classifications, such as
                                                                                                                                       product change record,
                                                                                                                                       product offering change
                                                                                                                                       record and the history
                                                                                                                                       of changes associated
                                                                                                                                       with category and
                                                                                                                                       subcategory per
                                                                                                                                       customer. Furthermore,
                                                                                                                                       a historical changes
                                                                                                                                       report can be generated
    System provides the ability to track the different historical                                                                      for rate projects in order
                                                                           A                       Yes           Billing       8.0
    classifications.                                                                                                                   to track the
                                                                                                                                       modifications.

                                                                                                                                       Moreover, if the Utility
                                                                                                                                       requires having other
                                                                                                                                       historical classifications,
                                                                                                                                       Open Smartflex provides
                                                                                                                                       the ability to create an
                                                                                                                                       audit in order to record
                                                                                                                                       the changes made in the
                                                                                                                                       entities associated with
                                                                                                                                       the required
                                                                                                                                       information.



                                                                               Page 210 of 391
                                                                               Response Template                                                            C-123
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 264 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                    6.0 Billing Management

                                                                                               Is Functionality   Name of System
                                                                                                 Included in      or Module That
                         Requirement Description                            Vendor Score                                           Version      Vendor Notes
                                                                                                Price? (Yes or     Provides This
                                                                                                     No)           Functionality

    System will allow for late reads to be input without deviating
    from the original billing schedule. The system will process                  A                       Yes           Billing       8.0
    accounts with reads and hold the accounts without reads.
                                                                                                                                             Open Smartflex provides
                                                                                                                                             the ability to bill the non-
                                                                                                                                             consumption charges in
                                                                                                                                             advance and the
                                                                                                                                             consumption charges in
                                                                                                                                             arrears. For each charge,
    System provides the ability to bill in advance for electric, water,
                                                                                                                                             the business rule must
    sewer, stormwater, streetlights, renewables, fire line, cable,               A                       Yes           Billing       8.0
                                                                                                                                             include the adequate
    other
                                                                                                                                             logic in order to support
                                                                                                                                             different consumption
                                                                                                                                             and billing period dates .




    System to provide the ability to bill in arrears for electric, water,
    sewer, stormwater, streetlights, renewables, fire line, cable,               A                       Yes           Billing       8.0
    other




                                                                                     Page 211 of 391
                                                                                     Response Template                                                            C-124
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 265 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                   6.0 Billing Management

                                                                                             Is Functionality   Name of System
                                                                                               Included in      or Module That
                         Requirement Description                          Vendor Score                                           Version      Vendor Notes
                                                                                              Price? (Yes or     Provides This
                                                                                                   No)           Functionality

                                                                                                                                           Open Smartflex will
                                                                                                                                           allow the Utility to bill
                                                                                                                                           generated charges that
                                                                                                                                           were not previously
                                                                                                                                           billed, generate new
                                                                                                                                           charges to adjust
                                                                                                                                           estimated usage charges
                                                                                                                                           when actual readings
    System provides the ability to accommodate back billing for a
                                                                               A                       Yes           Billing       8.0     are finally obtained, and
    single period with a user-defined start and end date.
                                                                                                                                           correct incorrect charge
                                                                                                                                           amounts using billing
                                                                                                                                           notes.

                                                                                                                                           This also applies to the
                                                                                                                                           next item (below).


    System provides the ability to accommodate back billing for
                                                                               A                       Yes           Billing       8.0
    multiple periods with a user-defined start and end date.
    System will provide for on-screen bill production for a single bill
    that will not require batch or nightly processing. Bill will be            A                       Yes           Billing       8.0
    generated after calculations have been processed.
    System provides the ability to produce duplicate copies of the
                                                                               A                       Yes           Billing       8.0
    bill.
    System provides the ability on-screen to generate a one time
                                                                               A                       Yes           Billing       8.0
    miscellaneous bill to an existing customer.



                                                                                   Page 212 of 391
                                                                                   Response Template                                                           C-125
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 266 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                 6.0 Billing Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                           Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    System provides the ability on-screen to generate a one time
                                                                            A                       Yes           Billing       8.0
    misc. bill to a non-utility customer.
    System provides for tax and fee exemptions.                             A                       Yes           Billing       8.0
    System provides for partial tax and fee exemptions.                     A                       Yes           Billing       8.0
                                                                                                                                        Open Smartflex keep the
                                                                                                                                        billing exceptions until a
                                                                                                                                        user solves them, by
    System provides the capability to limit the number of days an                                                                       doing so, the system
                                                                            A                       Yes           Billing       8.0
    exception bill can stay in the system.                                                                                              ensures the problem is
                                                                                                                                        solved avoiding a future
                                                                                                                                        billing complaint.

    System provides the ability to bill surcharges based on a fixed
                                                                            A                       Yes           Billing       8.0
    or percentage charge.
                                                                                                                                        Open Smartflex will
                                                                                                                                        allow the Utility to
                                                                                                                                        create business rules
                                                                                                                                        and associate them with
                                                                                                                                        the required charges in
    System provides the ability to assign expiration dates to
                                                                            A                       Yes           Billing       8.0     order to define the
    surcharges.
                                                                                                                                        validity period for billing
                                                                                                                                        purposes, including the
                                                                                                                                        start and stop dates.



    System provides the ability to assign expiration dates to rates.        A                       Yes           Billing       8.0




                                                                                Page 213 of 391
                                                                                Response Template                                                            C-126
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 267 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                 6.0 Billing Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                           Version      Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    System provides the ability to track surcharges independently of
                                                                              A                       Yes           Billing       8.0
    all other charges.
    System provides the ability to bill for special rates based on the
    following but not limited to:
    a) Applying differences between contracted minimum
    consumption and the actual consumption, providing details as a            A                       Yes           Billing       8.0
    line item on the bill or online
    b) Recurring Charges                                                      A                       Yes           Billing       8.0
    c) Conservation / Efficiency measures (Power Factor)                      A                       Yes           Billing       8.0
    d) One-Time Miscellaneous Fees and / or Charges                           A                       Yes           Billing       8.0
                                                                                                                                          Open Smartflex
                                                                                                                                          validates the dates
    System provides the ability to validate dates entered, i.e., the                                                                      entered for the rate
                                                                              A                       Yes           Billing       8.0
    year 2010 accidently keyed as 2001.                                                                                                   validity against the
                                                                                                                                          current system date in
                                                                                                                                          order to avoid typos.




                                                                                  Page 214 of 391
                                                                                  Response Template                                                         C-127
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 268 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                    6.0 Billing Management

                                                                                             Is Functionality   Name of System
                                                                                               Included in      or Module That
                         Requirement Description                          Vendor Score                                           Version      Vendor Notes
                                                                                              Price? (Yes or     Provides This
                                                                                                   No)           Functionality

                                                                                                                                           Open Smartflex is able
                                                                                                                                           to validate the dates
                                                                                                                                           entered by users in
                                                                                                                                           processes and
                                                                                                                                           applications considered
    System provides the ability to validate future dates greater than                                                                      as essential in the
    'x' years (user-defined). The system will prompt for                       A                       Yes           Billing       8.0     business practices of the
    confirmation prior to accepting the date. (each date field)                                                                            company.

                                                                                                                                           This also applies to the
                                                                                                                                           next item (below).


    Provides the ability to set a range for date validation upon
                                                                               A                       Yes           Billing       8.0
    entered date.
    System provides the ability to bill inter-departments.                     A                       Yes           Billing       8.0
    System provides the ability to identify accounts that have met
    the system criteria to in order to generate a bill, but due to
                                                                               A                       Yes           Billing       8.0
    reading or other errors, a bill was not generated. The account
    status could be a initial bill, regular bill, or a final bill type.
    System provides the ability to generate a test billing process
    that generates the necessary financial reports for review before
                                                                               A                       Yes           Billing       8.0
    actually submitting the billing batch to post. For example: audit
    the billing run in a post go-live.
    System provides the ability to track customers by class,
                                                                               A                       Yes           Billing       8.0
    including residential, commercial, industrial, other
    Fee Billing


                                                                                   Page 215 of 391
                                                                                   Response Template                                                           C-128
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 269 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                  6.0 Billing Management

                                                                                             Is Functionality   Name of System
                                                                                               Included in      or Module That
                         Requirement Description                          Vendor Score                                           Version   Vendor Notes
                                                                                              Price? (Yes or     Provides This
                                                                                                   No)           Functionality

    System has the ability to bill for charges and fees, including but
    not limited to:
    a) Return Check Fees                                                       A                       Yes           Billing       8.0
    b) Service Establishment Fee                                               A                       Yes           Billing       8.0
    c) Penalty Fees                                                            A                       Yes           Billing       8.0
    d) Finance Fees                                                            A                       Yes           Billing       8.0
    e) Meter Testing Fees                                                      A                       Yes           Billing       8.0
    f) After Hours Service Fees                                                A                       Yes           Billing       8.0
    g) Labor Charges for Work Performed                                        A                       Yes           Billing       8.0
    h) Reconnect / Disconnect Fees                                             A                       Yes           Billing       8.0
    i) Collection Fees                                                         A                       Yes           Billing       8.0
    j) Late payment Fees                                                       A                       Yes           Billing       8.0
    k) Missed appointment Fees                                                 A                       Yes           Billing       8.0
    l) Tampering Fees                                                          A                       Yes           Billing       8.0
    m) Unlimited User Defined Fees                                             A                       Yes           Billing       8.0
    Billing Adjustments
    System will provide the ability to associate adjustment types
                                                                               A                       Yes           Billing       8.0
    with the appropriate G/L number.
    System provides the ability to select a specific historic charge to
                                                                               A                       Yes           Billing       8.0
    adjust.




                                                                                   Page 216 of 391
                                                                                   Response Template                                                 C-129
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 270 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                    6.0 Billing Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                           Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

                                                                                                                                         Open Smartflex will
                                                                                                                                         allow the Utility to bill
                                                                                                                                         generated charges that
                                                                                                                                         were not previously
                                                                                                                                         billed, generate new
                                                                                                                                         charges to adjust
                                                                                                                                         estimated usage charges
    System will provide for on-screen back billing for a user-defined                                                                    when actual readings
                                                                             A                       Yes           Billing       8.0
    timeframe based on rates effective during that timeframe.                                                                            are finally obtained, and
                                                                                                                                         manually modify
                                                                                                                                         incorrect charge
                                                                                                                                         amounts through billing
                                                                                                                                         notes, using a process
                                                                                                                                         provided by the billing
                                                                                                                                         module.

    System provides the ability to identify any billing line item
    charges must have the following fields:
    a) Billed Date                                                           A                       Yes           Billing       8.0




                                                                                 Page 217 of 391
                                                                                 Response Template                                                          C-130
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 271 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                  6.0 Billing Management

                                                                                             Is Functionality   Name of System
                                                                                               Included in      or Module That
                         Requirement Description                          Vendor Score                                           Version      Vendor Notes
                                                                                              Price? (Yes or     Provides This
                                                                                                   No)           Functionality

                                                                                                                                           Through Open
                                                                                                                                           Smartflex, the Utility is
                                                                                                                                           able to identify the
                                                                                                                                           processed dates of
    b) Processed Date                                                          A                       Yes           Billing       8.0     generation and billing of
                                                                                                                                           charges using the
                                                                                                                                           generation date of the
                                                                                                                                           bill in which they are
                                                                                                                                           included.
    System provides the ability to generate a corrected bill with
    "user entered" correct meter readings and number of months to
                                                                               A                       Yes           Billing       8.0
    be corrected. The system should generate the adjustment,
    change meter reading data fields and produce a bill.
    System provides the ability to correct consumption, actual, or
    estimated reading on an account and adjust the billing
                                                                               A                       Yes           Billing       8.0
    accordingly to any specific month within a user-defined
    timeframe.
    System provides the ability to correct charges for unmetered
    services on an account and adjust the billing accordingly to any           A                       Yes           Billing       8.0
    specific month within a user-defined timeframe.
    System will provide the on-screen ability to cancel and re-bill
                                                                               A                       Yes           Billing       8.0
    account for the last bill issued.
    System will provide the ability to cancel and re-bill entire routes
                                                                               A                       Yes           Billing       8.0
    or cycles in batch.
    System provides the ability to select a specific historic charge to
                                                                               A                       Yes           Billing       8.0
    cancel/re-bill.


                                                                                   Page 218 of 391
                                                                                   Response Template                                                          C-131
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 272 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                   6.0 Billing Management

                                                                                              Is Functionality   Name of System
                                                                                                Included in      or Module That
                         Requirement Description                           Vendor Score                                           Version   Vendor Notes
                                                                                               Price? (Yes or     Provides This
                                                                                                    No)           Functionality

    System provides the ability to cancel re-bill a previously
                                                                                A                       Yes           Billing       8.0
    canceled re-billed bill.
    System will provide the on-screen ability to cancel and re-bill a
                                                                                A                       Yes           Billing       8.0
    previously billed account for a user-defined period of time.
    System will generate the G/L entries associated to the services
                                                                                A                       Yes           Billing       8.0
    being canceled and re-billed.
    System will provide a mechanism that allows the user to identify
                                                                                A                       Yes           Billing       8.0
    bills that have been canceled and re-billed.
    System will allow the cancel re-bill process to include all line
                                                                                A                       Yes           Billing       8.0
    items on the bill.
    System will have the ability to select which line item on the bill
    to cancel and re-bill not affecting the other billed line items. Any
                                                                                A                       Yes           Billing       8.0
    dependent charges of the select item will be automatically
    recalculated.
    System will generate a corrected bill reflecting user-defined
                                                                                A                       Yes           Billing       8.0
    adjustments to the previous bill.
    System will provide the ability to include payment adjustments
                                                                                A                       Yes           Billing       8.0
    during billing.
    System will provide user-defined security for adjustment dollar
                                                                                A                       Yes           Billing       8.0
    amounts.
    System captures online details of adjustment history.                       A                       Yes           Billing       8.0
    System will provide the ability to attach a reason code to the
    adjustment for reversed transactions including, but not limited
    to:
    a) Bad System Estimate                                                      A                       Yes           Billing       8.0
    b) Stuck Meter                                                              A                       Yes           Billing       8.0
    c) Misread                                                                  A                       Yes           Billing       8.0
    d) Data Entry Error                                                         A                       Yes           Billing       8.0


                                                                                    Page 219 of 391
                                                                                    Response Template                                                 C-132
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 273 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                    6.0 Billing Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                           Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    e) User Defined with Comments with time stamp                           A                       Yes           Billing       8.0
    System provides the ability to adjust off (remove) a single line
                                                                            A                       Yes           Billing       8.0
    item - based on security levels.
                                                                                                                                        All billing adjustments
                                                                                                                                        are generated as
                                                                                                                                        charges and sent to G/L.
                                                                                                                                        The Utility is provided
                                                                                                                                        with the ability to
    System to capture all appropriate G/L transactions for
                                                                                                                                        generate reports for
    adjustments. System will provide a list of historical charges           A                       Yes           Billing       8.0
                                                                                                                                        billing adjustments,
    from which to select.
                                                                                                                                        using the interactive
                                                                                                                                        report framework
                                                                                                                                        powered by Open
                                                                                                                                        Smartflex.




                                                                                Page 220 of 391
                                                                                Response Template                                                          C-133
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 274 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                6.0 Billing Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                           Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

                                                                                                                                        Considering the
                                                                                                                                        multilevel structure of
                                                                                                                                        Open Smartflex based
                                                                                                                                        on customer, account
                                                                                                                                        and product, Open
                                                                                                                                        Smartflex allows the
    System will provide the ability to transfer balances from one
                                                                                                                                        Utility to transfer
    account to another with the appropriate audit trail in one              A                       Yes           Billing       8.0
                                                                                                                                        current and deferred
    transaction.
                                                                                                                                        receivables among
                                                                                                                                        products that belong to
                                                                                                                                        the same account or
                                                                                                                                        products associated
                                                                                                                                        with different accounts.

    System provides the ability to account for cross connects /
    switched meters. The system will cancel/re-bill each account
                                                                            A                       Yes           Billing       8.0
    that included the corrected reading. The system will provide the
    process within one screen.
                                                                                                                                        Open Smartflex provides
    System provides the ability to process cross connects / switched                                                                    the Utility the ability to
    meters back from a user-defined timeframe, where the meters             A                       Yes           Billing       8.0     interchange meters that
    are not installed or billed on the same date.                                                                                       were allocated to the
                                                                                                                                        wrong products because




                                                                                Page 221 of 391
                                                                                Response Template                                                           C-134
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 275 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               6.0 Billing Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                           Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

                                                                                                                                        Open Smartflex provides
                                                                                                                                        the Utility the ability to
                                                                                                                                        interchange meters that
                                                                                                                                        were allocated to the
                                                                                                                                        wrong products because
                                                                                                                                        of human mistakes.
    System provides the ability to process cross connects / switched                                                                    After this process is
                                                                            A                       Yes           Billing       8.0
    meters back from a user-defined timeframe.                                                                                          performed, the meters
                                                                                                                                        are associated with the
                                                                                                                                        actual products
                                                                                                                                        according to its physical
                                                                                                                                        location.


    System processes both the cross connects amending and
    displaying the new consumption and dollar amounts                       A                       Yes           Billing       8.0
    automatically.
                                                                                                                                        Open Smartflex will
                                                                                                                                        allow the Utility to
    System provides the ability to automatically back out                                                                               manually create billing
    transactions on an account that has been connected or                   A                       Yes           Billing       8.0     adjustments in order to
    disconnected in error with an audit trail.                                                                                          increase or decrease the
                                                                                                                                        balance of customer
                                                                                                                                        accounts.




                                                                                Page 222 of 391
                                                                                Response Template                                                           C-135
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 276 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                 6.0 Billing Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                           Version      Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    System provides the ability to create a specific adjustment type
    that is linked/associated to a specific GL code for the credit to
    be applied (rebate for Electric is applied to an Electric G/L only
                                                                              A                       Yes           Billing       8.0
    as a credit that can be applied to that services type. That credit
    will sit on the account and show a credit on that services until
    applied.
    Bill Production / Printing / Format
    System provides the flexibility in combining line item charges or
                                                                              A                       Yes           Billing       8.0
    separating item charges for bill printing.
    System provides the ability to flag charges to not appear on the                                                                      Open Smartflex will
    bill. Adjustments or charges made in error that the utility does                                                                      allow the Utility to
    not want the customer to view.                                                                                                        suppress specific
                                                                              A                       Yes           Billing       8.0
                                                                                                                                          charges that it does not
                                                                                                                                          want to be visible to the
                                                                                                                                          customer.
    System provides the ability to accommodate multi-page bill
                                                                              A                       Yes           Billing       8.0
    formats that are produced in XML formats.
    System provides the ability to display Name / Spouse /
    Company name before street address within the bill format.                A                       Yes           Billing       8.0

    System provides a separate line item for deferred payment
    arrangements. The deferred due date will be printed and can be            A                       Yes           Billing       8.0
    different from the net new due date.
    System provides the ability for detailed balance forward
    information to include, but not limited to the following:
    a) Previous Balance Due                                                   A                       Yes           Billing       8.0
    b) Payments Applied                                                       A                       Yes           Billing       8.0
    c) Adjustments Applied                                                    A                       Yes           Billing       8.0



                                                                                  Page 223 of 391
                                                                                  Response Template                                                          C-136
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 277 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                 6.0 Billing Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                            Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

    d) Penalties Applied                                                     A                       Yes            Billing       8.0
    System provides the ability to produce a mail barcode on the bill
                                                                             A                       Yes            Billing       8.0
    print.
    System provides the ability to show the total amount due plus
    amount of penalty if not paid by due date. The penalty amount            A                       Yes            Billing       8.0
    can be viewed as a separate line item.
    System provides a graph or table showing consumption/usage
    for current and prior 12-months for each service/usage type.             A                       Yes            Billing       8.0

    System provides the ability to generate an image of the actual
    view of the bills and statements. View can either be a PDF or            A                       Yes            Billing       8.0
    HTML file format.
    System provides the ability to generate an image of the actual
                                                                             A                       Yes            Billing       8.0
    view of letters. View can either be a XML,HTML,PDF file format.
                                                                                                                                          System displays bill
    System provides the ability to display how the bill was sent for                                                                      delivery method for
                                                                             A                       Yes            Billing       8.0
    example mail or email.                                                                                                                each account.

    System provides the ability to display how the letter was sent
                                                                             A                       Yes         System tools     8.0
    for example mail or email.

    System provides for a check digit/barcode to be included on the
    return portion of the bill print for scanning into payment batch.        A                       Yes            Billing       8.0

    System provides the ability for customer to select the preferred
    language of communication that impacts bills, notices,                   A                       Yes         System tools     8.0
    correspondence, self-service, social media




                                                                                 Page 224 of 391
                                                                                 Response Template                                                           C-137
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 278 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                     6.0 Billing Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                            Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

    System provides the ability for CSR to select the preferred
    language of communication, which allows the CSR to translate
    the documents, based on the customer's preferred language of             A                       Yes            Billing       8.0
    communication that impacts bills, notices, correspondence, self-
    service, social media
    System provides the ability to produce all correspondence (as
    defined above) for following customer preferred language(s):             A                       Yes         System tools     8.0

    Sorting
    System provides multiple capabilities for sorting bills by zip                                                                        Open Smartflex allows
                                                                             A                       Yes          Metering        8.0
    code, cycle, exception/bunch code, customer name, other                                                                               the company to choose
    System provides the ability to sort bills by postal carrier route                                                                     the group
                                                                                                                                          System    of bills
                                                                                                                                                 allows  forthat
                                                                                                                                                             the
    for bulk rate discounts.                                                                                                              sorting by postal codes
                                                                                                                                          corresponding to postal
                                                                             A                       Yes            Billing       8.0     carrier routes to qualify
                                                                                                                                          for bulk mailing
                                                                                                                                          discounts.

    System provides the ability to mark inter-departmental bills so
                                                                             A                       Yes            Billing       8.0
    that they don't print.
    System will provide the ability to identify bill types (so that
    proper form can be used for printing) including, but not limited         A                       Yes            Billing       8.0
    to initial, cancel/rebill, final, regular, delinquent, estimated,
    bank draft, duplicate
    System provides the ability to sort bills based upon internal
    bunch codes without or by printing on customer bill but                  A                       Yes            Billing       8.0
    grouping with a separator page.


                                                                                 Page 225 of 391
                                                                                 Response Template                                                            C-138
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 279 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                 6.0 Billing Management

                                                                                        Is Functionality   Name of System
                                                                                          Included in      or Module That
                         Requirement Description                     Vendor Score                                           Version      Vendor Notes
                                                                                         Price? (Yes or     Provides This
                                                                                              No)           Functionality

    Production
    System provides the ability to input a range of bills to be
    produced. For example, the entire bill run does not need to be        A                       Yes           Billing       8.0
    printed all at one time.
    System provides the ability to have the system display the                                                                        Open Smartflex displays
    number of bills to be printed, by bill type, etc.                                                                                 detailed progress
                                                                                                                                      information of the bill
                                                                                                                                      printing process.
                                                                                                                                      Process details include
                                                                                                                                      start date, process
                                                                                                                                      status, completed
                                                                          A                       Yes           Billing       8.0     percent, printed bills
                                                                                                                                      and bills remaining to be
                                                                                                                                      printed.

                                                                                                                                      This also applies to the
                                                                                                                                      next two items (below).



    System provides the ability to have the system display the
                                                                          A                       Yes           Billing       8.0
    number of bills remaining to be printed.
    System provides the ability to have the system display the
                                                                          A                       Yes           Billing       8.0
    number of total bills printed.




                                                                              Page 226 of 391
                                                                              Response Template                                                          C-139
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 280 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                   6.0 Billing Management

                                                                                             Is Functionality   Name of System
                                                                                               Included in      or Module That
                         Requirement Description                          Vendor Score                                                  Version      Vendor Notes
                                                                                              Price? (Yes or     Provides This
                                                                                                   No)           Functionality

    System provides the ability to allow restarting of a bill print run                                                                           Open Smartflex allows
    from any point.                                                                                                                               system administrators
                                                                                                                                                  to stop active system
                                                                                                                                                  processes according to
                                                                                                                                                  the service provider's
                                                                               A                       Yes             Billing            8.0     needs.

                                                                                                                                                  This also applies to the
                                                                                                                                                  next item (below).



    System provides the ability to allow a bill print run to be paused
                                                                               A                       Yes             Billing            8.0
    and restarted.
    Output
    System provides the ability to be capable of creating a HTML
    and / or text-only version of any bill for email attachment                A                       Yes             Billing            8.0
    purposes.
    System provides the ability to be capable of creating a text
                                                                               A                       Yes             Billing            8.0
    message / SMS of any bill and related information.
    System provides the ability to automatically transmit bills to
    selected customers via fax or Internet services, i.e., cloud               A                       Yes             Billing            8.0
    computing, FTP, etc.
    System provides the ability to re-print a duplicate copy of the
                                                                               A                       Yes             Billing            8.0
    current bill in an online mode.
    System provides the ability to re-print a duplicate copy of the
                                                                               A                       Yes      Products and services     8.0
    bill for 'xx' number of months of previous billing.
    System provides the ability to re-print the current bill after
                                                                               A                       Yes             Billing            8.0
    adjustments have been made.


                                                                                   Page 227 of 391
                                                                                   Response Template                                                                  C-140
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 281 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                   6.0 Billing Management

                                                                                              Is Functionality   Name of System
                                                                                                Included in      or Module That
                         Requirement Description                           Vendor Score                                           Version      Vendor Notes
                                                                                               Price? (Yes or     Provides This
                                                                                                    No)           Functionality

    System provides the ability to send a duplicate copy or portion
    of the bill to any third party defined for the account (ex:                 A                       Yes           Billing       8.0
    landlord, etc.).
    System provides the ability to generate customer bills to a
                                                                                A                       Yes           Billing       8.0
    digital media such as tape or disk (for storage).
    System provides the ability to provide output file for bill print to
                                                                                A                       Yes           Billing       8.0
    an outsource company.
    System provides the ability to dynamically add / subtract fields                                                                        Open Smartflex allows
    on the bill print extract file without programming intervention.                                                                        creating printable bill
                                                                                                                                            templates, which use
                                                                                                                                            business rules to
                                                                                A                       Yes           Billing       8.0
                                                                                                                                            determine the value of
                                                                                                                                            each field to be printed.



    Bill Messaging
    System provides the ability for global custom messages, without
    programming needed as this may change with each bill run, and               A                       Yes           Billing       8.0
    where all bills produced will have a single message.

    System provides the ability for all message types to be started
                                                                                A                       Yes           Billing       8.0
    and terminated based on an input date.
    System provides the ability to view history of bill messages for a
                                                                                A                       Yes           Billing       8.0
    user-defined timeframe.
    System provides the ability to define custom messages by
    individual customer, range of customers, class, zip code, rate,             B                       Yes           Billing       8.0
    etc.




                                                                                    Page 228 of 391
                                                                                    Response Template                                                           C-141
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 282 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                   6.0 Billing Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                                 Version   Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    System provides the ability to display a message based on cycle
                                                                              B                       Yes             Billing           8.0
    number.
    System provides the ability to display a message based on route
                                                                              B                       Yes             Billing           8.0
    number.
    System provides the ability to define custom messages by
                                                                              A                       Yes             Billing           8.0
    service or other user-defined group.
    Master and Sub-Account Billing
    System provides the ability to summarize multiple accounts                                                  Payment and debt
                                                                              A                       Yes                               8.0
    onto a single bill, i.e., master account.                                                                      collection
    System will provide the ability to send the master account a                                                Payment and debt
                                                                              A                       Yes                               8.0
    summary bill in addition to detailed bill for individual accounts.                                             collection
    System will generate a summary bill when the billing cycle for
                                                                                                                Payment and debt
    the master account is processed. All sub accounts will be held            A                       Yes                               8.0
                                                                                                                   collection
    (or not) until the master account is billed.
    System provides the option for the master account to either                                                 Payment and debt
                                                                              A                       Yes                               8.0
    receive a summary bill or detailed bill.                                                                       collection
    Budget and/or Levelized Billing
    System provides for budget and levelized billing.                         A                       Yes             Billing           8.0
    System provides a year-end budget plan recap / settlement
                                                                              A                       Yes             Billing           8.0
    statement.
    System provides for sign-up for budget billing in customer
                                                                              A                       Yes       Self-service portal     8.0
    eCare.
    System calculates the average billing amount over a user-
                                                                              A                       Yes             Billing           8.0
    defined period for past billings.
    System calculates the same monthly payment while capturing
                                                                              A                       Yes             Billing           8.0
    actual readings.




                                                                                  Page 229 of 391
                                                                                  Response Template                                                       C-142
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 283 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                  6.0 Billing Management

                                                                                             Is Functionality   Name of System
                                                                                               Included in      or Module That
                         Requirement Description                          Vendor Score                                           Version   Vendor Notes
                                                                                              Price? (Yes or     Provides This
                                                                                                   No)           Functionality

    System provides a user-defined month for account to be
    reconciled (trued up). Difference between the budget months                A                       Yes           Billing       8.0
    calculated and payment to the actual amount to be billed.
    System will provide total true up amount in the next bill.                 A                       Yes           Billing       8.0
    System provides the ability to establish levelized amount based
                                                                               A                       Yes           Billing       8.0
    upon actual consumption.
    System provides automatic notification based on a user-defined
                                                                               A                       Yes           Billing       8.0
    timeframe that account is delinquent.
    System will automatically remove a customer from budget
    billing if after a user-defined timeframe the account has not              A                       Yes           Billing       8.0
    been paid by the due date.
    System provides automatic notification. will be sent if a
                                                                               A                       Yes           Billing       8.0
    customer is removed from budget billing.
    System will automatically recalculate the difference that is owed
    based on previous months after being taken off budget billing.             A                       Yes           Billing       8.0
    The following billing cycle will capture exact usage and bill
    System will bill for total due, including total true up amount plus
                                                                               A                       Yes           Billing       8.0
    current usage, to be billed on settle-up statement.
    System will recalculate a budget bill based on specific issues,
    e.g., an abnormally cold winter requires a recalculated budget             A                       Yes           Billing       8.0
    amount, etc.
    System allows the customer to define the start of the budget
                                                                               A                       Yes           Billing       8.0
    billing process.
    System provides for a global setting to establish budget billing
                                                                               A                       Yes           Billing       8.0
    duration, with overrides for exceptions.




                                                                                   Page 230 of 391
                                                                                   Response Template                                                 C-143
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 284 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                   6.0 Billing Management

                                                                                             Is Functionality   Name of System
                                                                                               Included in      or Module That
                         Requirement Description                          Vendor Score                                           Version   Vendor Notes
                                                                                              Price? (Yes or     Provides This
                                                                                                   No)           Functionality

    System allows user-defined criteria, e.g., poor credit rating,
    etc., that has to be met in order to be eligible for budget billing
                                                                               A                       Yes           Billing       8.0
    services - with manual override. System will generate letters or
    work queue activities.
    Customer must have a user-defined, e.g., positive, etc., credit
    score and a user-defined threshold of A/R to be eligible for               A                       Yes           Billing       8.0
    budget billing.
    System will allow for user override of amount due to special
                                                                               A                       Yes           Billing       8.0
    conditions.
    System will allow for budget billing on user-defined services.             A                       Yes           Billing       8.0

    System provides the ability to select what service will be
                                                                               A                       Yes           Billing       8.0
    included within a budget bill when multiple services are offered.
    System will allow for delinquent cut-off, and a late charge to be
    assessed once account has been taken off budget billing. The
                                                                               A                       Yes           Billing       8.0
    charges will include the true up account balance plus assessed
    charges.
    Estimated Billing
    System will provide for estimating should actual reads not be
                                                                               A                       Yes          Metering       8.0
    available.
    System will provide for estimating regardless of type of active
                                                                               A                       Yes          Metering       8.0
    status.
    System provides the ability to estimate entire billing cycles or
                                                                               A                       Yes           Billing       8.0
    routes with user-defined read date.
    System will calculate the estimate bill based upon the read date,
                                                                               A                       Yes          Metering       8.0
    not the bill date, to determine number of days in billing cycle.




                                                                                   Page 231 of 391
                                                                                   Response Template                                                 C-144
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 285 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                6.0 Billing Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                           Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

                                                                                                                                        Open Smartflex offers
                                                                                                                                        the Utility estimation
                                                                                                                                        functionalities to
                                                                                                                                        estimate usage based on
                                                                                                                                        the expected reading
                                                                                                                                        date if a re-reading
    System will allow estimation to be either read date to read date                                                                    activity cannot be
                                                                            A                       Yes          Metering       8.0
    or bill date to bill date.                                                                                                          performed. These
                                                                                                                                        estimations are
                                                                                                                                        executed before billing
                                                                                                                                        process to assure it has
                                                                                                                                        complete information
                                                                                                                                        for charges calculation.

    System will automatically mark services that have been
                                                                            A                       Yes          Metering       8.0
    estimated with a unique identifier.
                                                                                                                                        Open Smartflex allows
                                                                                                                                        for a user defined
    System will have user-defined tables that allow for
                                                                                                                                        number of allowed
    determination of the number of estimations allotted for a               A                       Yes           Billing       8.0
                                                                                                                                        estimations within a
    specific timeframe.
                                                                                                                                        given time period.




                                                                                Page 232 of 391
                                                                                Response Template                                                         C-145
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 286 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               6.0 Billing Management

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                           Version      Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

                                                                                                                                       Open Smartflex allows
                                                                                                                                       the utility to identify
                                                                                                                                       customers that are
                                                                                                                                       excluded from
                                                                                                                                       estimated readings.
                                                                                                                                       These are chosen based
                                                                                                                                       on criteria such as
                                                                                                                                       customer class, rate
                                                                                                                                       code (a.k.a. commercial
                                                                                                                                       plan) and location. For
                                                                                                                                       customers whose usage
    System has the ability to estimate or exclude certain customers
                                                                                                                                       must not be estimated
    from estimated readings , such as customer class, individual,          A                       Yes          Metering       8.0
                                                                                                                                       and no reading was
    route, rate code, other
                                                                                                                                       provided, the system
                                                                                                                                       allows the service
                                                                                                                                       provider to take further
                                                                                                                                       actions.
                                                                                                                                       Furthermore, the
                                                                                                                                       system can estimate
                                                                                                                                       readings in batch,
                                                                                                                                       filtering services by cycle
                                                                                                                                       and route.




                                                                               Page 233 of 391
                                                                               Response Template                                                            C-146
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 287 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                   6.0 Billing Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                           Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    System provides user-defined validation characteristics for                                                                         Furthermore, the
    estimation, by service, which include consumption during the                                                                        system can estimate
    same time last year, consumption during the previous 12                 A                       Yes          Metering       8.0     readings en-masse,
    months, last bill, average consumption, winter/summer                                                                               filtering services by cycle
    average, daily average, user-defined                                                                                                and route.
                                                                                                                                        The utility can prioritize
                                                                                                                                        any and all of the above
                                                                                                                                        usage estimation
    System will provide the ability to prioritize any and all of the
                                                                            A                       Yes          Metering       8.0     methods from a to f,
    above characteristics a-g.
                                                                                                                                        using the business rules
                                                                                                                                        for consumption
                                                                                                                                        analysis.
    System to provide the ability to place a percentage of
    consumption on the above estimations due to weather                     A                       Yes          Metering       8.0
    conditions that effected past consumption.
                                                                                                                                        The Utility is provided
                                                                                                                                        with the ability to
                                                                                                                                        manually change the
    System to provide the ability to manually change percentage of                                                                      percentage of
    consumption estimation on a daily, weekly, monthly, etc.,               A                       Yes           Billing       8.0     consumption
    timeframe.                                                                                                                          estimation, modifying
                                                                                                                                        the business rule of the
                                                                                                                                        required estimation
                                                                                                                                        method.




                                                                                Page 234 of 391
                                                                                Response Template                                                            C-147
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 288 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                6.0 Billing Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                           Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

                                                                                                                                         Open Smartflex stores
                                                                                                                                         the total usage of
                                                                                                                                         customers with similar
                                                                                                                                         characteristics per each
                                                                                                                                         billing period, including
                                                                                                                                         the number of products,
                                                                                                                                         year and month. Based
                                                                                                                                         on the stored
    System provides the ability to identify seasonal periods with
                                                                                                                                         information, Open
    weighted averages by service type and customer class when                A                       Yes          Metering       8.0
                                                                                                                                         Smartflex provides the
    calculating estimates.
                                                                                                                                         ability to estimate the
                                                                                                                                         usage for specific
                                                                                                                                         customers with the
                                                                                                                                         usage patterns of similar
                                                                                                                                         customers, considering
                                                                                                                                         the type of service.


    System has the ability to estimate compound water meters that
                                                                             A                       Yes          Metering       8.0
    include two-side (HCF, HCF2).
    Discount Billing
    System can calculate discounts based on percentage or fixed
                                                                             A                       Yes           Billing       8.0
    amount.
    System will provide the ability to aggregate multiple accounts to
                                                                             B                       Yes           Billing       8.0
    accommodate calculation of a discount or penalty.
     Solar Billing and Special Billing



                                                                                 Page 235 of 391
                                                                                 Response Template                                                          C-148
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 289 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                 6.0 Billing Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                           Version   Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    System provides the ability to calulate the total of a community
                                                                              B                       Yes           Billing       8.0
    solar farm and determine a total dollar amount.
    Provide the ability to track and view a solar farm's generation
                                                                              B                       Yes           Billing       8.0
    and dollar amounts on a monthly basis.
    Special Billing
    System provides installment billing method for billing of
    charitable contributions including but not limited fixed monthly
                                                                              A                       Yes           Billing       8.0
    amount, fixed/unlimited term, total/unlimited pledge, round up
    to nearest dollar
    System provides ability for billing of a service to follow the
    customer instead of a premises, i.e., charitable donations etc.,          A                       Yes           Billing       8.0
    when the customer moves.
    System, if all other services are off/discontinued, to discontinue
                                                                              A                       Yes           Billing       8.0
    billing for charitable services.
    System provides the ability to calculate special surcharges
                                                                              A                       Yes           Billing       8.0
    based on consumption with a user-defined dollar limit.
    System will bill out the remainder of the total amount due
    should the account final bill prior to the end of the stated fixed        A                       Yes           Billing       8.0
    time period.
    System will bill out only the monthly installment amount of
                                                                              A                       Yes           Billing       8.0
    charitable contributions on a final bill.
    System will calculate the amount of the monthly installment if
                                                                              A                       Yes           Billing       8.0
    the total amount and fixed time period are provided.




                                                                                  Page 236 of 391
                                                                                  Response Template                                                 C-149
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 290 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                   6.0 Billing Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                           Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

                                                                                                                                         Open Smartflex
                                                                                                                                         supports definition of
                                                                                                                                         promotions in order to
                                                                                                                                         apply discounts to
                                                                                                                                         customers' bills for a
    System will provide for 'free' services for a specified start and
                                                                                                                                         part or the total amount
    end time for promotional purposes, and not bill for that service         A                       Yes           Billing       8.0
                                                                                                                                         of charges in the bills.
    during that time.
                                                                                                                                         Promotion may be
                                                                                                                                         applied to eligible
                                                                                                                                         accounts for a specified
                                                                                                                                         initial and final period.

                                                                                                                                         Open Smartflex
                                                                                                                                         supports an
                                                                                                                                         environment where
                                                                                                                                         service charges for other
                                                                                                                                         companies are imported
                                                                                                                                         from a file and included
    System to provide the ability to bill for services for other
                                                                                                                                         in customer bills. Open
    companies such as reading meters and producing bills for                 A                       Yes           Billing       8.0
                                                                                                                                         Smartflex does not
    another local utility, etc.
                                                                                                                                         modify the received
                                                                                                                                         charges as they belong
                                                                                                                                         to other companies’
                                                                                                                                         processes and systems.




                                                                                 Page 237 of 391
                                                                                 Response Template                                                          C-150
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 291 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                 6.0 Billing Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                           Version   Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    System provides the ability to bill for special surcharges such as
    premises/location, seasonal/weather restrictions, environmental           A                       Yes           Billing       8.0
    cost, medical allowance, rate
    System provides the ability to bill for master meters after
                                                                              A                       Yes           Billing       8.0
    consumption has been captured from sub meters.
    Taxation
    System provides the ability to assess taxes and/or fees based
    upon customer, account, premises and/or service data item(s)              A                       Yes           Billing       8.0
    including, but not limited to:
    a) Customer, Account, Premises, and Service Class                         A                       Yes           Billing       8.0
    b) Service Type                                                           A                       Yes           Billing       8.0
    c) Tax Exemption Data (i.e. percentage exempt)                            A                       Yes           Billing       8.0
    d) Premises/Locations Location( i.e., inside/outside CLIENT
                                                                              A                       Yes           Billing       8.0
    limits, enterprise zone designation, etc.)
    System provides the ability to notify the customer 'x' number of
                                                                              A                       Yes           Billing       8.0
    days prior to expiration of the tax exemption.
    System will automatically generate customer tax renewal
                                                                              A                       Yes           Billing       8.0
    letters/ applications.
    System provides the ability for customer to have accounts in
                                                                              A                       Yes           Billing       8.0
    multiple taxing jurisdictions
    System provides the ability for different tax rates for the same
                                                                              A                       Yes           Billing       8.0
    taxing authority (i.e. State Sales Tax, for each service type).
    System provides the ability to bill for taxes that are applied by
                                                                              A                       Yes           Billing       8.0
    percentage or flat rate.
    System provides the ability to bill for taxes active by date range
                                                                              A                       Yes           Billing       8.0
    (start and stop).




                                                                                  Page 238 of 391
                                                                                  Response Template                                                 C-151
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 292 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                 6.0 Billing Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                           Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

    System provides the ability to bill for multiple taxes for
                                                                             A                       Yes           Billing       8.0
    individual services (local and state, etc.).
    Electric Billing
    System provides the ability to bill for Special Surcharges (extra
    fees) based on the following but not limited to
                                                                             B                       Yes           Billing       8.0
    premises/location, power cost adjustment factor, power quality
    rate (kVAR), seasonal/weather restrictions
    System will bill an account for demand for an individual location
    and account for demand from individual demand meters by                  A                       Yes           Billing       8.0
    specified times to derive the peak demand for a service.
    Provide the ability to associate demand peak usage with an
                                                                             A                       Yes           Billing       8.0
    electric usage.
    System can support/calculate the following "standard" types of
    electric billing, including but not limited to:
    a) kWh                                                                   A                       Yes           Billing       8.0
                                                                                                                                         Open Smartflex provides
                                                                                                                                         the ability to customize
                                                                                                                                         the business rules
                                                                                                                                         according to the utility’s
                                                                                                                                         needs. Billing rules can
    b) Maximum KW and Billing kW (not less than 50%)                         A                       Yes           Billing       8.0     be customized to
                                                                                                                                         validate the demand
                                                                                                                                         service metered and
                                                                                                                                         contracted.



    c) kV/kVAR                                                               A                       Yes           Billing       8.0


                                                                                 Page 239 of 391
                                                                                 Response Template                                                           C-152
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 293 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             6.0 Billing Management

                                                                                  Is Functionality   Name of System
                                                                                    Included in      or Module That
                         Requirement Description               Vendor Score                                           Version     Vendor Notes
                                                                                   Price? (Yes or     Provides This
                                                                                        No)           Functionality

    d) Time-of-Use (Commercial, Industrial, and Domestic):
      i) Unlimited Seasons                                          A                       Yes           Billing       8.0
      ii) Unlimited Peaks                                           A                       Yes           Billing       8.0
      iii) All Days of the Week / Month / Year                      A                       Yes           Billing       8.0
      iv) 24/7 Hourly Capture of Consumption                        A                       Yes           Billing       8.0
      v) Holiday Rates / Periods                                    A                       Yes           Billing       8.0
    e) Flat-Rate Billing                                            A                       Yes           Billing       8.0
                                                                                                                                Open Smartflex allows
                                                                                                                                the Utility to define
                                                                                                                                additional charges to
    h) Standard fees                                                A                       Yes           Billing       8.0     the customer such as
                                                                                                                                deposits and connection
                                                                                                                                fees.




                                                                        Page 240 of 391
                                                                        Response Template                                                         C-153
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 294 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                6.0 Billing Management

                                                                                        Is Functionality   Name of System
                                                                                          Included in      or Module That
                         Requirement Description                     Vendor Score                                           Version      Vendor Notes
                                                                                         Price? (Yes or     Provides This
                                                                                              No)           Functionality

                                                                                                                                      Open Smartflex allows
                                                                                                                                      the Utility to define
                                                                                                                                      different pricing levels,
                                                                                                                                      known as tiers, with the
                                                                                                                                      purpose of billing
                                                                                                                                      consumption based on
                                                                                                                                      how many units
                                                                                                                                      customers use each
    i) Increasing or Decreasing Blocks or Tiers for all Rates             A                       Yes           Billing       8.0
                                                                                                                                      billing period. According
                                                                                                                                      to the defined tiers, the
                                                                                                                                      correct rate will be
                                                                                                                                      applied to each part of
                                                                                                                                      the usage based on the
                                                                                                                                      parameterization.


    m) Traffic Control Service where kWh consumption will be based
    on total hours used by each traffic signal in each fiscal year
                                                                          A                       Yes           Billing       8.0
    multiplied by the average kilowatt demand of these traffic
    signals
    n) Energy Charge (additional charged based on consumed kWh)           A                       Yes           Billing       8.0




                                                                              Page 241 of 391
                                                                              Response Template                                                          C-154
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 295 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             6.0 Billing Management

                                                                                  Is Functionality   Name of System
                                                                                    Included in      or Module That
                         Requirement Description               Vendor Score                                           Version      Vendor Notes
                                                                                   Price? (Yes or     Provides This
                                                                                        No)           Functionality

                                                                                                                                Open Smartflex allows
                                                                                                                                the Utility to offer the
                                                                                                                                following combinations
                                                                                                                                of the rate plans
                                                                                                                                described above:

                                                                                                                                -Time of Use and flat
                                                                                                                                rate billing.
                                                                                                                                -Time of Use and
                                                                                                                                consumption tier billing.
                                                                                                                                -Time of Use and any
                                                                                                                                additional charge,
    o) Any Combination of the Above                                 A                       Yes           Billing       8.0
                                                                                                                                including taxes.
                                                                                                                                -Time of Use, flat rate
                                                                                                                                billing, kV charge, kW
                                                                                                                                charge and/or kVAR
                                                                                                                                charge.
                                                                                                                                -Time of Use,
                                                                                                                                consumption tier billing,
                                                                                                                                kV charge, kW charge
                                                                                                                                and/or kVAR charge.




    p) Temporary Service with a Start and Stop Date / Time          A                       Yes           Billing       8.0




                                                                        Page 242 of 391
                                                                        Response Template                                                          C-155
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 296 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                6.0 Billing Management

                                                                                     Is Functionality   Name of System
                                                                                       Included in      or Module That
                         Requirement Description                  Vendor Score                                           Version      Vendor Notes
                                                                                      Price? (Yes or     Provides This
                                                                                           No)           Functionality

                                                                                                                                   Open Smartflex provides
    System provides for unlimited user-defined adjustment,                                                                         the ability to generate
    charges, fees, or percentages:                                                                                                 and track green power
    a) Energy Charge                                                                                                               charges for
       i) Non-Time Related Energy Charge                                                                                           residential/commercial
       ii) On-Peak Energy Charge                                                                                                   customer according to
       iii) Mid-Peak Energy Charge                                                                                                 their product offering,
       iv) Off-Peak Energy Charge                                                                                                  customer type,
    b) Customer Charge                                                                                                             category, subcategory,
    c) Demand Charge                                                                                                               among other criteria.
       i) Non-Time Related Max Demand
       ii) On-Peak Billing Demand                                                                                                  The systema is able to
       iii) Mid-Peak Billing Demand                                                                                                generate green power
       iv) Off-Peak Billing Demand                                     A                       Yes           Billing       8.0     charges, using the set of
    d) Demand Charge - $/kW of Billing Demand/Meter/Month                                                                          business functions
    e) Voltage Discounts, Hourly Energy Rates Percentage                                                                           provided within the
    f) Voltage Discounts, Facilities-Related Rates Percentage                                                                      solution. When the
    g) Power Factor Adjustment                                                                                                     billing process is
    j) Green Power Charge                                                                                                          performed, charges are
       i) Residential                                                                                                              generated according to
       ii) Commercial                                                                                                              the business rule
       iii) Tracking and Reporting of all GP Charges                                                                               defined by the utility,
       iv) Number of Purchased Blocks of Energy                                                                                    considering the
       v) Based on Percentage of Consumption                                                                                       percentage of a given
    l) Power Cost Adjustment per kWh                                                                                               consumption or other
    o) Minimum Charge                                                                                                              required math
                                                                                                                                   operations.



                                                                           Page 243 of 391
                                                                           Response Template                                                          C-156
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 297 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                 6.0 Billing Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                           Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

    System will support an environment where customers, who
    expand their load by a user-defined percentage, are identified           A                       Yes           Billing       8.0
    and automatically convert to a new rate. Reporting is included.
    System will support an environment where customers, who
    shrink their load by a user-defined percentage, are identified
                                                                             B                       Yes           Billing       8.0
    and automatically convert/revert to a new rate. Reporting is
    included.
                                                                                                                                         Utility is provided with
                                                                                                                                         the ability to create the
                                                                                                                                         electric rate
                                                                                                                                         components as
                                                                                                                                         individual rates with the
                                                                                                                                         purpose of tracking
                                                                                                                                         them. Furthermore, the
                                                                                                                                         billing process generates
    System can track electric rates at the component-of-tariff level,
                                                                                                                                         charges based on those
    including transmission, distribution, generation,
                                                                             A                       Yes           Billing       8.0     rates and prints them on
    decommissioning, public purpose programs, bond and
                                                                                                                                         the bills as just one
    reimbursement charges.
                                                                                                                                         billing item that
                                                                                                                                         summarizes the total
                                                                                                                                         amount. The tariff
                                                                                                                                         calculating must be
                                                                                                                                         make out of the system.




                                                                                 Page 244 of 391
                                                                                 Response Template                                                          C-157
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 298 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                6.0 Billing Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                               Version   Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    System provides the ability to bill for the following Real-Time
    Pricing Rate based on baseline usage for classification. RTP is
    defined as the practice of continuously varying prices to
    customers to reflect simulated hourly variations in the marginal
    costs of generating electricity. Characteristics of RTP include
    but are not limited to the following:
    a) Support for 24x7 Hourly Periods (with not less than 15
                                                                            A                       Yes            Billing          8.0
    minute intervals)
    b) Variable Pricing for each 24x7 Hourly Periods (with not less
                                                                            A                       Yes       Real time pricing     8.0
    than 15 minute intervals)
    b) Daily Min. and Max. Temperature                                      A                       Yes       Real time pricing     8.0
    c) Unlimited Seasons                                                    A                       Yes       Real time pricing     8.0
    d) Weekday                                                              A                       Yes       Real time pricing     8.0
    e) Weekend                                                              A                       Yes       Real time pricing     8.0
    f) Daylight Savings Time support                                        A                       Yes       Real time pricing     8.0
    g) Support for Seasons and Holidays                                     A                       Yes       Real time pricing     8.0
    h) Maximum Demand                                                       A                       Yes       Real time pricing     8.0
    i) Billing Demand (kWh of Max kW determined to the nearest
                                                                            A                       Yes       Real time pricing     8.0
    kW)
    j) Voltage Discounts                                                    A                       Yes       Real time pricing     8.0
    k) Power Factor Adjustments                                             A                       Yes       Real time pricing     8.0
    l) Allowance for Customer-Owned Generating Facilities (net
                                                                            A                       Yes       Real time pricing     8.0
    metering)
    m) Ability for Customer to Notify Utility of Plan Adoption (IVR,
                                                                            A                       Yes            Billing          8.0
    Web, email, etc.)
    n) Excess Energy Charges                                                A                       Yes       Real time pricing     8.0




                                                                                Page 245 of 391
                                                                                Response Template                                                     C-158
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 299 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                  6.0 Billing Management

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                                 Version      Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

    o) Min/Max kW Loads from Prior Months to use as Baseline for
    Subsequent Months Consumption / Rate Setting / Pricing /               A                       Yes       Real time pricing       8.0
    Enrollment.
    p) Support for Locational Marginal Pricing (ISO). LMP is the
    marginal cost of serving the next increment of demand at a
                                                                           A                       Yes       Real time pricing       8.0
    given node consistent with transmission constraints. LMP prices
    generally consist of three components (bill on Power Factor):
      i) Energy (Demand)                                                   A                       Yes       Real time pricing       8.0
      ii) Congestion                                                       A                       Yes       Real time pricing       8.0
      iii) Losses                                                          A                       Yes       Real time pricing       8.0
    q) Support for the Real-Time Imbalance Market                          G                       No
    r) Capacity Reservation Charge                                         A                       Yes       Real time pricing       8.0     Open Smartflex
    s) Schedules for Injection (in) and Withdrawal (out) of RTP            G                       No
    t) Compliance Reporting based on each Unique RTP Rate,
                                                                           A                       Yes       Real time pricing       8.0
    Schedule, Tariff, or Contract
                                                                                                                                             Open Smartflex provides
                                                                                                                                             the ability to manage
                                                                                                                                             different devices used to
                                                                                                                                             deliver services such as
    u) System supports the Inventory and tracking of Advanced                                               Device and materials
                                                                           A                       Yes                               8.0     smart meters, voltage
    Control Devices required to support a RTP Rate                                                             management
                                                                                                                                             current and instrument
                                                                                                                                             transformers.


    v) Customer-Focused Dashboard Tools for Real-Time Energy
                                                                           A                       Yes       Real time pricing       8.0
    Consumption Analysis



                                                                               Page 246 of 391
                                                                               Response Template                                                                C-159
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 300 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                   6.0 Billing Management

                                                                                              Is Functionality   Name of System
                                                                                                Included in      or Module That
                         Requirement Description                           Vendor Score                                               Version   Vendor Notes
                                                                                               Price? (Yes or     Provides This
                                                                                                    No)           Functionality
    System provides the ability to bill for the following Critical Peak
    Pricing Rate based on baseline usage for classification. CPP is
    defined as the practice of continuously varying prices to
    customers to reflect their participation in the CPP program that
    leads to reductions in power utilization during known/pre-                  A                       Yes       Real time pricing     8.0
    defined period of time. Typically the price of electricity is higher
    during CPP events, the CPP rate offers lower prices during all
    other times. Characteristics of CPP include but are not limited
    to the following:
    a) Support for 24x7 Hourly Periods, with not less than 15
                                                                                A                       Yes            Billing          8.0
    minute intervals
    b) Variable Pricing for each 24x7 Hourly Periods, with not less
                                                                                A                       Yes       Real time pricing     8.0
    than 15 minute intervals
    b) Daily Min. and Max. Temperature                                          A                       Yes       Real time pricing     8.0
    c) Unlimited Seasons                                                        A                       Yes       Real time pricing     8.0
    d) Weekday Timeframe(s)                                                     B                       Yes       Real time pricing     8.0
    e) Weekend Timeframe(s)                                                     B                       Yes       Real time pricing     8.0
    f) Daylight Savings Time Support                                            A                       Yes       Real time pricing     8.0
    g) Support for Seasons and Holidays                                         A                       Yes       Real time pricing     8.0




                                                                                    Page 247 of 391
                                                                                    Response Template                                                     C-160
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 301 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                        6.0 Billing Management

                                                                                              Is Functionality   Name of System
                                                                                                Included in      or Module That
                         Requirement Description                           Vendor Score                                               Version      Vendor Notes
                                                                                               Price? (Yes or     Provides This
                                                                                                    No)           Functionality

                                                                                                                                                Open Smartflex provides
                                                                                                                                                the ability to create as
                                                                                                                                                many product offerings
                                                                                                                                                as the Utility needs in
                                                                                                                                                order to cover CPP
                                                                                                                                                programs and others.
                                                                                                                                                Each product offering is
    h) Defined Period of Time (e.g., 12-months, 24-months, etc.)                A                       Yes       Real time pricing     8.0     associated with a
                                                                                                                                                validity period defined
                                                                                                                                                by the utility with the
                                                                                                                                                purpose of selling
                                                                                                                                                products until the
                                                                                                                                                configured end date
                                                                                                                                                comes.

    i) Support for Capacity Bidding                                             B                       Yes       Real time pricing     8.0
    j) Support for Day-Ahead Pricing                                            A                       Yes       Real time pricing     8.0
    k) Min. / Max. kW for Plan Enrollment and Rate Assignment                   B                       Yes       Real time pricing     8.0
    l) Reservation of a Specific Amount of Electricity Billed at a fixed
                                                                                A                       Yes       Real time pricing     8.0
    monthly capacity charge. Also included is default capacity
    m) Bill Protection abilities for risk-free testing of CPP for 'x'
                                                                                B                       Yes       Real time pricing     8.0
    months
    n) Enrollment Procedures                                                    B                       Yes       Real time pricing     8.0
    o) Opt-Out Alternative Rate Analysis                                        A                       Yes             Billing         8.0




                                                                                    Page 248 of 391
                                                                                    Response Template                                                             C-161
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 302 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                  6.0 Billing Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                               Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

                                                                                                                                             The Utility is provided
                                                                                                                                             with the ability to create
                                                                                                                                             specific product
                                                                                                                                             offerings for CPP
    p) Default Rate                                                          A                       Yes            Billing          8.0     programs in order to bill
                                                                                                                                             customers according to
                                                                                                                                             the rates defined for
                                                                                                                                             those product offerings.

                                                                                                                                             Open Smartflex is able
                                                                                                                                             to store the hourly
    q) Support for Locational Marginal Pricing (ISO), Gas Pricing, or                                                                        prices uploaded through
                                                                             A                       Yes            Billing          8.0
    other.                                                                                                                                   flat files in order for
                                                                                                                                             billing purposes.

    r) Maximum Demand                                                        A                       Yes       Real time pricing     8.0
    s) Billing Demand (kWh of Max kW determined to the nearest
                                                                             A                       Yes       Real time pricing     8.0
    kW)
    t) Voltage Discounts                                                     B                       Yes       Real time pricing     8.0
    u) Power Factor Adjustments                                              A                       Yes       Real time pricing     8.0
    v) Allowance for Customer-Owned Generating Facilities (net
                                                                             B                       Yes       Real time pricing     8.0
    metering)
    w) Ability for Customer to notify Utility of Plan Adoption (IVR,
                                                                             A                       Yes       Real time pricing     8.0
    Web, email, etc.)
    x) Excess Energy Charges                                                 B                       Yes            Billing          8.0
    y) Min. / Max. kW Loads from prior months to use as baseline
                                                                             A                       Yes       Real time pricing     8.0
    for subsequent months consumption / rate setting / pricing


                                                                                 Page 249 of 391
                                                                                 Response Template                                                               C-162
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 303 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                  6.0 Billing Management

                                                                                             Is Functionality   Name of System
                                                                                               Included in      or Module That
                         Requirement Description                          Vendor Score                                               Version   Vendor Notes
                                                                                              Price? (Yes or     Provides This
                                                                                                   No)           Functionality

    z) CPP Anniversary Date Processing (renewal / analysis)                    A                       Yes       Real time pricing     8.0
    aa) Non-Coincident Demand Charge Waiver - used to calculate
                                                                               B                       Yes       Real time pricing     8.0
    the monthly on-coincident demand charges
    ab) Support for CPP Triggering Events, including but not limited
    to:
      i) > x Degrees F                                                         B                       Yes       Real time pricing     8.0
      ii) Overall System Load                                                  B                       Yes       Real time pricing     8.0
      iii) Extreme System Conditions                                           B                       Yes       Real time pricing     8.0
      iv) Special Alerts                                                       B                       Yes       Real time pricing     8.0
      v) Major Transmission or System Outage                                   B                       Yes       Real time pricing     8.0

                                                                               B                       Yes       Real time pricing     8.0
    ac) Min. / Max. Amount of CPP Events per Enrollment Period

    ad) Support for CPP Periods (i.e. primary, secondary,                      B                       Yes       Real time pricing     8.0
    substation, transmission)
    ae) System supports a Formal and Electronic Send / Receive /
                                                                               B                       Yes       Real time pricing     8.0
    Confirmation Process with all CPP customers
    af) System automatically Allows or Rejects Customers from
    participating or not participating in other programs / rates (e.g.,        B                       Yes       Real time pricing     8.0
    DSM, etc.) according to utility rules, during the CPP period
    ag) Min. / Max. total CPP event hours per year                             B                       Yes       Real time pricing     8.0
    ah) Customer-Focused Dashboard Tools for real-time energy
                                                                               B                       Yes       Real time pricing     8.0
    consumption analysis
    ai) Compliance Reporting based on each Unique CPP rate,
                                                                               B                       Yes       Real time pricing     8.0
    Schedule, Tariff, or Contract




                                                                                   Page 250 of 391
                                                                                   Response Template                                                     C-163
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 304 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                  6.0 Billing Management

                                                                                             Is Functionality   Name of System
                                                                                               Included in      or Module That
                         Requirement Description                          Vendor Score                                                 Version      Vendor Notes
                                                                                              Price? (Yes or     Provides This
                                                                                                   No)           Functionality

                                                                                                                                                 Open Smartflex provides
                                                                                                                                                 the ability to manage
                                                                                                                                                 different devices used to
                                                                                                                                                 deliver services such as
                                                                                                                                                 smart meters, voltage
                                                                                                                                                 current and instrument
                                                                                                                                                 transformers.
    aj) System supports the Inventory and Tracking of Advanced                                                  Device and materials             Additionally, Open
                                                                               A                       Yes                               8.0
    Control Devices required to support a CPP Rate                                                                 management                    Smartflex can track
                                                                                                                                                 network devices
                                                                                                                                                 through Network
                                                                                                                                                 inventory and device
                                                                                                                                                 management
                                                                                                                                                 functionalities.


    System provides the ability to bill for outdoor and street lighting
                                                                               A                       Yes             Billing           8.0
    services by voltage, number, other
    System provides for billing irrigation customers.                          A                       Yes             Billing           8.0
                                                                                                                                                 Open Smartflex's
                                                                                                                                                 business rules allow
    System provides for calculation and storage of seasonal (user-                                                                               calculation of seasonal
    defined months) average winter consumption for use in water                A                       Yes           Metering            8.0     average usages for a
    billing.                                                                                                                                     user-defined amount of
                                                                                                                                                 months.




                                                                                   Page 251 of 391
                                                                                   Response Template                                                                C-164
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 305 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                  6.0 Billing Management

                                                                                             Is Functionality   Name of System
                                                                                               Included in      or Module That
                         Requirement Description                          Vendor Score                                           Version      Vendor Notes
                                                                                              Price? (Yes or     Provides This
                                                                                                   No)           Functionality

    System provides for the ability to override the seasonal                                                                               The Utility can use
                                                                               A                       Yes          Metering       8.0
    average.                                                                                                                               business rules to
                                                                                                                                           determine   that, under
                                                                                                                                           The Utility must  define
                                                                                                                                           the types of water
                                                                                                                                           services that will be
                                                                                                                                           offered to the
                                                                                                                                           customers. Open
    System provides for the ability to bill for multiple types of water
                                                                               A                       Yes           Billing       8.0     Smartflex groups all the
    services at the same premises on a single bill.
                                                                                                                                           services that belong to a
                                                                                                                                           single account in the
                                                                                                                                           same bill during the bill
                                                                                                                                           generation process.

    System provides for unlimited user-defined charges.                        A                       Yes           Billing       8.0
    Wastewater Billing
    System has the ability to bill for wastewater services.
    Calculation of charges could include but not limited to the
    following:
    b) Flat Rate                                                               A                       Yes           Billing       8.0
    c) In/Outside of Territory                                                 A                       Yes           Billing       8.0
    d) HCF/CCF of Water                                                        A                       Yes           Billing       8.0




                                                                                   Page 252 of 391
                                                                                   Response Template                                                          C-165
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 306 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                  6.0 Billing Management

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                           Version      Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

                                                                                                                                       Provided the Utility
                                                                                                                                       configures the necessary
                                                                                                                                       activities, Open
                                                                                                                                       Smartflex provides the
                                                                                                                                       ability to bill for
                                                                                                                                       wastewater
    g) BOD and TSS                                                         A                       Yes           Billing       8.0
                                                                                                                                       characterization tests.
                                                                                                                                       The cost of activities
                                                                                                                                       performed during those
                                                                                                                                       tests is added to the
                                                                                                                                       amount of the
                                                                                                                                       customer's bill.
    h) Special Negotiated Charges                                          A                       Yes           Billing       8.0
    i) Consumption-based billing based on actual water usage, i.e.,
                                                                           A                       Yes           Billing       8.0
    CCF of Water
                                                                                                                                       Open Smartflex allows
                                                                                                                                       definition of rate validity
                                                                                                                                       periods. Existing rates
                                                                                                                                       are only used for
    j) Billing based on winter seasonal average in user-defined                                                                        calculation of charges
                                                                           A                       Yes           Billing       8.0
    months.                                                                                                                            on the period they are
                                                                                                                                       valid. The Utility can
                                                                                                                                       define a different rate
                                                                                                                                       for each quarter of the
                                                                                                                                       year.
    k) Excess Concentration Charges                                        A                       Yes           Billing       8.0
    L) Extra surcharge or multiple surcharges                              A                       Yes           Billing       8.0


                                                                               Page 253 of 391
                                                                               Response Template                                                            C-166
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 307 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                  6.0 Billing Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                            Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

    System provides the ability to identity industrial waste users by
                                                                             A                       Yes            Billing       8.0
    a unique identifier.
    System provides the ability to associate the following specific
    information:
    a) Business Name                                                         A                       Yes         System tools     8.0
    b) APN - Assessors Parcel Number                                         A                       Yes         System tools     8.0
    c) Permit number                                                         A                       Yes         System tools     8.0
    e) EDU's (Equivalent dwelling units)                                     A                       Yes         System tools     8.0
    f) Factor Number (surcharge)                                             A                       Yes         System tools     8.0
    g) Charge per EDU per Month field - provided by the county.              A                       Yes         System tools     8.0
    System has the ability to identify customers that have metered
                                                                             A                       Yes            Billing       8.0
    sewer services
                                                                                                                                          Open Smartflex allows
                                                                                                                                          registration of different
                                                                                                                                          measurements related
                                                                                                                                          with the customer's
    System provides the ability to bill for the following BOD/TSS
                                                                                                                                          service (e.g., BOD/TSS)
    Sewer units =
                                                                             A                       Yes            Billing       8.0     that the system may use
    (monthly discharge volume c.f./1000) x (0.34 + (BOD/200) x
                                                                                                                                          to calculate the
    0.33 + (TSS/200) x 0.33)
                                                                                                                                          BOD/TSS Sewer Units to
                                                                                                                                          charge the customer.



    System has the ability to bill for the following types of usage:
    a) Strength                                                              A                       Yes            Billing       8.0
    b) Flow                                                                  A                       Yes            Billing       8.0


                                                                                 Page 254 of 391
                                                                                 Response Template                                                           C-167
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 308 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             6.0 Billing Management

                                                                                  Is Functionality   Name of System
                                                                                    Included in      or Module That
                         Requirement Description               Vendor Score                                           Version      Vendor Notes
                                                                                   Price? (Yes or     Provides This
                                                                                        No)           Functionality

                                                                                                                                Open Smartflex allows
                                                                                                                                registering different
                                                                                                                                types of usage, read by
                                                                                                                                meters or estimated
                                                                                                                                load, in order to
                                                                                                                                determine the value to
                                                                                                                                be charged for each one
                                                                                                                                through the set of
                                                                                                                                business functions
                                                                                                                                provided by Open
                                                                                                                                Smartflex. The
                                                                                                                                generation of these
    c) Specific Rate code                                           A                       Yes           Billing       8.0     charges during the
                                                                                                                                billing process depends
                                                                                                                                on the business rule and
                                                                                                                                the rates determined by
                                                                                                                                the company. In
                                                                                                                                addition, the Utility can
                                                                                                                                create its own business
                                                                                                                                functions in order to
                                                                                                                                support the particular
                                                                                                                                needs of its operation.




                                                                        Page 255 of 391
                                                                        Response Template                                                          C-168
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 309 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                   6.0 Billing Management

                                                                                              Is Functionality   Name of System
                                                                                                Included in      or Module That
                         Requirement Description                           Vendor Score                                           Version      Vendor Notes
                                                                                               Price? (Yes or     Provides This
                                                                                                    No)           Functionality

                                                                                                                                            Open Smartflex business
                                                                                                                                            rules allow calculation of
    System provides for calculation and storage of seasonal (user-                                                                          seasonal average usages
    defined months) average consumption for use in wastewater                   A                       Yes           Billing       8.0     for a user-defined
    billing.                                                                                                                                amount of months.



    System provides for unlimited user-defined charges.                         A                       Yes           Billing       8.0
    Net Metering (NEM)
    System provides the ability to accommodate two-way-meters
    set up to measure the transmission of energy service into
    customer's service point. But it also must provide for some
                                                                                A                       Yes           Billing       8.0
    meters to be set up to measure excess energy service that has
    been co-generated and is being pushed back into a user-
    specified energy providers grid.
    System provides the ability to accommodate net energy
    metering each billing period (NEM) by the following:
    b) Calculating and displaying the current NEM charges (debit or
    credit), in dollars and usage, on the customer's bill - using               B                       Yes           Billing       8.0
    whatever rate class the customer is enrolled in.
    d) Calculating the refund credit, in dollars, on the customer's bill
    - using a different rate (based upon CLIENT's cost of generation
                                                                                A                       Yes           Billing       8.0
    - or dollar value stated in the NEM contract). This is a
    monetary refund - not kWh.




                                                                                    Page 256 of 391
                                                                                    Response Template                                                           C-169
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 310 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                  6.0 Billing Management

                                                                                             Is Functionality   Name of System
                                                                                               Included in      or Module That
                         Requirement Description                          Vendor Score                                           Version   Vendor Notes
                                                                                              Price? (Yes or     Provides This
                                                                                                   No)           Functionality

    System provides the ability to calculate the accrued NEM
    charge, in dollars, by adding the prior billing period’s NEM
                                                                               B                       Yes           Billing       8.0
    charge, either debit or credit, to the current NEM charge, either
    debit or credit, on the customer’s bill monthly
    System provides the ability to display the following information
    in one area of the bill or online that is easy to view and display:
    a) Current Consumption                                                     A                       Yes           Billing       8.0
    b) Prior Consumption                                                       A                       Yes           Billing       8.0
    c) Current NEM Charge and Usage displayed in:
      i) Positive KWh                                                          A                       Yes           Billing       8.0
    d) Amount Due and Payable                                                  B                       Yes           Billing       8.0
    e) The compensation rate dollar value at any given time -
    displaying the difference between the retail rate amount and the           B                       Yes           Billing       8.0
    compensation rate amount.
    System provides the ability to provide the following NEM-related
    features including but not limited to:
    a) A Credit of kWh/kW/kVAR can be applied and / or removed                 A                       Yes           Billing       8.0

    b) A Debit of kWh/kW/kVAR can be applied and / or removed                  A                       Yes           Billing       8.0
    c) A Credit Balance of dollars and kWh can be carried on the
                                                                               A                       Yes           Billing       8.0
    account for an user-defined period of time
    d) If the Account is closed with a Net Energy Credit, the
    customer shall apply to any service or outstanding balance -               A                       Yes           Billing       8.0
    across all services, fees, and charges, etc.
    g) System has the ability to apply and display a Positive Meter
                                                                               A                       Yes           Billing       8.0
    Read - for NEM meters and customers only



                                                                                   Page 257 of 391
                                                                                   Response Template                                                 C-170
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 311 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               6.0 Billing Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                                    Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    System provides the ability to clearly distinguish an NEM
                                                                            A                       Yes      Sales and customer care     8.0
    customer from other customers upon initial account inquiry.
    System provides for full NEM-related reporting, balancing, and                                                                               The Utility is provided
    tracking, including actual, projections, estimates, and other           A                       Yes            Framework             8.0     with the ability to create
    reporting.                                                                                                                                   reports with the
    Pre-Paid Metering
    System is capable of performing prepaid metering in the
    traditional fashion of kiosks/payment stations and swipe meters         B                       Yes         Prepaid metering         8.0
    and is fully integrated to the CIS.
    System is capable of performing prepaid metering in the
    modern fashion of advanced meters, an in-home display, and a            B                       Yes         Prepaid metering         8.0
    web-enabled pay station that is fully integrated to the CIS.
    System will provide a detailed account balance, presented to the
    CSR and calculated:
    a) Real-Time                                                            B                       Yes         Prepaid metering         8.0
    b) Hourly                                                               B                       Yes         Prepaid metering         8.0
    c) Daily                                                                B                       Yes         Prepaid metering         8.0
    d) Monthly                                                              B                       Yes         Prepaid metering         8.0
    System will provide a detailed account balance, presented
    online to the customer and calculated:
    a) Real-Time                                                            B                       Yes         Prepaid metering         8.0
    b) Hourly                                                               B                       Yes         Prepaid metering         8.0
    c) Daily                                                                B                       Yes         Prepaid metering         8.0
    d) Monthly                                                              B                       Yes         Prepaid metering         8.0
    System supports remote manual or automated disconnects.                 B                       Yes         Prepaid metering         8.0



                                                                                Page 258 of 391
                                                                                Response Template                                                                    C-171
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 312 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                 6.0 Billing Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                              Version   Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    System will accept a trigger from an external system to
                                                                              A                       Yes       Prepaid metering     8.0
    reinstate service (e.g., PDA, mobile data terminal, etc.).
    System provides balance notifications and alerts to the
                                                                              B                       Yes       Prepaid metering     8.0
    customer.
    System will interface to a third-party payment transaction
                                                                              B                       Yes       Prepaid metering     8.0
    system.
    System must be able to accept payments and update the
                                                                              B                       Yes       Prepaid metering     8.0
    prepayment system in a real-time mode.
    System must be able to accept payments and update the
    prepayment system in a real-time mode from providers such as              B                       Yes       Prepaid metering     8.0
    www.MyUsage.com, PaySite, ChoicePay, etc.
    System will support flexible rates for prepaid meters, taking into
    account when to charge taxes, franchise fees, and fuel charges            B                       Yes       Prepaid metering     8.0
    to a given account.
    System will support any type of metering for prepaid systems
                                                                              A                       Yes            Billing         8.0
    (kWh, kW, TOU, etc.).
    System will provide robust reporting and near real-time analysis
    of the state of each customer and their balances, consumption,            B                       Yes       Prepaid metering     8.0
    and usage of prepaid metering.
    System will support prepaid customers where the deposit can
                                                                              A                       Yes            Billing         8.0
    be waived or not.
    System will notify customers of their balance through, but not
    limited to:
    a) Email                                                                  B                       Yes       Prepaid metering     8.0
    b) Automated Calling Service                                              B                       Yes       Prepaid metering     8.0
    c) Text Message                                                           B                       Yes       Prepaid metering     8.0
    d) Fax                                                                    B                       Yes       Prepaid metering     8.0
    e) Social Media (Twitter, Facebook, etc.)                                 B                       Yes       Prepaid metering     8.0
    f) Statement or Bill                                                      B                       Yes       Prepaid metering     8.0


                                                                                  Page 259 of 391
                                                                                  Response Template                                                    C-172
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 313 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                 6.0 Billing Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                              Version   Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    System provides for a full online registration system for prepaid
                                                                              B                       Yes       Prepaid metering     8.0
    customers.
    System will self-authenticate and register a new online user
                                                                              B                       Yes       Prepaid metering     8.0
    without utility/CSR intervention.
    System will automatically generate an alert to prevent a prepaid
                                                                              B                       Yes       Prepaid metering     8.0
    meter from being installed on certain accounts.
    System will support the reporting of theft/tamper conditions.             A                       Yes       Fraud prevention     8.0
    System will support the customers preference for bill receipt
                                                                              B                       Yes       Prepaid metering     8.0
    and paperless environment.
    System will support a wide-range of customer types for prepaid
                                                                              A                       Yes            Billing         8.0
    metering.
    System will enable two-way communication between the utility,
    the meter, and in-home display that lists consumption, balance,
                                                                              G                       No
    suggested payment amount, panic alarm, nearest pay station,
    other
    Pledges and/or Vouchers
    System is capable of adding, updating, or deleting pledges from
    customers, non-profit organizations, and / or governmental                                                  Payment and debt
                                                                              A                       Yes                            8.0
    agencies, over the phone, to the utility CSR or back-office                                                    collection
    personnel.
    System will provide a built-in interface to accept different types
                                                                                                                Payment and debt
    of pledges (e.g., non-profit organizations, governmental                  A                       Yes                            8.0
                                                                                                                   collection
    agencies, etc.).
    System will allow the pledge amount to pay the total or greater                                             Payment and debt
                                                                              A                       Yes                            8.0
    than the outstanding balance.                                                                                  collection




                                                                                  Page 260 of 391
                                                                                  Response Template                                                    C-173
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 314 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                              6.0 Billing Management

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                              Version   Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

    System will allow the pledge amount to pay any portion of the
                                                                                                             Payment and debt
    outstanding balance (i.e., any dollar amount against                   A                       Yes                            8.0
                                                                                                                collection
    outstanding balance).
    In the event any portion of the outstanding balance is pledged,
                                                                                                             Payment and debt
    the entire account can be removed from delinquency                     A                       Yes                            8.0
                                                                                                                collection
    processing.
    When a pledged amount is received, the system will treat the                                             Payment and debt
                                                                           A                       Yes                            8.0
    payment as a "pending payment".                                                                             collection
    When a pledged amount is received, the system will deduct the                                            Payment and debt
                                                                           A                       Yes                            8.0
    pledge amount from the outstanding balance.                                                                 collection
    When a pledged amount is dropped or deleted, the system will
                                                                                                             Payment and debt
    add the pledge amount back into the outstanding balance using          A                       Yes                            8.0
                                                                                                                collection
    a payment reversal transaction.
    System will automatically remove the "pending payment" status
                                                                                                             Payment and debt
    once the actual pledge payment has been received by the                A                       Yes                            8.0
                                                                                                                collection
    utility.
    If the actual pledge payment has not been received by the
    utility within 'x' (user-defined days), the system will
    automatically flag the account in an online work queue for                                               Payment and debt
                                                                           A                       Yes                            8.0
    further follow-up (e.g., in the event that the payment agency                                               collection
    did not send a check - the customer's account and the payment
    agency must be reviewed).
    System provides a screen showing pledged amounts by date,                                                Payment and debt
                                                                           A                       Yes                            8.0
    amount, agency, rep, status, type, other                                                                    collection
    System will provide a detailed online (web) application /
    registration process that allows access to account information                                           Payment and debt
                                                                           A                       Yes                            8.0
    and provides the ability to pledge payments for the proper                                                  collection
    agencies with the following functionality:



                                                                               Page 261 of 391
                                                                               Response Template                                                    C-174
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 315 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                                6.0 Billing Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                              Version   Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    a) System will provide a search capability for the customer
    account to retrieve the pledge page. The complete pledge                                                  Payment and debt
                                                                            A                       Yes                            8.0
    details, including agency name/representative, pledge amount,                                                collection
    type, email address, etc. will be recorded
    b) System will send an email confirmation response confirming                                             Payment and debt
                                                                            A                       Yes                            8.0
    the details of the pledge                                                                                    collection
    c) System will automatically suspend delinquency for the pledge                                           Payment and debt
                                                                            A                       Yes                            8.0
    portion of the bill                                                                                          collection
    d) System will allow for detailed and summary reporting of all                                            Payment and debt
                                                                            A                       Yes                            8.0
    pledges, payment authorized agencies, etc.                                                                   collection
    Degree Day Tracking
    System will provided fields to capture the daily temperature.           A                       Yes          Metering          8.0
    System will calculate and store the degree days from the
                                                                            A                       Yes          Metering          8.0
    entered temperature using a user defined calculation.
    System will allow for the temperature figures to be input
                                                                            A                       Yes          Metering          8.0
    manually or through an interface.
    System will identify how the temperature figure was input into
    the system (ex: "M" for manual in front of the information field        B                       Yes            Billing         8.0
    and "A" for automatic).




                                                                                Page 262 of 391
                                                                                Response Template                                                    C-175
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 316 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version      Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality



                 Yes                Financial interface         8.0

                 Yes                      Billing               8.0
                                                                        Open Smartflex will
                                                                        allow the Utility to
                                                                        define the validity
                                                                        period for each rate,
                                                                        including the start and
                                                                        stop dates for billing
                                                                        purposes. Moreover,
                 Yes                      Billing               8.0
                                                                        special charges can be
                                                                        billed for specific
                                                                        accounts or products in
                                                                        just one billing period,
                                                                        considering the start
                                                                        date only.


                 Yes                      Billing               8.0

                 Yes                      Billing               8.0


                                                                         Page 263 of 391
                                                                        Response Template                             C-176
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 317 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version      Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality

                 Yes                      Billing               8.0

                 Yes                      Billing               8.0
                                                                        Open Smartflex has the
                                                                        ability to assign a rate to
                                                                        a service level or to a
                 Yes                      Billing               8.0
                                                                        premise location level
                                                                        (geographic location).


                 Yes                      Billing               8.0

                 Yes                      Billing               8.0

                 Yes                      Billing               8.0

                 Yes                      Billing               8.0
                 Yes                      Billing               8.0
                 Yes                      Billing               8.0




                                                                         Page 264 of 391
                                                                        Response Template                             C-177
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 318 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version      Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality

                                                                        Open Smartflex allows
                                                                        administrators to
                                                                        configure user roles with
                                                                        execution permissions
                                                                        and data access
                 Yes                  System tools              8.0     restriction policies to
                                                                        prevent unauthorized
                                                                        creation, modification,
                                                                        and deletion of rates.




                 Yes                      Billing               8.0

                 Yes                   Framework                8.0


                 Yes                      Billing               8.0


                 Yes                      Billing               8.0



                                                                         Page 265 of 391
                                                                        Response Template                             C-178
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 319 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version     Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality

                 Yes                      Billing               8.0

                 Yes                      Billing               8.0

                 Yes                      Billing               8.0
                 Yes                      Billing               8.0

                 Yes                      Billing               8.0

                 Yes                      Billing               8.0

                 Yes                      Billing               8.0

                 Yes              Products and services         8.0
                 Yes                      Billing               8.0
                 Yes                      Billing               8.0

                 Yes                      Billing               8.0

                 Yes                      Billing               8.0



                                                                         Page 266 of 391
                                                                        Response Template                             C-179
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 320 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version      Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality




                 Yes                Financial interface         8.0


                                                                        Open Smartflex allows
                                                                        users to configure
                                                                        assignation of G/L
                                                                        numbers to economic
                                                                        events based on criteria,
                                                                        such as product offering
                 Yes                Financial interface         8.0     and service type. The
                                                                        nature set for G/L
                                                                        accounts determines
                                                                        whether they are credit
                                                                        or debit accounts.




                                                                         Page 267 of 391
                                                                        Response Template                             C-180
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 321 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version      Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality

                                                                        Open Smartflex allows
                                                                        users to configure
                                                                        assignation of G/L
                                                                        numbers to economic
                                                                        events based on criteria,
                                                                        such as product offering
                 Yes                      Billing               8.0     and service type; also,
                                                                        the Utility is able to
                                                                        determine if the nature
                                                                        of the G/L accounts is
                                                                        credit or debit.




                 Yes                      Billing               8.0


                 No



                 Yes                      Billing               8.0



                                                                         Page 268 of 391
                                                                        Response Template                             C-181
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 322 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version     Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality

                 Yes                      Billing               8.0
                 Yes                      Billing               8.0

                 Yes                      Billing               8.0



                 Yes                      Billing               8.0



                 Yes                      Billing               8.0



                 Yes                      Billing               8.0




                                                                         Page 269 of 391
                                                                        Response Template                             C-182
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 323 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version     Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality




                 Yes                      Billing               8.0




                 Yes                      Billing               8.0


                 Yes                      Billing               8.0


                 Yes                      Billing               8.0


                 Yes                      Billing               8.0




                                                                         Page 270 of 391
                                                                        Response Template                             C-183
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 324 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version      Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality




                 Yes                      Billing               8.0



                 Yes                      Billing               8.0

                 Yes                      Billing               8.0

                 Yes                      Billing               8.0

                 Yes                      Billing               8.0
                                                                        OpenSmartflex allows
                                                                        the utility to bill the
                                                                        payment arrangement
                 Yes                      Billing               8.0     interest charge and
                                                                        include it in the
                                                                        recurring customer
                                                                        invoice.




                                                                         Page 271 of 391
                                                                        Response Template                             C-184
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 325 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version      Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality

                                                                        Open Smartflex allows
                                                                        the Utiliy to define
                                                                        different product
                                                                        offerings, including rates
                                                                        needed for EV billing
                                                                        and other purposes.

                                                                        Moreover, the utility is
                                                                        able to establish the
                                                                        criteria used to identify
                                                                        the rate to be applied to
                                                                        a specific billing item.
                                                                        These criterias have
                 Yes                      Billing               8.0
                                                                        been defined according
                                                                        to industry best
                                                                        practices and can be use
                                                                        by the Utility based on
                                                                        its business needs.
                                                                        (Examples: location,
                                                                        service class,
                                                                        commercial plan,
                                                                        category, subcategory,
                                                                        among others).

                                                                         Page 272 of 391
                                                                        Response Template                             C-185
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 326 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version      Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality


                 Yes                      Billing               8.0




                 Yes                      Billing               8.0
                                                                        Open Smartflex business
                                                                        rules allow the Utility to
                                                                        define the calculation of
                                                                        a percentage credit for
                 Yes                      Billing               8.0
                                                                        the accounts that have
                                                                        been active for a user-
                                                                        defined time.


                 Yes                        0                   8.0

                 Yes                      Billing               8.0




                                                                         Page 273 of 391
                                                                        Response Template                             C-186
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 327 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version      Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality

                                                                        Open Smartflex business
                                                                        rules allow the Utility to
                                                                        define the calculation of
                                                                        a flat credit for the
                 Yes                      Billing               8.0
                                                                        accounts that have been
                                                                        active for a user-defined
                                                                        time.




                 Yes                      Billing               8.0
                 Yes                      Billing               8.0
                 Yes                      Billing               8.0
                 Yes                      Billing               8.0




                                                                         Page 274 of 391
                                                                        Response Template                             C-187
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 328 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version      Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality

                                                                        By calculating the value
                                                                        to be charged according
                                                                        to the business logic
                                                                        implemented through
                                                                        billing rules, Open
                                                                        Smartflex allows the
                 Yes                      Billing               8.0
                                                                        utility to generate
                                                                        charges that can be
                                                                        applied as a discount
                                                                        over the recurring
                                                                        customer.


                 Yes                      Billing               8.0



                 Yes                      Billing               8.0




                                                                         Page 275 of 391
                                                                        Response Template                             C-188
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 329 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version      Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality


                 Yes              Products and services         8.0




                                                                        Open Smartflex allows
                                                                        creating additional
                                                                        attributes to capture the
                                                                        premise/service related
                                                                        information where the
                                                                        source of energy can be
                 Yes              Products and services         8.0
                                                                        placed.

                                                                        Same for the following
                                                                        two lines b and c


                 Yes              Products and services         8.0
                 Yes              Products and services         8.0
                 Yes              Products and services         8.0




                                                                         Page 276 of 391
                                                                        Response Template                             C-189
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 330 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




.0 Usage Management

                            Is Functionality          Name of System
                              Included in             or Module That
      Vendor Score                                                        Version            Vendor Notes
                             Price? (Yes or            Provides This
                                  No)                  Functionality



               A                      Yes                     Metering       8.0


               A                      Yes                     Metering       8.0




                                                                          Page 277 of 391
                                                                         Response Template                            C-190
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 331 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




.0 Usage Management

                            Is Functionality          Name of System
                              Included in             or Module That
      Vendor Score                                                        Version            Vendor Notes
                             Price? (Yes or            Provides This
                                  No)                  Functionality

                                                                                          Open Smartflex display
                                                                                          the route information:
                                                                                          associated cycle
                                                                                          number, description,
                                                                                          route number, next
                                                                                          scheduled read rate and
                                                                                          associate a time per
                                                                                          read per meter; this
                                                                                          value can be uploaded
                                                                                          or manually entered to
                                                                                          standardize the route
                                                                                          read time.

               A                      Yes                     Metering       8.0          Moreover, the system is
                                                                                          able to identify the
                                                                                          number of reads within
                                                                                          a cycle through the
                                                                                          number of read orders
                                                                                          with the same cycle, or
                                                                                          identify the number of
                                                                                          smart versus standar
                                                                                          meters; the system also
                                                                                          allows the Utility to
                                                                                          create reports that can
                                                                          Page 278 of 391
                                                                         Response Templatebe used to present this     C-191
                                                                                          information.
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 332 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




.0 Usage Management

                            Is Functionality          Name of System
                              Included in             or Module That
      Vendor Score                                                            Version              Vendor Notes
                             Price? (Yes or            Provides This
                                  No)                  Functionality



                                                              Geographical
               A                      Yes                                        8.0
                                                               component
               A                      Yes                       Metering         8.0
                                                                                                Open Smartflex will
                                                                                                allow the Utility to
                                                                                                define, visualize and
                                                                                                manage routes to
                                                                                                perform certain types of
                                                                                                work for a specific group
                                                              Geographical                      of addresses. Using the
               A                      Yes                                        8.0
                                                               component                        system, the company is
                                                                                                able to create itineraries
                                                                                                for planning activities,
                                                                                                regenerate stops, and
                                                                                                add addresses to a
                                                                                                route.


               G                      No

               A                      Yes                      Metering          8.0


                                                                              Page 279 of 391
                                                                             Response Template                               C-192
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 333 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




.0 Usage Management

                            Is Functionality          Name of System
                              Included in             or Module That
      Vendor Score                                                            Version             Vendor Notes
                             Price? (Yes or            Provides This
                                  No)                  Functionality

               A                      Yes                      Metering          8.0

               A                      Yes                      Metering          8.0
                                                                                                Open Smartflex will
                                                                                                allow the Utility to re-
                                                                                                sequence large blocks of
                                                                                                premises through a web
                                                              Geographical
               A                      Yes                                        8.0            service indicating each
                                                               component
                                                                                                property and the new
                                                                                                sequence on the route.




                                                          Open Smartflex
               B                      Yes                                        8.0
                                                           Connector kit




                                                                              Page 280 of 391
                                                                             Response Template                             C-193
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 334 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




.0 Usage Management

                            Is Functionality          Name of System
                              Included in             or Module That
      Vendor Score                                                            Version              Vendor Notes
                             Price? (Yes or            Provides This
                                  No)                  Functionality

               A                      Yes                      Metering          8.0
                                                                                                Open Smartflex will
                                                                                                allow the Utility to
                                                                                                define and manage
                                                                                                routes to perform
                                                                                                certain types of work.
                                                                                                The system offers the
                                                              Geographical                      company the option to
               A                      Yes                                        8.0
                                                               component                        create and modify
                                                                                                itineraries for the
                                                                                                planning of activities for
                                                                                                the work units, adding
                                                                                                and removing addresses
                                                                                                associated with an
                                                                                                account.


               A                      Yes               Network inventory        8.0

               A                      Yes                      Metering          8.0




                                                                              Page 281 of 391
                                                                             Response Template                               C-194
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 335 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




.0 Usage Management

                            Is Functionality          Name of System
                              Included in             or Module That
      Vendor Score                                                        Version              Vendor Notes
                             Price? (Yes or            Provides This
                                  No)                  Functionality

                                                                                            Open Smartflex allows
                                                                                            the service provider to
                                                                                            define special routes to
               A                      Yes                     Metering       8.0            perform different types
                                                                                            of work in the same
                                                                                            premise.

                                                                                            Open Smartflex will
                                                                                            allow the Utility to
                                                                                            create and modify
                                                                                            alternate addresses
                                                                                            associated to the
                                                                                            primary address. The
               A                      Yes                     Metering       8.0
                                                                                            alternate address refers
                                                                                            to one or more
                                                                                            addresses that a
                                                                                            premise has which are
                                                                                            different to the main
                                                                                            address.




                                                                          Page 282 of 391
                                                                         Response Template                             C-195
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 336 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




.0 Usage Management

                            Is Functionality          Name of System
                              Included in             or Module That
      Vendor Score                                                        Version            Vendor Notes
                             Price? (Yes or            Provides This
                                  No)                  Functionality



               B                      Yes                     Metering       8.0




               A                      Yes                     Metering       8.0




                                                                          Page 283 of 391
                                                                         Response Template                            C-196
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 337 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




.0 Usage Management

                            Is Functionality          Name of System
                              Included in             or Module That
      Vendor Score                                                            Version             Vendor Notes
                             Price? (Yes or            Provides This
                                  No)                  Functionality

                                                                                                Open Smartflex provides
                                                                                                the Utility with
                                                                                                integration mechanisms
                                                                                                with external systems
                                                                                                through API’s to export
                                                                                                and import meter
                                                                                                reading information.
                                                                                                The framework of Open
               A                      Yes                     System tools       8.0            Smartflex allows the
                                                                                                creation of reports and
                                                                                                dashboards, which can
                                                                                                be used to view and
                                                                                                compare this type of
                                                                                                information.




               B                      Yes                      Metering          8.0




                                                                              Page 284 of 391
                                                                             Response Template                            C-197
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 338 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




.0 Usage Management

                            Is Functionality          Name of System
                              Included in             or Module That
      Vendor Score                                                        Version             Vendor Notes
                             Price? (Yes or            Provides This
                                  No)                  Functionality



               A                      Yes                     Metering       8.0



               A                      Yes                     Metering       8.0

               A                      Yes                     Metering       8.0

               A                      Yes                     Metering       8.0

               A                      Yes                     Metering       8.0
                                                                                            We are able to mass-
                                                                                            enter a flat file with
               A                      Yes                     Metering       8.0            meter reading, types of
                                                                                            readings and read dates.


               A                      Yes                     Metering       8.0




                                                                          Page 285 of 391
                                                                         Response Template                             C-198
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 339 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




.0 Usage Management

                            Is Functionality          Name of System
                              Included in             or Module That
      Vendor Score                                                        Version             Vendor Notes
                             Price? (Yes or            Provides This
                                  No)                  Functionality



               A                      Yes                     Metering       8.0


                                                                                            The system will be able
                                                                                            to track the number of
                                                                                            consecutive estimates in
                                                                                            order that there can be
               A                      Yes                     Metering       8.0            a control by number of
                                                                                            estimates per a user-
                                                                                            defined timeframe.



               A                      Yes                     Metering       8.0

               A                      Yes                     Metering       8.0


               A                      Yes                     Metering       8.0




                                                                          Page 286 of 391
                                                                         Response Template                             C-199
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 340 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




.0 Usage Management

                            Is Functionality          Name of System
                              Included in             or Module That
      Vendor Score                                                        Version             Vendor Notes
                             Price? (Yes or            Provides This
                                  No)                  Functionality

               A                      Yes                     Metering       8.0
               A                      Yes                     Metering       8.0
                                                                                            Open Smartflex allows
                                                                                            the service provider to
                                                                                            perform a critical usage
                                                                                            analysis in order to
                                                                                            assess the usage that
                                                                                            was concluded to have a
                                                                                            significant deviation.
                                                                                            This analysis can
               A                      Yes                     Metering       8.0
                                                                                            generate critical orders
                                                                                            and the registration of
                                                                                            non-technical losses
                                                                                            that allow the service
                                                                                            provider to carry out a
                                                                                            research.


               A                      Yes                     Metering       8.0

               A                      Yes                     Metering       8.0



                                                                          Page 287 of 391
                                                                         Response Template                             C-200
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 341 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




.0 Usage Management

                            Is Functionality          Name of System
                              Included in             or Module That
      Vendor Score                                                             Version            Vendor Notes
                             Price? (Yes or            Provides This
                                  No)                  Functionality




               A                      Yes                      Metering           8.0




               A                      Yes                      Metering           8.0



               A                      Yes                      Metering           8.0


                                                              Field service
               A                      Yes                                         8.0
                                                              management

               A                      Yes                      Metering           8.0


               A                      Yes                      Metering           8.0




                                                                               Page 288 of 391
                                                                              Response Template                       C-201
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 342 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




.0 Usage Management

                            Is Functionality          Name of System
                              Included in             or Module That
      Vendor Score                                                        Version            Vendor Notes
                             Price? (Yes or            Provides This
                                  No)                  Functionality


               A                      Yes                     Metering       8.0


               A                      Yes                     Metering       8.0


               A                      Yes                     Metering       8.0



               A                      Yes                     Metering       8.0


               A                      Yes                     Metering       8.0




                                                                          Page 289 of 391
                                                                         Response Template                            C-202
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 343 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




.0 Usage Management

                            Is Functionality          Name of System
                              Included in             or Module That
      Vendor Score                                                       Version              Vendor Notes
                             Price? (Yes or            Provides This
                                  No)                  Functionality

                                                                                           By calculating the value
                                                                                           to be charged according
                                                                                           to the business logic
                                                                                           implemented through
                                                                                           billing rules, Open
                                                                                           Smartflex will allow the
                                                                                           Utility to generate
                                                                                           charges that must be
                                                                                           billed to the customer
                                                                                           based on both metered
               A                      Yes                     Billing       8.0            consumption and other
                                                                                           user-defined calculation
                                                                                           factor.

                                                                                           Also, both metered
                                                                                           consumption and factor
                                                                                           that includes number of
                                                                                           units may be utilized in
                                                                                           billing.




                                                                         Page 290 of 391
                                                                        Response Template                             C-203
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 344 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




.0 Usage Management

                            Is Functionality          Name of System
                              Included in             or Module That
      Vendor Score                                                        Version              Vendor Notes
                             Price? (Yes or            Provides This
                                  No)                  Functionality

               A                      Yes                     Metering       8.0
                                                                                            Open Smartflex will
                                                                                            allow the Utility to
                                                                                            create and associate
                                                                                            specific business rules
                                                                                            for the analysis process
                                                                                            to each method of
                                                                                            usage variation. The
               A                      Yes                     Metering       8.0
                                                                                            Utility is responsible for
                                                                                            the definition of these
                                                                                            behavior patterns during
                                                                                            the implementation of
                                                                                            the project.




               A                      Yes                     Metering       8.0


               A                      Yes                     Metering       8.0

               A                      Yes                     Metering       8.0


                                                                          Page 291 of 391
                                                                         Response Template                               C-204
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 345 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




.0 Usage Management

                            Is Functionality          Name of System
                              Included in             or Module That
      Vendor Score                                                           Version              Vendor Notes
                             Price? (Yes or            Provides This
                                  No)                  Functionality

               A                      Yes                     Metering          8.0
                                                                                               Open Smartflex allows
                                                                                               registering meter
                                                                                               readings in various types
                                                                                               of orders (e.g. start
                                                                                               service, stop service,
               G                      No                                                       monthly reading).
                                                                                               However, the solution
                                                                                               does not display the
                                                                                               leading zeros.



               A                      Yes                     Metering          8.0
                                                                                               The Non-technical losses
                                                                                               functionality associates
               A                      Yes                Fraud prevention       8.0            the unauthorized usage
                                                                                               at service level.



               A                      Yes                     Metering          8.0


                                                                             Page 292 of 391
                                                                            Response Template                              C-205
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 346 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




.0 Usage Management

                            Is Functionality          Name of System
                              Included in             or Module That
      Vendor Score                                                              Version            Vendor Notes
                             Price? (Yes or            Provides This
                                  No)                  Functionality



               A                      Yes                     Metering             8.0



               A                      Yes            Sales and customer care       8.0



               A                      Yes                     Metering             8.0

               A                      Yes                     Metering             8.0

               A                      Yes                     Metering             8.0

               A                      Yes                     Metering             8.0




                                                                                Page 293 of 391
                                                                               Response Template                      C-206
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 347 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




ry Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version     Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality


                                  Device and materials
                 Yes                                            8.0
                                     management


                                  Device and materials
                 Yes                                            8.0
                                     management


                                  Device and materials
                 Yes                                            8.0
                                     management



                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management




                                                                         Page 294 of 391
                                                                        Response Template                             C-207
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 348 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




ry Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version     Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality

                                                                        Open Smartflex has the
                                                                        mechanisms to load
                                                                        meters and associated
                                  Device and materials
                 Yes                                            8.0     characteristic en-masse
                                     management
                                                                        through a system API.


                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management




                                                                         Page 295 of 391
                                                                        Response Template                             C-208
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 349 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




ry Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version     Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality

                                                                        Open Smartflex allows
                                                                        the Utility to have
                                                                        integration mechanisms
                                                                        with external systems,
                                                                        for instance ERP,
                                                                        through APIs that are
                                                                        used for the generation
                                                                        of Web Services
                                  Device and materials                  (protocol SOAP V1,2 and
                 Yes                                            8.0
                                     management                         RESTful) that will be
                                                                        consumed by other
                                                                        systems. This
                                                                        integration allows the
                                                                        company to update the
                                                                        information requested
                                                                        such as meter
                                                                        information.

                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management


                                                                         Page 296 of 391
                                                                        Response Template                             C-209
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 350 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




ry Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version     Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality

                                  Device and materials
                 Yes                                            8.0
                                     management

                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                                                        Open Smartflex can
                                                                        storage serial number
                                                                        for AMI-MDM devices
                                  Device and materials                  and programmable
                 Yes                                            8.0
                                     management                         electronic meters. These
                                                                        devices can be
                                                                        associated to each
                                                                        service.
                                  Device and materials
                 Yes                                            8.0
                                     management


                                  Device and materials
                 Yes                                            8.0
                                     management



                                                                         Page 297 of 391
                                                                        Response Template                             C-210
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 351 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




ry Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version      Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality


                                  Device and materials
                 Yes                                            8.0
                                     management

                                                                        Open Smartflex allows
                                                                        the Utility to associate
                                                                        any characteristics to
                                                                        the device types and,
                                                                        also, the system saves
                                  Device and materials                  meter reading sequence
                 Yes                                            8.0
                                     management                         number correlating the
                                                                        premise additional
                                                                        information to its
                                                                        sequence on a route.


                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management


                                                                         Page 298 of 391
                                                                        Response Template                             C-211
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 352 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




ry Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version     Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality


                                  Device and materials
                 Yes                                            8.0
                                     management

                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management


                                                                         Page 299 of 391
                                                                        Response Template                             C-212
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 353 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




ry Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version      Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality

                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                                                        Open Smartflex allows
                                                                        the Utility to associate
                                                                        any characteristics to
                                                                        the device types and,
                                                                        also, the system saves
                                  Device and materials                  meter reading sequence
                 Yes                                            8.0
                                     management                         number correlating the
                                                                        premise additional
                                                                        information to its
                                                                        sequence on a route.




                                                                         Page 300 of 391
                                                                        Response Template                             C-213
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 354 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




ry Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version     Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality

                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management


                                  Device and materials
                 Yes                                            8.0
                                     management


                                  Device and materials
                 Yes                                            8.0
                                     management

                                                                         Page 301 of 391
                                                                        Response Template                             C-214
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 355 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




ry Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version     Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality


                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management


                                  Device and materials
                 Yes                                            8.0
                                     management



                                  Device and materials
                 Yes                                            8.0
                                     management

                                  Device and materials
                 Yes                                            8.0
                                     management




                                                                         Page 302 of 391
                                                                        Response Template                             C-215
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 356 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




ry Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version      Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality

                                                                        Open Smartflex
                                                                        supports registering
                                                                        meters, which ones
                                                                        have a status that allows
                                  Device and materials                  users and processes to
                 Yes                                            8.0
                                     management                         identify its current
                                                                        situation like a meter in
                                                                        use, damaged meter or
                                                                        meter in stock.

                                                                        Open Smartflex records
                                                                        a unique item serial
                                  Device and materials
                 Yes                                            8.0     number by all industries
                                     management
                                                                        within the same data
                                                                        base.




                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management


                                                                         Page 303 of 391
                                                                        Response Template                             C-216
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 357 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




ry Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version     Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality

                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                 Yes            Sales and customer care         8.0
                                  Device and materials
                 Yes                                            8.0
                                     management

                 Yes                   Framework                8.0

                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management




                                                                         Page 304 of 391
                                                                        Response Template                             C-217
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 358 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




ry Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version      Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality



                                  Device and materials
                 Yes                                            8.0
                                     management



                 Yes                  Maintenance               8.0


                 Yes                   Framework                8.0
                                      Field service
                 Yes                                            8.0
                                      management
                                                                        The Utility has the
                                                                        ability to create
                                                                        maintenance activities
                                                                        that allow for the
                                                                        selection of a sample
                 Yes                  Maintenance               8.0
                                                                        population of meters
                                                                        based on a variety of
                                                                        criteria, e.g., purchase
                                                                        year, manufacturer, etc.



                                                                         Page 305 of 391
                                                                        Response Template                             C-218
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 359 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




ry Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version      Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality

                 Yes                  Maintenance               8.0


                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                                                        Open Smartflex allows
                                                                        consulting the current
                                                                        location of any non-
                                  Device and materials                  installed serial item. It
                 Yes                                            8.0
                                     management                         could be "in stock"
                                                                        when it is ready for use
                                                                        in any work order.

                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management



                                                                         Page 306 of 391
                                                                        Response Template                             C-219
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 360 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




ry Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version     Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality

                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                                                        ERP systems are
                                  Device and materials                  responsible for
                 Yes                                            8.0
                                     management                         equipment warranty.


                                  Device and materials
                 Yes                                            8.0
                                     management
                                                                        Equipment (item with a
                                                                        serial number) can be
                                                                        modeled as component
                                                                        of the service if it is
                                                                        necessary to support an
                 Yes               Network inventory            8.0     active service. In such
                                                                        case, each installed
                                                                        service is connected
                                                                        with its equipment.




                                                                         Page 307 of 391
                                                                        Response Template                             C-220
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 361 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




ry Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version      Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality

                 Yes               Network inventory            8.0

                                  Device and materials
                 Yes                                            8.0
                                     management


                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                                                        Open Smartflex records
                                                                        a unique item serial
                                  Device and materials
                 Yes                                            8.0     number by all industries
                                     management
                                                                        within the same
                                                                        database.




                                  Device and materials
                 Yes                                            8.0
                                     management



                                                                         Page 308 of 391
                                                                        Response Template                             C-221
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 362 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




ry Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version     Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality

                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management

                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management

                                     Open Smartflex
                 Yes                                            8.0
                                      Connector kit
                                     Open Smartflex
                 Yes                                            8.0
                                      Connector kit




                                                                         Page 309 of 391
                                                                        Response Template                             C-222
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 363 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




ry Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version      Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality

                                                                        Open Smartflex provides
                                                                        the Utility an integration
                                                                        mechanism with
                                     Open Smartflex                     external systems
                 Yes                                            8.0
                                      Connector kit                     through API’s to import
                                                                        equipment and other
                                                                        assets.




                                                                         Page 310 of 391
                                                                        Response Template                             C-223
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 364 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




ry Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version      Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality

                                                                        OpenSmartflex provides
                                                                        a network inventory
                                                                        configurator that allows
                                                                        the Utility to define the
                                                                        network devices, to
                                                                        create an inventory of
                                                                        them and to establish
                                                                        links between them.

                                  Device and materials
                 Yes                                            8.0     Additionally, the
                                     management
                                                                        systems allow the Utility
                                                                        to define devices and
                                                                        materials to which the
                                                                        system manage its
                                                                        attributes, inventory
                                                                        status, and allocation.




                                  Device and materials
                 Yes                                            8.0
                                     management



                                                                         Page 311 of 391
                                                                        Response Template                             C-224
                                 Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 365 of 426
 DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




ry Management

       Is Functionality          Name of System
         Included in             or Module That
                                                              Version     Vendor Notes
        Price? (Yes or            Provides This
             No)                  Functionality

                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                                  Device and materials
                 Yes                                            8.0
                                     management
                 Yes               Network inventory            8.0




                                                                         Page 312 of 391
                                                                        Response Template                             C-225
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 366 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                            Version      Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

     System Requirements
                                                                                                                                        Open Smartflex web
                                                                                                                                        provides online access
                                                                                                                                        to order management
                                                                                                                                        module in order to view
                                                                                                                                        and manage all orders
                                                                                                                                        using any device with
                                                                                                                                        internet connection as
                                                                                                                                        long as the technical
                                                                                                                                        requirements
    System provides the ability to upload / download service orders                                           Field service             established by Open
                                                                           A                       Yes                          8.0
    and associated information into PDA, Laptops, or like devices.                                            management                International are met.

                                                                                                                                        Moreover, the Utility
                                                                                                                                        may generate a flat file
                                                                                                                                        with orders information
                                                                                                                                        in order to upload it in
                                                                                                                                        other devices.




                                                                               Page 313 of 391
                                                                               Response Template                                                           C-226
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 367 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                            Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

                                                                                                                                         Open International
                                                                                                                                         delivers the order
                                                                                                                                         statuses as Product
                                                                                                                                         Basic Data without
                                                                                                                                         modification by the
                                                                                                                                         Utility.

                                                                                                                                         However, Open
                                                                                                                                         Smartflex currently
    System will provide for order status. Order status will include:
                                                                                                               Field service             support equivalent
    printed (released), canceled (not worked), closed (completed),          A                       Yes                          8.0
                                                                                                               management                statuses:
    pending/open, issued (assigned) and user defined.
                                                                                                                                         released = registered
                                                                                                                                         canceled = canceled
                                                                                                                                         closed = closed
                                                                                                                                         pending = blocked
                                                                                                                                         assigned = assigned
                                                                                                                                         allowing a complete
                                                                                                                                         management during the
                                                                                                                                         entire order life cycle.

    System will provide the ability to apply a Hold (Pending further                                           Field service
                                                                            A                       Yes                          8.0
    action or information) status to the order.                                                                management




                                                                                Page 314 of 391
                                                                                Response Template                                                           C-227
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 368 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                      Is Functionality   Name of System
                                                                                        Included in      or Module That
                         Requirement Description                   Vendor Score                                            Version      Vendor Notes
                                                                                       Price? (Yes or     Provides This
                                                                                            No)           Functionality

                                                                                                                                     Open Smartflex has the
                                                                                                                                     ability to capture, issue,
                                                                                                                                     cancel, print and
                                                                                                                                     complete work orders.
                                                                                                                                     To modify work orders,
                                                                                                                                     the system allows the
                                                                                                                                     user to change their
                                                                                                                                     activities (after orders
                                                                                                                                     are generated), if they
                                                                                                                                     were not performed; or
    For Service orders, the system to provide the ability to:                                              Field service             including additional jobs
                                                                        A                       Yes                          8.0
    capture, issue, change/edit, cancel, print and complete.                                               management                by work units in the
                                                                                                                                     closing process.

                                                                                                                                     Moreover, Open
                                                                                                                                     Smartflex allows the
                                                                                                                                     Utility to change the
                                                                                                                                     assigned work units
                                                                                                                                     (who perform jobs),
                                                                                                                                     also.




                                                                            Page 315 of 391
                                                                            Response Template                                                            C-228
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 369 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                      Is Functionality   Name of System
                                                                                        Included in      or Module That
                         Requirement Description                   Vendor Score                                                  Version      Vendor Notes
                                                                                       Price? (Yes or     Provides This
                                                                                            No)           Functionality

                                                                                                                                           Open Smartflex
                                                                                                                                           generates work orders
                                                                                                                                           with the activities
                                                                                                                                           required by the Utility
                                                                                                                                           based on the
                                                                                                                                           characteristics included
                                                                                                                                           in the customer
                                                                                                                                           requests. Those
                                                                                                             Field service                 activities are created
    System will provide the ability to copy/duplicate an order          A                       Yes                                8.0
                                                                                                             management                    according to the
                                                                                                                                           components and
                                                                                                                                           alternatives of the
                                                                                                                                           requested service so
                                                                                                                                           that all orders that come
                                                                                                                                           from requests with the
                                                                                                                                           same characteristics
                                                                                                                                           have the same tasks.

    System to provide the ability to support an electronic work                                          Back-office workforce
                                                                        A                       Yes                                8.0
    queue.                                                                                                   management
                                                                                                                                           Open Smartflex provides
                                                                                                                                           the ability to route the
                                                                                                                                           work orders according
    System routes the orders based on the physical location,                                                 Field service
                                                                        A                       Yes                                8.0     to physical location in
    device, etc.                                                                                             management
                                                                                                                                           order to optimize the
                                                                                                                                           work units’ travel time.




                                                                            Page 316 of 391
                                                                            Response Template                                                                 C-229
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 370 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                                    Version      Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

                                                                                                                    Field service
    System to identify work initiated and/or completed in the field.          A                       Yes                                  8.0
                                                                                                                    management
    System to allow for a single service order to accommodate
                                                                                                                    Field service
    multiple actions for a single service (example: Meter change out          A                       Yes                                  8.0
                                                                                                                    management
    would be a remove and install).
    System will allow for a single order to address a single                                                        Field service
                                                                              A                       Yes                                  8.0
    service/product only.                                                                                           management
    System to provide the ability to create, display, and maintain
    automated agreements with landlords to revert selected                    A                       Yes      Sales and customer care     8.0
    services and not others at a single premise.
    System to provide the ability to create, display, and maintain
    automated agreements with landlords to revert selected
                                                                              A                       Yes      Sales and customer care     8.0
    services and not others at multiple premises (apartment
    complex).
    Service orders made in error, prior to completion, can be
                                                                                                                    Field service
    reversed on-line, which also reverses any actions taken as a              A                       Yes                                  8.0
                                                                                                                    management
    result of the service order creation.
    System to allow emergency service orders to be differentiated                                                   Field service
                                                                              A                       Yes                                  8.0
    from normal day to day service orders by a unique identifier.                                                   management
                                                                                                                                                   The Utility may define
    System provides the ability to default multiple charges based on                                                                               standard charges to be
                                                                                                                    Field service
    the type of service order and various options selected (i.e. Turn-        A                       Yes                                  8.0     associated with certain
                                                                                                                    management
    on fee plus additional same-day fee).                                                                                                          types of service order.

    System provides the ability to manually enter or override a
                                                                              A                       Yes              Billing             8.0
    charge on a service order.



                                                                                  Page 317 of 391
                                                                                  Response Template                                                                   C-230
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 371 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                            Version   Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

    System provides the ability to automatically generate unique,                                             Field service
                                                                           A                       Yes                          8.0
    and/or sequential service order numbers.                                                                  management
    System provides the ability to define service order information
    codes and descriptions including: status codes, employee ID                                               Field service
                                                                           A                       Yes                          8.0
    (worker code), resolution codes, cause codes, priority and user                                           management
    defined.
    System provides the ability to create a turn-off order for a
                                                                                                              Field service
    pending turn-on order as a single step for the same customer           A                       Yes                          8.0
                                                                                                              management
    and services.




                                                                               Page 318 of 391
                                                                               Response Template                                                  C-231
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 372 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                      Is Functionality   Name of System
                                                                                        Included in      or Module That
                         Requirement Description                   Vendor Score                                            Version      Vendor Notes
                                                                                       Price? (Yes or     Provides This
                                                                                            No)           Functionality

                                                                                                                                     Work load balancing is
                                                                                                                                     automatically
                                                                                                                                     performed by the field
                                                                                                                                     order assignment
                                                                                                                                     process taking into
                                                                                                                                     consideration the
                                                                                                                                     coefficient between the
                                                                                                                                     total estimated hours of
                                                                                                                                     the field orders and the
                                                                                                                                     total capacity of
                                                                                                                                     available work units.
    System supports automated work load balancing at a group and                                           Field service
                                                                        A                       Yes                          8.0     After that, field orders
    individual level.                                                                                      management
                                                                                                                                     are assigned to each
                                                                                                                                     work unit proportionally
                                                                                                                                     according to their actual
                                                                                                                                     capacity level.

                                                                                                                                     Note: this algorithm
                                                                                                                                     only applies for work
                                                                                                                                     units classified as
                                                                                                                                     "capacity".




                                                                            Page 319 of 391
                                                                            Response Template                                                           C-232
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 373 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                            Version      Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

                                                                                                                                        Open Smartflex will
                                                                                                                                        allow the Utility to
                                                                                                                                        change a scheduled
                                                                                                                                        appointment to a new
                                                                                                                                        date and time agreed
                                                                                                                                        with the customer,
    System to provide on-line manual rescheduling of service orders                                                                     considering work unit
                                                                                                              Field service
    by service area based upon date requested, staffing levels, and        A                       Yes                          8.0     availability and
                                                                                                              management
    order of priority.                                                                                                                  displaying the scheduled
                                                                                                                                        date, order priority and
                                                                                                                                        the additional
                                                                                                                                        information associated
                                                                                                                                        with the work order.



     Service Order Validation




                                                                               Page 320 of 391
                                                                               Response Template                                                          C-233
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 374 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                      Is Functionality   Name of System
                                                                                        Included in      or Module That
                         Requirement Description                   Vendor Score                                            Version      Vendor Notes
                                                                                       Price? (Yes or     Provides This
                                                                                            No)           Functionality

                                                                                                                                     Open Smartflex ships
                                                                                                                                     with predefined sets of
                                                                                                                                     fields to be populated
                                                                                                                                     during order closing.
                                                                                                                                     The system also allows
                                                                                                                                     creation of compliance
                                                                                                                                     and non-compliance
                                                                                                                                     fields (e.g. new meter
                                                                                                                                     multiplier) to be filled
    System will validate the inventoried meter and update the
                                                                                                           Field service             up by technicians
    meter multiplier for the installed meter if necessary with          A                       Yes                          8.0
                                                                                                           management                depending on the result
    override.
                                                                                                                                     of order execution. With
                                                                                                                                     this information the
                                                                                                                                     user can update the
                                                                                                                                     meter multiplier if
                                                                                                                                     necessary.




                                                                            Page 321 of 391
                                                                            Response Template                                                          C-234
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 375 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                            Version      Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

                                                                                                                                        When two or more
                                                                                                                                        orders are placed at the
                                                                                                                                        same premise, Open
                                                                                                                                        Smartflex is able to
                                                                                                                                        combine them into a
                                                                                                                                        single order according to
                                                                                                                                        the activities and the
                                                                                                                                        grouping criteria defined
    System provides notification if an order already exists for the                                           Field service             by the Utility. However,
                                                                           A                       Yes                          8.0
    same premise and service.                                                                                 management                the Utility can define
                                                                                                                                        notifications for orders
                                                                                                                                        generated at premises
                                                                                                                                        where prior orders
                                                                                                                                        already exist, but they
                                                                                                                                        will be issued for all
                                                                                                                                        cases.




                                                                               Page 322 of 391
                                                                               Response Template                                                           C-235
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 376 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                            Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

                                                                                                                                         Open Smartflex ships
                                                                                                                                         with predefined sets of
                                                                                                                                         fields to be populated
                                                                                                                                         during order closing.
                                                                                                                                         The system also allows
                                                                                                                                         creation of compliance
                                                                                                                                         and non-compliance
                                                                                                                                         fields (or attributes) to
                                                                                                                                         be filled up by
                                                                                                                                         technicians depending
                                                                                                                                         on the result of order
    System provides the ability to require user-defined fields to be                                           Field service             execution. Furthermore,
                                                                            A                       Yes                          8.0
    populated prior to the service order being created or completed.                                           management                Open Smartflex offers
                                                                                                                                         the ability to attach
                                                                                                                                         custom data queries to
                                                                                                                                         activities in order to
                                                                                                                                         provide technicians with
                                                                                                                                         additional information
                                                                                                                                         related to their assigned
                                                                                                                                         work orders.




    System to provide the ability to validate both the customer and
                                                                                                               Field service
    premise exists within the system before a service order is              A                       Yes                          8.0
                                                                                                               management
    produced.



                                                                                Page 323 of 391
                                                                                Response Template                                                           C-236
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 377 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                       Is Functionality   Name of System
                                                                                         Included in      or Module That
                         Requirement Description                    Vendor Score                                            Version      Vendor Notes
                                                                                        Price? (Yes or     Provides This
                                                                                             No)           Functionality

                                                                                                                                      When two or more
                                                                                                                                      orders are placed at the
                                                                                                                                      same premise, Open
                                                                                                                                      Smartflex is able to
                                                                                                                                      combine them into an
    System validates that there are not two connect orders being                                            Field service             only order according to
                                                                         A                       Yes                          8.0
    placed at the same premise and service for the same customer.                                           management                the activities and the
                                                                                                                                      grouping criteria defined
                                                                                                                                      by the utility, optimizing
                                                                                                                                      the workforce.




                                                                             Page 324 of 391
                                                                             Response Template                                                            C-237
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 378 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                            Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

                                                                                                                                         When two or more
                                                                                                                                         orders are placed at the
                                                                                                                                         same premise, Open
                                                                                                                                         Smartflex is able to
                                                                                                                                         combine them into an
                                                                                                                                         only order according to
                                                                                                                                         the activities and the
    System validates that there are not two connect orders being
                                                                                                               Field service             grouping criteria defined
    placed at the same premise and service for the same customer,           A                       Yes                          8.0
                                                                                                               management                by the utility. If there
    and provides the ability for a user to override.
                                                                                                                                         are two orders after the
                                                                                                                                         previous validation
                                                                                                                                         process, users can
                                                                                                                                         override any order
                                                                                                                                         manually.


    System will review credit history and prompt/alert cut-off-
    allowed flag prior to accepting a disconnect for non-pay service                                           Field service
                                                                            A                       Yes                          8.0
    order, but allowing user override. (Promise to pay account,                                                management
    vouchers, etc.)




                                                                                Page 325 of 391
                                                                                Response Template                                                           C-238
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 379 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                            Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

                                                                                                                                          Open Smartflex allows
                                                                                                                                          modification of the
                                                                                                                                          dispatch block time,
                                                                                                                                          reorganizing the
                                                                                                                                          estimated execution
    System to provide the ability to override the system defined                                                                          time of work orders
                                                                                                                Field service
    restrictions on the number of orders allotted for a specific time        A                       Yes                          8.0     according to work unit
                                                                                                                management
    frame.                                                                                                                                availability. Selected
                                                                                                                                          time blocks can be
                                                                                                                                          decrease or increase in
                                                                                                                                          order to manage the
                                                                                                                                          schedule using Gantt
                                                                                                                                          chart.
    System provides the ability to produce an alert if the time slot                                            Field service
                                                                             A                       Yes                          8.0
    has been filled with a manual override.                                                                     management
                                                                                                                                          Open Smartflex allows
                                                                                                                                          dispatchers to modify
                                                                                                                                          the execution time of
                                                                                                                                          work orders included in
                                                                                                                                          the schedule. By using
    System provides selected types of orders to have a required                                                 Field service             execution time
                                                                             A                       Yes                          8.0
    user-defined time slot with manual override.                                                                management                modification,
                                                                                                                                          dispatchers are able to
                                                                                                                                          add the needed time to
                                                                                                                                          perform jobs included in
                                                                                                                                          orders.




                                                                                 Page 326 of 391
                                                                                 Response Template                                                           C-239
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 380 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                            Version   Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    System provides for the ability to restrict the scheduling of
                                                                                                                 Field service
    orders based on limits and a calendar that takes into                     A                       Yes                          8.0
                                                                                                                 management
    consideration holidays, weekend, etc. with manual override.
    System provides the ability to notify that there is a dependent                                              Field service
                                                                              A                       Yes                          8.0
    order being canceled.                                                                                        management
    System provides the ability to validate that the service exists or                                           Field service
                                                                              A                       Yes                          8.0
    is available at the premise.                                                                                 management
    System will validate the meter readings against the number of                                                Field service
                                                                              A                       Yes                          8.0
    dials.                                                                                                       management
    System will validate service order readings against the standard                                             Field service
                                                                              A                       Yes                          8.0
    hi-low criteria used for in meter reading and other system edits.                                            management
    System provides the ability to validate that a scheduled date is
                                                                                                                 Field service
    a current or future date, not a past date and allows for user             A                       Yes                          8.0
                                                                                                                 management
    override.




                                                                                  Page 327 of 391
                                                                                  Response Template                                                  C-240
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 381 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                             Is Functionality   Name of System
                                                                                               Included in      or Module That
                         Requirement Description                          Vendor Score                                            Version      Vendor Notes
                                                                                              Price? (Yes or     Provides This
                                                                                                   No)           Functionality

                                                                                                                                            Open Smartflex delivers
                                                                                                                                            schedule types as
                                                                                                                                            Product Basic Data
                                                                                                                                            without modification by
                                                                                                                                            the Utility. However,
                                                                                                                                            those schedule types
                                                                                                                                            allow the user to
    System provides the ability to validate that the date can only be                                                                       program appointments
                                                                                                                  Field service
    scheduled within a user-defined date range (future and past                A                       Yes                          8.0     with customers in a
                                                                                                                  management
    dates).                                                                                                                                 specific date, using day
                                                                                                                                            range, time slot range,
                                                                                                                                            approximated time, and
                                                                                                                                            fixed time according to
                                                                                                                                            the utility’s needs.




    Service Order Initiation
    System provides the ability to initiate service orders by batch                                               Field service
                                                                               A                       Yes                          8.0
    from an external file.                                                                                        management
    System will provide the ability to either create a service order in
                                                                                                                  Field service
    groups or by individual order, based on a set of user-defined              A                       Yes                          8.0
                                                                                                                  management
    parameters (e.g., route, meter sequence, service type, etc.).
    System to provide the ability to initiate a service order in the                                              Field service
                                                                               A                       Yes                          8.0
    field to be entered via electronic device.                                                                    management
    System to provide the ability to initiate and complete a service                                              Field service
                                                                               A                       Yes                          8.0
    order in the field via electronic device.                                                                     management


                                                                                   Page 328 of 391
                                                                                   Response Template                                                           C-241
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 382 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                            Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    System to provide the ability to create and distribute service
                                                                                                               Field service
    orders that are initiated by trouble codes identified within the        A                       Yes                          8.0
                                                                                                               management
    meter reading handheld device upload.
    System to provide the ability to create and distribute service
    orders that are initiated by trouble codes identified within the                                           Field service
                                                                            A                       Yes                          8.0
    meter reading handheld device upload into a online work queue                                              management
    with manual overrides.
    Electronic device (mobile device) retains and sync's the
                                                                                                               Field service
    information that has been captured on the system in the event           A                       Yes                          8.0
                                                                                                               management
    of communication disruption.
                                                                                                                                         Open Smartflex will
                                                                                                                                         allow the Utility to
                                                                                                                                         manually assign orders
                                                                                                                                         immediately after they
                                                                                                                                         have been created
                                                                                                                                         whether there is work
                                                                                                               Field service             unit availability.
    System will provide the ability to issue a same day order.              A                       Yes                          8.0
                                                                                                               management                Moreover, automatic
                                                                                                                                         assignment processes
                                                                                                                                         can be programmed in
                                                                                                                                         order to assign orders as
                                                                                                                                         soon as orders are
                                                                                                                                         generated.




                                                                                Page 329 of 391
                                                                                Response Template                                                           C-242
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 383 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                            Version   Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality
    System has the ability to initiate the following types of service
    orders, including:
    a) Turn On / Off
       1) Repair
       2) Temporary Service
       3) Seasonal
       4) Non-Pay (delinquent) cut
       6) Miscellaneous turn-off
    b) Meter Test
                                                                                                                 Field service
    c) Close Out (delinquent turn-off) for multiple meters                    A                       Yes                          8.0
                                                                                                                 management
    d) Set Meter
    e) Pull Meter
    f) Repair and Replace Equipment
    g) New Service Install Equipment
    h) Request Service Level Change (different equipment)
    i) Reread
    j) Unlimited
    k) Undefined

    System to provide the ability to initiate service orders
                                                                                                                 Field service
    automatically based on specific circumstances (e.g., turn on              A                       Yes                          8.0
                                                                                                                 management
    after delinquent off and payment met) with manual override(s).
    System has the ability to prioritize the issuing of service orders
    by the following: dollar amount past due, duration of time,
                                                                                                                 Field service
    maximum quantity, service type, geographic area (i.e. ward,               C                       Yes                          8.0
                                                                                                                 management
    zone, APN, service area #, X/Y, etc.), any combination of the
    above, and user defined.



                                                                                  Page 330 of 391
                                                                                  Response Template                                                  C-243
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 384 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                            Version      Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    System provides the ability for on-line initiation of field order
    investigations for the following: high and low bill investigation,                                           Field service
                                                                              A                       Yes                          8.0
    unauthorized usage/diversion/idle investigation, stopped meter,                                              management
    check or locate meter, and user defined.
    System to provide the ability to initiate an unmetered service                                               Field service
                                                                              A                       Yes                          8.0
    order on-line for user-defined reasons.                                                                      management
    System provides the ability to hold an order until related orders                                            Field service
                                                                              A                       Yes                          8.0
    have been completed for the same location.                                                                   management
    If there is an on order and an off order issued for the same
    premise and service for the same day, the system will                                                        Field service
                                                                              A                       Yes                          8.0
    automatically print, distribute and complete the off order and                                               management
    the on order with the "read only" read
                                                                                                                                           The Utility is able to
                                                                                                                                           perform jobs without
                                                                                                                                           work orders and
                                                                                                                                           generate them after the
                                                                                                                                           activities were
                                                                                                                                           completed. Open
                                                                                                                                           Smartflex allows
    System to provide the ability to initiate and complete a service                                             Field service
                                                                              A                       Yes                          8.0     creation of orders
    order after the work has been completed.                                                                     management
                                                                                                                                           manually for any work
                                                                                                                                           type and execute the
                                                                                                                                           closing process in order
                                                                                                                                           to include devices and
                                                                                                                                           materials used in the
                                                                                                                                           performed activities.



                                                                                  Page 331 of 391
                                                                                  Response Template                                                           C-244
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 385 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                        Is Functionality   Name of System
                                                                                          Included in      or Module That
                         Requirement Description                     Vendor Score                                            Version      Vendor Notes
                                                                                         Price? (Yes or     Provides This
                                                                                              No)           Functionality

    System provides the ability to generate a report of potential                                            Field service
                                                                          A                       Yes                          8.0
    service orders based on related codes.                                                                   management
                                                                                                                                       Open Smartflex has the
                                                                                                                                       ability to manage from a
                                                                                                                                       same account the
                                                                                                                                       services and the deposit
                                                                                                                                       balances. For that
                                                                                                                                       reason, Open Smartflex
                                                                                                                                       is able to select accounts
                                                                                                                                       that have a receivable of
    System to provide the ability to select accounts that have a
                                                                                                                                       a deposit for more than
    service off for delinquent for more than a specified period of                                           Field service
                                                                          A                       Yes                          8.0     a specified period and
    time, and generate a service order to close out (cut off) any                                            management
                                                                                                                                       generate a service order
    other active services.
                                                                                                                                       to close out the services
                                                                                                                                       of these accounts. In
                                                                                                                                       that case, it is not
                                                                                                                                       necessary to close out
                                                                                                                                       any other active service.




    System to provide the ability to select accounts that have a
    service off for delinquent for more than a specified period of                                           Field service
                                                                          A                       Yes                          8.0
    time, and generate a service order to follow up on the account                                           management
    until paid or vacated (verify that the service is off).




                                                                              Page 332 of 391
                                                                              Response Template                                                            C-245
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 386 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                            Version      Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

    System provides the ability to automatically generate a service
    order for turn-ons and installs as a result of processing an                                              Field service
                                                                           A                       Yes                          8.0
    online web-based application for new service - that may or may                                            management
    not be processed through an online work queue.

    System provides the ability to automatically generate a service
                                                                                                              Field service
    order based on system events (fails system high/low                    A                       Yes                          8.0
                                                                                                              management
    validations, negative consumption, etc.) with override.
                                                                                                                                        Open Smartflex provides
                                                                                                                                        the ability to add
                                                                                                                                        comments to orders in
                                                                                                                                        any status by CSR.
                                                                                                                                        Moreover, the Utility is
                                                                                                                                        able to include
    System provides the ability to capture customer contacts and                                              Field service
                                                                           A                       Yes                          8.0     additional information
    notes that the CSR has taken and import onto the service order.                                           management
                                                                                                                                        associated with the
                                                                                                                                        customer, defining a
                                                                                                                                        query to activity level in
                                                                                                                                        order to extract data
                                                                                                                                        required.


    System provides the ability to automatically generate a order                                             Field service
                                                                           A                       Yes                          8.0
    that can be sent to the MDM system for a turn on/off order.                                               management
     Service Order Distribution




                                                                               Page 333 of 391
                                                                               Response Template                                                            C-246
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 387 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                            Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

                                                                                                                                         Open Smartflex will
                                                                                                                                         allow the Utility to print
                                                                                                                                         any work order, in any
                                                                                                                                         status, based on the
                                                                                                                                         format configured, using
                                                                                                                                         print templates defined
                                                                                                                                         previously. Moreover,
                                                                                                                                         the generated work
    System will provide the ability to define where a specific order                                           Field service
                                                                            A                       Yes                          8.0     orders can be assign to
    should be printed/and or sent based on user-defined codes.                                                 management
                                                                                                                                         the work units according
                                                                                                                                         to their skills, capacity
                                                                                                                                         and availability to
                                                                                                                                         perform the given jobs.




                                                                                Page 334 of 391
                                                                                Response Template                                                            C-247
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 388 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                       Is Functionality   Name of System
                                                                                         Included in      or Module That
                         Requirement Description                    Vendor Score                                            Version      Vendor Notes
                                                                                        Price? (Yes or     Provides This
                                                                                             No)           Functionality

                                                                                                                                      Work orders that belong
                                                                                                                                      to a specific operating
                                                                                                                                      area within a location
                                                                                                                                      are usually assigned to
                                                                                                                                      work units who are able
                                                                                                                                      to perform jobs in the
                                                                                                                                      same sector according
                                                                                                                                      to the operating rules
                                                                                                                                      defined by the Utility.
                                                                                                                                      However, if the current
    System provides the ability, during creation, to override the                                           Field service
                                                                         A                       Yes                          8.0     workload overcomes the
    default print/distribution location of a service order.                                                 management
                                                                                                                                      available workforce in a
                                                                                                                                      specific sector, Open
                                                                                                                                      Smartflex provides the
                                                                                                                                      ability to assign orders
                                                                                                                                      to units who work in a
                                                                                                                                      different operational
                                                                                                                                      area.




                                                                             Page 335 of 391
                                                                             Response Template                                                          C-248
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 389 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                            Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

                                                                                                                                          If the current workload
                                                                                                                                          overcomes the available
                                                                                                                                          workforce in a specific
                                                                                                                                          sector for any reason,
                                                                                                                                          Open Smartflex provides
    System provides for reprint/redistribution of a service order to                                            Field service
                                                                             A                       Yes                          8.0     the ability to assign
    the same or different location.                                                                             management
                                                                                                                                          orders to units who
                                                                                                                                          work in a different
                                                                                                                                          operational area.


                                                                                                                                          Open Smartflex allows
                                                                                                                                          the service provider to
                                                                                                                                          send notifications (email
                                                                                                                                          and SMS) based on the
                                                                                                                                          status changes of orders
    System to support the functionality of emailing orders.                  A                       Yes         System tools     8.0     for the purpose of alert
                                                                                                                                          customers or company's
                                                                                                                                          employees.




    System to provide the ability to distribute service orders                                                  Field service
                                                                             A                       Yes                          8.0
    immediately upon creation.                                                                                  management
    System to provide the ability to print service orders immediately                                           Field service
                                                                             A                       Yes                          8.0
    upon creation.                                                                                              management




                                                                                 Page 336 of 391
                                                                                 Response Template                                                           C-249
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 390 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                             Is Functionality   Name of System
                                                                                               Included in      or Module That
                         Requirement Description                          Vendor Score                                            Version   Vendor Notes
                                                                                              Price? (Yes or     Provides This
                                                                                                   No)           Functionality

    System to provide the ability to print/distribute service orders in                                           Field service
                                                                               A                       Yes                          8.0
    batch mode based upon user-defined parameters.                                                                management

    System to provide the ability to sort based upon user-defined
                                                                                                                  Field service
    parameters which would include: geographic area (i.e. route,               A                       Yes                          8.0
                                                                                                                  management
    zone, APN, service area #, X/Y, and user defined.
    System to provide the ability to automatically route service
    orders to pre-defined areas such as dispatch and remote service                                               Field service
                                                                               A                       Yes                          8.0
    centers based upon information such as type of order, type of                                                 management
    service, etc.




                                                                                   Page 337 of 391
                                                                                   Response Template                                                  C-250
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 391 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                            Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality
    System to provide printed/generated service order information                                                                         All work orders in Open
    that is user-defined and may contain all or some of the                                                                               Smartflex are
    following:                                                                                                                            created/generated with
    a) Order Number                                                                                                                       a set of attributes
    b) Scheduled Date                                                                                                                     including order number,
    c) Order Status                                                                                                                       scheduled date, order
    d) Customer Name                                                                                                                      status, premise address,
    e) Account Number                                                                                                                     route number,
    f) Premise Address                                                                                                                    sequence, and order
    g) Route Number                                                                                                                       type (task type).
    h) Service Area                                                                                                                       However, Open
    i) Third Party Information                                                                                                            International predefines
                                                                                                                Field service
    j) Order Type or Code                                                    C                       Yes                          8.0     these attributes and
                                                                                                                management
    k) Special Conditions (dangerous animals, locked gate,                                                                                there is no possibility to
    dangerous area, etc.)                                                                                                                 exclude them from the
    l) Area for Hand Written Remarks                                                                                                      work order information.
    m) User Defined Areas
    n) Credit History
    o) Geographic Area (i.e., route, zone, APN, service area #, X/Y,
    etc.)
    p) Special Condition Code(s) that require additional
    investigation and discussion with customer prior to service turn-
    on/off and/or cut-in/off, etc. (e.g., customer must be home
    before a turn-on.)
    q) Created By
    System to allow each service order to have different format and                                             Field service
                                                                             A                       Yes                          8.0
    related information.                                                                                        management



                                                                                 Page 338 of 391
                                                                                 Response Template                                                            C-251
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 392 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                            Version      Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

                                                                                                                                           Open Smartflex allows
                                                                                                                                           the Utility to print every
                                                                                                                                           work order, in any
                                                                                                                                           status, based on the
                                                                                                                                           format configured
    System will allow for the creation of a service order, for up to 4                                                                     previously, using print
                                                                                                                 Field service
    services, that can be printed/contained on a single 8"x11"                A                       Yes                          8.0     templates defined by
                                                                                                                 management
    printed page.                                                                                                                          the utility.

                                                                                                                                           This also applies to the
                                                                                                                                           next item (below).


    System will allow for the creation of a service order, for each
                                                                                                                 Field service
    individual service, that can be printed/contained on a single             A                       Yes                          8.0
                                                                                                                 management
    8"x11" printed page.
    Service Order Modification/Change




                                                                                  Page 339 of 391
                                                                                  Response Template                                                            C-252
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 393 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                              Version      Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

                                                                                                                                          Open Smartflex has the
                                                                                                                                          ability to cancel
                                                                                                                                          disconnection work
                                                                                                                                          orders automatically
                                                                                                                                          when the customer
                                                                                                                                          reaches a payment
                                                                                                                                          agreement or makes a
                                                                                                                                          payment.

    System to provide the ability to change the order status of any
                                                                                                             Payment and Debt             In addition to that, the
    order for any user-defined reasons (e.g., payment                      A                       Yes                            8.0
                                                                                                                collection                system allows the
    arrangements, payment made, etc.).
                                                                                                                                          definition of
                                                                                                                                          optimization activities
                                                                                                                                          that cancel out
                                                                                                                                          complementary jobs
                                                                                                                                          under certain conditions
                                                                                                                                          (e.g. connection and
                                                                                                                                          disconnection jobs on
                                                                                                                                          the same premise).




                                                                               Page 340 of 391
                                                                               Response Template                                                            C-253
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 394 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                            Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

                                                                                                                                          After work orders are
                                                                                                                                          issued, current activities
                                                                                                                                          can be removed or new
                                                                                                                                          activities can be
                                                                                                                                          included in the closing
                                                                                                                                          process due to jobs that
    System to provide the ability to change the order type of any                                               Field service             were not considered at
                                                                             A                       Yes                          8.0
    order for any user-defined reason.                                                                          management                the beginning but were
                                                                                                                                          performed. However,
                                                                                                                                          there is no possibility to
                                                                                                                                          change the task type.




    System to provide the ability to reschedule orders which have                                               Field service
                                                                             A                       Yes                          8.0
    not been worked.                                                                                            management
    System to provide the ability to modify an uncompleted service                                              Field service
                                                                             A                       Yes                          8.0
    order on-line.                                                                                              management
                                                                                                                                          After work orders are
                                                                                                                                          closed and activities and
    System provides the ability to add additional charges in addition                                                                     devices are billed, new
                                                                             A                       Yes           Billing        8.0
    to the default charge.                                                                                                                charges can be included
                                                                                                                                          using billing notes.

    System provides the ability to remove or change the default
                                                                             A                       Yes           Billing        8.0
    charge.




                                                                                 Page 341 of 391
                                                                                 Response Template                                                            C-254
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 395 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                                    Version      Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

                                                                                                                                                   Open Smartflex will
                                                                                                                                                   allow the Utility to add
    System provides the ability to modify specific areas of a service                                               Field service
                                                                              A                       Yes                                  8.0     comments to orders,
    order (notes) if a service order has been completed or canceled.                                                management
                                                                                                                                                   regardless of current
                                                                                                                                                   status.
     Service Order Completion
    System to provide the ability for the final read to be used as the
                                                                              A                       Yes             Metering             8.0
    start read (for a forced off or final off for same day).
                                                                                                                                                   Open Smartflex
                                                                                                                                                   automatically cancel all
    System to provide the ability to cancel orders resulting in any                                                                                related orders when the
                                                                              A                       Yes      Sales and customer care     8.0
    associated orders being canceled.                                                                                                              request that generated
                                                                                                                                                   them is canceled.




                                                                                  Page 342 of 391
                                                                                  Response Template                                                                    C-255
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 396 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                                    Version      Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

                                                                                                                                                   Open Smartflex will
                                                                                                                                                   allow the Utility to
                                                                                                                                                   receive service transfer
                                                                                                                                                   requests and manage
                                                                                                                                                   the products associated
                                                                                                                                                   with the premises given
    System to allow for the completion of a turn-on order for an                                                                                   by customer. On the
    active account and / or service will force the previous account           A                       Yes      Sales and customer care     8.0     transfer request, the
    off if it is active.                                                                                                                           service in the current
                                                                                                                                                   premise is stopped and
                                                                                                                                                   the service on the new
                                                                                                                                                   premise is activated in a
                                                                                                                                                   single transaction.



    In the event of a cancel of a service order, in a multi-service
                                                                                                                    Field service
    order environment, the system will allow for any individual or all        A                       Yes                                  8.0
                                                                                                                    management
    associated orders to be worked - without affecting the other.
    System to provide the ability to input the completion                                                           Field service
                                                                              A                       Yes                                  8.0
    information in a single entry screen.                                                                           management
    System to allow for service order completion screens that are                                                   Field service
                                                                              A                       Yes                                  8.0
    tailorable to the type of service order.                                                                        management
    System allows for the mass cancel or completion of service
    orders that can be selected and modified by any combination of                                                  Field service
                                                                              C                       Yes                                  8.0
    the following: order number, scheduled date, order type, order                                                  management
    status, by employee ID and created by.


                                                                                  Page 343 of 391
                                                                                  Response Template                                                                    C-256
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 397 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                            Version   Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    System to, by completing the service order, change the account                                             Field service
                                                                            A                       Yes                          8.0
    status automatically.                                                                                      management
    System to, by completing the service order, capture the date                                               Field service
                                                                            A                       Yes                          8.0
    services were completed.                                                                                   management
    System to, by completing the service order, capture the date                                               Field service
                                                                            A                       Yes                          8.0
    the work was completed.                                                                                    management
    System to, by completing the service order, capture the user                                               Field service
                                                                            A                       Yes                          8.0
    ID.                                                                                                        management
    System provides the ability to complete service orders by batch                                            Field service
                                                                            A                       Yes                          8.0
    from an external file.                                                                                     management
    System can be user configured to specify action(s) taken on a
    service order including: turn on, turn off, replace, remove, cut                                           Field service
                                                                            A                       Yes                          8.0
    off, abandon/found meter, read only, reseal, appointment and                                               management
    user defined.
    System provides the ability for multiple actions to take place                                             Field service
                                                                            A                       Yes                          8.0
    with a single order.                                                                                       management
    System, based upon the actions specified, will validate all
                                                                                                               Field service
    necessary associated fields of any single and/or multi-action           A                       Yes                          8.0
                                                                                                               management
    order and the ability to manually override.




                                                                                Page 344 of 391
                                                                                Response Template                                                  C-257
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 398 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                        Is Functionality   Name of System
                                                                                          Included in      or Module That
                         Requirement Description                     Vendor Score                                            Version      Vendor Notes
                                                                                         Price? (Yes or     Provides This
                                                                                              No)           Functionality

                                                                                                                                       Open Smartflex allows
                                                                                                                                       creating additional
                                                                                                                                       attributes to capture the
                                                                                                                                       premise/service related
                                                                                                                                       information when a
    System provides the ability to update account, premise, and/or                                                                     work order is been
    service information upon completion of a service order                                                                             executed.
    including:
    a) Service Status                                                                                                                  In addition, Open
    b) Premise Number                                                                                                                  Smartflex allows
    c) Replacement Meter Number and Type                                                                                               configuring the
    d) Current and Replacement Meter Reading(s)                                                                                        automatically
    e) Meter Test Results [As found and as left]                                                                                       generation of new back-
                                                                                                             Field service             office orders based on
    f) AMI-MDM Unit Number(s) and other related Equipment                 A                       Yes                          8.0
                                                                                                             management                the resolution of the
    g) Service Level
    h) Meter / Equipment Location Code                                                                                                 initial order as defined
    i) Associated Services                                                                                                             by the Utility (e.g. a new
    j) Meter / Equipment Status                                                                                                        order to change the
    k) Resolution Code (replaced, pulled, etc.)                                                                                        billing rate). The person
    l) Electric Meter Multipliers                                                                                                      in back-office is
    m) Number of Units (poles, amplifier, lights, etc.)                                                                                responsible for manually
    n) user defined                                                                                                                    register the requests on
                                                                                                                                       these new orders.

                                                                                                                                       On the other hand, after
                                                                                                                                       installation/termination
                                                                                                                                       orders are performed,
                                                                                                                                       Open Smartflex


                                                                              Page 345 of 391
                                                                              Response Template                                                            C-258
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 399 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                              Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

    System provides the ability to establish the default service
                                                                                                                 Field service
    status action when an order is initiated. For example, electric          A                       Yes                            8.0
                                                                                                                 management
    new service would default to be active.
                                                                                                                                            Disconnection and
                                                                                                                                            reconnection workflows
                                                                                                                                            update the status of the
                                                                                                                                            services once the
    System provides the ability to override the default service                                                Payment and debt
                                                                             A                       Yes                            8.0     disconnection or
    status action when an order is completed.                                                                     collection
                                                                                                                                            reconnection orders
                                                                                                                                            have been completed.



    System to allow for the completion of metered service orders
    that can initiate the action and start dates with non-metered                                                Field service
                                                                             A                       Yes                            8.0
    services (e.g., completion of new service electric could default                                             management
    outdoor lighting to start billing n days in the future).

    System provides the ability for the completion of one type of                                                Field service
                                                                             A                       Yes                            8.0
    order to automatically initiate another type of order or process.                                            management
    System will allow for a meter / equipment to be removed                                                      Field service
                                                                             A                       Yes                            8.0
    without a replacement.                                                                                       management
    System to allow for meter / equipment readings and/or register
                                                                                                                 Field service
    number, and/or AMI-MDM related number(s) to automatically                A                       Yes                            8.0
                                                                                                                 management
    be updated as a result of a meter exchange service order.




                                                                                 Page 346 of 391
                                                                                 Response Template                                                             C-259
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 400 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                            Version   Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    System to allow meter / equipment readings and numbers to
                                                                                                                 Field service
    automatically be updated as a result of an exchange service               A                       Yes                          8.0
                                                                                                                 management
    order.
    System has the ability to have customers sign off on work                                                    Field service
                                                                              A                       Yes                          8.0
    preformed at their premise.                                                                                  management
    System provides the ability to automatically close a group of
                                                                                                                 Field service
    orders based on data that has been received. (an Example:                 A                       Yes                          8.0
                                                                                                                 management
    MDM has send the final reads from a finaled account)
    Service Order Display
    System will provide the ability to select and view on-line service
    orders including any combination of the following:
    a) Order Status
    b) Order Type
    c) Person or Department or District Office assigned to
    d) Range of Dates
    e) Range of Order Numbers
    f) Scheduled Date
                                                                                                                 Field service
    g) Customer Name                                                          A                       Yes                          8.0
                                                                                                                 management
    h) Account Number
    i) Premise Address or Number
    j) Route Number
    k) Service Area
    l) Closed - no action taken or required
    m) Customer Class
    n) When it was printed and/or reprinted and by whom- issued
    o) User-defined



                                                                                  Page 347 of 391
                                                                                  Response Template                                                  C-260
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 401 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             10.0 Service Order Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                            Version   Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    System to provide support for tracking person / crew                                                         Field service
                                                                              A                       Yes                          8.0
    assignments/dispatching of service orders.                                                                   management
    System to provide the ability to view on-line existing workload                                              Field service
                                                                              A                       Yes                          8.0
    and the next available time an order can be scheduled.                                                       management

    System to provide the ability to inquiry or report against all                                               Field service
                                                                              A                       Yes                          8.0
    orders that were not started or completed by a certain time.                                                 management
    System will maintain on-line history of canceled service orders
    that including the following: reason for cancellation, who                                                   Field service
                                                                              A                       Yes                          8.0
    canceled the service order and date the service order was                                                    management
    canceled.
    System will maintain the history of all service orders until                                                 Field service
                                                                              A                       Yes                          8.0
    purged / archived.                                                                                           management
    System to provide the ability to view and sort on-line all service                                           Field service
                                                                              A                       Yes                          8.0
    orders for the customer account and / or service address.                                                    management
    System allows for a view of service order history as related to:
                                                                              A                       Yes         Framework        8.0
    premise, service and customer.
    System allows for a view of service order history as related to:
                                                                                                                 Field service
    Meter / Equipment, Account, Utility Worker, Work Group/Crew               A                       Yes                          8.0
                                                                                                                 management
    and Service Order Type.
    System to allow the meter multiplier to be tied to the service
                                                                              G                       No
    and not the meter (electric only).




                                                                                  Page 348 of 391
                                                                                  Response Template                                                  C-261
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 402 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             11.0 Cashiering Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                              Version     Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    System Requirements
    System provides the ability to process transactions through the                                           Payment and debt
                                                                            A                       Yes                            8.0
    use of a cash drawer or cash box.                                                                            collection
    System allows for account balances to be used to calculate                                                Payment and debt
                                                                            A                       Yes                            8.0
    change for the payment transaction.                                                                          collection
    System provides the ability to print a customer receipt based on                                          Payment and debt
                                                                            A                       Yes                            8.0
    a user-defined format.                                                                                       collection
                                                                                                                                           Open Smartflex displays
                                                                                                                                           payment information for
                                                                                                                                           received payments
    System provides the ability to view a pending payment which                                               Payment and debt             whether the payments
                                                                            A                       Yes                            8.0
    has not yet been disbursed/posted.                                                                           collection                are disbursed and
                                                                                                                                           posted or not.



    System has the ability to accept a payment and apply it to                                                Payment and debt
                                                                            A                       Yes                            8.0
    multiple accounts.                                                                                           collection
    System has the ability to accept a single payment for a master                                            Payment and debt
                                                                            A                       Yes                            8.0
    account and auto-distribute across all sub accounts.                                                         collection
    System provides the ability to recognize payments received on
    an account that has transferred by automatically posting the                                              Payment and debt
                                                                            A                       Yes                            8.0
    payment to the account where the balance was transferred with                                                collection
    an audit trail.
    System provides the ability to apply a payment for a specific
                                                                                                              Payment and debt
    outstanding receivable (oldest arrears, deposit, returned check,        A                       Yes                            8.0
                                                                                                                 collection
    etc.).



                                                                                Page 349 of 391
                                                                                Response Template                                                           C-262
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 403 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             11.0 Cashiering Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                              Version   Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    System provides the ability to apply a payment through a user-
                                                                                                                Payment and debt
    defined hierarchy (i.e., age, type of service, type of charge/fee,        B                       Yes                            8.0
                                                                                                                   collection
    percentage of bill, etc. and any combination of the above).

    System provides the ability to allow the CLIENT user, to specify                                            Payment and debt
                                                                              A                       Yes                            8.0
    which outstanding receivable is paid, overriding defined rules.                                                collection
    System has the ability to hold an overpayment and apply to the                                              Payment and debt
                                                                              A                       Yes                            8.0
    next bill.                                                                                                     collection
    System provides the ability to post a batch of payments at any
                                                                                                                Payment and debt
    time during the day, such as payments received in the mail and            A                       Yes                            8.0
                                                                                                                   collection
    processed via remittance processor.
    System provides the ability to accept a payment from a 3rd                                                  Payment and debt
                                                                              A                       Yes                            8.0
    party, centralized, cashiering module.                                                                         collection
    System provides the ability to send information regarding
                                                                                                                Payment and debt
    customer, payments, balances and due dates to 3rd party,                  A                       Yes                            8.0
                                                                                                                   collection
    centralized, cashiering module.
    System provides the ability to create a daily ACH file for
                                                                              A                       Yes         System tools       8.0
    recurring payments to be transmitted to the bank.




                                                                                  Page 350 of 391
                                                                                  Response Template                                                    C-263
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 404 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             11.0 Cashiering Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                              Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

                                                                                                                                           Open Smartflex
                                                                                                                                           automatically cancels
                                                                                                                                           disconnection requests
                                                                                                                                           and orders upon a
                                                                                                                                           service when the
                                                                                                                                           minimum payment
                                                                                                                                           required to avoid
                                                                                                              Payment and debt
                                                                            A                       Yes                            8.0     disconnection is
                                                                                                                 collection
                                                                                                                                           received; field
                                                                                                                                           technicians can see the
                                                                                                                                           updated status of their
    System provides the ability to post cash payments online, real                                                                         assigned work orders in
    time, with integration to applicable service orders in progress.                                                                       real time through their
    Payment must be at least the minimum amount due to affect                                                                              mobile devices.
    the service order, with a manual override.
    System provides the ability to accept multiple types of currency                                          Payment and debt
                                                                            A                       Yes                            8.0
    within one transaction.                                                                                      collection
    System provides the ability accommodate remote pay stations.                                              Payment and debt
                                                                            A                       Yes                            8.0
                                                                                                                 collection
                                                                                                              Payment and debt
                                                                            A                       Yes                            8.0
    System provides the ability to identify location of transaction.                                             collection
    System provides the ability to post monies paid by customer or                                            Payment and debt
                                                                            A                       Yes                            8.0
    non-customer.                                                                                                collection




                                                                                Page 351 of 391
                                                                                Response Template                                                            C-264
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 405 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             11.0 Cashiering Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                              Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

                                                                                                                                            When a check or credit
                                                                                                                                            card transaction is
                                                                                                                                            returned, Open
                                                                                                                                            Smartflex has the ability
                                                                                                                                            to create a restriction
                                                                                                                                            upon the account in
                                                                                                                                            order to deny payments
                                                                                                                                            with the same method
                                                                                                                                            for a user-defined
    System provides the ability to display special account status                                              Payment and debt             number of months.
                                                                             A                       Yes                            8.0
    that includesCash Only/No Checks and Shut-Off.                                                                collection
                                                                                                                                            Furthermore, Open
                                                                                                                                            Smartflex stores and
                                                                                                                                            updates the status of
                                                                                                                                            services that have been
                                                                                                                                            shut-off. Service status
                                                                                                                                            can be viewed on
                                                                                                                                            customer care screen.


    System provides the ability to accept payment and process the
                                                                                                               Payment and debt
    associated G/L transactions for the following city-wide services,        A                       Yes                            8.0
                                                                                                                  collection
    including but not limited to:




                                                                                 Page 352 of 391
                                                                                 Response Template                                                             C-265
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 406 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             11.0 Cashiering Management

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                              Version      Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

    System will have the ability to reverse original transaction,
    payment history, transaction date, etc. and post expense to the
                                                                                                             Payment and debt
    original department/GL chart of accounts. This requirement is          A                       Yes                            8.0
                                                                                                                collection
    defined as city-wide - not limited to only CIS-related
    transactions (see above types of payment transactions).
    System provides the ability to accept and track any method of
    payment, such as Cash, Check, Credit Card/type of Card (i.e.                                             Payment and debt
                                                                           A                       Yes                            8.0
    Visa, MC, Discover, etc.), Money Order, Travelers Check, and                                                collection
    Cashier Check.
                                                                                                                                          Open Smartflex allows
                                                                                                                                          the Utility to accept and
                                                                                                                                          track payments received
                                                                                                                                          from external payment
                                                                                                                                          platforms using system
                                                                                                             Payment and debt             integration. The external
                                                                           A                       Yes                            8.0
                                                                                                                collection                system must provide
                                                                                                                                          information of the
    System provides the ability to accept and track any origin of                                                                         payment agency branch.
    payment, such as Walk-In, Phone, Mail, Electronic Commerce
    (bank draft, EFT, etc.), Night Draft Payments, and or Internet
    Payments.
    System provides the ability to view payment distributions                                                Payment and debt
                                                                           B                       Yes                            8.0
    online.                                                                                                     collection




                                                                               Page 353 of 391
                                                                               Response Template                                                             C-266
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 407 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             11.0 Cashiering Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                              Version      Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

    System provides the ability to reverse a previous payment                                                                                Open Smartflex will
    distribution and re-apply the payment differently to a single                                                                            allow the Utility to
    payment or batch. This is to include a complete audit trail of all                                                                       cancel a previous
    transactions.                                                                                               Payment and debt             payment and register a
                                                                              A                       Yes                            8.0
                                                                                                                   collection                new payment with the
                                                                                                                                             same amount but
                                                                                                                                             applied upon a different
                                                                                                                                             service.
    System provides the ability to receipt multiple account stubs but
    only one check (i.e., a trailer park paying multiple accounts but
    with only one check). The system must provide a method to                                                   Payment and debt
                                                                              A                       Yes                            8.0
    correct payments as needed, without having to delete the entire                                                collection
    entry and re-enter all of the account information again from the
    beginning.
    System provides the ability to post payments and/or
                                                                                                                Payment and debt
    adjustments to account balances which have previously been                A                       Yes                            8.0
                                                                                                                   collection
    written-off.
    System provides the ability to allow for payment to be posted to
                                                                                                                Payment and debt
    a customer that is not yet associated with a premises, i.e.               A                       Yes                            8.0
                                                                                                                   collection
    construction deposits, tap fees, etc.
    System provides the ability to allow for instant review of
                                                                              A                       Yes          Framework         8.0
    payment transaction history for at least 84 months.
    System provides the ability to assign unique numbers to each                                                Payment and debt
                                                                              A                       Yes                            8.0
    transaction.                                                                                                   collection
    System provides the ability for a 3rd-Party payment application                                             Payment and debt
                                                                              A                       Yes                            8.0
    to pass the transaction number.                                                                                collection




                                                                                  Page 354 of 391
                                                                                  Response Template                                                             C-267
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 408 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             11.0 Cashiering Management

                                                                                         Is Functionality   Name of System
                                                                                           Included in      or Module That
                         Requirement Description                      Vendor Score                                              Version      Vendor Notes
                                                                                          Price? (Yes or     Provides This
                                                                                               No)           Functionality

                                                                                                                                          Open Smartflex initiates
                                                                                                                                          a reconnection
                                                                                                                                          workflow when an
                                                                                                                                          account's balance meets
                                                                                                                                          certain conditions after
    System will automatically generate a delinquent reconnect order
                                                                                                             Payment and debt             a payment is received.
    when the minimum required payment is received, with the                A                       Yes                            8.0
                                                                                                                collection                The reconnection
    ability for the user to cancel, if needed.
                                                                                                                                          workflow can be
                                                                                                                                          cancelled according to
                                                                                                                                          the company needs.


                                                                                                                                          Open Smartflex provides
                                                                                                                                          the ability to set a global
                                                                                                                                          parameter to determine
                                                                                                                                          the minimum required
                                                                                                                                          debt in order to
                                                                                                                                          generate disconnection
                                                                                                                                          orders. In cases where
    System provides the ability to set parameters for minimum                                                Payment and debt
                                                                           A                       Yes                            8.0     exceptions need to be
    required payments, with CSR override for any amount.                                                        collection
                                                                                                                                          made, CRSs can exclude
                                                                                                                                          accounts from collection
                                                                                                                                          process to prevent
                                                                                                                                          service disconnection.




                                                                               Page 355 of 391
                                                                               Response Template                                                               C-268
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 409 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             11.0 Cashiering Management

                                                                                        Is Functionality   Name of System
                                                                                          Included in      or Module That
                         Requirement Description                     Vendor Score                                              Version      Vendor Notes
                                                                                         Price? (Yes or     Provides This
                                                                                              No)           Functionality

    System provides the ability to prevent an order being printed
                                                                                                            Payment and debt
    for a disconnect, if the deposit amount is greater than aged          A                       Yes                            8.0
                                                                                                               collection
    balance.
                                                                                                                                         Open Smartflex allows
                                                                                                                                         users to balance out
                                                                                                                                         cash registers and
    System provides the ability for payments made at a pay-station
                                                                                                                                         generate reconciliation
    to be totaled by pay station, along with the total number of
                                                                                                            Payment and debt             reports with the
    payments made at the pay station, and generate the                    A                       Yes                            8.0
                                                                                                               collection                information about
    information that goes to the revolving fund for payment to the
                                                                                                                                         payments received
    pay station.
                                                                                                                                         during the turn.



    System provides date, time, and user ID stamp for posted                                                Payment and debt
                                                                          A                       Yes                            8.0
    transactions.                                                                                              collection
    System provides the ability for the payment to be voided prior                                          Payment and debt
                                                                          A                       Yes                            8.0
    to disbursement/posting, but with an audit trail.                                                          collection




                                                                              Page 356 of 391
                                                                              Response Template                                                             C-269
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 410 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             11.0 Cashiering Management

                                                                                       Is Functionality   Name of System
                                                                                         Included in      or Module That
                         Requirement Description                    Vendor Score                                              Version      Vendor Notes
                                                                                        Price? (Yes or     Provides This
                                                                                             No)           Functionality

                                                                                                                                        Open Smartflex will
                                                                                                                                        include the amounts
                                                                                                                                        that correspond to the
                                                                                                                                        correction of payments
                                                                                                                                        to prior-year in the
                                                                                                                                        results of the period in
                                                                                                                                        which they were
                                                                                                                                        warned, then they will
                                                                                                                                        be informed to ERP, A/P
                                                                                                                                        or A/R based on the
    System will display write off amounts on-screen and post
                                                                                                           Payment and Debt             established integration.
    payments to prior-year and current-year write-off general            A                       Yes                            8.0
                                                                                                              collection
    ledger accounts.
                                                                                                                                        Also, when a payment is
                                                                                                                                        made to a write-off
                                                                                                                                        invoice, the system
                                                                                                                                        reactivates the client's
                                                                                                                                        accounts receivables
                                                                                                                                        and applies the paid
                                                                                                                                        amount.




    System provides the ability to suspend payments processed
    against invalid accounts for customers and to hold the amount                                          Payment and debt
                                                                         A                       Yes                            8.0
    paid until they can be researched and applied (Suspense                                                   collection
    account concept).




                                                                             Page 357 of 391
                                                                             Response Template                                                             C-270
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 411 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             11.0 Cashiering Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                                    Version   Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

    System provides the following types of actions: Generations of
    OCR Line, Bar Code, and Receipt validation that includes, Date,                                            Payment and debt
                                                                            A                       Yes                                  8.0
    Station ID and User ID, Time, Account Number (Cust/Prem) and                                                  collection
    Dollor amount of payment.
    System OCR line that is generated must include Utility
                                                                                                               Payment and debt
    Identifier, Utility Account Number, Amount and 2 Check Digits           A                       Yes                                  8.0
                                                                                                                  collection
    (one for account and one for amount).
    Primary Cashiering Screen Criteria
    System provides the ability to display payment information on                                              Payment and debt
                                                                            A                       Yes                                  8.0
    primary cashier screen.                                                                                       collection
    System provides the ability to display amounts due and due                                                 Payment and debt
                                                                            A                       Yes                                  8.0
    dates on primary cashier screen.                                                                              collection
    System to provide the ability to display current/past due                                                  Payment and debt
                                                                            A                       Yes                                  8.0
    amount breakdown.                                                                                             collection
    System provides the ability to display certain customer                                                    Payment and debt
                                                                            A                       Yes                                  8.0
    information on primary cashier screen.                                                                        collection
    System provides the ability to display account information on                                              Payment and debt
                                                                            A                       Yes                                  8.0
    primary cashier screen.                                                                                       collection
    System provides the ability to display premises information on
                                                                            A                       Yes      Sales and customer care     8.0
    primary CSR screen.
    System provides the ability to display limited product / service                                           Payment and debt
                                                                            A                       Yes                                  8.0
    information on primary cashier screen.                                                                        collection




                                                                                Page 358 of 391
                                                                                Response Template                                                          C-271
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 412 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             11.0 Cashiering Management

                                                                                            Is Functionality   Name of System
                                                                                              Included in      or Module That
                         Requirement Description                         Vendor Score                                                    Version      Vendor Notes
                                                                                             Price? (Yes or     Provides This
                                                                                                  No)           Functionality

                                                                                                                                                   Open Smartflex displays
                                                                                                                                                   credit history
                                                                                                                                                   information of
                                                                                                                                                   customers, accounts
    System provides the ability to display credit history information
                                                                              A                       Yes      Sales and customer care     8.0     and services. That
    on primary cashier screen.
                                                                                                                                                   information is made
                                                                                                                                                   available on collection
                                                                                                                                                   management screens.

                                                                                                                                                   The Utility may need to
                                                                                                                                                   grant cashiers access to
                                                                                                                                                   customer care screen
    System provides the ability to display limited billing information
                                                                              A                       Yes      Sales and customer care     8.0     for them to be able to
    on primary cashier screen.
                                                                                                                                                   consult customers'
                                                                                                                                                   billing information.

    System provides the ability to access detailed payment                                                       Payment and debt
                                                                              A                       Yes                                  8.0
    information from the primary cashier screen.                                                                    collection
    Non-Sufficient Funds Processing

    System provides the ability to display information like previous                                             Payment and debt
                                                                              A                       Yes                                  8.0
    NSF Checks - Cash Only status, Meter disconnections, late                                                       collection
    penalties, etc., when entering payments.
    System will provide for batch or online processing of returned                                               Payment and debt
                                                                              A                       Yes                                  8.0
    checks.                                                                                                         collection
    System will provide the ability to apply a return check fee when                                             Payment and debt
                                                                              A                       Yes                                  8.0
    a returned check is processed.                                                                                  collection



                                                                                  Page 359 of 391
                                                                                  Response Template                                                                   C-272
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 413 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             11.0 Cashiering Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                              Version      Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

                                                                                                                                            Open Smartflex allows
                                                                                                                                            the Utility to manually
                                                                                                                                            create novelties
                                                                                                                                            associated with
                                                                                                                                            returned checks (NSF’s),
                                                                                                                                            to reactivate the debt
    System provides the ability to automatically generate letters for                                                                       and charge penalties. In
    returned checks / NSF's processed. The system will                                                                                      addition, it is possible to
                                                                                                               Payment and debt
    automatically place the customer in the proper delinquency tract         A                       Yes                            8.0     create an e-mail
                                                                                                                  collection
    (where they were when the check was presented or where they                                                                             notification to alert the
    are now).                                                                                                                               customer about the
                                                                                                                                            situation, however, it is
                                                                                                                                            required to add the
                                                                                                                                            ability to generate
                                                                                                                                            letters based on
                                                                                                                                            returned checks.




                                                                                 Page 360 of 391
                                                                                 Response Template                                                               C-273
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 414 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             11.0 Cashiering Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                              Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

                                                                                                                                           Open Smartflex allows
                                                                                                                                           the Utility to manually
                                                                                                                                           create novelties
                                                                                                                                           associated with
                                                                                                                                           returned checks (NSF’s),
                                                                                                                                           to reactivate the debt
                                                                                                                                           and charge penalties. In
                                                                                                                                           addition, it is possible to
    System provides the ability to request a group of letters for                                             Payment and debt
                                                                            B                       Yes                            8.0     create an e-mail
    returned checks / NSF's processed.                                                                           collection
                                                                                                                                           notification to alert the
                                                                                                                                           customer about the
                                                                                                                                           situation, however, it is
                                                                                                                                           required to add the
                                                                                                                                           ability to generate
                                                                                                                                           letters based on
                                                                                                                                           returned checks.

    System provides the ability to automatically update credit                                                Payment and debt
                                                                            A                       Yes                            8.0
    history with returned checks / NSF check data.                                                               collection
    Reconciliation

    System provides the ability to provide end-of-day balance
    information to include the following, but not limited to: Number                                          Payment and debt
    of Checks Received, Total Cash, Total Credit Cards including            A                       Yes                            8.0
                                                                                                                 collection
    type, Total Stubs by Transaction Type, Total Transactions,
    Amount Received, and Payments Voided, if applicable.




                                                                                Page 361 of 391
                                                                                Response Template                                                               C-274
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 415 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             11.0 Cashiering Management

                                                                                           Is Functionality   Name of System
                                                                                             Included in      or Module That
                         Requirement Description                        Vendor Score                                                 Version   Vendor Notes
                                                                                            Price? (Yes or     Provides This
                                                                                                 No)           Functionality

                                                                                                               Payment and debt
    System provides the ability to process auto-check functionality,         A                       Yes                               8.0
                                                                                                                  collection
    i.e., processing debit card or Check 21 payments.
    System provides a mechanism to ensure receipts are processed
    against the correct chart of account numbers in the accounting           A                       Yes       Financial interface     8.0
    system.
    System provides that the Accounts Receivable balances can be
    updated from the receipts / file. This process updates account
                                                                             A                       Yes       Financial interface     8.0
    balances and creates an automated journal for the Accounting
    application.
    System provides the ability to purge receipt transactions from
    the Cash Receipts system, based upon user-defined                        A                       Yes         System tools          8.0
    parameters.
    System provides the ability to process end-of-day, drawer close-
                                                                                                               Payment and debt
    outs, with a listing of fields by dollar amount, to quickly count        A                       Yes                               8.0
                                                                                                                  collection
    cash.
    System allows cash drawer processing and cash reconciliation                                               Payment and debt
                                                                             A                       Yes                               8.0
    for each cashier.                                                                                             collection
    System allows a cashier to balance their own drawer at any                                                 Payment and debt
                                                                             A                       Yes                               8.0
    time during the day.                                                                                          collection
                                                                                                               Payment and debt
    System allows for the ability to search or "find a payment" by           A                       Yes                               8.0
                                                                                                                  collection
    amount, date, payment type, check number and cashier.
    Late Penalties
    System provides the ability to handle full or partial payment for
                                                                                                               Payment and debt
    any category of receivables and to take partial payment into             A                       Yes                               8.0
                                                                                                                  collection
    consideration for late penalty calculation.




                                                                                 Page 362 of 391
                                                                                 Response Template                                                       C-275
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 416 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             11.0 Cashiering Management

                                                                                          Is Functionality   Name of System
                                                                                            Included in      or Module That
                         Requirement Description                       Vendor Score                                              Version      Vendor Notes
                                                                                           Price? (Yes or     Provides This
                                                                                                No)           Functionality

                                                                                                                                           Open Smartflex allows
                                                                                                                                           creation of billing notes
                                                                                                                                           to modify the value of
                                                                            A                       Yes            Billing         8.0
    System provides the ability to reverse a late payment fee /                                                                            specific charges in a
    penalty one-time, at time of payment, based on utility's                                                                               customer's debt.
    regulations.
    Scanner
    System provides the ability to use a plug-and-play, handheld
    OCR scanner, barcode reader, or other industry-standard device                                            Payment and debt
                                                                            A                       Yes                            8.0
    for automated payment receipt, when payment is submitted                                                     collection
    with return portion of the bill print.
    System provides the ability to automatically populate the
    following fields in the cashiering batch, upon scanning the stub
    to include the following:     Account Number, Customer Name,                                              Payment and debt
    Premise Address, Defaulted Amount Due (which can easily be              A                       Yes                            8.0
                                                                                                                 collection
    overwritten to match the amount of, if different from amount
    due), and Sundry Invoice Number.
    System must provide a field for manual entry of the check                                                 Payment and debt
                                                                            A                       Yes                            8.0
    number on the same entry screen as items listed above.                                                       collection
    Internet Options
    System provides the ability to accept payments (e.g., credit
    cards, checks, debit cards, or other online payment / tender                                              Payment and Debt
                                                                            A                       Yes                            8.0
    methods) via the internet-based web page on CLIENT's web-                                                    collection
    site.
    System provides the ability to accept multiple types of
                                                                                                              Payment and Debt
    payments in a single transaction if a credit amount is due the          A                       Yes                            8.0
                                                                                                                 collection
    total will be displayed.




                                                                                Page 363 of 391
                                                                                Response Template                                                              C-276
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 417 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                             11.0 Cashiering Management

                                                                                      Is Functionality   Name of System
                                                                                        Included in      or Module That
                         Requirement Description                   Vendor Score                                              Version   Vendor Notes
                                                                                       Price? (Yes or     Provides This
                                                                                            No)           Functionality

    System provides the ability to accept multiple payment
                                                                                                          Payment and Debt
    transactions for a single payment. (one transaction cash the        A                       Yes                            8.0
                                                                                                             collection
    other via credit card)




                                                                            Page 364 of 391
                                                                            Response Template                                                    C-277
                                Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 418 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                       14.0 Energy and Water Efficiency Management

                                                                                   Is Functionality   Name of System
                                                                                     Included in      or Module That
                         Requirement Description                   Vendor Score                                        Version   Vendor Notes
                                                                                    Price? (Yes or     Provides This
                                                                                         No)           Functionality




                                                                         Page 365 of 391
                                                                         Response Template                                                 C-278
      Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 419 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                     MASTER PROFESSIONAL SERVICES AGREEMENT


                                                     EXHIBIT C – ATTACHMENT 2
                                                      STATEMENT OF WORK #1
                                           REVISIONS TO FUNCTIONAL REQUIREMENTS MATRIX




                                     (BALANCE OF THIS PAGE LEFT INTENTIONALLY BLANK)




                                                             Page 366 of 391
                           Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 420 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               Page 367 of 391
                           Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 421 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               Page 368 of 391
                           Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 422 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               Page 369 of 391
                           Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 423 of 426
DocuSign Envelope ID: 410D15AA-C191-4A79-BA9C-55604764B1CD




                                                               Page 370 of 391
Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 424 of 426




                          Exhibit 4
       Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 425 of 426
,7190436Ā-6:25782Ā/,)Ā - %$ &&Ȁ,$'"Ȁ#$'-Ȁ+" +Ȁ&$(!*!.#(*(.


                                First Amendment to the Master Professional Services Agreement
                                              between the City of Fort Collins
                                                 and Open International, LLC

                       This First Amendment (“First Amendment”) is entered into by and between the City of Fort
                Collins, Colorado (the “Customer”) and Open International, LLC (“Open”).

                     WHEREAS, the Parties entered into a Master Professional Services Agreement under
               RFP 8697 to license and implement Open SmartFlex (“OSF”) Customer Information System and
               Operational Support System (“CIS/OSS”) with an effective date (“Effective Date”) of August 9,
               2018 (the “Agreement”); and

                      WHEREAS, multiple factors have led to the extension of the Utilities Go-Live milestone
               date from September 2019 to October 2020 and additional cost of $3,066,117.60 to complete
               the project; and

                     WHEREAS, the Parties have agreed to cost-share the distribution of the additional cost
               with the City’s cost-share equal to 55% of the total additional cost or $1,686,364.68 plus
               contingency/living expenses up to $200,000; and

                     WHEREAS, in recognition both Parties share responsibility for the issues driving the
               revised project schedule and added cost, Open has agreed to absorb 45% or $1,379,752.90 of
               the additional cost; and

                      WHEREAS, the Parties have agreed the City’s cost-share of the additional cost will be
               paid pursuant to a milestone payment schedule as stated herein and will be subject to a 10%
               retainage; and

                     WHEREAS, the Parties have agreed to establishment of new milestone dates to be
               incorporated into the Project Schedule; and

                     WHEREAS, the Parties wish to amend the Master Professional Services Agreement to
               increase the Project Cost and revise the Project Schedule as stated herein;

                     NOW, THEREFORE, in consideration of the mutual covenants and agreements contained
               herein, the Parties agree as follows:

                        1. The total Project Cost for Consulting Services & Travel Expenses as stated on page
                           2 of the Agreement shall be increased by $1,686,354.68 plus up to $200,000 for
                           travel and living expenses.

                        2. Exhibit E, Project Cost, Milestone Payments and Retainage is herein amended to
                           incorporate the below stated payment milestone schedule. Payment terms for the
                           below stated payments are Net 10 days from the date of completion of the applicable
                           milestone and receipt of invoice.

                                                             Anticipated
                                  Payment Milestone             Date*         Amount     Retainage     Payment
                              Amendment 1 Execution           May-2020      $843,182.34   $84,318.23  $758,864.11
                              Appropriation                    July-2020    $421,591.17   $42,159.12  $379,432.05
                              Utilities Test Complete          Sep-2020     $421,591.17   $42,159.12  $379,432.05
                                                                           $1,686,364.68 $168,636.47 $1,517,728.21
                              * Dates subject to change
       Case 1:21-cv-02063-DDD-NYW Document 6 Filed 07/30/21 USDC Colorado Page 426 of 426
,7190436Ā-6:25782Ā/,)Ā - %$ &&Ȁ,$'"Ȁ#$'-Ȁ+" +Ȁ&$(!*!.#(*(.




                        3. The Project Schedule shall incorporate the following major milestone dates:

                             -   Utilities System Testing Successfully Completed            September 2020
                             -   Utilities Go-Live                                          October 2020
                             -   Utilities Stabilization Successfully Completed             February 2021

                        4. Upon successful completion of the Utilities Go-Live stabilization, Open shall provide
                           the remaining nine (9) months for one (1) technical resource on-site at the
                           Customer’s location at no-cost to the Customer. This individual will be subject to
                           Section 5 (Project Staffing) of the Agreement. Travel and expenses will be subject to
                           the City’s preapproval and reimbursed in compliance with Exhibit F of the
                           Agreement.

                        5. Any future changes to the Project Cost and/or Project Schedule shall be subject to
                           mutual agreement by the Parties and documented in accordance with Section 6,
                           Project Changes, of the Agreement.

              The funding for Payment Milestones #2 (Appropriation) and # 3 (Utilities Test Complete) is
              subject to appropriation of funds by the City Council. In the event funds are not appropriated,
              the City reserves the right to void this First Amendment.

              Except as expressly amended by this First Amendment, all other terms and conditions of the
              Master Professional Services Agreement shall remain in full force and effect. In the event of a
              conflict between the terms of Master Professional Services Agreement and this First Amendment,
              the First Amendment shall prevail.

                      IN WITNESS WHEREOF, the parties have executed this First Amendment the day and
                year written below.


              CITY OF FORT COLLINS, COLORADO                         OPEN INTERNATIONAL, LLC

              By:                                                    By:
                    Darin Atteberry                                        Hernando Parrott
                    City Manager                                           President North America
                                                                    
              Date: ______________________________                   Date: ______________________________


              By: ________________________________
                  Gerry Paul
                  Purchasing Director
                     
              Date:


              Attest


              City Clerk


              Approved as to Form


              Assistant City Attorney II
